Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 1 of 169. PageID #: 358930




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 2 of 169. PageID #: 358931




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           Table of Contents



                                    UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                                    Washington, D.C. 20549

                                                                                           Form 10-K
           0       ANNUAL REPORT PURSUANT TO SECTION 13 OR lS(d)
                   OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                          For the fiscal year ended December 31, 2013
                                                                                                OR
           0       TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d)
                   OF THE SECURITIES EXCHAN GE ACT OF 1934
                   For the transition period from                             to

                                                                                 Commission file number 000-55075

                                                                                   ACTAVIS pie
                                                                              (Exact name ofregistrant as specified i11 its charter]

                                                     Ireland                                                                                            XX-XXXXXXX
                                           (State or otherjurisdiction of                                                                            (J.R.S. Employer
                                          incorporation or organization)                                                                          ldeutification Number}
                                                                    I Grand Canal Square, Docklands Dublin 2, Ireland
                                                                                     (Address ofptincipol executive offices)
                                                                                          (862) 261-7000
                                                                       (Registrants telephone number; i11c/11di11g area code)
                                                                Securities registered pursuant to Section 12(b) of the Act:

                                                 Title of Each Class                                                             Name of E::1ch Exchange on Which Registered
                                   Ordinary Shares, $0.000 I par value                                                                  New York Stock Exchange
                                                                Securities registered pursuant to Section 12(g) of the Act:
                                                                                           None
                 In di ca Le by check mark if the registrant is a well known seasoned issuer. as defined in Ruic 405 of the Securities Act.     Yes 0          No D

                 Indicate by check mark if the registrant is not required to file reports pursuant lo Section 13 or Section JS(d) of the Act.          Yes D     No 0

                Indicate by cbeck mark whether the registrum (I) has filed all reports required to be File d by Section 13 or I 5(d) of the Securities Exchange Act of 1934 during the preceding
           12 months (or for such shorter period that the registrant was required to file such reports ), and (2) has been subject to such filing requirements for the past
           90 days: Yes 0           No D

                 Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File required to be submitted and
           posted pursuant to Ruic 405 of Regulation S·T (§ 232.405 of this chapter) during the preceding 1.2 mont..hs (or for such shorter period that the registrant was required to submit and
           post such files). Yes 0         No D

                 Indicate by check mark if disclosure of delinquent filers purs uant to 11cm 405 of Regulation S·K (§ 229.405 of this chapter) is not cont.aincd herein, and will not be contained.
           to the best of rcgisrram's knowledge. in definitive proxy or info nnation statements incorpcmtcd by reference in Part III of this Fann JO·K or any amendment to this Form lO·K. 0

                 Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated ftlcr. or a smaller reporting company. Sec the definitions of
           "large accelerated filer." "accelerated filer" and "smaller reporting company" in Rule 12b·2 of rhc Exchange Act. (Check one):

           Large accelerated filer@                        Accelerated filer D                            Non-accelerated filer D                       Smaller repo rting company D
                                                                                                         (D o not check if a smaller reporting company)

                 Indicate by check mark whcthcrthc regist..rant is a shell company (as defined in Ruic J 2b·2 of the Act).     Yes D     No     li:l
                 This Annual Report on Form IO·K is being filed by the registrant on behalf of and as successor registrant to Acravis , Inc. and \Varner Chi Icon pie. The aggregate market value
           of the voting and non-voting stock held by non-affiliates of Actavis, Inc. as of June 28, 2013, based upon the last sale price reported for such date on the New York Stock Exchange,
           was S 16,671.7 million. TI1c calculation of the aggr egate market value of voting and non-voting stock excludes Class A common shares of Acta vis, Inc. held by executive offi cers.
           directors, and stockholders that lhc:: rc:gistntnt concluded were uffil iutes of Actavis, Tnc. 011 that dute.

                 On October I. 2013 , Actavis pie became the successor registrant to Actavis, lnc. and \Varner Chilcott pie. and each of Actavis, Inc. 's Class A common shares w as converted
           into one Actavis pk OrJinury Share:.

                 Number of shores of Registrant's Ordinary Shares outstanding on February 7, 2014: 174,199.744

                                                                  DOCUMENTS INCORPORATED BY REFERENCE
               Certain information required by Part TIT of this Annual Report on Forni I O·K (''Annual Report") is iuccrpcruted by reference fTom the Regisuuu t's pro xy statem ent to be file d
          pursuant to Regu lation 14A with respect to the Registrant's Annual Meeting of Shareholders to be held on May 9, 2014.



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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 3 of 169. PageID #: 358932




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS pie
                                                                     TABLE OF CONTENTS
                                                 FORM 10-K FOR THE YEAR ENDED DECEMBER 31, 2013

                                                                                                                                                PAGE


                                                                              PART I
            ITEM I          Business
            ITEM IA.        Risk Factors                                                                                                          25
            ITEM 18.        Unresolved Staff Comments                                                                                             52
            ITEM 2.         ProP.erties                                                                                                           52
            ITEM 3.         Ls;gal Proceeding~                                                                                                    54
            ITEM 4.         Mine Safe~ Disclosures                                                                                                54

                                                                              PART 11
            ITEM 5.         Market for Registrant's Common Egl!.i.J:y, Related Stockholder Matters and Issuer Purchases ofEg1!iJY. Securities     55
            ITEM 6.         Selected Financial Data                                                                                               57
            ITEM 7.         Management's Discussion and Analysis of Financial Condition and Results ofOP.erations                                 59
            ITEM 7A.        Quantative and Qualitative Disclosures About Market Risk                                                              94
            ITEM 8.         Financial Statelllents and Su1mlementaiy Data                                                                         95
            ITEM 9.         Changes in and Disagreements With Accountants on Accounting and Financial Disclosure                                  95
            ITEM 9A.        Controls and Procedures                                                                                               96
            ITEM 9B.        Other Inforlllation                                                                                                   97

                                                                             PART III
           ITEM 10.         Directors and Executive Officers of the Registrant                                                                    98
           ITEM 11.         Executive ColllP.ensation                                                                                            101
           ITEM 12.         Securit)' OwnershiP. of Certain Beneficial Owners and Management                                                     101
           ITEM 13.         Certain RelationshiP.S and Related Transactions                                                                      101
           ITEM 14.         PrinciP.al Accounting Fees and Services                                                                              101

                                                                             PART IV
            ITEM 15.  Exhibits, Financial Statement Schedules                                                                                    101
            SIGNATURES                                                                                                                           102




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d64 8811 d 1 Ok.him                                                   2/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 4 of 169. PageID #: 358933




        10 /16 /2 0 1 8                                                              F o rm 10 -K




           Table of Contents

           ITEM I.        BUSINESS
           Company History
                 Actavis pie (formerly known as Actavis Limited) was incorporated in Ireland on May I 6, 2013 as a private limited company and re-
           registered effective September l 8, 20 l 3 as a public limited company. It was established for the purpose of facilitating the business
           combination between Acta vis, Inc. and Warner Chilcott plc ("Warner Chilcott"). On October 1, 2013, pursuant to the transaction
           agreement dated May 19, 20 I 3 among Actavis, Inc., Warner Chilcott, Actavis pie, Actavis Ireland Holding Limited, Actavis W.C. Holding
           LLC (now known as Actavis WC. Holding Inc.) and Actavis WC. Holding 2 LLC (now known as Actavis W.C. Holding 2 Inc.)
           ("MergerSub"), (i) Actavis plc acquired Warner Chilcott (the "Warner Chilcott Acquisition") pursuant to a scheme of arrangement under
           Section 201, and a capital reduction under Sections 72 and 74, of the Irish Companies Act of 1963 where each Warner Chilcott ordinary
           share was converted into 0. I 60 of an Actavis pie ordinary share (the "Company Ordinary Shares"), or $5,833.9 million in equity
           consideration, and (ii) MergerSub merged with and into Actavis, Inc., with Actavis, Inc. as the surviving corporation in the merger (the
           "Merger" and, together with the Warner Chilcott Acquisition, the "Transactions"). Following the consummation of the Transactions,
           Actavis, Inc. and Warner Chilcott became wholly-owned subsidiaries of Actavis pie. Each of Actavis, Inc. 's common shares was converted
           into one Company Ordinary Share.
                The issuance of the Company Ordinary Shares in connection with the Transactions was registered under the Securities Act of I 933,
           as amended, pursuant to Actavis pie's registration statement on Form S-4 (File No. 333-189402) filed with the Securities and Exchange
           Commission and declared effective on July 31, 2013.
                Pursuant to Rule l 2g-3(c) under the Securities Exchange Act of 1934, as amended (the "Exchange Act"), Actavis pie is the successor
          issuer to Actavis, Inc. and to Warner Chilcott. The Company's Ordinary Shares are deemed to be registered under Section 12(b) of the
          Exchange Act, and Actavis p!c is subject to the informational requirements of the Exchange Act, and the rules and regulations
          promulgated thereunder. The Company's Ordinary Shares were approved for listing on the New York Stock Exchange ("NYSE") and trade
          under the symbol "ACT"
                 On October 31, 20 I 2, Watson Pharmaceuticals, Inc. completed the acquisition of the Actavis Group for a cash payment of €4.2
           billion, or approximately $5.5 billion, and contingent consideration of 5.5 million newly issued shares of Actavis, Inc., which have since
           been issued (the "Actavis Group Acquisition"). Watson Pharmaceuticals, Inc. 's Common Stock was traded on the NYSE under the symbol
           "WPI" until close of trading on January 23, 2013, at which time Watson Pharmaceuticals, Inc. changed its corporate name to "Actavis,
           Inc." and changed its ticker symbol to "ACT."
                 On February 17, 2014, Actavis pie entered into a merger agreement with Forest Laboratories, Inc. ("Forest"). Forest is a leading,
          fully integrated, specialty pharmaceutical company largely focused on the United States market. Forest markets a portfolio of branded drug
          products and develops new medicines to treat patients suffering from diseases principally in the following therapeutic areas: central
          nervous system, cardiovascular, gastrointestinal, respiratory, anti-infective, and cystic fibrosis. Refer to ''NOTE 23 - Subsequent Events"
          in the accompanying "Notes lo Consolidated Financial Statements" in this Annual Report for a description of the merger agreement.

                References throughout to "we," "our," "us," the "Company" or "Actavis" refer lo financial information and transactions of Watson
           Pharmaceuticals, Inc. prior lo January 23, 2013, Actavis, Inc. from January 23, 20 I 3 until October I, 2013 and Actavis pie subsequent to
           October I, 2013.

           Business Overview
               Actavis is a leading integrated global specialty pharmaceutical company engaged in the development, manufacturing, marketing, sale
          and distribution of generic, branded generic, brand name ("brand" or "branded"), biosimilar and over-the-counter ("OTC") pharmaceutical
          products. We also develop and out-license generic pharmaceutical products primarily in Europe through our Medis third-party business.
          Following our renaming in January of 2013, we also changed the name of our three reporting segments, which remained in effect as of




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                       3/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 5 of 169. PageID #: 358934




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            December 31, 2013. The Global Generics segment became "Actavis Pharma," Global Brands became "Actavis Specialty Brands," and
            Distribution became "Anda Distribution."
                  The Company bas operations in more than 60 countries throughout the Americas (The United States of America ("U.S."), Canada,
            Latin America), Europe (Europe, Russia, Commonwealth of Independent States (''CIS"), and Turkey), and MEAAP (Middle East, Africa,
            Australia, and Asia Pacific). The U.S. remains our largest commercial market and represented more than half of total net revenues for each
            of 2013 and 2012. As of December 31, 2013, we marketed approximately 250 generic pharmaceutical product families and approximately
            45 brand pharmaceutical product families in the U.S. and distributed approximately 12,725 stock-keeping units ("SKUs") through our
            Anda Distribution Division.
                  Our principal executive offices are located at I Grand Canal Square, Docklands, Dublin 2, Ireland and our administrative
            headquarters are located at Manis Corporate Center III, 400 Interpace Parkway, Parsippany, NJ 07054. Our Internet website address is
            www.actavis.com. We do not intend this website address to be an active link or to otherwise incorporate by reference the contents of the
            website into this report. Our annual reports on Form I 0-K, quarterly reports on Form 10-Q and current reports on Form 8-K, and all
            amendments thereto are available free of charge on our Internet website. These reports are posted on our website as soon as reasonably
            practicable after such reports are electronically filed with the U.S. Securities and Exchange Commission ("SEC"). The public may read
            and copy any materials that we file with the SEC at the SEC's Public Reference Room or electronically through the SEC website
            (www.sec.gov). Within the Investors section of our website, we provide information concerning corporate governance, including our
            Corporate Governance Guidelines, Board Committee Charters and Composition, Code of Conduct and other information. Refer to
            "ITEM IA. RISK FACTORS-CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS" in this Annual Report on
            Form I 0-K ("Annual Report").

            Transactions Accounted for As Business Acquisitions
                Acquisition of Warner Chilcott
                 On October I, 2013, pursuant to the agreement dated May 19, 2013, we completed the Warner Chilcott Acquisition for a transaction
           value, including the assumption of debt, of $9.2 billion. Warner Chilcott was a leading specialty pharmaceutical company focused on
           women's healthcare, gastroenterology, urology and dermatology segments of the branded pharmaceuticals market, primarily in North
           America. The Warner Chilcott Acquisition expands our presence in our Actavis Specialty Brands Segment. Warner Chilcott's financial
           results included in this report do not include the financial results of Warner Chilcott for any of the periods or at any of the dates presented
           prior to October I, 2013.

                Medicines360
                 On June 11, 2013, we entered into an exclusive license agreement with Medicines360 to market, sell and distribute Medicines360
           LNG20 intrauterine device ("LNG20") in the U.S. and in Canada for a payment of approximately S52.3 million. According to the terms of
           the agreement, we are also required to pay Medicines360 certain regulatory and sales based milestone payments totaling up to nearly
           $125.0 million plus royalties. Medicines360 retained the rights to market the product in the U.S. public sector, including family planning
           clinics that provide services to low-income women. LNG20, originally developed by Uteron Pharma S.P.R.L. in Belgium (now a
           subsidiary of the Company), is designed to deliver 20 mcg of levouorgestrel per day for the indication of long-term contraception, and is
           currently in Phase III clinical trials in the U.S. Pending U.S. Food and Drug Administration ("FDA") approval, the LNG20 product could
           be launched in the U.S. as early as 2014.

                Metronidazole 1.3% Vaginal Gel
                On May I, 2013, we entered into an agreement to acquire the worldwide rights to Valeanl Pharmaceuticals International, Inc.'s
           ("Valeant") rnetronidazole 1.3% vaginal gel antibiotic development product, a topical antibiotic for the treatment of bacterial vaginosis.
           Under the terms of the agreement, we will acquire the product upon FDA approval for approximately $57.0 million, which includes
           upfront ($1.0 million) and certain milestone payments ($11.0 million) and guaranteed royalties for the first three years of
           commercialization. Upon FDA

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        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                            4/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 6 of 169. PageID #: 358935




        10 /1 6 /2 0 1 8                                                               Form 10-K


           Table of Contents

           approval, or receipt of product launch quantity, we will account for this transaction using the acquisition method of accounting. In the
           event of generic competition on rnetronidazole 1.3%, and should we choose to launch an authorized generic product, we would share the
           gross profits of the authorized generic with Valeant.

               Acquisition of Uteron Pharma SA
                 On January 23, 2013, the Company completed the acquisition of Belgium-based Uteron Pharma SA. The acquisition was
           consummated for a cash payment of S 142.0 million, plus assumption of debt and other liabilities of $7.7 million and up to$ I 55.0 million
           in potential future milestone payments (the "Uteron Acquisition"). The Uteron Acquisition expanded our Actavis Specialty Brands
           pipeline of Women's Health products including two potential near term commercial opportunities in contraception and infertility, and one
           novel oral contraceptive. Several additional products in earlier stages of development were also included in the acquisition. This
           transaction is consistent with Actavis Specialty Brands' growth strategy, which is focused on expanding our branded product portfolio
           globally.

               Acquisition ofActavis Group
                 On October 31, 2012, we completed the Acta vis Group Acquisition. Actavis Group was a privately held generic pharmaceutical
           company specializing in the development, manufacture and sale of generic pharmaceuticals. Actavis pie's consolidated financial
           statements included in this report do not include the financial results of the Acta vis Group for any of the periods or at any of the dates
           presented prior to November I, 2012.
                 With the acquisition of Actavis Group, the Company became the third largest global generics pharmaceutical company with
           operations in more than 60 countries. The acquisition expanded the Company's core leadership position in modified release, solid oral
           dosage and transdermal products into semi-solids, liquids and injectables. The result is a broader and more diversified global product
           portfolio, and an expanded development pipeline. As of December 31, 2013, the combined company had approximately 195 Abbreviated
           New Drug Applications ("ANDAs") pending at the FDA.

               Acquisition ofAscent Pharmahealtb Ltd.
                 On January 24, 2012, we completed the acquisition of Ascent Pharmahealth Ltd. ("Ascent"), the Australian and Southeast Asian
           generic pharmaceutical business of Strides Arcolab Ltd, for AU$376.6 million in cash, or approximately $392.6 million, including
           working capital adjustments. As a result of the acquisition, the Company enhanced its commercial presence in Australia and we gained a
           selling and marketing capability in Southeast Asia through Ascent's line of branded generic and OTC products.

               Acquisition of Specifar Pharmaceuticals
                On May 25, 2011, we completed the acquisition of Specifar Pharmaceuticals, a privately-held multinational generic pharmaceutical
           company for €400.0 million, or approximately $561 7 million in cash, subject to a net of working capital adjustment of€ 1.5 million, or
           approximately S2.2 million. As a result of the acquisition, we enhanced our commercial presence in key European markets through
           Specifar's portfolio of approved products. The transaction also gave the Company a strong branded-generic commercial presence in the
           Greek pharmaceutical market.

           Other Business Development Activities
                Actavis completed additional business development activities to expand its Actavis Pharma and Actavis Specialty Brands
           development and commercial capabilities.

               Palau Pharma S.A. Agreement
                On August I, 2013, we entered into a purchase agreement with Palau Pharma S.A. ("Palau") to acquire worldwide product rights to
           develop and commercialize albaconazole for the treatment of candidiasis. We simultaneously entered into a manufacturing and supply
           agreement with Palau for the supply of clinical and




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 7 of 169. PageID #: 358936




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

            commercial quantities of the products. In connection with the execution oftbe agreements, we paid an upfront non-refundable payment of
            € I 0.0 million, or$ 13.4 million to Palau, which was recorded as research and development ("R&D") expense in the year ended
            December 31, 2013. The agreement also provides for certain future milestone payments up to €18.0 million in the aggregate, upon the
            successful completion of Phase JU trials of the products and regulatory approvals.

                Zovirax® Ointment and Cream
                 On April 5, 2013, we entered into an agreement with Valeant to be the exclusive marketer and distributor of the authorized generic
           version ofValeant's Zoviraxw ointment (acyclovir 5%) product. Under the terms of the agreement, Valeant will supply a generic version of
           Valeant's Zoviraxv ointment product and we will market and distribute the product in the U.S. Addicionally, we were granted the exclusive
           right by Valeant to co-promote Zovirax® cream (acyclovir 5%) to obstetricians and gynecologists in the U.S. and we granted Valeant the
           exclusive right to co-promote Actavis Specialty Brands' Cordran= Tape (flurandrenolide) product in the U.S. Under the terms of the
           agreement related to the co-promotion of Zovirax+ cream, we will utilize our existing Specialty Brands sales and marketing structure to
           promote the product and we will receive a co-promotion fee from sales generated by prescriptions written by our defined targeted
           physician group. The fees earned under the Zovirax cream co-promotion arrangement will be recognized in other revenues in the period
           earned. Under the terms of the Cordran® Tape co-promotion agreement, Valeant will utilize its existing Dermatology sales and marketing
           structure to promote the product, and will receive a co-promotion fee on sales. The fees paid to Valeant under the Ccrdranf Tape
           arrangement will be recognized in the period incurred as selling and marketing expenses.

                Actavis Pharma Business Development
                     Generic Concertav and Lidodermt'
                The Company's two most significant products in 2013 were the authorized generic version of Concertas (methylpbenidate ER) and
           Lidoderm= (lidocaine topical patch 5%), which on a combined basis comprised 16% of the Actavis Pharma Segment's revenues. These
           products are sold pursuant to exclusive marketing arrangements.
                 In November 2010, we entered into an exclusive agreement with Ortho-McNeil-Janssen Pharmaceuticals, Inc. ("OMJPI") to market
           the authorized generic version ofConcerta·K· (methylphenidate ER). Under the terms of the agreement, the product is supplied by
           OMJPJ. We launched our authorized generic of Concerta® on May 1, 2011 Under the terms of our agreement with OMJPI, we agreed to
           pay a royalty to OMJPI based on the gross profit of product revenues as defined in the agreements. During 2012, the royalty payable to
           OMJPI ranged from 50% to 55% of sales. In 2013, our royalty payable on sales ofmethylphenidate ER declined to 30% when a third party
           competitor launched a competing bioequivalent product. The change in royalty was a one-time event and was applied on a strength-by-
           strength basis following the launch of the first third party generic competitor. This royalty includes the cost of the product supplied by
           OMJPJ. The agreement with OMJPI expires on December 31, 2014 and is subject to normal and customary early termination provisions.
           The agreement with OMJPI has been accounted for as a distribution arrangement. Accordingly, we recorded the net sales of the authorized
           generic product in the period earned and reflected the cost of product sold and the royalty payments to OMJPI in costs of goods sold in the
           period incurred.
                  We entered into an agreement with Endo Pharmaceuticals Inc. ("Endo") and Teikoku Seiyaku Co., Ltd to settle all outstanding patent
           litigation related to our generic version ofLidoderm®. Lidoderm" is a local anesthetic indicated to relieve post-shingles pain. Per the terms
           of the agreement, on September J 5, 20 J 3, we launched our generic version of Lidoderm= (lidocaine topical patch 5%) to customers in the
           U.S. more than two years before the product's patents expire. Under applicable Hatch Waxman mies, we believe we are entitled to 180
           days of marketing exclusivity. Additionally, under the terms of the agreement, we received and distributed branded Lidoderm= prior to the
           launch of the generic version ofLidoderm®.




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 8 of 169. PageID #: 358937




        10 /16 /2 0 1 8                                                              F o rm 10 -K




           Table of Contents

               Actavis Specialty Brands Business Development
                   License and supply agreement with Merck/or Oxytrot® OTC
                 In November 2007, the Company entered into a license and supply agreement for Oxytrol® with Merck, Inc. Under terms of the
           agreement, Actavis will supply the OxytroJ·lil product to Merck and Merck will package, distribute, sell and market the product over-the-
           counter in the U.S. for the treatment of over active bladder in women ("OAB"). The agreement entitles Actavis to retain marketing rights
           for the prescription Oxytrol® product. After conducting numerous clinical trials, Merck submitted the application in March of 2012 and
           received FDA approval on January 25, 2013 as the first OTC product for the treatment ofOAB.

                   Amgen Collaboration
                 In December 2011, we entered into a collaboration agreement with Amgen Inc. ("Amgen") to develop and commercialize, on a
           worldwide basis, biosimilar versions of Herceptinv, Avastin=, Rituxan/Mab Th era®, and Erbiruxw (the "Amgen Collaboration
           Agreement"). Amgen has assumed primary responsibility for developing, manufacturing and initially commercializing the oncology
           antibody products. The Company will contribute up to £312.4 million in co-development costs over the remaining course of development,
           including the provision of development support, and will share product development risks. In addition, we will contribute our significant
           expertise in the commercialization and marketing of products in highly competitive specialty and generic markets, including helping
           effectively manage the lifecycle of the biosimilar products. The collaboration products are expected to be sold under a joint
           Arngen/Actavis label. We will initially receive royalties and sales milestones from product revenues. The collaboration will not pursue
           biosimilars of Amgen's proprietary products.

                   Global Licensing Agreement for Biosimilar Herceptin®
                 On July 13, 2012, the Company entered into a global license agreement with Synthon, obtaining an exclusive license to its
           trastuzumab molecule, which is being developed as a biosimilar to Herceptirrs. Actavis subsequently contributed the product to the
           Company's biosimilar collaboration with Amgen. Amgen and Actavis will assume all responsibility for worldwide development and
           commercialization ofbiosimilar trastuzumab, including Phase III clinical trials and global manufacturing. The agreement entitles Synthon
           to an initial payment and the opportunity to receive a milestone payment and royalties on net sales. Synthon will also receive
           compensation for transitional support activities provided under the agreement.

                   Amendment to Sanofi Collaboration Agreement
                 On October 28, 2013, Warner Chilcott Company, LLC ("WCCL"), our indirect wholly-owned subsidiary, and Sanofi-Aventis U.S.
           LLC ("'Sanofi") entered into an amendment (the "Sanofi Amendment") to the global collaboration agreement as amended (the
           "Collaboration Agreement") to which WCCL and Sanofi are parties. WCCL and Sanofi co-develop and market Acronel= and Atelvia "
           (risedronate sodium) on a global basis, excluding Japan.
                 Pursuant to the Sanofi Amendment, the parties amended the Collaboration Agreement with respect to Actonelv and Atelvia+ in the
           U.S. and Puerto Rico (the "Exclusive Territory") to provide that, in exchange for the payment of a lump sum of $125.0 million by WCCL
           to Sanofi in the year ended December 31, 2013, WCCL's obligations with respect to the global reimbursement payment, which represented
           a percentage of Actavis' net sales as defined, as it relates to the Exclusive Territory for the year ended December 31, 2014 shall be
           satisfied in full. The Sanofi Amendment did not and does not apply to or affect the parties' respective rights and obligations under the
           Collaboration Agreement with respect to (i) the remainder of2013 or (ii) territories outside the Exclusive Territory.

           Disposals
               Actavis (Foshan) Pharmaceuticals Co., Ltd. Assets Helt/for Sale
                 During the year ended December 31, 2013, we held our Chinese subsidiary, Acta vis (Foshan) Pharmaceuticals Co., Ltd. ("Foshan"),
           for sale. On January 24, 2014, we completed an agreement with Zhejiang Chiral Medicine Chemicals Co., Ltd to acquire our interest in
           Foshan (the "Foshan Sale"). We intend to continue




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 9 of 169. PageID #: 358938




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

            further commercial operations in China in collaboration with our preferred business partners. As a result of the transaction, we recognized
            an impairment on the net assets held for sale of $8.4 million in the year ended December 3 l, 2013,

                 Western European Assets Held for Sale
                  During the year ended December 31, 2013, we held for sale our Actavis' Pharrna's commercial infrastructure in France, Italy, Spain,
            Portugal, Belgium, Germany and the Netherlands, including products, marketing authorizations and dossier license rights. We believe that
            the potential divestiture allows the Company to focus on faster growth markets including Central and Eastern Europe, and other emerging
            markets which we believe will enhance our long-term strategic objectives. On January 17, 2014, we announced our intention to enter into
            an agreement with Aurobindo Pharma Limited to sell these businesses. The transaction is conditional on certain antitrust approvals and
            completion of employee consultation processes. As a result of the transaction, the Company recognized an impairment on the net assets
            held for sale of $34.3 million in the year ended December 31, 2013.

                Sale ofChangzhou Watson Pharmaceuticals Co., Ltd
                On November 27, 2013, we sold our Changzhou Watson Pharmaceuticals Co., Ltd ("Changzhou") business to Great Harmony
           Enterprises Limited, a Hong Kong Company, for a total consideration of$8.0 million (the "Changzhou Sale"). As a result of the sale, we
           recorded a gain of$2.3 million in other income (expense) in the year ended December 31,2013.

                Rugby OTC Business
                 On October 29, 2012, we sold our Rugby Group, Inc. ("Rugby") OTC pharmaceutical products and trademarks to The Harvard Drug
           Group, L.L.C. ("Harvard") for$ 116.6 million (the "Rugby Sale"). Under the terms of the agreement, Harvard acquired the Rugby
           trademark and all rights to market, sell and distribute OTC products and nicotine gum products sold under the trademark. We retained all
           rights to manufacture, sell and distribute all store-branded OTC and nicotine gum products, as well as other non-Rugby OTC products in
           our portfolio. We retained ownership of our nicotine gum AND As, as well as nicotine gum manufacturing facilities. Also, as part of the
           transaction, we entered into a supply and license agreement with Harvard under which we manufacture and supply nicotine gum products
           sold under the Rugby and Major labels. Major is Harvard's existing private label brand.

                Sale ofMoksha8 Ownership
                 On October 22, 2012, we sold our investment in Moksha8 Pharmaceuticals, Inc. ("Moksha8") for $46.6 million (the "Moksha8
           Sale"). Simultaneously, we expanded our ongoing sales and marketing collaboration with Moksha8 by granting a license to Moksha8 for
           five new branded generic products to be developed for the Brazilian and Mexican markets in exchange for defined milestones and sales
           royalties. We retained generic marketing rights in each market for all products licensed to Moksha8. As a result of the sale, we recorded a
           gain of $28.8 million in other income (expense) in the year ended December 3 I, 2012. During the year ended December 31, 2013, we
           terminated the agreement with Moksha8, resulting in a loss of $4.0 million.

           Business Description
                 Prescription pharmaceutical products in the U.S. generally are marketed as either generic or brand pharmaceuticals. Generic
           pharmaceutical products are bioequivalents of their respective brand products, or in cases of protein-based biologic therapies, biosimilar,
           and provide a cost-efficient alternative to brand products. Brand pharmaceutical products are marketed under brand names through
           programs that are designed to generate physician and consumer loyalty. Through our Anda Distribution Segment, we distribute
           pharmaceutical products, primarily generics, which have been commercialized by us and others, to pharmacies and physicians' offices. As
           a result of the differences between the types of products we market and/or distribute and the methods by which we distribute these
           products, we operated and managed our business as three distinct operating segments as of December 3I,2013: Actavis Pharma, Actavis
           Specialty Brands and Anda Distribution. The Company also develops and out-licenses generic pharmaceutical products through its Medis
           third-party business.




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 10 of 169. PageID #: 358939




        10 /1 6 /2 0 1 8                                                              F o rm 10 -K




           Table of Contents

           Business Strategy
                  We apply three key strategies to achieve growth for our Actavis Pharma and Actavis Specialty Brands pharmaceutical businesses:
           (i) internal development of differentiated and high-demand products, including, in certain circumstances, challenging patents associated
           with these products, (ii) establishment ofstrategic alliances and collaborations and (iii) acquisition of products and companies that
           complement our current business. Our Medis third-party business has a broad portfolio of over 175 developed products for out licensing to
           approximately 330 customers, primarily in Europe. Our Anda Distribution business distributes products for approximately 400 suppliers
           and is focused on providing next-day delivery and responsive service to its customers. Our Anda Distribution business also distributes a
           number of generic and brand products in the U.S. Growth in our Anda Distribution business will be largely dependent upon FDA approval
           of new generic products in the U.S. and expansion of our base of suppliers.
                Based upon business conditions, our financial strength and other factors, we regularly reexamine our business strategies and may
           change them at any time. Refer to "ITEM IA. RISK FACTORS- Risks Related to Our Business" in this Annual Report.

           Actavis Pharma Segment
                 Actavis is a leader in the development, manufacturing and sale of generic, branded generic and OTC pharmaceutical products. In
           certain cases where patents or other regulatory exclusivity no longer protect a brand product, or other opportunities might exist, Actavis
           seeks to introduce generic counterparts to the brand product. These generic products are bioequivalent to their brand name counterparts
           and are generally sold at significantly lower prices than the brand product. Our portfolio of generic products includes products we have
           developed internally and products licensed from and distributed for third parties. Net revenues in our Actavis Pharma segment accounted
           for $6.4 billion, $4.4 billion and $3.4 billion, or approximately 73.2%, 75.2% and 73.4% of our total net revenues in the years ended
           December 3 I, 20 I 3, 20 I 2 and 201 I, respectively. Our Acta vis Pharma business in the U.S. remains the dominant source of revenue for the
           Company with approximately 60%, 75% and 84% of 2013, 2012 and 2011 segment net revenue coming from our U.S. businesses,
           respectively. While our U.S. generics business will continue to be the dominant source of revenue for the Company, we expect
           international generic revenue to represent an increasing percentage of total revenues in future periods due to the Actavis Group
           Acquisition.

           Actavis Pharma Strategy
                 Our Actavis Pharma business is focused on maintaining a leading position within both the U.S. generics market and our key
           international markets and strengthening our global position by offering a consistent and reliable supply of quality products.
                Our strategy in the U.S. is to develop generic pharmaceuticals that are difficult to formulate or manufacture or will complement or
           broaden our existing product lines. Internationally, we seek to grow our market share in key markets while expanding our presence in new
           markets. We plan to accomplish this through new product launches, filing existing products overseas and in-licensing products through
           acquisitions and strategic alliances. Additionally, we distribute generic versions of third parties' brand products (sometimes known as
           "Authorized Generics") to the extent such arrangements are complementary to our core business.
                    We have maintained an ongoing effort to enhance efficiencies and reduce costs in om manufacturing operations.




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 11 of 169. PageID #: 358940




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

            Actavis Pharma Product Portfolio
                     Our U.S. portfolio of approximately 250 generic pharmaceutical product families includes the following key products:

            Actavis Generic Product                                                   Comparable Brand N:unc                 Therapeutic Classilication

            Amethia™                                                     Seasonique>                                    Oral contraceptive
            Bupropion hydrochloride ER                                   Wellbmrin XL·>!>                               Anti-depressant
            Buprenorphine HCI, Naloxone HCI                              Suboxones                                      Anti-depressant
            Desonide lotion and cream                                    Desowen®                                       Dermatology
            Doxycycline hyclate                                          Vibrarnycinw                                   Antibiotic
            Dronabinol                                                   Marino!®                                       Antiemetic
           Duloxetine HCI                                                Cymbalta·&·                                    Anti-depressant
            Enoxaparin sodium                                            Lovenoxf                                       Anticoagulant
            Fentanyl rransdermal system                                  Duragesic®                                     Analgesic/narcotic combination
            Glipizide ER                                                 Glucotrol XL'.!>                               Anti-diabetic
           Hydrocodone bitartrate/ acetaminophen                         Lorcetv, Lorcetv Plus, Lortab®,                Analgesic
                                                                         Norco®/Anexsia®, Maxidones, Yicodin®,
                                                                         Yicodin ESG.·, Yicodin HP®
           Levalbuterol inhaltion solution                               Xopenex® Inhalation Solution                   Broncodiolator
            Lidocaine topical patch 5%                                   Lidodennv                                      Anesthetic
           Methylphenidate ER                                            Concetta"                                      Hypertension, attention-deficit/
                                                                                                                        hyperactivity disorder
           Metoprolol succinate                                          ToprolXL11                                     Anti-hypertensive
           Microgestin®/Microgestin·K· Fe                                Loestrine/Loestrins Fe                         Oral contraceptive
           Mixed Amphetamine Salts ER                                    Adderall XR® en                                Hypertension, attention-deficit/
                                                                                                                        hyperactivity disorder
           Modafinil                                                     Provigil~•                                     Sleep disorder
           Morphine sulfate                                              Kadiarrs                                       Analgesic
           Next Choice One Dose'>'                                       Plan B One-Stepv                               Emergency oral contraceptive
           Potassium                                                     Micro-Kv, K-Dur!>                              Hypokalemia
           Permethrin                                                    Elimite                                        Dermatology
           Yalsartan                                                     Diovan®                                        Hypertension

                 In the U.S., we predominantly market our generic products to various drug wholesalers, mail order, government and national retail
           drug and food store chains utilizing a small team of sales and marketing professionals. We sell our generic prescription products primarily
           under the "Watson Laboratories", "Watson Pharma" and "Actavis Pharma" labels, and our OTC generic products under private label. In
           early 2013, following the renaming of Watson Pharmaceuticals, Inc. to Actavis, Inc., efforts began to change the underlying "Watson"
           subsidiary and legal entity riames to an "Actavis" name.
                During 2013, on a combined business, we expanded our generic product line with the launch of approximately 700 generic products
           globally. Key U.S. generic launches in 2013 included a generic Lidodenn® (lidocaine topical patch 5%), Suboxonev (buprenorphine HCL /
           nalaxone HCL), Diovanv (valsartan), Provigil® (modafinil), Desowen® (desonide lotion and cream) and Cymbalta+ (duloxetine HCT).

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 12 of 169. PageID #: 358941




         10 /1 6 /2 0 1 8                                                                   F o rm 10 -K




            Table of Contents

            Operations in Key International Markets
                 Approximately 40%, 25% and 16% of our Actavis Pharma revenue was derived outside the U.S. in 2013, 2012 and 2011,
            respectively, primarily in Western Europe, Canada and Australia. With the close of the Actavis Group Acquisition on October 3 J, 20 I 2,
            the Company now has operations in more than 60 countries, with leading generic marker share positions in key strategic markets including
            the U.S., U.K., Canada, Australia, Nordics and Russia. In the year ended December 31, 2013, revenues attributed to Ireland, our country of
            domicile, were approximately S24.9 million.

            Actavis Pharma Research and Development
                  We devote significant resources to the research and development of generic products and proprietary drug delivery technologies. The
            Actavis Pharma segment incurred R&D expenses of approximately S425. I million, $256.3 million and S24 I .8 million in the years ended
            December 31, 2013, 20 I 2 and 2011, respectively. We are presently developing a number of generic products through a combination of
            internal and collaborative programs.
                     Our Actavis Pharma R&D strategy focuses on the following product development areas:
                            off-patent drugs that are difficult to develop or manufacture, or that complement or broaden our existing product lines; and
                            the development of sustained-release, semi-solid, liquid, oral transrnucosal, transderrual, gel, injectable, and other drug delivery
                            technologies and the application of these technologies to proprietary drug forms.
                  We conduct research and development through a network of 17 global R&D centers. Our R&D activities focus on products using
            solid dosage form, oral controlled and sustained release, transdermal, gel and oral transmucosal technologies and, following the acquisition
            of Actavis Group, also focuses on liquids, semi-solids and injectables. As of December 31, 2013, we conducted the majority of our R&D
            activities in Davie and Weston, Florida; Salt Lake City, Utah; Elizabeth, New Jersey; Owings Mills, Maryland and Mumbai, India.
                  As of December 31, 2013, we had more than 195 ANDAs on file in the U.S. Refer to the "Government Regulation and Regulatory
            Matters" section below for a description of our process for obtaining FDA approval for our products. Refer to "ITEM I A. RISK
            FACTORS - Risks Relating to Investing in the Pharmaceutical Indust1y- Extensive industry regulation has had, and will continue to
            have, a significant impact on our business, especially our product development, manufacturing and distribution capabilities" in this Annual
            Report.

            Actavis Specialty Brands Segment
                  Newly developed pharmaceutical products normally are patented or have market exclusivity and, as a result, are generally offered by
            a single provider when first introduced to the market. We currently market a number of branded products to physicians, hospitals, and
            other markets that we serve. We classify these patented and off-patent trademarked products as our brand pharmaceutical products. In
            October 2013, as a result of the Warner Chilcott Acquisition, we began promoting a number of additional products, including, but not
            limited to, Actonele, Asacols HD, Atelvia s, Delzicol>, Doryx~·, Estracev Cream, Enablexs, Lo Loestrin= Fe and Minastrin® 24 Fe. In
            April 2012, we launched Gelnique 3%TM (oxybutynin), a clear, odorless topical gel that has been shown to be an effective and safe
            treatment for OAB. Gelnique 3%™ was obtained through an exclusive licensing agreement with Antares Pharma, Inc, Net revenues in our
            Actavis Specialty Brands segment were $1,124.8 million, $482.4 million and $441.0 million, or approximately 13.0%, 8.2% and 9.6% of
            our total net revenues in the years ended December 31, 2013, 2012 and 2011, respectively. Typically, our brand products realize higher
            profit margins than our generic products.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 13 of 169. PageID #: 358942




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

                 Our portfolio of approximately 45 brand pharmaceutical product families includes the following key products, which represented
            approximately 80% of total Actavis Specialty Brands segment product revenues in 2013:
                       Actavis Brand Pro duct                   Active InO'redient                                   Therapeutic Classification
                       Actonelv                 R isedronate                                             Osteoporosis
                       Androderrrr"             Testosterone (transderrnal patch)                        Male testosterone replacement
                       Asacols HD               Mesalamine                                               Ulcerative Colitis
                       Atelviaw                 Risedronate                                              Osteoporosis
                       Crinonew                 Progesterone                                             Progesterone supplementation
                       Delzicol'"               Mesalamine                                               Ulcerative Colitis
                       D01yx®                   Doxycycline hyclate                                      Acne
                       Enablex+                 Darifenacin                                              Overactive bladder
                       Estracev Cream           Esrra diol                                               Hormone Therapy
                       Generess'" Fe            Ethinyl estradiol and norethindrone                      Oral contraceptive
                       INFeD®                   Iron dextran                                             Hematinic
                       Kadian®                  Morphine sulfate                                         Opioid analgesic
                       Lo Loestrins' Fe         Ethinyl estradiol and norethindrone                      Oral contraceptive
                       Minastrin+ 24 Fe         Ethinyl estradiol and norethindrone                      Oral contraceptive
                       Oxytrol"                 Oxybutnin (transdermal patch)                            Overactive bladder
                       Rapaflo;i                Silodosin                                                Benign prostatic hyperplasia
                       Trelstar"                Triptorelin pamoate injection                            Prostate cancer

                  We market our brand products through approximately 3,500 active sales professionals in the world. Our sales and marketing efforts
            focus on physicians, specifically urologists, obstetricians, dermatologists, gasrroenterologists and gynecologists, who specialize in the
            diagnosis and treatment of particular medical conditions. Each group offers products to satisfy the unique needs of these physicians. We
            believe this focused sales and marketing approach enables us to foster close professional relationships with specialty physicians, as well as
            cover the primary care physicians who also prescribe in selected therapeutic areas. Following the renaming of Watson Pharmaceuticals,
            Inc. to Actavis, Inc. in January 2013, and in connection with the Warner Chilcott Acquisition, efforts are underway to change the
            underlying subsidiary and legal entities names to an "Actavis" name. We believe that the current structure of sales professionals is very
            adaptable to the additional produces we plan to add to our brand portfolio, particularly in the therapeutic category of women's health.
                   Our key promoted products are Actonels. Androdenn®, Asacol® HD, Atelvia®, Crinone+, Delzicolv, Doryx®, Enablexv, Estrace®
            Cream, Generess® Fe, Lo Loestrin® Fe, Minastrin® 24 Fe, Rapaflov and Trelstarv. Our Actavis Specialty Brands segment also receives
            other revenues consisting of co-promotion revenue and royalties. We promote AndroGel® on behalf of Abbvie Inc. We expect to continue
            this strategy of supplementing our existing brand revenues with co-promoted products within ow- targeted therapeutic areas. Other
            revenue, which consists primarily of royalties, milestone receipts, commission income and revenue from licensing arrangements totaled
            $82.2 million, S70.8 million and $76.l million or approximately 7.3%, 14.7% and 17.3% of ow- total Actavis Specialty Brands segment
            net revenue for the years ended December 31, 2013, 2012 and 2011, respectively.

            Operations in Key Internation al Markets
                 In conjunction with our strategy to grow and expand our Actavis Specialty Brands business in the Americas, in 2011 we established a
           commercial presence in Canada. In 2012 we began marketing and selling Rapaflo®, Getnique>, Oxyrrolv, and Androdermv in Canada and
           in 2013 we launched Fibrista!". Our Canadian sales efforts are supported by our sales force which targets urologists and primary care
           physicians. Actavis plans to seek approval for several of its core Urology and Women's healthcare branded products in both Brazil and
           Mexico and intends to commercialize the products in this region once approval is obtained.

                                                                                     12




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                        12/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 14 of 169. PageID #: 358943




         10 /1 6 /2 0 1 8                                                                   F o rm 10 -K




            Table of Contents

                  Outside of the Americas, we intend lo maximize the value of our brand product portfolio and pipeline by utilizing the assets and
            expertise brought to our organization by the Actavis Group and Warner Chilcott acquisitions. Outside of the U.S., Aciavis has a sales force
            that actively promotes branded, generic, branded-generic, and OTC medicines. This sales force will play an important role in expanding
            the global commercial value of our portfolios, including our branded portfolio.

            Actavis Specialty Brands Research and Development
                 We devote significant resources to the R&D of brand products, biosimilars and proprietary drug delivery technologies. A number of
            our brand products are protected by patents and have enjoyed market exclusivity. Actavis Specialty Brands segment R&D expenses were
            $191.8 million, $146.2 million and $64.8 million in the years ended December 31, 2013, 2012 and 2011, respectively.
                     Our Actavis Specialty Brands R&D strategy focuses on the following product development areas:
                            the application of proprietary drug-delivery technology for new product development in specialty areas; and
                            the acquisition of mid-to-late development-stage brand drugs and biosimilars.
                  We are presently developing a number of brand products, some of which utilize novel drug-delivery systems, through a combination
            of internal and collaborative programs including tile following:


                                                                                             Potential                                      Formuhuion/
                                                                                            Indication/                                       Roule of         Current
            Project/Product                                                                 Disease Arca             Business Franchise    Administration       Phase
            Albaconazole VVC                                                      Vulvovaginal cundidiasis          \Vomc:n's Hc:allh                          -1-
                                                                                                                                                                 ,-
            E4/Proeestin OC                                                       Oral Contraception                Women's Health        Solid oral dose        11
            WC3055 Udcnafil BPH                                                   BPH + Erectile Dysfunction        Urology               Solid oral dose        JI
            WC3035 Sarccyclinc                                                    Moderate 10 severe acne           Dcnnatology           Solid oral dose        JI
            Oxybutynin Hyperhidrosis                                              Hyperhidrosis                     Derrruu clogy                                IT
            Albaconazole Onychomycosis                                            Onychomycosis                     Dermatology                                  n
            Esmya«-Fibroids (l..iS)                                              Trcauncnt of signs and             Women's Health        Solid oral dose        Ill
                                                                                 symptoms of uterine fibroids
            Diafc:r{~                                                            Improve c:mbryo selection in JVF   \Vomc:n's Health      Testing kit            Ill
            \VC301 I E2 Vaeinal Cream                                            Hormone therapy                    Women's Health        Vaginal cream/gel      lil
            WC3043 Udcn;fil ED                                                   Erectile Dysfunction               Urology               Solid oral dose        lil
            Amg/Act Hcrccptintlt                                                 HER2 positive malignancies         Biologic              Intravenous vial       II.I
            Amg/Ai.:I Avastin'!J                                                 Various muliguuncies               Biologic              lntTUVC:llOUS viul     Ill
            rFSH                                                                 Development of multiple            Biologic              Subcutaneous           111
                                                                                 follicles in ART program (JVF)                           injectable pen
            WC2055 Doxycyclinc Ncxtfleu                                          Doxycyclinc class labeling,        Dcnnatology           Solid oral dose        Ill
                                                                                  inclmHng moderate/severe acne:


                     We also have a number of products in development as part of our life-cycle management strategy on our existing product portfolio.

                Biosimilars
                     Biosirnilars development efforts are managed by our Actavis Specialty Brands segment.

                  1n July 2010, the Company entered into an exclusive, worldwide licensing agreement with Itero Biophanuaccuticals, lnc. ("Itero"), a
            venture-backed specialty biopharrnaceutical company, to develop and commercialize hero's recombinant follicle stimulating hormone
            (''rFSH") product. In 2012, tile product began clinical development as a biosimilar molecule for in vitro fertilization. Under the terms of
            the agreement, Actavis paid Itcro an undisclosed licensing fee and will make additional payments based on the achievement of certain
            development and regulatory performance milestones. Upon successful commercialization, Actavis will also pay Itero a percentage of net
            sales or net profits in various regions of the world. Actavis assumed responsibility for all future development, manufacturing, and
            commercial expenses related to hero's rFSH product.

                                                                                      13




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.hlm                                                                   13/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 15 of 169. PageID #: 358944




         10 /16 /2 0 1 6                                                               F or m 10 -K




           Table of Contents

                  In December 2011, we entered into the Amgen Collaboration Agreement. The Company will contribute co-development costs over
            the remaining course of development, including the provision of development support, and will share product development risks. At
            December 31, 2013, Acta vis' maximum potential remaining co-development obligation under this agreement was $312.4 million. In
            addition, we will contribute our significant expertise in the commercialization and marketing of products in highly competitive specialty
            and generic markets, including helping effectively manage the lifecycle of the biosimilar products. The collaboration products are
            expected to be sold under a joint Amgen/Actavis label. We will initially receive royalties and sales milestones from product revenues. The
            collaboration will not pursue biosimilars of Amgen 's proprietary products.

           Anda Distribution Segment
                  Our Anda Distribution business primarily distributes generic and selected brand pharmaceutical products, vaccines, injectables and
           OTC medicines to independent pharmacies, alternate care providers (hospitals, nursing homes and mail order pharmacies), pharmacy
           chains and physicians' offices. Additionally, we sell to 111e11Jbers of buying groups, which are independent pharmacies that join together to
           enhance their buying power. We believe that we are able to effectively compete in the distribution market, and therefore optimize our
           market share, based on three critical elements: (i) competitive pricing, (ii) high levels of inventory for approximately 12,725 SKUs for
           responsive customer service that includes, among other things, next day delivery to the entire U.S., and (iii) well established telemarketing
           relationships with our customers, supplemented by our electronic ordering capabilities. While we purchase most of the approximate
           12,725 SKUs in our Anda Distribution operations from third party manufacturers, we also distribute our own products and our
           collaborative partners' products. We are the only U.S. pharmaceutical company that bas meaningful distribution operations with direct
           access to independent pharmacies.
                 Revenue growth in our distribution operations will primarily be dependent on the launch of new products, offset by the overall level
           of net price and unit declines on existing distributed products and will be subject to changes in market share.
                We presently distribute products from our facilities in Weston, Florida, Groveport, Ohio, and Olive Branch, Mississippi. In 2012, we
           completed construction of the 234,000 square foot distribution facility in Olive Branch, Mississippi and over time, we expect to relocate
           our Groveport, Ohio distribution operations to this new facility.

           Financial Information About Segments and Geographic Areas
                 Actavis evaluates the performance of its Actavis Pharma, Actavis Specialty Brands and Anda Distribution business segments based
           on net revenues and segment contribution. Summarized net revenues and segment contribution information for each of the last three fiscal
           years in the U.S. and internationally, where applicable, is presented in "NOTE 17 - Segments" in the accompanying "Notes to
           Consolidated Financial Statements" in this Annual Report.

           Customers
                In our Actavis Pharma and Actavis Specialty Brands operations, we sell our generic and brand pharmaceutical products primarily to
           drug wholesalers, retailers and distributors, including national retail drug and food store chains, hospitals, clinics, mail order, government
           agencies and managed healthcare providers such as health maintenance organizations and other institutions. In our Anda Distribution
           business, we distribute generic and brand pharmaceutical products to independent pharmacies, alternate care providers (hospitals, nursing
           homes and mail order pharmacies), pharmacy chains, physicians' offices and buying groups.

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         https://www.sec.gov/Archives/edgar/data/157BB45/000119312514066242/d64B811 d1 Ok.him                                                         14/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 16 of 169. PageID #: 358945




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

                 Sales to certain of our customers accounted for 1 0% or more of our annual net revenues during the past three years. The acquisitions
            of Warner Chilcott and Actavis, and the related change in the mix of global sales resulting from these acquisitions had the impact of
            lowering overall concentration risk for us. The following table illustrates any customer, on a global basis, which accounted for 10% or
            more of our annual net revenues in any of the past three fiscal years and the respective percentage of our net revenues for which they
            account for each of the last three years:

                        Customer                                                                                           2013        2012       1!!!.!.
                        McKesson Corporation                                                                                 11%        14%          14%
                        Wal greens                                                                                            9%        16%          16%

                  McKesson and certain of our other customers comprise a significant part of the distribution network for pharmaceutical products in
            North America. As a result, a small number oflarge, wholesale distributors and large chain drug stores control a significant share of the
            market. This concentration may adversely impact pricing and create other competitive pressures on drug manufacturers. Om Anda
            Distribution business competes directly with our large wholesaler customers with respect to the distribution of generic products.
                  The loss of any of these customers could have a material adverse effect on our business, results of operations, financial condition and
            cash flows. Refer to "ITEM I A. RISK FACTORS- Risk Relating to Investing in the Pharmaceutical lndust1y- Sales of our products
            may continue to be adversely affected by the continuing consolidation of our distribution network and the concentration of our customer
            base." in this Annual Report.

            Competition
                  The pharmaceutical industry is highly competitive. In our Actavis Pharma and Actavis Specialty Brands businesses, we compete
            with different companies depending upon product categories, and within each product category, upon dosage strengths and drug delivery
            systems. Such competitors include the major brand name and generic manufacturers of pharmaceutical products. In addition to product
            development, other competitive factors in the pharmaceutical industry include product quality and price, reputation and service and access
            to proprietary and technical information. It is possible that developments by others will make our products or technologies noncompetitive
            or obsolete.
                  We actively compete in the generic pharmaceutical industry. Revenues and gross profit derived from the sales of generic
            pharmaceutical products tend to follow a pattern based on certain regulatory and competitive factors. As patents and regulatory exclusivity
            for brand name products expire or are successfully challenged, the first off-patent manufacturer to receive regulatory approval for generic
            equivalents of such products is generally able to achieve significant market penetration. As competing off-patent manufacturers receive
            regulatory approvals on similar products, market share, revenues and gross profit typically decline, in some cases dramatically.
            Accordingly, the level of market share, revenues and gross profit attributable to a particular generic product normally is related to the
            number of competitors in that product's market pricing and the timing of that product's regulatory approval and launch, in relation to
            competing approvals and launches. Consequently, we must continue to develop and introduce new products in a timely and cost-effective
            manner to maintain our revenues and gross profit. In addition to competition from other generic drug manufacturers, we face competition
            from brand name companies in the generic market. Many of these companies seek to participate in sales of generic products by, among
            other things, collaborating with other generic pharmaceutical companies or by marketing their own generic equivalent to their brand
            products as Authorized Generics. Our major competitors include Teva Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz, Inc. (a
            division of Novartis AG). Refer to "ITEM I A. R TSK FACTORS - Risks Related to Investing in the Pharmaceutical Industry- The
            pharmaceutical industry is highly competitive and our future revenue growth and profitability are dependent on our timely development
            and launches of new products ahead of our competitors" in this Annual Report.
                  Competing in the brand product business requires us to identify and bring to market new products embodying technological
            innovations. Successful marketing of brand products depends primarily on the ability to communicate their effectiveness, safety and value
            to healthcare professionals in private practice, group practices and receive

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 17 of 169. PageID #: 358946




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

            formulary status from managed care organizations. We anticipate that our brand product offerings will support our existing areas of
            therapeutic focus. Based upon business conditions and other factors, we regularly reevaluate our business strategies and may from time to
            time reallocate our resources from one therapeutic area to another, withdraw from a therapeutic area or add an additional therapeutic area
            in order to maximize our overall growth opportunities. Our competitors in brand products include major brand name manufacturers of
            pharmaceuticals. Based on total assets, annual revenues and market capitalization, our Actavis Specialty Brands segment is considerably
            smaller than many of these competitors and other global competitors in the brand product area. Many of our competitors have been in
            business for a longer period of time, have a greater number of products on the market and have greater financial and other resources than
            we do. lfwe directly compete with them for certain contracted business, such as the Pharmacy Benefit Manager business, and for the same
            markets and/or products, their financial strength could prevent us from capturing a meaningful share of those markets.
                 In our Anda Distribution business, we compete with a number of large wholesalers and other distributors of pharmaceuticals,
           including McKesson Corporation, AmerisourceBergen Corporation and Cardinal Health, Inc., which distribute both brand and generic
           pharmaceutical products to their customers. These same companies are significant customers of our Actavis Pharma and Actavis Specialty
           Brands pharmaceutical businesses. As generic products generally have higher gross margins than brand products for a pharmaceutical
           distribution business, each of the large wholesalers, on an increasing basis, are offering pricing incentives on brand products if the
           customers purchase a majority of their generic pharmaceutical products from the primary wholesaler. As we do not offer as broad a
           portfolio of brand products to our customers as some of our competitors, we are at times competitively disadvantaged. Increased
           competition in the generic industry as a whole may result in increased price erosion in the pursuit of market share. Refer to "ITEM !A.
           RISK FACTORS - Risks Related to Our Business - Our Anda Distribution operations compete directly with significant customers of
           our generic and brand businesses" in this Annual Report.

            Manufacturing, Suppliers and Materials
                  We manufacture many of our own finished products at our plants including major manufacturing sites in Athens, Greece; Barnstaple,
           UK; Birzebbugia, Malta; Corona, California; Davie, Florida; Nerviano, Italy; Dupnitsa, Bulgaria; Elizabeth, New Jersey; Goa, India;
           Hafnarfjordur, Iceland; Lincolnton, North Carolina; Fajardo, Puerto Rico; Weiderstadt, Germany and Salt Lake City, Utah. We have
           implemented several cost reduction initiatives, which included the transfer of several solid dosage products from our Corona, California
           facility to other facilities throughout our manufacturing network and the ongoing implementation of an operational excellence initiative at
           certain of our manufacturing facilities. We have also announced our intent to close our Pharmapack, Netherlands facility in 2014 and
           Lincolnton, North Carolina manufacturing facility by 2015, moving the production of certain prescription products to our Salt Lake City,
           Utah facility and contracting with third parties for the manufacture of certain OTC products. Om manufacturing facilities also include
           additional plants supporting local markets and alternative dosage forms. For a more complete list of manufacturing facilities please refer to
           "ITEM 2. PROPERTIES" in this Annual Rep011.
                  We have development and manufacturing capabilities for raw material and active pharmaceutical ingredients ("AP!") and
           intermediate ingredients to support our internal product development efforts in our Coleraine, Northern Ireland and Arnbernath, India
           facilities. Our Arnbernath, India facility also manufactures AP! for third parties.
                 Our manufacturing operations are subject to extensive regulatory oversight and could be interrupted at any time. Our Corona,
           California facility is currently subject lo a consent decree of permanent injunction. Refer to "ITEM I A. RISK FACTORS - Risks
           Relating to Investing in the Pharmaceutical Industry - Extensive industry regulation has had, and will continue to have, a significant
           impact on our business, especially our product development, manufacturing and distribution capabilities." Also refer to Legal Matters in
           "NOTE 21 - Commitments and Contingencies" in the accompanying "Notes to Consolidated Financial Statements" in this Annual
           Report.
                In addition, we are dependent on third parties for the supply of the raw materials necessary to develop and manufacture our products,
           including the API and inactive pharmaceutical ingredients used in many of om products.

                                                                                16




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      16/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 18 of 169. PageID #: 358947




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            We are required lo identify the supplier(s) of all the raw materials for our products in the drug applications that we file with the FDA. If
            raw materials for a particular product become unavailable from an approved supplier specified in a drug application, we would be required
            to qualify a substitute supplier with the FDA, which would likely interrupt manufacturing of the afTected product. To the extent
            practicable, we attempt to identify more than one supplier in each drug application. However, some raw materials are available only from a
            single source and, in many of our drug applications, only one supplier of raw materials has been identified, even in instances where
            multiple sources exist.
                  Further we obtain a significant portion of our raw materials from foreign suppliers. Arrangements with international raw material
            suppliers are subject to, among other things, FDA regulation, customs clearance, various import duties, foreign currency risk and ocher
            government clearances. Acts of governments outside the U.S. may affect the price or availability of raw materials needed for the
            development or manufacture of our produces. In addition, any changes in parent laws in jurisdictions outside the U.S. may make it
            increasingly difficult to obtain raw materials for R&D prior co the expiration of the applicable U.S. or foreign patents. Refer to "ITEM I A.
            RISK FACTORS - Risks Related to Our Business - Ifwe are unable to obtain sufficient supplies from key manufacturing sites or
            suppliers that in some cases may be the only source of finished products or raw materials, our ability to deliver our products to the market
            may be impeded" in this Annual Report. Refer co "ITEM !A-RISK FACTORS - Risks Relating to Investing in the Pharmaceutical
            Industry - The supply of AP!s into Europe may be negatively affected by recent regulations promulgated by the European Union" in this
            Annual Report.

            Patents and Proprietary Rights
                  We believe patent protection of our proprietary products is important lo our Acta vis Specialty Brands business. Our success with our
            brand products will depend, in part, on our ability to obtain, and successfully defend if challenged, patent or other proprietary protection
            for such products. We currently have a number of U.S. and foreign patents issued or pending. However, the issuance of a patent is not
            conclusive as to its validity or as to the enforceable scope of the claims of the patent. Accordingly, our patencs may not prevent other
            companies from developing similar or functionally equivalent products or from successfully challenging the validity of our patents. If our
            patent applications are not approved or, even if approved, if such patents are circumvented or not upheld in a court of law, our ability to
            competitively market our patented products and technologies may be significantly reduced. Also, such patents may or may not provide
            competitive advantages for their respective products or they may be challenged or circumvented by competitors, in which case our ability
            to commercially market these products may be diminished. From time to time, we may need to obtain licenses to patents and other
            proprietary rights held by third parties to develop, manufacture and market our products. Jfwe are unable to timely obtain these licenses
            on commercially reasonable terrns, our ability to commercially market such products may be inhibited or prevented. Patents covering our
            Estrace® Cream, Androdermw, Femhrt® and INFed® products have expired and we have no further patent protection on these products.
                  We also rely on trade secrets and proprietary know-how that we seek to protect, in part, through confidentiality agreements with our
            partners, customers, employees and consultants. It is possible that these agreements will be breached or will not be enforceable in every
            instance, and we will not have adequate remedies for any such breach. It is also possible that our trade secrets will otherwise become
            known or independently developed by competitors.
                  We may find it necessary to initiate litigation lo enforce our patent rights, to protect our trade secrets or know-how or to determine
            the scope and validity of the proprietary rights of others. Litigation concerning patents, trademarks, copyrights and proprietary
            technologies can often be protracted and expensive and, as with litigation generally, the outcome is inherently uncertain.
                  Pharmaceutical companies with brand products are suing companies that produce off-patent forms of their brand name products for
            alleged patent infringement or other violations of intellectual property rights which may delay or prevent the entry of such a generic
            product into the market. For instance, when we file an ANDA in the U.S. seeking approval of a generic equivalent to a brand drug, we
            may certify under the Drug Price Competition and Patent Restoration Act of 1984 (the "Hatch-Waxman Act") to the FDA that we do not
            intend to market our generic drug until any patent listed by the FDA as covering the brand drug has expired, in which case, the ANDA

                                                                                  17




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                         17/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 19 of 169. PageID #: 358948




         10 /16 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

            will be approved by the FDA no earlier than the expiration or final finding of invalidity of such patent(s). On the other hand, we could
            certify that we believe the patent or patents listed as covering the brand drug are invalid and/or will not be infringed by the manufacture,
            sale or use of our generic form of the brand drug. In that case, we are required to notify the brand product holder or the patent holder that
            such patent is invalid or is not infringed. If the patent holder sues us for patent infringement within 45 days from receipt of the notice, the
            FDA is then prevented from approving our ANDA for 30 months after receipt of the notice unless the lawsuit is resolved in our favor in
            less time or a shorter period is deemed appropriate by a court. In addition, increasingly aggressive tactics employed by brand companies to
            delay generic competition, including the use of Citizen Petitions and seeking changes to U.S. Pharmacopeia, have increased the risks and
            uncertainties regarding the timing of approval of generic products.
                  Litigation alleging infringement of patents, copyrights or other intellectual property rights may be costly and time consuming. Refer
            to "ITEM IA. RJSK FACTORS- Risks Related to Our Business -Third parties may claim that we infringe their proprietary rights and
            111ay prevent us from manufacturing and selling some of our products" and Legal Matters in "NOTE 21 - Commitments and
            Contingencies" in the accompanying "Notes to Consolidated Financial Statements" in this Annual Report.

            Government Regulation and Regulatory Matters
            United States
                All pharmaceutical manufacturers, including Actavis, are subject to extensive, complex and evolving regulation by the federal
           government, principally the FDA, and to a lesser extent, by the U.S. Drug Enforcement Administration ("DEA"), Occupational Safety and
           Health Administration and state government agencies, as well as by various regulatory agencies in foreign countries where our products or
           product candidates are being manufactured and/or marketed. The Federal Food, Drug and Cosmetic Act, the Controlled Substances Act
           and other federal statutes and regulations govern or influence the testing, manufacturing, packing, labeling, storing, record keeping, safety,
           approval, advertising, promotion, sale and distribution of our products. In our international markets, the approval, manufacture and sale of
           pharmaceutical products is similar to the United States with some variations dependent upon local market dynamics.
                FDA approval is required before any dosage form of any new drug, including an off-patent equivalent of a previously approved drug,
           can be marketed. The process for obtaining governmental approval to manufacture and market pharmaceutical products is rigorous, time-
           consuming and costly, and the extent to which it may be affected by legislative and regulatory developments cannot be predicted. We are
           dependent on receiving FDA and other governmental approvals prior to manufacturing, marketing and shipping new products. Refer to
           "ITEM IA. RISK FACTORS -Risks Related to Our Business- Ifwe are unable to successfully develop or commercialize new
           products, our operating results will suffer." and"- Extensive industry regulation has had, and will continue to have, a significant impact
           on our business, especially our product development, manufacturing and distribution capabilities" in this Annual Report.
                All applications for FDA approval must contain information relating to product formulation, raw material suppliers, stability,
           manufacturing processes, packaging, labeling and quality control. There are generally two types of applications for FDA approval that
           would be applicable to our new products:
                           NDA. We file a New Drug Application ("NDA") when we seek approval for drugs with active ingredients and/or with dosage
                           strengths, dosage forms, delivery systems or pharmacokinetic profiles that have not been previously approved by the FDA.
                           Generally, NDAs are filed for newly developed brand products or for a new dosage form of previously approved drugs.
                           ANDA. We file an ANDA when we seek approval for off-patent, or generic equivalents of a previously approved drug.
                 For innovative, or non-generic, new drugs, an FDA-approved NDA is required before the drug may be marketed in the United States.
           The NDA must contain data to demonstrate that the drug is safe and effective for its intended uses and that it will be manufactured to
           appropriate quality standards. In order to demonstrate safety and effectiveness, an NDA generally must include or reference pre-clinical
           studies and clinical data from

                                                                                  18




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                         18/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 20 of 169. PageID #: 358949




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            controlled trials in humans. For a new chemical entity, th.is generally means that lengthy, uncertain and rigorous pre-clinical and clinical
            testing must be conducted. For compounds that have a record of prior or current use, it may be possible to utilize existing data or medical
            literature and limited new testing to support an NDA. Any pre-clinical testing that we wish to rely upon for FDA action must comply with
            the FDA's good laboratory practice and other requirements. Clinical testing in human subjects must be conducted in accordance with the
            FDA's good clinical practice and other requirements. In order to initiate a clinical trial, the sponsor must submit an lnvestigational New
            Drug Application ("IND") to the FDA or meet one of the narrow exemptions that exist from the lND requirement.
                  The FDA can, and does, reject NDAs, require additional clinical trials, or gram approvals on a restricted basis only, even when
            product candidates performed well in clinical trials. In addition, the FDA may approve an NDA subject to post-approval studies or
            monitoring requirements, or require that other risk management measures be utilized in connection with the product. There are also
            requirements to conduct pediatric trials for all new NDAs and supplements to NDAs, unless a waiver or deferral applies.
                  Similarly, FDA approval of an ANDA is required before we may begin marketing an off-patent or generic equivalent of a mug that
            has been approved under an NDA, or a previously unapproved dosage form of a drug that has been approved under an NDA. The ANDA
            approval process generally differs from the NDA approval process in that it does not typically require new preclinical and clinical studies;
            instead, it relies on the clinical studies establishing safety and efficacy conducted for the previously approved NDA mug. The ANDA
            process, however, typically requires data to show that the ANDA drug is bioequivalent to the previously approved mug. "Bioequivalence"
            compares the bioavailability of one drug product with another and, when established, indicates whether the rate and extent of absorption of
            a generic drug in the body are substantially equivalent to the previously approved drug. "Bioavailability" establishes the rate and extent of
            absorption, as determined by the time dependent concentrations of a mug product in the bloodstream or body needed to produce a
            therapeutic effect. The ANDA drug development and approval process generally takes three to four years which is less time than the NDA
            drug development and approval process since the ANDA process does not require new clinical trials establishing the safety and efficacy of
            the drug product.
                   Supplemental NDAs or ANDAs are required for, among other things, approval to transfer certain products from one manufacturing
            site to another or to change an API supplier, and may be under review for a year or more. In addition, certain products may only be
            approved for transfer once new bioequivalency studies are conducted or other requirements are satisfied.
                  To obtain FDA approval of both NDAs and AND As, our manufacturing procedures and operations must conform to FDA quality
            system and control requirements generally referred to as current Good Manufacturing Practices ("cGMP"), as defined in Title 21 of the
            U.S. Code of Federal Regulations. These regulations encompass all aspects of the production process from receipt and qualification of
            components to distribution procedures for finished products. They are evolving standards; thus, we must continue to expend substantial
            time, money and effort in all production and quality control areas to maintain compliance. The evolving and complex nature of regulatory
            requirements, the broad authority and discretion of the FDA, and the generally high level ofregulatory oversight results in the continuing
            possibility that we may be adversely affected by regulatory actions despite our efforts to maintain compliance with regulatory
            requirements.
                 We are subject to the periodic inspection of our facilities, procedures and operations and/or the testing of our products by the FDA,
            the DEA and other authorities, which conduct periodic inspections to assess compliance with applicable regulations. In addition, in
            connection with its review of our applications for new products, the FDA conducts pre-approval and post-approval reviews and plant
            inspections to determine whether our systems and processes comply with cGMP and other FDA regulations. Among other things, the FDA
            may withhold approval of ND As, ANDAs or other product applications of a facility if deficiencies are found at that facility. Vendors that
            supply finished products or components to us that we use to manufacture, package and label products are subject to similar regulation and
            periodic inspections.
                  Following such inspections, the FDA may issue notices on Form 483 and Warning Letters that could cause us to modify certain
            activities identified during the inspection. A Form 483 notice is generally issued at the conclusion ofan FDA inspection and lists
            conditions the FDA investigators believe may violate cGMP or other

                                                                                  19




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htrn                                                     19/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 21 of 169. PageID #: 358950




         10 /1 6 /2 0 1 8                                                              F or m 10 -K




            Table of Contents

            FDA regulations. FDA guidelines specify that a Warning Letter be issued only for violations of "regulatory significance" for which the
            failure to adequately and promptly achieve correction may be expected to result in an enforcement action.
                 Failure to comply with FDA and other governmental regulations can result in fines, unanticipated compliance expenditures, recall or
           seizure of products, total or partial suspension of production and/or distribution, suspension of the FDA's review ofNDAs, AND As or
           other product application enforcement actions, injunctions and criminal prosecution. Under certain circumstances, the FDA also has the
           authority to revoke previously granted drug approvals. Although we have internal compliance programs, if these programs do not meet
           regulatory agency standards or if our compliance is deemed deficient in any significant way, it could have a material adverse effect on us.
           Refer to "ITEM IA. RISK FACTORS - Risks Related to Our Business - Extensive industry regulation has had, and will continue to
           have, a significant impact on our business, especially our product development, manufacturing and distribution capabilities." in this
           Annual Report. The Generic Drug Enforcement Act of 1992 established penalties for wrongdoing in connection with the development or
           submission of an ANDA. Under this Act, the FDA has the authority to permanently or temporarily bar companies or individuals from
           submitting or assisting in the submission of an ANDA, and to temporarily deny approval and suspend applications to market generic
           drugs, The FDA may also suspend the distribution of all drugs approved or developed in connection with certain wrongful conduct and/or
           withdraw approval of an ANDA and seek civil penalties. The FDA can also significantly delay the approval of any pending NDA, ANDA
           or other regulatory submissions under the Fraud, Untrue Statements of Material Facts, Bribery and IUegal Gratuities Policy Act.
                 U.S. Government reimbursement programs include Medicare, Medicaid, TriCare, and State Pharmacy Assistance Programs
           established according to statute, government regulations and policy. Federal law requires that all pharmaceutical manufacturers, as a
           condition of having their products receive federal reimbursement under Medicaid, must pay rebates to state Medicaid programs on units of
           their pharmaceuticals that are dispensed to Medicaid beneficiaries. With enactment of the Patient Protection and Affordable Care Act, as
           amended by the Health Care and Education Affordability Reconciliation Act (collectively, the "ACA"), as it is now known, the required
           per-unit rebate for products marketed under AND As increased from 11 % of the average manufacturer price to 13%. Additionally, for
           products marketed under ND As, the manufacturers rebate increased from 15. I% to 23.1 % of the average manufacturer price, or the
           difference between the average manufacturer price and the lowest net sales price to a non-government customer during a specified period.
           In some states, supplemental rebates are required as a condition of including the manufacturer's drug on the state's Preferred Drug List.
                The ACA also made substantial changes to reimbursement when seniors reach the Medicare Part D coverage gap "donut hole." By
           2020, Medicare beneficiaries will pay 25% of drug costs when they reach the coverage threshold - the same percentage they were
           responsible for before they reached that threshold.
                The cost of closing the donut hole is being borne by generic and brand drug companies. Beginning in 201 I, brand drug
           manufacturers were required to provide a 50% discount on their drugs. Additionally, beginning in 2013, the government began providing
           subsidies for brand-name drugs bought by seniors who enter the coverage gap. The government's share started at 2.5%, but will increase to
           25% by 2020. At that point, the combined industry discounts and government subsidies will add up to 75% of brand-name drug costs.
           Government subsidies currently cover 7% of generic drug costs. The government will subsidize additional portions each year until 2020,
           when federal government subsidies will cover 75% of generic drug costs. By 2020, the donut hole will be completely closed through these
           manufacturers' subsidies.
                 The Deficit Reduction Act of 2005 ("DRA") mandated a number of changes in the Medicaid program, including the use of Average
           Manufacturers Price ("AMP") as the basis for reimbursement to pharmaceutical companies that dispense generic drugs under the Medicaid
           program. Three health care reform bills passed in 2010 significantly changed the definition of AMP, effective October I, 2010. These
           legislative changes were part of the ACA and the FAA Air Transportation Modernization & Safety Improvement Act (the "Transportation
           Bill"). The impact of this legislation was that there were increases in Medicaid reimbursement to pharmacies for generics. These changes
           became effective on October I, 20 I 0.
                On November 9, 2010, the Center for Medicare and Medicaid Services ("CMS") issued a final rule withdrawing and amending
           regulations that have governed the calculation of AMP and the establishment of

                                                                                 20




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                    20/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 22 of 169. PageID #: 358951




        10 /1 6 /2 0 1 8                                                              F o rm 10 -K




           Table of Contents

           federal upper limits since October 2007. T11e regulations were withdrawn to mandate AMP calculation under the revised drug rebate
           statute. The withdrawal required manufacrurers to base October 2010 and subsequent months' AMPs on the statutory language until
           official guidance is issued.
                 In the absence of regulatory guidance governing the AMP calculation, CMS had instructed pharmaceutical manufacturers to base
           their AMP calculations on the definitions set forth in the statute, as amended by the ACA, the Health Care and Education Reconciliation
           Act, and the Transportation Bill. On January 27, 2012, CMS issued proposed mies on Medicaid pharmacy reimbursement using the AMP
           model. Actavis has adopted mechanisms to ensure that we are calculating and reporting AMP in a manner that is consistent with the text
           and intent of the statute and the proposed mies.
                 In addition, in connection with the commercialization of our products, we have obtained authorization to receive reimbursement at
           varying levels for the cost of certain products and related treatments from government authorities and private health insurers and other
           organizations, such as Health Maintenance Organizations ("HMOs") and Managed Care Organizations ("MCOs").
                Federal, state, local and foreign Jaws of general applicability, such as laws regulating working conditions, also govern us. In addition,
           we are subject, as are all manufacturers generally, to numerous and increasingly stringent federal, state and local environmental laws and
           regulations concerning, among other things, the generation, handling, storage, transportation, treatment and disposal of toxic and
           hazardous substances and the discharge of pollutants into the air and water. Environmental permits and controls are required for some of
           our operations, and these permits are subject to modification, renewal and revocation by the issuing authorities. Our environmental capital
           expenditures and costs for environmental compliance may increase in the future as a result of changes in environmental laws and
           regulations or increased manufacturing activities at any of our facilities. We could be adversely affected by any failure to comply with
           environmental laws, including the costs of undertaking a clean-up at a site to which our wastes were transported.
                 As part of the Medicare Prescription Drug and Modernization Act of2003 ("MMA"), companies are required to file with the
           U.S. Federal Trade Commission ("FTC") and the Department of Justice certain types of agreements entered into between brand and
           generic pharmaceutical companies related to the manufacture, marketing and sale of generic versions of brand drugs. This requirement
           could affect the manner in which generic drug manufacturers resolve intellectual property litigation and other disputes with brand
           pharmaceutical companies, and could result generally in an increase in private-party litigation against pharmaceutical companies. The
           impact of this requirement, and the potential private-party lawsuits associated with arrangements between brand name and generic drug
           manufacturers, is uncertain and could adversely affect our business. For example, in January 2009, the FTC and the State of California
           filed a lawsuit against us alleging that our settlement with Solvay related to our ANDA for a generic version of Androgel® is unlawful.
           Beginning in February 2009, several private parties purporting to represent various classes of plaintiffs filed similar lawsuits. Those
           lawsuits, as well as additional suits challenging the validity of our settlements related genetic versions of Actos", Cipro®, Lidoderm® and
           Loestrin®24, remain pending.
                Additionally, we may, and have, received requests for information, sometimes in the form of civil investigative demands or
           subpoenas, from the FTC and the European Competition Commission, and are subject to ongoing FTC and European Competition
           Commission investigations. Two of our Arrow Group subsidiaries are the subject of a European Competition Commission Statement of
           Objection related to their 2002 and 2003 settlements of patent litigation related to citalopram. Any adverse outcome of these or other
           investigations or actions could have a material adverse effect on our business, results of operations, financial condition and cash flows.
           Refer to "ITEM IA. RISK FACTORS-Risks Related to Our Business-Federal regulation of arrangements between manufacturers of
           brand and generic products could adversely affect our business." Also refer to legal Matters in "NOTE 21 - Commitments and
           Contingencies" in the accompanying "Notes to Consolidated Financial Statements" in this Annual Report.
                Our Anda Distribution operations and our customers are also subject to various regulatory requirements, including requirements from
           the DEA, FDA, and state boards of pharmacy and city and county health regulators, among others. These include licensing, registration,
           recordkeeping, security and reporting requirements. For example, the DEA requires our Anda Distribution business to monitor customer
           orders of DEA Scheduled Drugs

                                                                                21




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                       21/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 23 of 169. PageID #: 358952




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            and to report suspicious orders to the DEA. Any determination by the DEA that we have failed to comply with applicable laws and
            regulations could result in the DEA suspending, terminating or refusing to renew Anda Distribution's license to distribute Scheduled
            Drugs. Additionally, numerous states and the federal government have begun to enforce anti-counterfeit drug pedigree laws which require
            the tracking of all transactions involving prescription drugs beginning with the manufacturer, through the supply chain, and down to the
            pharmacy or other health care provider dispensing or administering prescription drug products. For example, the Florida Department of
            Health enforces drug pedigree requirements for distribution of prescription drugs in the State of Florida. Pursuant to Florida law and
            regulations, wholesalers and distributors, including our subsidiary, Anda, are required to maintain records documenting the chain of
            custody of prescription drug products they distribute beginning with the purchase of such products from the manufacturer. These entities
            are required to provide documentation of the prior transaction(s) to their customers in Florida, including pharmacies and other health care
            entities. Several other states have proposed or enacted legislation to implement similar or more stringent drug pedigree requirements. In
            addition, federal law requires that a "non-authorized distributor of record" must provide a drug pedigree documenting the prior purchase of
            a prescription drug from the manufacturer or from an "authorized distributor of record." In cases where the wholesaler or distributor
            selling the drug product is not deemed an "authorized distributor of record," it would need to maintain such records. Refer to "JTEM IA.
            RISK FACTORS - Risks Related to Our Business - Extensive industry regulation has had, and will continue to have, a significant
            impact on our business, especially our product development, manufacturing and distribution capabilities" in this Annual Report.

           European Union
                We encounter similar regulatory and legislative issues in most other countries. Pharmaceutical manufacturers are regulated in the
           European Union (the "EU") by the European Medicines Agency (the "EMA"). All manufacturers are required to submit medicinal
           products, including generic versions of previously approved products and new strengths, dosages and formulations of previously approved
           products, to the EMA and its member states for review and marketing authorization before such products are placed on the market in the
           EU.
                 Marketing authorizations are granted to applicants after the relevant health authority issues a positive assessment of quality, safety
           and efficacy of the product. In order to receive such assessment, applicants must submit applications, which must contain the results of
           pre-clinical tests, pharmaceutical tests, and clinical trials with respect to original products, or originator data with respect to the generic
           versions of previously approved products. All of these tests or trials must be conducted in accordance within European regulations and
           must allow the reviewing body to evaluate the quality, safety and efficacy of the medicinal product.
                 In addition to obtaining marketing authorization for each product, all member states require that a manufacturer's facilities obtain
           approval from the national authority. The EU has a code of good manufacturing practices that each manufacturer must follow and comply
           with. Regulatory authorities in the EU may conduct inspections of the manufacturing facilities to review procedures, operating systems
           and personnel qualifications. Refer to "ITEM I A. - RISK FACTORS - Risks Related to Our Business - The supply of APis into Europe
           may be negatively affected by recent regulations promulgated by the European Union" in this Annual Report.
                 In the EU, member states regulate the pricing of pharmaceutical products, and in some cases, the formulation and dosing of products.
           This regulation is handled by individual member state national health services. These individual regulatory bodies can result in
           considerable price differences and product availability among member states. The implementation of tendering systems for the pricing of
           pharmaceuticals in several countries generally impacts drug pricing for generics; generally "tendering" refers to a system that requires bids
           to be submitted to the government by competing manufacturers lo be the exclusive, or one of a few, supplier(s) of a product in a particular
           country.
                 Further, faced with major budget constraints, many European countries have resorted to price cuts that affect both innovative and
           generic pharmaceuticals although in some countries it has disproportionately affected generic products. Refer to "JTEM I A. RISK
           FACTORS- Risks Related to Our Business-Global economic conditions could harm us" in this Annual Report. In addition, some EU
           countries such as France, Serbia and Spain, recently had to address statements and rumors claiming that generics are not as safe and
           effective as reference drugs, which may undermine efforts to increase generic utilization rates.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                          22/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 24 of 169. PageID #: 358953




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            Canada
                  In Canada, pharmaceutical manufacturers are regulated by the Therapeutic Products Directorate (the "TPD") which derives its
            authority from the Canadian federal government under the Food and Drugs Act and the Controlled Drug and Substances Act. The TPD
            evaluates and monitors the safety, effectiveness and quality of pharmaceutical products. Products are officially approved for marketing in
            Canada following receipt of a market authorization, or "Notice of Compliance" (an "NOC"), which is subject co the Food and Drug
            Regulations. Issuance of an NOC for generic drug products is also subject to the Patented Medicines (Notice of Compliance) Regulations
            (the "NOC Regulations") under the Patent Act.
                   In Canada, the registration process for approval of generic pharmaceuticals has two tracks that proceed in parallel. To obtain an NOC
            for a genetic drug, a company submits an application called an abbreviated new drug submission ("ANDS") to Health Canada, which
            compares the drug to a reference product that is marketed in Canada under a NOC issued to a first person. The first track of the process
            involves an examination of the ANDS and proposed generic product by Health Canada to ensure that the quality, safety and efficacy oftbe
            proposed generic product meet Canadian standards and bioequivalence. The second track is governed by the NOC Regulations and links
            the grant of an NOC for the proposed generic to patent rights related to the reference product. Health Canada will grant an NOC when it is
            satisfied that the generic pharmaceutical product described in the ANDS is safe and efficacious and the requirements under the NOC
            Regulations are met.
                  The NOC Regulations allow branded drug marketers to list patents relating to the medicinal ingredient, formulation, dosage form or
            the use of the medicinal ingredient in their branded drug on a patent register maintained by Health Canada. In its ANDS, a generic
            applicant must address each patent listed against the reference product by making at least one statutory allowed allegation (for example,
            alleging that the patent is invalid or would not be infringed). If the generic applicant alleges invalidity or non-infringement, it must provide
            the branded manufacturer with an explanation of its allegations. Upon receipt of the explanation, the branded manufacturer may apply to
            the Federal Court of Canada for an Order prohibiting Health Canada from issuing an NOC for the generic. Health Canada may not issue a
            NOC until the earlier of the determination of the application by the court after a hearing on the allegations, or the expiration of 24 months
            from the commencement of the application.
                 Facilities, procedures, operations and/or testing of products are subject to periodic inspection by Health Canada and the Health
            Products and Food Branch Inspectorate. In addition, Health Canada conducts pre-approval and post-approval reviews and plant
            inspections to determine whether our systems are in compliance with the good manufacturing practices in Canada, Drug Establishment
            Licensing requirements and other provisions of the NOC Regulations. Competitors are subject to similar regulations and inspections.
                  Each Canadian province also provides a comprehensive public drug program, which controls drug pricing and reimbursement and is
            responsible for ensuring eligible patients receive drugs through public funding. The provinces and territories in Canada operate drug
            benefit programs through which eligible recipients receive drugs through public funding; these drugs are listed on provincial or territorial
            Drug Benefit Forrnularies ("Formularies"). Eligible recipients include seniors, persons on social assistance, low-income earners, and those
            with certain specified conditions or diseases. Formulary listings are also used by private payors to reimburse generic products. To be listed
            in a Formulary, drug products must have been issued a NOC and must comply with each jurisdiction's individual review process.
            Currently, Canada's provinces are looking at national competitive bidding processes/tendering of drugs, which may affect the
            sustainability of the industry and the supply of pharmaceuticals.
                  Finally, Canada bas reached a trade agreement in principle with the European Union (CETA) in which it has agreed to implement
            patent term extensions and certain procedural amendments to the NOC Regulations. Canada is further involved in trade negotiations with
            ten Pacific countries including the United States (the "Trans Pacific Partnership"), which could lead to further changes to Canada's
            intellectual property framework, which could delay generic competition.

                                                                                  23




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                         23/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 25 of 169. PageID #: 358954




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

           Australia
                 Pharmaceutical manufacturers and products are regulated in Australia by the Therapeutic Goods Administration (the "TGA") which
            oversees the quality, safety and efficacy of pharmaceutical products and other therapeutic goods. The TGA is a Division of the Australian
            Department of Health and Aging and established under the Therapeutic Goods Act of 1989.
                   Australian pharmaceutical manufacturers must be licensed under Part 3-3 of the Therapeutic Goods Act, and their manufacturing
            facilities and processes must comply with good manufacturing practices in Australia. All pharmaceutical products manufactured for supply
            in Australia must be listed in the Australian Register of Therapeutic Goods (the "ARTG"), before they can be marketed or supplied for sale
            in Australia.
                The govenunent regulates the pharmaceuticals market through the Pharmaceutical Benefits Scheme (the ·'PBS"), which is a
           governmental healthcare program established to subsidize the cost of pharmaceuticals to Australian citizens. The PBS is operated under
           the National Health Act l 953. This statute legislates who may sell pharmaceutical products, pharmaceutical product pricing and
           governmental subsidies. More than 80% of all prescription medicines sold in Australia are reimbursed by the PBS. For pharmaceutical
           products listed on the PBS, the price is determined through negotiations between the Pharmaceutical Benefits Pricing Authority and
           pharmaceutical suppliers.
                  The JP Laws Amendment (Raising the Bar) Act 2012 came into full effect in April 2013 making numerous changes to Australia's
            intellectual property system. The Act included updates to almost all of the intellectual property legislative instruments, including the
            Patents Act 1990. The changes were aimed at raising the quality of granted patents, providing free access to patented inventions for
            regulatory approvals and research, reducing delays in resolution of patent and trademark applications and improving mechanisms for
            trademark and copyright enforcement as well as simplifying the intellectual property system generally.
                     In May 2013, a final report from the Pharmaceutical Patents Review was provided to the Australian govenunent. The report provided
            14 recommendations relating to hotly debated topics, such as extensions of term, contributory infringement, ever-greening, manufacture
           for export, data exclusivity, a public database identifying and linking specific patents to molecules and early warning of generic launch.
           Further, the Productivity Conunission 's report on Compulsory Licensing was issued in late May 2013. The report found that there are no
           clear alternatives to the current compulsory licensing system that would significantly reduce its cost without also reducing the quality of
           the outcomes and increasing the scope for appeals, but recommended a number of changes to the Patents Act 1990 and other legislative
           instruments to strengthen the current system. No action has yet been taking by the Australian government in response to these reports.
                   Australia remains engaged in various trade negotiations, including the Trans Pacific Partnership that could have pricing implications
            for its patent and regulatory frameworks and affect the Pharmaceutical Benefits Scheme.

           Russia
                 In Russia. Federal Law on the Circulation of Medicines, effective from January 9, 20 IO (the "Pharmaceutical Law"), establishes the
           general framework of legal requirements applicable to the development, production, trials, quality control, efficacy, safety, importation and
           sale of pharmaceutical products in Russia.
                Given the importance to the public of the health care sector, and providing the population with safe and high quality pharmaceuticals,
           the Pharmaceutical Law makes it a priority for the state to control the production, quality, efficacy, and safety of pharmaceuticals.
                 Russia's pharmaceutical market consists largely of an out-of-pocket retail market, and the retail market is driven by the promotion of
           branded products, including both originator and branded generics. A trend of increases in the cost of health care has drawn public scrutiny.
           Government budget constraints may impact the timing of market entry and/or adversely affect pricing, and compel the government to
           resort to a tendering model. This could create new challenges-particularly for foreign companies, as along with downward pricing
           pressures, Russia tends to favor domestically based producers.

                                                                                 24




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                       24/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 26 of 169. PageID #: 358955




         10 /16 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents

            Environmental Matters
                   We are subject to federal, state, and local environmental laws and regulations in the United States and abroad. We believe that our
            operations comply in all material respects with applicable environmental laws and regulations in each jurisdiction where we have a
            business presence. Although we continue to make capital expenditures for environmental protection, we do not anticipate any significant
            expenditure in order to comply with such laws and regulations that would have a material impact on our earnings or competitive position.
            We are not aware of any pending litigation or significant financial obligations arising from current or past environmental practices that are
            likely to have a material adverse effect on our financial position. We cannot assure you, however, that environmental problems relating to
            facilities owned or operated by us will not develop in the future, and we cannot predict whether any such problems, if they were to
            develop, could require significant expenditures on our part. In addition, we are unable to predict what legislation or regulations may be
            adopted or enacted in the future with respect to environmental protection and waste disposal. Refer to "ITEM I A. RISK FACTORS -
            Risks Related to Our Business - Our business will continue to expose us to risks of environmental liabilities" in this Annual Report.

            Seasonality
                    There are no significant seasonal aspects that are expected to materially impact our business.

            Backlog
                    As a result of the extent of our supply chain, backlog of orders is not material to our business.

            Employees
                 As of December 31, 2013, we had approximately 19,200 employees. Of our employees, approximately I, 775 were engaged in R&D,
            7,765 in manufacturing, 1,750 in quality assurance and quality contrnl, 6,975 in sales, marketing and distribution, and 935 in
            administration.

            ITEM JA.           RISK FACTORS

                                          CAUTIONARY NOTE REGARDING FORWARD-LOOKlNG STATEMENTS
                  Any statements made in this report that are not statements ofhistorical fact or that refer to estimated or anticipatedfuture events are
           forward-looking statements. We have based our forward-looking statements 011 managements beliefs and assumptions based 011
            information available to our management at the time these statements are made. Such forward-looking statements reflect our current
           perspective of our business.future performance, existing trends and information as of the dale ofthis filing. These include, but are 1101
            limited to, our beliefs about future revenue and expense levels and growth rates, prospects related to our strategic initiatives and business
           strategies. including the integration of and synergies associated with, strategic acquisitions, express or implied assumptions about
           government regulatory action or inaction, anticipated product approvals and launches, business initiatives and product development
            activities, assessments related lo clinical trial results, product performance and competitive environment. and anticipatedfinancial
           performance. Without limiting the generality of the foregoing, words such as '·may," "will." "expect." "believe." "anticipate," "plan,"
             "intend," "could," "would," "should." "estimate," "continue," or 'pursue," or the negative or other variations thereof or comparable
            terminology, are intended to identify forward-looking statements. The statements are 110! guarantees offuture performance and involve
            certain risks, uncertainties and assumptions that are difficult lo predict. We caution the reader that these statements are based on certain
           assumptions, risks and uncertainties, many of which are beyond our control. In addition, certain important factors may affect our actual
           operating results and could cause such results to differ materially from those expressed or implied by forward-looking statements. We
           believe the risks and uncertainties discussed under the section entitled "Risks Related lo Our Business," and other risks and uncertainties
           detailed herein andfrom lime lo lime in our SECfilings, may cause our actual results co vary materially from those anticipated in any
           forward-looking statement.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                        25/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 27 of 169. PageID #: 358956




         10 /16 /2 0 1 8                                                                     F o rm 10 -K




           Table of Contents

                  We disclaim any obligation to publicly update any forward-looking statements, whether as a result of new information.future events
            or otherwise, except as required by law. This discussion is provided as permitted by the Private Securities Litigation Reform Ac! of 1995.
                 We operate in a rapidly changing environment that involves a number of risks and uncertainties, some of which are beyond our
            control. The following discussion highlights some of these risks and speaks as of the date of this Annual Report. These and other risks
            could have a material adverse effect on our business, results of operations, financial condition and cash flows.

           Risks Related to Our Business
                We may not realize all of the anticipated benefits of the Wamer Chilcott Acquisition or those benefits may take longer to realize th an
                expected. We may also encounter significant unexpected difficulties i11 integrating the two businesses.
                 Our ability to fully realize the anticipated benefits of the transaction with Warner Chilcott will depend, to a large extent, on our
           ability to continue integrating the Actavis and the Warner Chilcott businesses. The combination of two independent businesses is a
           complex, costly and time-consuming process. As a result, we have been and will continue to be required to devote significant management
           attention and resources to integrating the business practices and operations. The integration process may disrupt the businesses and, if
           implemented ineffectively, would preclude realization of the full benefits expected by us. Our failure to meet the challenges involved in
           integrating the two businesses in order to realize the anticipated benefits of the Warner Chilcott Acquisition could cause an interruption of,
           or a loss of momentum in, our activities and could adversely affect our results of operations.
                In addition, the overall integration of the businesses may result in material unanticipated problems, expenses, liabilities, competitive
           responses, loss of customer relationships and diversion of management's attention. The difficulties of combining the operations of the
           companies include, among others:
                           the diversion of management's attention to integration matters;
                           difficulties in achieving anticipated cost savings, synergies, business opportunities and growth prospects from combining the
                           business of Actavis with that of Warner Chilcott;
                           difficulties in the integration of operations and systems;
                           difficulties in the assimilation of employees;
                           difficulties in managing the expanded operations of a significantly larger and more complex company;
                           challenges in keeping existing customers and obtaining new customers; and
                           challenges in attracting and retaining key personnel.
                 Many of these factors will be outside of our control and any one ofthern could result in increased costs, decreases in the amount of
           expected revenues and diversion of management's time and energy, which could materially impact our business, financial condition and
           results of operations. In addition, even if the operations of the businesses of Actavis and Warner Chilcott are integrated successfully, we
           may not realize the full benefits of the acquisition, including the synergies, cost savings or sales or growth opportunities that we expect.
           These benefits may not be achieved within the anticipated time frame, or at all. Additional unanticipated costs may be incurred in the
           integration of the businesses of Actavis and Warner Chilcott. All of these factors could cause a reduction to our earnings per share,
           decrease or delay the expected accretive effect of the transaction, and negatively impact the price of our ordinary shares. As a result, we
           cannot assure you that the combination of the Actavis and Warner Chilcott businesses will result in the realization of the full benefits
           anticipated from the Warner Chilcott Acquisition.

               IVe and Forest Laboratories must obtain required approvals and governmental and regulatory consents to consummate our
               acquisition of Forest Laboratories, which, if delayed, not granted or granted with unacceptable conditions, may delay or jeopardize
               the co11su11111wtio11 of the transaction, result in additional expenditures o/111011ey and resources and/or reduce the anticipated
               benefits of the transaction.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                         26/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 28 of 169. PageID #: 358957




         10 /16 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents


                  The Forest Laboratories transaction is subject to customary closing conditions. These closing conditions include, among others, the
           receipt of required approvals of our shareholders and Forest Laboratories stockholders, the approval of the merger by the U.S. Department
           of Justice and other governmental and regulatory authorities and the expiration or termination of applicable waiting periods under the
           Han-Scott-Rodino Antitrust Improvements Act of 1976, and the relevant approvals under the antitrust, competition and foreign investment
           laws of certain foreign countries under which filings or approvals are or may be required. The governmental agencies from which the
           parties will seek certain of these approvals and consents have broad discretion in administering the governing regulations. We can provide
           no assurance that all required approvals and consents will be obtained. Moreover, as a condition to their approval of the transaction,
           agencies may impose requirements, limitations or costs or require divestitures or place restrictions on the conduct of Actavis' business
           after the closing. These requirements, limitations, costs, divestitures or restrictions could jeopardize or delay the effective time or reduce
           the anticipated benefits of the n·ansaction. Further, no assurance can be given that the required stockholder approvals will be obtained or
           that the required closing conditions will be satisfied, and, if all required consents and approvals are obtained and the closing conditions are
           satisfied, no assurance can be given as to the terms, conditions and timing of the approvals. lfwe and Forest Laboratories agree to any
           material requirements, limitations, costs, divestitures or restrictions in order to obtain any approvals required to consummate the
           transaction, these requirements, limitations, costs, divestitures or restrictions could adversely affect Actavis' ability to integrate our
           operations with Forest Laboratories' operations and/or reduce the anticipated benefits of the transaction. This could result in a failure to
           consummate the transaction or have a material adverse effect on Actavis' business and results of operations.

               Failure to consummate the Forest Laboratories transaction could negatively impact 0111· share price and our future business and
               financial results.
                 If the Forest Laboratories transaction is not consummated, our ongoing businesses may be adversely affected and, without realizing
            any of the benefits of having consummated the transaction, we will be subject to a number of risks, including the following:
                           we will be required to pay costs and expenses relating to the proposed transaction;
                           if the Merger Agreement is terminated under specified circumstances, we may be required lo pay to Forest Laboratories a
                           termination fee equal to S 1,175.0 million, subject to reduction in certain circumstances;
                           matters relating to the transaction (including integration planning) may require substantial commitments of time and resources
                           by our management, which could otherwise have been devoted to other opportunities that may have been beneficial to us;
                           the Merger Agreement restricts us, without Forest Laboratories' consent and subject to certain exceptions, from making certain
                           acquisitions and taking other specified actions until the merger is consummated or the Merger Agreement terminates. These
                           restrictions may prevent us from pursuing otherwise attractive business opportunities and making other changes to our business
                           that may arise prior to completion of the merger or termination of the Merger Agreement; and
                           we also could be subject to litigation related to any failure to consummate the merger or related to any enforcement proceeding
                           commenced against us to perform our respective obligations under the Merger Agreement.

                    If the merger is not consummated, these risks may materialize and may adversely affect our business, financial results and share
           price.

                We may not realize all of the anticipated benefits of the Forest Laboratories merger or those benefits may take longer to realize th an
                expected. We may also encounter significant unexpected difficulties in integrating the two businesses. The merger may result ill
                adverse tax consequences to Actavis.
                  Our ability to realize the anticipated benefits of the Forest Laboratories transaction will depend, to a large extent, on our ability to
            integrate our business with Forest Laboratories' businesses. The combination of two

                                                                                     27




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                           27/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 29 of 169. PageID #: 358958




         10 /1 6 /2 0 1 8                                                                     F o rm 10 -K




            Table of Contents

            independent businesses is a complex, costly and time-consuming process. As a result, we will be required to devote significant
            management attention and resources to integrating the business practices and operations of Actavis and Forest Laboratories. The
            integration process may disrupt the businesses and, if implemented ineffectively, would preclude realization of the full benefits expected
            by us. Our failure to meet the challenges involved in integrating the two businesses to realize the anticipated benefits of the transaction
            could cause an interruption of, or a loss of momentum in, the activities of Acta vis and could adversely affect Acta vis' results of operations.
            In addition, the overall integration of the businesses may result in material unanticipated problems, expenses, liabilities, competitive
            responses, loss of customer relationships, and diversion of management's attention. The difficulties of combining the operations of the
            companies include, among others:
                            the diversion of management's attention to integration matters;
                            difficulties in achieving anticipated cost savings, synergies, business opportunities and growth prospects from combining our
                            business with that of Forest Laboratories;
                            difficulties in the integration of operations and systems;
                            difficulties in the assimilation of employees;
                            difficulties in managing the expanded operations of a significantly larger and more complex company;
                            challenges in keeping existing customers and obtaining new customers;
                            potential unknown liabilities, adverse consequences and unforeseen increased expenses associated with the merger, including
                            possible adverse tax consequences to the Actavis group pursuant to the anti-inversion rules under section 7874 of the Internal
                            Revenue Code of 1986, as amended "Section 7874") as a result of the merger; and
                            challenges in attracting and retaining key personnel.

                  Many of these factors will be outside of our control and any one of them could result in increased costs, decreases in the amount of
            expected revenues and diversion of management's time and energy, which could materially impact the business, financial condition and
            results of operations of Actavis. In addition, even if the operations of the businesses of Actavis and Forest Laboratories are integrated
            successfully, we may not realize the full benefits of the transaction, including the synergies, cost savings or sales or growth opportunities
            that we expect. These benefits may not be achieved within the anticipated time frame, or at all. Or, additional unanticipated costs may be
            incurred in the integration of the businesses of Actavis and Forest Laboratories. All of these factors could cause dilution to the earnings per
            share of Actavis, decrease or delay the expected accretive effect of the merger, and negatively impact the price of Actavis' ordinary shares.
            As a result, we cannot assure you that the combination of Actavis and Forest Laboratories businesses will result in the realization of the
            full benefits anticipated from the transaction.

                Actavis will incur direct and indirect costs as a result of the transaction.
                 Actavis and Forest Laboratories will incur substantial expenses in connection with completing the merger, and over a period of time
           following the completion of the merger, Actavis further expects Lo incur substantial expenses in connection with coordinating the
           businesses, operations, policies and procedures of Actavis and Forest Laboratories. While Actavis has assumed that a certain level of
           transaction and coordination expenses will be incurred, there are a number of factors beyond Actavis's control that could affect the total
           amount or the timing of these transaction and coordination expenses. Many of the expenses that will be incurred, by their nature, are
           difficult to estimate accurately. These expenses may exceed the costs historically borne by Actavis and Forest Laboratories.

                Our operating results and flnancial condition may fluctuate.
                  Our operating results and financial condition may fluctuate from quarter to quarter and year lo year for a number of reasons. The
            following events or occurrences, among others, could cause fluctuations in our financial performance from period lo period:
                            development of new competitive products or generics by others;

                                                                                         28




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 30 of 169. PageID #: 358959




         10 /1 6 /2 0 1 8                                                                    F o rm 10 -K




            Table of Contents

                            the timing and receipt of approvals by the FDA and other regulatory authorities;
                            the failure to obtain, delay in obtaining or restrictions or limitations on approvals from the FDA or other regulatory authorities;
                            difficulties or delays in resolving FDA or other regulatory authority-observed deficiencies at our manufacruring facilities, which
                            could delay our ability to obtain approvals of pending product applications or curtail availability to continue production of
                            existing products;
                            delays or failures in clinical trials that affect our ability to achieve FDA approvals or approvals from other regulatory
                            authorities;
                            serious or unexpected health or safety concerns with our products or product candidates;
                            changes in the amount we spend to research and develop, acquire or license new products, technologies or businesses;
                            changes in the amount we spend to promote our products;
                            delays between our expendirures to acquire new products, technologies or businesses and the generation of revenues from those
                            acquired products, technologies or businesses;
                            changes in treatment practices of physicians that currently prescribe our products;
                            changes in coverage and reimbursement policies of health plans and other health insurers, including changes that affect newly
                            developed or newly acquired products;
                            changes in laws and regulations concerning coverage and reimbursement of pharmaceutical products, including changes to
                            Medicare, Medicaid and similar programs;
                            increases in the cost of raw materials used to manufacture our products;
                            realization of assets and settlement of liabilities at amounts equal to estimated fair value as of the acquisition date in connection
                            with any acquisitions or dispositions;
                            manufacturing and supply interruptions, including failure to comply with manufacturing specifications;
                            the effect of economic changes in hurricane, monsoon, earthquake and other natural disaster-affected areas;
                            the impact of third party patents and other intellectual property rights which we 111ay be found to infringe, or may be required to
                            license, and the potential damages or other costs we may be required to pay as a result of a finding that we infringe such
                            intellectual property rights or a decision that we are required to obtain a license to such intellectual property rights;
                            changes in antitrust laws and regulations concerning settlement of patent and other intellectual property disputes, and potential
                            damages or other costs we may be required to pay as a result of such changes;
                            the mix of products that we sell during any time period;
                            lower than expected demand for our products;
                            our responses to price competition;
                            our ability to successfully integrate and commercialize the products, technologies and businesses we acquire or license, as
                            applicable;
                            expenditures as a result of legal actions;
                            market acceptance of our products;
                            the impairment and write-down of goodwill or other intangible assets or investments or long-lived assets;
                            disposition of our primary products, technologies and other rights;

                                                                                       29




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                              29/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 31 of 169. PageID #: 358960




         10 /16 /2 0 1 8                                                                   F o rm 10 -K




           Table of Contents

                           termination or expiration of, or the outcome of disputes relating to, trademarks, patents, license agreements and other rights;
                           changes in insurance rates for existing products and the cost and availability of insurance for new and existing products;
                           general economic and industry conditions, including changes in interest rates affecting returns on cash balances and
                           investments that affect customer demand;
                           costs and outcomes of any tax audits;
                           fluctuations in foreign currency exchange rates;
                           costs and outcomes of any litigation involving intellectual property, product promotional activities, drug pricing or
                           reimbursement, product liability, customers or other issues;
                           timing ofrevenue recognition related to licensing agreements and/or strategic collaborations;
                           our ability to successfully integrate newly acquired businesses; and
                           risks related to the growth of our business across numerous countries world-wide and the inherent international economic,
                           regulatory, political and business risks.
                 As a result, we believe that period-to-period comparisons of our results of operations are not necessarily meaningful, and these
           comparisons should not be relied upon as an indication of future performance. The above factors may cause our operating results to
           fluctuate and adversely affect our financial condition and results of operations.

                Our substantial debt and other financial obligations could impair our financial condition and our ability to fulfill our debt
                obligations. A11y refinancing of this substantial debt could be at significantly higher interest rates.
                    Our substantial indebtedness and other financial obligations could:
                           impair our ability to obtain financing in the future for working capital, capital expenditures, acquisitions or general corporate
                           purposes;
                           have a material adverse effect on us ifwe fail to comply with financial and affirmative and restrictive covenants in our debt
                           agreements and an event of default occurs as a result of a failure that is not cured or waived;
                           require us to dedicate a substantial portion of our cash flow for interest payments on our indebtedness and other financial
                           obligations, thereby reducing the availability of our cash flow to fund working capital and capital expenditures;
                           limit our flexibility in planning for, or reacting to, changes in our business and the industry in which we operate; and
                           place us at a competitive disadvantage compared to our competitors that have proportionally less debt.
                 Additionally, certain of our financing agreements may contain cross-default or other similar provisions whereby a default under one
            financing agreement could result in a default under our other financing agreements.
                 Ifwe are unable to meet our debt service obligations and other financial obligations, we could be forced to restructure or refinance
           our indebtedness and other financial transactions, seek additional equity capital or sell our assets. We might then be unable to obtain such
           financing or capital or sell our assets on satisfactory terms, if at all. Any refinancing of our indebtedness could be at significantly higher
           interest rates, and/or incur significant transaction fees. See "Liquidity and Capital Resources - Credit Facility Indebtedness" for a
           detailed discussion of our outstanding indebtedness.

               Ifwe do not successfully integrate newly acquired businesses into 0111· business operations, our business could be adversely affected.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                              30/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 32 of 169. PageID #: 358961




         10 /1 6 /2 0 1 8                                                                   F o rm 10 -K




            Table of Contents

                  We will need to successfully integrate the operations of newly acquired businesses, including Warner Chilcott, with our business
            operations. Integrating the operations of new businesses with that of our own is a complex and time-consuming process. Prior to each
            acquisition, the acquired business operated independently, with its own business, corporate culture, locations, employees and systems.
            There may be substantial difficulties, costs and delays involved in any integration of other businesses with that of our own. These may
            include:
                            distracting management from day-to-day operations;
                            potential incompatibility of corporate cultures;
                            an inability to achieve synergies as planned;
                            costs and delays in implementing common systems and procedures; and
                            increased difficulties in managing our business due to the addition of international locations.
                  These risks may be accentuated if the majority of the former businesses' operations, employees and customers are located outside of
            the United States. Ariy one or all of these factors may increase operating costs or lower anticipated financial performance. Many of these
            factors are also outside of our control.
                  Achieving anticipated synergies and the potential benefits underlying our reasons for any acquisition will depend on successful
            integration of the businesses. The failure to integrate the business operations of the acquired business successfully would have a material
            adverse effect on our business, financial condition and results of operations.

                Any acquisitions of technologiesc products and businesses could adversely affect our relationships with key customers and/or could
                result in significant charges to earnings.
                  We regularly review potential acquisitions of technologies, products and businesses complementary to our business. Acquisitions
            typically entail many risks and could result in difficulties in integrating operations, personnel, technologies and products. In connection
            with acquisitions, we could experience disruption in our business, technology and information systems, customer or employee base,
            including diversion of management's attention from our continuing operations. There is also a risk that key employees of companies that
            we acquire or key employees necessary to successfully commercialize technologies and products that we acquire may seek employment
            elsewhere, including with our competitors. Furthermore, there may be overlap between our products or customers and the companies that
            we acquire that may create conflicts in relationships or other commitments detrimental to the integrated businesses.
                  In addition, as a result of acquiring businesses or products, or entering into other significant transactions, we may experience
            significant charges to earnings for merger and related expenses. These costs may include substantial fees for investment bankers,
            attorneys, accountants, and severance and other closure costs associated with the elimination of duplicate or discontinued products,
            operations and facilities, Charges that we may incur in connection with acquisitions could adversely affect our results of operations for
            particular quarterly or annual periods.                                                                  ·

                 We are subject to federal and state healthcare fraud and abuse laws which may adversely affect our business.
                  In the United States, most of our products are reimbursed under federal and state health care programs such as Medicaid, Medicare,
            TriCare, and/or state pharmaceutical assistance programs. Many foreign countries have similar laws. Federal and state laws designed to
            prevent fraud and abuse under these programs prohibit pharmaceutical companies from offering valuable items or services to customers or
            potential customers to induce them to buy, prescribe, or recommend Actavis' product (the so-called "anti-kickback" laws). Exceptions are
            provided for discounts and certain other arrangements if specified requirements are met. Other federal and stale laws, and similar foreign
            laws, not only prohibit us from submitting any false information to government reimbursement programs but also prohibit us and our
            employees from doing anything to cause, assist, or encourage our customers to submit false claims for payment to these programs.
            Violations of the fraud and abuse laws may result in severe penalties against the responsible employees and Actavis, including jail
            sentences, large

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        https://www.sec.gov/Archives/edgar/data/157BB45/000119312514066242/d64BB11 d1 Ok.him                                                          31/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 33 of 169. PageID #: 358962




         10 /16 /2 0 1 8                                                                   F or m 10 -K




           Table of Contents

            fines, and the exclusion of our products from reimbursement under federal and state programs. We are committed to conducting the sales
            and marketing of our products in compliance with the healthcare fraud and abuse laws, but certain applicable laws may impose liability
            even in the absence of specific intent to defraud. Furthermore, should there be ambiguity, a governmental authority may take a position
            contrary to a position we have taken, or should an employee violate these laws without our knowledge, a governmental authority may
            impose civil and/or criminal sanctions.
                 For example, in December 2009, we learned that numerous pharmaceutical companies, including certain of our subsidiaries, have
           been named as defendants in a federal qui tam action pending in the United States District Court for the District of Massachusetts alleging
           that the defendants falsely reported to the United States that certain pharmaceutical products were eligible for Medicaid reimbursement
           and thereby allegedly caused false claims for payment to be made through the Medicaid program. A similar action was filed by the State
           of Louisiana in August 2013 and additional lawsuits are possible. Any adverse outcome in these actions, or the imposition of penalties or
           sanctions for failing to comply with the fraud and abuse laws, could adversely affect us and may have a material adverse effect on our
           business, results of operations, financial condition and cash flows. Some of the statutes and regulations that govern our activities, such as
           federal and state anti-kickback and false claims laws, are broad in scope, and while exemptions and safe harbors protecting certain
           common activities exist, they are often narrowly drawn. Certain other requirements, such as those under the ACA's "Sunshine Act"
           provisions, are new and their breadth and application are uncertain. While we manage our business activities to comply with these
           statutory provisions, due to their breadth, complexity and, in certain cases, uncertainty of application, it is possible that our activities could
           be subject to challenge by various government agencies. In particular, the FDA, the U.S. Department of Justice and other agencies have
           increased their enforcement activities with respect to the sales, marketing, research and similar activities of pharmaceutical companies in
           recent years, and many pharmaceutical companies have been subject to government investigations related to these practices.
                 Beginning in February 2012, Warner Chilcott, along with several then and former employees in its sales organization and certain
           third parties, received subpoenas from the United States Attorney for the District of Massachusetts. The subpoena Warner Chilcott
           received sought information and documentation relating to a wide range of matters, including sales and marketing activities, payments to
           people who are in a position to recommend drugs, medical education, consultancies, prior authorization processes, clinical trials, off-label
           use and employee training (including with respect to laws and regulations concerning off-label information and physician remuneration),
           in each case relating to all of our current key products. We cannot predict or determine the impact of this inquiry on our future financial
           condition or results of operations. A determination that we are in violation of these and/or other government regulations and legal
           requirements may result in civil damages and penalties, criminal fines and prosecution, administrative remedies, the recall of products, the
           total or partial suspension of manufacture and/or distribution, seizure of products, injunctions, whistleblower lawsuits, failure to obtain
           approval of pending product applications, withdrawal of existing product approvals, exclusion from participation in government healthcare
           programs and other sanctions. The U.S. Attorney's investigation and any other threatened or actual government enforcement action could
           also generate adverse publicity and require that we devote substantial resources that could be used productively on other aspects of our
           business. Any of these types of investigations or enforcement actions could affect ow- ability to commercially distribute our prodncts and
           could materially and adversely affect our business, financial condition, results of operations and cash flows.

               If we are unable to successfully develop or commercialize new products, 011r operating results will suffer.
                Our future results of operations depend to a significant extent upon our ability to successfully develop and commercialize new brand
           and generic products in a timely manner. There are numerous difficulties in developing and commercializing new products, including:
                           developing, testing and manufacturing products in compliance with regulatory standards in a timely manner;
                           receiving requisite regulatory approvals for such products in a timely manner or at all;
                           the availability, on commercially reasonable terms, of raw materials, including API and other key ingredients;

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                           32/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 34 of 169. PageID #: 358963




         10 /16 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents


                           developing and commercializing a new product is time consuming, costly and subject to numerous factors, including legal
                           actions brought by our competitors, that may delay or prevent the development and commercialization of new products;
                           experiencing delays as a result of limited resources at the FDA or other regulatory agencies;
                           changing review and approval policies and standards at the FDA and other regulatory agencies; and
                           commercializing generic products may be substantially delayed by the listing with the FDA of patents that have the effect of
                           potentially delaying approval of a generic product by up to 30 months.
                 As a result of these and other difficulties, products currently in development by us may or may not receive timely regulatory
           approvals, or approvals at all, necessary for marketing by us or other third-party partners. This risk particularly exists with respect to the
           development of proprietary products because of the uncertainties, higher costs and lengthy time frames associated with R&D of such
           products and the inherent unproven market acceptance of such products. Additionally, we face heightened risks in connection with our
           development of extended release or controlled release generic products because of the technical difficulties and regulatory requirements
           related to such products. Additionally, with respect to generic products for which we are the first applicant to request approval on the basis
           that an innovator patent is invalid or not infringed (a paragraph IV filing), our ability to obtain 180 days of generic market exclusivity may
           be contingent on our ability to obtain FDA approval or tentative approval within 30 months of the FD A's acceptance of our application for
           filing. We therefore risk forfeiting such market exclusivity if we are unable to obtain such approval or tentative approval on a timely basis.
           If any of our products or the products of our third-party partners are not approved timely or, when acquired or developed and approved,
           cannot be successfully manufactured or commercialized timely, our operating results could be adversely afTected. We cannot guarantee
           that any investment we make in developing products will be recouped, even ifwe are successful in commercializing those products.

                If generic products that compete with any of our branded pharmaceutical products are approved and sold, sales of our products will
                be adversely affected.
                 As a result of our acquisition of Warner Chilcott, specialty branded products now comprise a larger percentage of our total revenues.
           Generic equivalents for branded pharmaceutical products are typically sold at lower costs than the branded products. After the introduction
           of a competing generic product, a significant percentage of the prescriptions previously written for the branded product are often written
           for the generic version. In addition, legislation enacted in most U.S. states and Canadian provinces allows or, in some instances mandates,
           that a pharmacist dispense an available generic equivalent when filling a prescription for a branded product, in the absence of specific
           instructions from the prescribing physician. As a result, branded products typically experience a significant loss in revenues following the
           introduction of a competing generic product. Our branded pharmaceutical products are or may become subject to competition from generic
           equivalents because there is no proprietary protection for some of the branded pharmaceutical products we sell, because our patent
           protection expires or because our patent protection is not sufficiently broad or enforceable. In addition, we may not be successful in our
           efforts to extend the proprietary protection afforded our branded products through the development and commercialization of proprietary
           product improvements and new and enhanced dosage forms.
                 Our Actonel's products no longer have patent protection in Canada or the Western European countries in which we sell these
           products, and Asacol® is not protected by a patent in the United Kingdom. In addition, other products such as Estrace® Cream, Asacolv
           400 mg and Fembrt® are not protected by patents in the United States where we sell these products. Generic equivalents are currently
           available in Canada and Western Europe for Actonelv and in the United States for certain versions of our Doryxv and Femhrt® products,
           Femcon€ Fe and certain other less significant products.
                During the next few years, additional products of ours will lose patent protection or likely become subject to generic competition.
           Our Acronel= once-a-week product will lose U.S. patent protection in June 2014 (including a 6-month pediatric extension of regulatory
           exclusivity); generic versions of our Loestrin'" 24 Fe product entered the market in January 2014 pursuant to settlement agreements
           previously entered into; generic versions of our Asacol® HD 800 mg product may enter the market as early as November 2015 pursuant to
           an agreement

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                       33/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 35 of 169. PageID #: 358964




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            previously entered into; and generic versions of our Enablex·ll> product may enter the market as early as March 2016 pursuant to settlement
            agreements previously entered into. Some of our products may also become subject to generic competition prior to the expiration of patent
            protection in the event a generic competitor elects to launch its generic equivalent product "at-risk." Competition from generic equivalents
            could result in a material impairment of our intangible assets or the acceleration of amortization on our non-impaired intangible assets and
            may have a material adverse impact on our revenues, financial condition, results of operations and cash flows.

                Our branded pharmaceutical expenditures may 1101 result ill commercially successful products.
                 Developing and commercializing branded pharmaceutical products is generally more costly than generic products. In the future, and
           particularly following the Warner Chilcott Acquisition, we anticipate continuing our product development expenditures for our Actavis
           Specialty Brands business segment, including products acquired from Warner Chilcott. In order to grow and achieve success in our
           business, we must continually identify, develop, acquire and license new products that we can ultimately market. There are many
           difficulties and uncertainties inherent in pharmaceutical research and development, and there is a high rate of failure inherent in new drug
           discovery and development. Failure can occur at any point in the process, including late in the process after substantial investment. New
           product candidates that appear promising in development may fail to reach the market or may have only limited commercial success
           because of efficacy or safety concerns, inability to obtain necessary regulatory approvals and payer reimbursement, limited scope of
           approved uses, difficulty or excessive costs to manufacture, or infringement of the patents or intellectual property rights of others. Delays
           and uncertainties in the FDA approval process and the approval processes in other countries can result in delays in product launches and
           lost market opportunity,
                 We currently have products in various stages of development. For example in 2013, we initiated a Phase 3 clinical trial for ow·
           Esmyar-' product for treatment of uterine fibroids. We also have new hormonal contraceptive therapy products in various stages of
           development from preclinical development to Phase 3 development, as well as osteoporosis products in preclinical and clinical
           development and dermatology and infectious disease products in various stages of clinical development, among others. Such clinical trials
           are costly and may not result in successful outcomes. We cannot be sure that our business expenditures, including but not limited to our
           expenditures related to our Esmya TM product, products recently acquired in the Warner Chilcott Acquisition or products of our third-party
           partners, among others, will result in the successful discovery, development or launch of brand products that will prove to be commercially
           successful or will improve the long-term profitability of our business. If such business expenditures do not result in successful discovery,
           development or launch of commercially successful brand products our results of operations and financial condition could be materially
           adversely affected.

                Our investments i11 biosimilar products may not result ill products that are approved by the FDA or other ex-UiS, regulatory
                authorities and, even if approved by such authorities, may not result in commercially successful products.
                 In 2011, we entered into the Amgen Collaboration Agreement. Under the agreement, we will be required to invest up to $312.4
           million in furtherance of the development and regulatory approval of such products. Although Amgen, our development partner, has
           substantial expertise and experience in the development of biological products, significant uncertainty remains concerning the regulatory
           pathway in the United States and in other countries to obtain regulatory approval ofbiosimilar products, and the commercial pathway to
           successfully market and sell such products. In particular, although recently enacted legislation authorizes the FDA to establish a regulatory
           pathway for the review and approval of such products, only draft guidance has been issued by the FDA. Even if the FDA enacts mies and
           regulations concerning the development and approval of biosimilars, such regulations could include provisions that provide up to twelve or
           more years of data exclusivity for the original developer of the product on which a biosimilar product is based. Additionally, biosirnilar
           products will likely be subject to extensive patent clearances and/or patent infringement litigation, which could delay or prevent the
           commercial launch of a product for many years. Further, our collaboration with Amgen may not result in products that meet the
           requirements established by the FDA or other ex-U.S. regulatory

                                                                                 34




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                      34/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 36 of 169. PageID #: 358965




         10 11 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            authorities. Jf our collaboration does result in biosimilar products that obtain FDA or other ex-U.S. regulatory authority approval, such
            product(s) may not be commercially successful and/or may not generate profits in amounts that are sufficient to offset the amount invested
            to obtain such approvals. Market success ofbiosimilar products will depend on demonstrating to patients, physicians and payors that such
            products are safe and efficacious compared to other existing products yet offer a more competitive price or other benefit over existing
            therapies. If our collaboration with Amgen does not result in the development and timely approval ofbiosimilar products or if such
            products, once developed and approved, are not commercially successful, our results of operations, financial condition and cash flows
            could be materially adversely affected.

                If we are unsuccessful in our joint ventures and other collaborations, 011r operating results could suffer.
                  We have made substantial investments in joint ventures and other collaborations, including our collaboration agreements with
            Amgen and Sanofi, and may use these and other methods to develop or commercialize products in the future. These arrangements
            typically involve other pharmaceutical companies as partners that may be competitors of ours in certain markets. In many instances, we
            will not control these joint ventures or collaborations or the commercial exploitation of the licensed products, and cannot assure you that
            these ventures will be profitable. Any such marketing restrictions could affect future revenues and have a material adverse effect on our
            operations. Our results of operations may suffer if existing joint venture or collaboration partners withdraw, or if these products are not
            timely developed, approved or successfully commercialized.

                Ifwe are unable to adequately protect our technology or enforce our patents, our business could suffer.
                   Our success with the brand products that we develop will depend, in part, on our ability to obtain patent protection for these products.
            We currently have a number of U.S. and foreign patents issued and pending. However, issuance ofa patent is not conclusive evidence of
            its validity or enforceability. We cannot be sure that we will receive patents for any of our pending patent applications or any patent
            applications we may file in the future, or that our issued patents will be upheld if challenged. lf our current and future patent applications
            are not approved or, if approved, our patents are not upheld in a court oflaw if challenged, it may reduce our ability to competitively
            utilize our patented products. Also, such patents may or may not provide competitive advantages for their respective products or they may
            be challenged or circumvented by our competitors, in which case our ability to commercially market these products may be diminished.
            For example, patents covering our Androdermv and INFed® products have expired and we have no further patent protection on these
            products. Therefore, it is possible that a competitor may launch a generic version of Androderm® and/or INFed€ at any time, which would
            result in a significant decline in that product's revenue and profit. Both of these products were significant contributors to our Actavis
            Specialty Brands business in 20 I 2. During the next five years, additional products acquired pursuant to the Warner Chilcott Acquisition
            will lose patent protection or likely become subject to generic competition. For example, our newly acquired AsacoJ·lil 400 mg product Jost
            U.S. patent protection in July 2013, our Actonel® once-a-week product will lose U.S. patent protection in June 2014 (including a 6-month
            pediatric extension of regulatory exclusivity), generic versions of our Loestrins 24 Fe product entered the market in January 2014 pursuant
            to settlement agreements previously entered into; generic versions of our Asacol® HD 800 mg product may enter the market as early as
            November 20 I 5 pursuant to an agreement previously entered into; and generic versions of our Enablex® product may enter the market as
            early as March 2016 pursuant to settlement agreements previously entered into. Some of our products may also become subject to generic
            competition prior lo the expiration of patent protection in the event a generic competitor elects to launch its generic equivalent product "at-
            risk." For example, although our Doryxs patent does not expire until 2022, and Warner Chilcott and Mayne filed infringement lawsuits
            against Mylan and Irnpax arising from their ANDA filings with respect to our Doryx·lil 75 mg, 100 mg and 150mg products, generic
            versions of such products have been launched following the FD A's approval of their respective ANDAs.
                  Generic competitors to our branded products may also challenge the validity or enforceability of the patents protecting our products
            or otherwise seek to circumvent them. For example, Warner Chilcott has received a challenge relating to its Generess® Fe oral
            contraceptive product. In October 20 I 1, Warner Chilcott received

                                                                                  35




         https://www.sec.gov/Archives/edgar/dala/1578845/000119312514066242/d648811 d1 Ok.htm                                                         35/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 37 of 169. PageID #: 358966




         10 /16 /2 0 1 8                                                                    F o rm 10 -K




            Table of Contents

           separate Paragraph IV certification notice letters from Mylan Pharmaceuticals, Inc. and Famy Care Ltd. (collectively "Mylan") and Lupin
           Ltd. and Lupin Pharmaceuticals, Inc. (collectively "Lupin"), indicating that both Mylan and Lupin had submitted to the FDA ANDAs
           seeking approval to manufacture and sell a generic version of Generesss Fe prior to the expiration of U.S. Patent No. 6,667,050. Warner
           Chilcott filed suit against Mylan and Lupin in November 2011 and December 2011, respectively. The cases against Mylan and Lupin have
           been consolidated, and the case is currently pending. Trial began on January 13, 2014 and the court bas not yet issued a decision. Refer to
           Legal Matters in "NOTE 21 - Commitments and Contingencies" in the accompanying "Notes to Consolidated Financial Statements" in
           this Annual Report.
                  Ifwe are unable to adequately protect our technology, trade secrets or propriety know-how, or enforce our intellectual property
            rights, our results of operations, financial condition and cash flows could suffer.

                Ifpharmaceutical companies are successful i11 limiting the use ofgenerics through their legislative, regulatory and other efforts,
                our sales ofgeneric products 111ay suffer.
                Many pharmaceutical companies increasingly have used state and federal legislative and regulatory means to delay generic
            competition. These efforts have included:
                           making changes to the formulation of the brand product and arguing that potential generic competitors must demonstrate
                           bioequivalency or comparable abuse-resistance to the reformulated brand product;
                           pursuing new patents for existing products which may be granted just before the expiration of earlier patents, which could
                           extend patent protection for additional years or otherwise delay the launch of generics;
                           selling the brand product as an Authorized Generic, either by the brand company directly, thrnugh an affiliate or by a marketing
                           partner;
                           using the Citizen Petition process to request amendments to FDA standards or otherwise delay generic drug approvals;
                           seeking changes to U.S. Phannacopeia, an organization which publishes industry recognized compendia of drug standards;
                           attempting to use the legislative and regulatory process to have drugs reclassified or rescheduled;
                           using the legislative and regulatory process to set definitions of abuse deteriant formulations to protect brand company patents
                           and profits;
                           attaching patent extension amendments to non-related federal legislation;
                           engaging in state-by-state initiatives to enact legislation that restricts the substitution of some generic drugs, which could have
                           an impact on products that we are developing;
                           entering into agreements with pharmacy benefit management companies which have the effect of blocking the dispensing of
                           generic products; and
                           seeking patents on methods of manufacturing certain APL
                If pharmaceutical companies or other third parties are successful in limiting the use of generic products through these or other means,
           om sales of generic products may decline. If we experience a material decline in generic product sales, our results of operations, financial
           condition and cash flows will suffer.

               If competitors are successful ill limiting competition for certain generic products through their legislative, regulatory and litigation
               efforts, our sales of certain generic products may suffer.
                 Certain of our competitors have challenged our ability to distribute Authorized Generics during the competitors' 180-day period of
           ANDA exclusivity under the Hatch-Waxman Act. Under the challenged arrangements, we have obtained rights to market and distribute
           under a brand manufacturer's NOA a generic alternative of the brand product. Some of our competitors have challenged the propriety of
           these arrangements by

                                                                                      36




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                              36/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 38 of 169. PageID #: 358967




        10 /16 /2 0 1 8                                                               F o rm 10 -K




           Table of Contents

           filing Citizen Petitions with the FDA, initiating lawsuits alleging violation of the antitrust and consumer protection laws, and seeking
           legislative intervention. For example, legislation has been introduced in the U.S. Senate that would prohibit the marketing of Authorized
           Generics dwing the 180-day period of ANDA exclusivity under the Hatch-Waxman Act. If distribution of Authorized Generic versions of
           brand products is otherwise restricted or found unlawful, our results of operations, financial condition and cash flows could be materia11y
           adversely affected.

               From time to time we may need to rely 011 licenses to proprietary technologies, which may be difficult or expensive to obtain.
                We may need to obtain licenses to patents and other proprietary rights held by third parties co develop, manufacture and market
           products. Ifwc are unable co timely obtain these licenses on commercially reasonable terms, our ability to commercially market our
           products may be inhibited or prevented, which could have a material adverse effect on our business, results of operations, financial
           condition and cash flows.

               Third parties may claim that we infringe their proprietary rights and may prevent us from manufacturing and selling some of our
               products.
                  The manufacture, use and sale of new products that are the subject of conflicting patent rights have been the subject of substantial
           litigation in the pharmaceutical industry. These lawsuits relate to the validity and infringement of patents or proprietary rights of third
           panics. We may have lo defend ourselves against charges that we violated patents or proprietary rights of third parties. This is especially
           true in the case of generic products on which the patent covering the brand product is expiring, an area where infringement litigation is
           prevalent, and in the case of new brand products where a competitor has obtained patents for similar products. Litigation may be costly
           and lime-consuming, and could divert the attention of our management and technical personnel. In addition, ifwe infringe the rights of
           others, we could lose our right to develop, manufacture or market products or could be required to pay monetary damages or royalties to
           license proprietary rights from third parties. For example, we are engaged in litigation with Momenta Pharmaceuticals concerning whether
           our distribution and sale of enoxaparin injection infringes Momenta's U.S. Patent No. 7,575,886, and we continue to market enoxaparin.
                  Further, in August 2012, Bayer Pharma AG (together with its affiliates, "Bayer") filed a complaint against Warner Chilcott alleging
           that its manufacture, use, offer for sale, and/or sale of Lo Loestrin® Fe infringes Bayer's U.S. Patent No. 5,980,940. In the complaint,
           Bayer seeks injunctive relief and unspecified monetary damages for the a1leged infringement. In December 2012, Bayer amended the
           complaint to add a claim seeking to invalidate the Company's U.S. Patent No. 7,704,984 (the '"984 Patent"), which covers the Lo
           Loestrin= Fe product. Although the parties to patent and i..nte11ectual property disputes in the pharmaceutical industry have often settled
           their disputes through licensing or similar arrangements, the costs associated with these arrangements may be substantial and could include
           ongoing royalties. Refer to Legal Matters in "NOTE 21 - Commitments and Contingencies" in the accompanying "Notes to Consolidated
           Financial Statements" in chis Annual Report.
                 Furthermore, we cannot be certain that the necessary licenses would be available lo us on commercially reasonable terms, or at all.
           As a result, an adverse determination in a judicial or administrative proceeding or failure to obtain necessary licenses could result in
           substantial monetary damage awards and could prevent us from manufacturing and selling a number of our products, which could have a
           material adverse effect on our business, results of operations, financial condition and cash flows.

               Our Anda Distribution operations are highly dependent upon a primary courier service.
                  Produce deliveries within our Anda Distribution business are highly dependent on overnight delivery services to deliver our products
           in a timely and reliable manner, typically by overnight service, Our Anda Distribution business ships a substantial portion of produces via
           one courier's air and ground delivery service, If the courier terminates our contract or ifwe cannot renew the contract on favorable terms
           or enter into a contract with an equally reliable overnight courier to perform and offer the same service level at similar or more favorable
           rates, our business, results of operations, financial condition and cash flows could be materially adversely affected.

                                                                                 37




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htrn                                                     37/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 39 of 169. PageID #: 358968




         10 /16 /2 0 1 8                                                               F o rm 10 -K




           Table of Contents

                Our A11da Distribution operations concentrate 011 generic products and therefore are subject to the risks of the generic industry.
                 The ability of our Anda Distribution business to provide consistent, sequential quarterly growth is affected, in large part, by our
           participation in the launch of new products by generic manufacturers and the subsequent advent and extent of competition encountered by
           these products. This competition can result in significant and rapid declines in pricing with a corresponding decrease in net sales of our
           Anda Distribution business. Our margins can also be affected by the risks inherent to the generic industry, which is discussed below under
           "Risks Relating to Investing in the Pharmaceutical Industry"

                Our A11da Distribution operations compete directly with significant customers of our generic and brand businesses.
                  In our Anda Distribution business, our main competitors are McKesson Corporation, AmerisourceBergen Corporation and Cardinal
           Health, Inc. These companies are significant customers of our Actavis Pharma and Actavis Specialty Brands operations, including the
           newly acquired Warner Chilcott products and collectively accounted for approximately 29%, 30% and 30% of our annual net revenues in
           the years ended December 31, 2013, 2012 and 201 I, respectively. Our activities related to our Anda Distribution business, as well as the
           acquisition of other businesses that compete with our customers, may result in the disruption of our business, which could harm
           relationships with our current customers, employees or suppliers, and could adversely affect our expenses, pricing, third-party
           relationships and revenues. Further, a loss of a significant customer of our Acta vis Pharma or Acta vis Specialty Brands operations could
           have a material adverse effect on our business, results of operations, financial condition and cash flows.

               If we are unable to obtain sufficient supplies from key manufacturing sites or suppliers that in some cases may be the 011ly source of
               finished products or raw materials, our ability to deliver 0111· products to the market may be impeded.
                 We are required to identify the supplier(s) of all the raw materials for our products in our applications with the FDA and other
           regulatory agencies. To the extent practicable, we attempt to identify more than one supplier in each drug application. However, some
           products and raw materials are available only from a single source and, in many of our drug applications, only one supplier of products
           and raw materials or site of manufacture has been identified, even in instances where multiple sources exist. Some of these products have
           historically accounted for a significant portion of our revenues, such as INFed'", metoprolol succinate extended release tablets,
           methylphenidate hydrochloride extended release tablets, and a significant number of our oral contraceptive and controlled substance
           products. We expect to continue to rely on our third-party manufacturing partners, such as Ortho-McNeil-Jansscn Pharmaceuticals, Inc. for
           methylphenidate ER, Mayne for D01yx®, Contract Pharmaceuticals Limited Canada ('"CPL") for Estracc" Cream and NP! for Actouelv
           and Atelvia'", GlaxoSmithKline pie ("GSK") currently manufactures our Asacol® 400 mg product sold in the United Kingdom. CPL,
           which manufactures our Estrace® Cream product, recently closed its manufacturing facility in Buffalo, New York and transferred its
           operations at that location to its facilities in Mississauga, Canada. Such transfers are subject to regulatory approvals, and the failure to
           obtain such approvals in a timely manner may delay production at the new facility and result in an interruption in our product supply.
           From time to time, certain of our manufacturing sites or outside suppliers have experienced regulatory or supply-related difficulties that
           have inhibited their ability to deliver products and raw materials to us, causing supply delays or interruptions. To the extent any difficulties
           experienced by our manufacturing sites or suppliers cannot be resolved or extensions of our key supply agreements cannot be negotiated
           within a reasonable time and on commercially reasonable terms, or if raw materials for a particular product become unavailable from an
           approved supplier and we are required to qualify a new supplier with the FDA or other regulatory agency, or ifwe are unable to do so, our
           profit margins and market share for the affected product could decrease or be eliminated, as well as delay our development and sales and
           marketing efforts. Such outcomes could have a material adverse effect on our business, results of operations, financial condition and cash
           flows.
                  Our manufacturing sites outside of the United States and our arrangements with foreign suppliers arc subject to certain additional
           risks, including the availability of government clearances, export duties, political instability,

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                         38/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 40 of 169. PageID #: 358969




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            war, acts of terrorism, currency fluctuations and restrictions on the transfer of funds. For example, we obtain a significant portion of ow·
            raw materials from foreign suppliers. Arrangements with international raw material suppliers are subject to, among other things, FDA and
            foreign regulatory body regulation, customs clearances, various import duties and other government clearances, as well as potential
            shipping delays due to inclement weather, political instability, strikes or other matters outside of our control. Acts of governments outside
            the U.S. may affect the price or availability of raw materials needed for the development or manufacture of our products. In addition,
            recent changes in patent laws in jurisdictions outside the U.S. may make it increasingly difficult to obtain raw materials for R&D prior to
            the expiration of the applicable U.S. or foreign patents.

                Our policies regarding returns, allowances and chargebacks, and marketing programs adopted by wholesalers, may reduce our
                revenues in future fiscal periods.
                  Consistent with industry practice we, like many generic product manufacturers, have liberal return policies and have been willing to
            give customers post-sale inventory allowances. Under these arrangements, from time to time, we may give our customers credits on our
            generic products that our customers hold in inventory after we have decreased the market prices of the same generic products. Therefore, if
            new competitors enter the marketplace and significantly lower the prices of any of their competing products, we may reduce the price of
            our product. As a result, we may be obligated to provide significant credits to our customers who are then holding inventories of such
            products, which could reduce sales revenue and gross margin for the period the credit is provided. Like our competitors, we also give
            credits for chargebacks to wholesale customers that have contracts with us for their sales to hospitals, group purchasing organizations,
            pharmacies or other retail customers. A chargeback represents an amount payable in the future to a wholesaler for the difference between
            the invoice price paid to us by our wholesale customer for a particular product and the negotiated price that the wholesaler's customer pays
            for that product. Although we establish reserves based on our prior experience and our best estimates of the impact that these policies may
            have in subsequent periods, we cannot ensure that our reserves are adequate or that actual product returns, allowances and chargebacks
            will not exceed our estimates, which could have a material adverse effect on our results of operations, financial condition, cash flows and
            the market price of our stock.

                Investigations of the calculation of average wholesale prices may adversely affect our business.
                  Many government and third-party payers, including Medicare, Medicaid, HMOs and MCOs, have historically reimbursed doctors,
            pharmacies and others for the purchase of certain prescription drugs based on a drug's average wholesale price ("AWP") or wholesale
            acquisition cost ("WAC"). In the past several years, state and federal government agencies have conducted ongoing investigations of
            manufacturers' reporting practices with respect to AWP and WAC, in which they have suggested that reporting of inflated AWP's or
            WA C's have led to excessive payments for prescription drugs. For example, beginning in July 2002, we and certain of ow- subsidiaries, as
            well as numerous other pharmaceutical companies, were named as defendants in various state and federal court actions alleging improper
            or fraudulent practices related to the reporting of AWP and/or WAC of certain products, and other improper acts, in order to increase prices
            and market shares. Additional actions are possible. These actions, if successful, could adversely affect us and may have a material adverse
            effect on our business, results of operations, financial condition and cash flows.

                The design, development, manufacture and sale of our products involves the risk ofproduct liability claims by consumers and other
                third parties, and insurance against such potential claims is expensive and may be difficult to obtain.
                  The design, development, manufacture and sale of our products involve an inherent risk of product liability claims and the associated
            adverse publicity. Insurance coverage is expensive and may be difficult to obtain, and may not be available in the future on acceptable
            terms, or at all. We regularly monitor the use of our products for trends or increases in reports of adverse events or product complaints, and
            regularly report such matters to the FDA. In some, but not all cases, an increase in adverse event reports may be an indication that there
            has been a change in a product's specifications or efficacy. Such changes could lead to a recall of the product in question or, in some cases,
            increases in product liability claims related to the product in question. If the coverage limits for

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                       39/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 41 of 169. PageID #: 358970




         10 /16 /2 0 1 8                                                               F o rm 10 -K




           Table of Contents

            product liability insurance policies are not adequate or if certain of om products are excluded from coverage, a claim brought against us,
            whether covered by insurance or not, could have a material adverse effect on our business, results of operations, financial condition and
            cash flows.

                The loss of our key personnel could cause our business to suffer.
                 The success of our present and future operations will depend, to a significant extent, upon the experience, abilities and continued
           services of key personnel. For example, although we have other senior management personnel, a significant loss of the services of Paul
           Bisaro, om Chief Executive Officer, or other senior executive officers without having or hiring a suitable successor, could cause our
           business to suffer. We cannot assure you that we will be able to attract and retain key personnel. We have entered into employment
           agreements with many of our senior executive officers but such agreements do not guarantee that our senior executive officers will remain
           employed by us for a significant period of time, or at all. We do not carry key-employee life insurance on any of our officers.

                Significant balances ofintangible assets, including product rights and goodwill acquired, are subject to impairment testing and may
                result i11 impairment charges, which will adversely affect our results of operations and financial condition.
                 A significant amount of our total assets is related to acquired intangibles and goodwill. As of December 31, 2013, the carrying value
           of our product tights and other intangible assets was approximately $8,234.5 million and the carrying value of our goodwill was
           approximately $8,197.6 million.
                 Upon consummation of the Actavis Group Acquisition, we recorded goodwill of approximately $2,868.8 million. We will also record
           goodwill following the Warner Chilcott Acquisition of $3,992.9 million. We also allocated approximately $2,268.0 million and $3,021.0
           million of the total consideration paid in connection with theActavis Group Acquisition and the Warner Chilcott Acquisition, respectively,
           to identified intangibles including currently marketed products ("'CMP") and approximately $272.9 million and $1,708.0 million,
           respectively, to in-process research and development ("JPR&D") intangibles.
                 Our product rights are stated at cost, less accumulated amortization. We determine original fair value and amortization periods for
           product rights based on our assessment of various factors impacting estimated useful lives and cash flows of the acquired products. Such
           factors include the product's position in its life cycle, the existence or absence of like products in the market, various other competitive and
           regulatory issues and contractual terms. Significant adverse changes to any of these factors would require us to perform an impairment test
           on the affected asset and, if evidence of impairment exists, we would be required to take an impairment charge with respect to the asset.
           For assets that are not impaired, the Company may adjust the remaining useful lives. Such a charge could have a material adverse effect on
           our results of operations and financial condition.
                 Our other significant intangible assets include acquired core technology and customer relationships, which are intangible assets with
           definite lives, our Anda trade name and acquired IPR&D intangible products, acquired in recent business acquisitions, which are
           intangible assets with indefinite lives.
                 Our acquired core technology and customer relationship intangible assets are slated al cost, Jess accumulated amortization. We
           determined the original fair value of our other intangible assets by performing a discounted cash flow analysis, which is based on our
           assessment of various factors. Such factors include existing operating margins, the number of existing and potential competitors, product
           pricing patterns, product market share analysis, product approval and launch dates, the effects of competition, customer attrition rates,
           consolidation within the industry and generic product lifecycle estimates. Our other intangible assets with definite lives are tested for
           impairment when there are significant changes to any of these factors. If evidence of impairment exists, we would be required to take an
           impairment charge with respect to the impaired asset. Such a charge could have a material adverse effect on our results of operations and
           financial condition.
                Goodwill, our Anda trade name intangible asset and our IPR&D intangible assets are tested for impairment annually, or when events
           occur or circumstances change that could potentially reduce the fair value of the reporting unit or intangible asset. Impairment testing
           compares the fair value of the reporting unit or intangible

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                         40/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 42 of 169. PageID #: 358971




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

            asset to its carrying amount. A goodwill, trade name or IPR&D impairment, if any, would be recorded in operating income and could have
            a material adverse effect on our results of operations and financial condition. For example, in 2013 the Company recognized a goodwill
            impairment charge of $64 7 .5 million.

                 We may need to raise additional funds i11 the future which may 1101 be available 011 acceptable terms or at all.
                  We may consider issuing additional debt or equity securities in the future to fund potential acquisitions or investments, to refinance
            existing debt, or for general corporate purposes. If we issue equity or convertible debt securities to raise additional funds, our existing
            shareholders may experience dilution, and the new equity or debt securities may have rights, preferences and privileges senior to those of
            our existing shareholders. Ifwe incur additional debt, it may increase our leverage relative to our earnings or to our equity capitalization,
            requiring us to pay additional interest expenses and potentially lowering our credit ratiags. We may not be able to market such issuances
            on favorable terms, or at all, in which case, we may not be able to develop or enhance our products, execute our business plan, take
            advantage of future cpporrunities, or respond to competitive pressures or unanticipated customer requirements.

                 Our business could suffer as a result ofmanufacturing difficulties or delays.
                  The manufacture of certain of our products and product candidates, particularly our controlled-release products, transderrnal
            products, injectable products, and our oral contraceptive products, is more difficult than the manufacture of immediate-release products.
            Successful manufacturing of these types of products requires precise manufacturing process controls, API that conforms to very tight
            tolerances for specific characteristics and equipment that operates consistently within narrow performance ranges. Manufacturing
            complexity, testing requirements, and safety and security processes combine to increase the overall difficulty of manufacturing these
            products and resolving manufacturing problems that we may encounter.
                  Our manufacturing and other processes utilize sophisticated equipment, which sometimes require a significant amount of time to
            obtain and install. Our busiaess could suffer if certain manufacturing or other equipment, or a portion or all of our facilities were to
            become inoperable for a period of time. This could occur for various reasons, including catastrophic events such as earthquake, monsoon,
            hurricane or explosion, unexpected equipment failures or delays in obtaining components or replacements thereof, as well as construction
            delays or defects and other events, both within and outside of our control. Our inability to timely manufacture any of our significant
            products could have a material adverse effect on our results of operations, financial condition and cash flows.

                 Our business will co11ti1111e to expose us to risks ofenvironmental liabilities.
                  Our product and A.Pl development programs, manufacturing processes and distribution logistics involve the controlled use of
            hazardous materials, chemicals and toxic compounds in our owned and leased facilities. As a result, we are subject to numerous and
            increasingly stringent federal, state and local environmental laws and regulations concerning, among other things, the generation,
            handling, storage, transportation, treatment and disposal of toxic and hazardous materials and the discharge of pollutants into the air and
            water. Our programs and processes expose us to risks that an accidental contamination could result in (i) our noncompliance with such
            environmental laws and regulations and (ii) regulatory enforcement actions or claims for personal injury and property damage against us.
            If an accident or environmental discharge occurs, or if we discover contamination caused by prior operations, including by prior owners
            and operators of properties we acquire, we could be liable for cleanup obligations, damages and fines. The substantial unexpected costs we
            may incur could have a material and adverse effect on our business, results of operations, financial condition, and cash flows. In addition,
            environmental permits and controls are required for some of our operations, and these permits are subject to modification, renewal and
            revocation by the issuing authorities. Any modification, revocation or non-renewal of our environmental permits could have a material
            adverse effect on our ongoing operations, business and financial condition. Our environmental capital expenditures and costs for
            environmental compliance may increase in the future as a result of changes in environmental laws and regulations or increased
            development or manufacturing activities at any of our facilities.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                        41/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 43 of 169. PageID #: 358972




         10 /16 /2 0 1 8                                                              F o rm 10 -K




           Table of Contents

                Global economic conditions could harm us.
                  Recent global market and economic conditions have been unprecedented and challenging with tighter credit conditions and recession
            in most major economies during recent years. Continued concerns about the systemic impact of potential long-term and wide-spread
            recession, energy costs, geopolitical issues, the availability and cost of credit, and the global real estate markets have contributed to
            increased market volatility and diminished expectations for western and emerging economies. These conditions, combined with volatile oil
            prices, declining business and consumer confidence and increased unemployment, bave contributed to volatility of unprecedented levels.
                  As a result of these market conditions, the cost and availability of credit has been and may continue to be adversely affected by
           illiquid credit markets and wider credit spreads. Concern about the stability of the markets generally and the strength of counterparties
           specifically has led many lenders and institutional investors to reduce, and in some cases, cease to provide credit LO businesses and
           consumers. These factors have resulted in a decrease in spending by businesses and consumers alike, and a corresponding decrease in
           global infrastructure spending. Continued turbulence in the U.S. and international markets and economies and prolonged declines in
           business consumer spending may adversely affect our liquidity and financial condition, and the liquidity and financial condition of our
           customers, including our ability to refinance maturing liabilities and access the capital markets to meet liquidity needs.

                Ourforeign operations may become less attractive if political and diplomatic relations between tire United States anti any co1111t1y
                where we conduct business operations deteriorates.
                 The relationship between the United States and the foreign countries where we conduct business operations may weaken over time.
           Changes in the state of the relations between any such country and the United States arc difficult to predict and could adversely affect our
           future operations. This could lead to a decline in our profitability. Any meaningful deterioration of the political and diplomatic relations
           between the United States and the relevant country could have a material adverse effect on our operations.

               Our global operations, particularly following tire Actavis Group and Warner Chilcott Acquisitions, expose us to risks and challenges
               associated with conducting business internationally:
                 We operate on a global basis with offices or activities in Europe, Iceland, Africa, Asia, South America, Australia and North America.
           We face several risks inherent in conducting business internationally, including compliance with international and U.S. laws and
           regulations that apply to our international operations. These laws and regulations include data privacy requirements, labor relations laws,
           tax laws, anti-competition regulations, import and trade restrictions, export requirements, U.S. laws such as the Foreign Corrupt Practices
           Act, and other U.S. federal laws and regulations established by the office of Foreign Asset Control, local laws such as the UK Bribery Act
           2010 or other local laws which prohibit corrupt payments to governmental officials or certain payments or remunerations to customers.
           Given the high level of complexity of these laws, however, there is a risk that some provisions may be inadvertently breached by us, for
           example through fraudulent or negligent behavior of individual employees, our failure to comply with certain formal documentation
           requirements, or otherwise. Violations of these laws and regulations could result in fines, criminal sanctions against us, our officers or our
           employees, requirements to obtain export licenses, cessation of business activities in sanctioned countries, implementation of compliance
           programs, and prohibitions on the conduct of our business. Any such violations could include prohibitions on our ability to ofTer our
           products in one or more countries and could materially damage our reputation, our brand, our international expansion efforts, our ability to
           attract and retain employees, our business and our operating results. Our success depends, in part, on our ability to anticipate these risks
           and manage these challenges. These factors or any combination of these factors may adversely afTect our revenue or our overall financial
           performance. Violations of these laws and regulations could result in fines, criminal sanctions against us, our officers or our employees,
           and prohibitions on the conduct of our business. Any such violations could include prohibitions on our ability to offer our products in one
           or more countries and could materially damage our reputation, our brand, our international expansion efforts, our ability to attract and
           retain employees, our business and our operating results. Our success depends, in part, on our ability to anticipate these risks and manage
           these difficulties.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                       42/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 44 of 169. PageID #: 358973




         10 /16 /2 0 1 8                                                                     F o rm 10 -K




            Table of Contents


                    In addition to the foregoing, engaging in international business inherently involves a number of other difficulties and risks, including:
                           longer payment cycles and difficulties in enforcing agreements and collecting receivables through certain foreign legal systems;
                           political and economic instability;
                           potentially adverse tax consequences, tariffs, customs charges, bureaucratic requirements and other trade barriers;
                           regulations related to customs and import/export matters (including sanctions);
                           tax issues, such as tax law changes and variations in tax laws
                           challenges in collecting accounts receivable from customers in the jurisdictions in which we operate;
                           complying with laws, rules and regulations relating to the manufacturing, marketing, distribution and sale of pharmaceutical
                           products in the jurisdictions in which we do or will operate;
                           operating under regulations in jurisdictions related to obtaining eligibility for government or private payor reimbursement for
                           our products at the wholesale/retail level;
                           Competition from local, regional and international competitors;
                           difficulties and costs of staffing and managing foreign operations, including cultural and language differences and additional
                           employment regulations, union workforce negotiations and potential disputes in the jurisdictions in which we operate;
                           difficulties protecting or procuring intellectual property rights; and
                           fluctuations in foreign currency exchange rates.
                 These factors or any combination of these factors could have a material adverse effect on our results of operations and financial
            condition.

                We have exposure to tax liabilities.
                  As a multinational corporation, we are subject to income taxes as well as non-income based taxes, in both the United States and
           various foreign jurisdictions. Significant judgment is required in determining our worldwide provision for income taxes and other tax
           liabilities. Changes in tax laws or tax rulings may have a significantly adverse impact on our effective tax rate. Proposals by the current
           U.S. administration for fundamental U.S. international tax reform, including without limitation provisions that would limit the ability of
           U.S. multinationals to defer U.S. taxes on foreign income, if enacted, could have a significant adverse impact on our effective tax rate
           following the Actavis Group and Warner Chilcott acquisitions.

                Foreign currency fluctuations could adversely affect our business and finuncial results.
                 We do business and generate sales in numerous countries outside the United States. As such, foreign currency fluctuations may affect
           the costs that we incur in such international operations. Some of our operating expenses are incurred in 11011-U.S. dollar currencies. The
           appreciation of non-U.S. dollar currencies in those countries where we have operations against the U.S. dollar could increase our costs and
           could harm our results of operations and financial condition.

                We have incurred and will continue to incur significant transaction, integration and restructuring costs in connection with recent
                transactions, including the Actavis Group and Warner Chilcott acquisitions.
                 We have incurred significant transaction costs related to the Actavis Group and Warner Chilcott acquisitions and will continue to
           incur significant transaction costs related to the Warner Chilcott Acquisition. In addition, we will incur integration costs and restructuring
           costs as we integrate the businesses. Although we expect that the realization of benefits and efficiencies related to the integration oftbe
           businesses may offset these transaction

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648B11 d1 Ok.htm                                                           43/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 45 of 169. PageID #: 358974




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            costs, integration costs and restructuring costs over time, no assurances can be made that this net benefit will be achieved in the near term,
            or at all. The failure to realize the expected benefits and efficiencies related to the integration of the businesses could adversely affect our
            financial condition and results of operations.

                Substantial a111011nts of 011r information concerning 011r products, customers, employees and ongoing business are stored digitally
                and are subject to threats of theft, tampering, or other intrusion.
                   We collect and maintain information in digital form that is necessary to conduct our business. This digital information includes, but is
           not limited to, confidential and proprietary information as well as personal information regarding our customers and employees. Data
            maintained in digital form is subject to the risk of intrusion, tampering, and theft. We have established physical, electronic, and
           organizational measures to safeguard and secure our systems to prevent a data compromise, and rely on commercially available systems,
           software, tools, and monitoring to provide security for the processing, transmission and storage of digital information. However, the
           development and maintenance of these systems is costly and requires ongoing monitoring and updating as technologies change and efforts
           to overcome security measures become increasingly more sophisticated. Despite our efforts, the possibility of a future data compromise
           cannot be eliminated entirely, and risks associated with intrusion, tampering, and theft remain. In addition, we provide confidential,
           proprietary and personal information to third parties when it is necessary to pursue our business objectives. While we obtain assurances
            that these third parties will protect this information and, where appropriate, monitor the protections employed by these third parties, there
            is a risk the confidentiality of data held by third parties may be compromised. If our data systems are compromised, our business
           operations may be impaired, we may lose profitable opportunities or the value of those opportunities may be diminished, and we may lose
           revenue as a result of unlicensed use of our intellectual property. If personal information of our customers or employees is
            misappropriated, our reputation with our customers and employees may be injured resulting in loss of business and/or morale, and we may
            incur costs to remediate possible injury to our customers and employees or be required to pay fines or take other action with respect to
           judicial or regulatory actions arising out of such incidents.

                A failure of 0111' internal control over financial reporting could materially impact our business or share price.
                  The Company's management is responsible for establishing and maintaining adequate internal control over financial reporting. An
            internal control system, no matter how well designed and operated, can provide only reasonable, not absolute, assurance that the objectives
            of the control system are met. Further, the design ofa control system must reflect the fact that there are resource constraints, and the
            benefits of controls must be considered relative to their costs. Because of the inherent limitations in all internal control systems, internal
            control over financial reporting may not prevent or detect misstatements. Any failure to maintain an effective system of internal control
            over financial reporting could limit our ability to report our financial results accurately and timely or to detect and prevent fraud, and could
            expose us to litigation or adversely affect the market price of our ordinary shares. See Part II, "Item 9A. Controls and Procedures" for our
            conclusion on the effectiveness on internal contrnls over financial reporting.

            Risks Relating To Investing In the Pharmaceutical Industry
                Extensive industry regulation has had, and will continue to have, a significant impact 011 our business, especially our product
                development, manufacturing and distribution capabilities.
                  All pharmaceutical companies, including Actavis pie, are subject to extensive, complex, costly and evolving government regulation.
            For the U.S., this is principally administered by the FDA and to a lesser extent by the DEA and state government agencies, as well as by
            varying regulatory agencies in foreign countries where products or product candidates are being manufactured and/or marketed. The
            Federal Food, Drug and Cosmetic Act, the Controlled Substances Act and other federal statutes and regulations, and similar foreign
            statutes and regulations, govern or influence the testing, manufacturing, packing, labeling, storing, record keeping, safety, approval,
            advertising, promotion, sale and distribution of our products.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          44/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 46 of 169. PageID #: 358975




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                  Under these regulations, we are subject to periodic inspection of our facilities, procedures and operations and/or the testing of our
            products by the FDA and similar ex-U.S. authorities, the DEA and other authorities, which conduct periodic inspections to confirm that we
            are in compliance with all applicable regulations. In addition, the FDA and foreign regulatory agencies conduct pre-approval and post-
            approval reviews and plant inspections to determine whether our systems and processes are in compliance with cGMP and other
            regulations. Following such inspections, the FDA or other agency may issue observations, notices, citations and/or Warning Letters that
            could cause us to modify certain activities identified during the inspection. FDA guidelines specify that a Warning Letter is issued only for
            violations of"regulatory significance" for which the failure to adequately and promptly achieve correction may be expected to result in an
            enforcement action. We are also required to report adverse events associated with our products to the FDA and other regulatory authorities.
            Unexpected or serious health or safety concerns would result in product liability claims, labeling changes, recalls, market withdrawals or
            other regulatory actions.
                   Our manufacturing facility in Corona, California is currently subject to a consent decree of permanent injunction. We cannot assure
            that the FDA will determine we have adequately corrected deficiencies at our Corona manufacturing site, that subsequent FDA inspections
            at any of our manufacturing sites will not result in additional inspectional observations at such sites, that approval of any of the pending or
            subsequently submitted NDAs, ANDAs or supplements to such applications by Actavis pie or ow- subsidiaries will be granted or that the
            FDA will not seek to impose additional sanctions against Actavis pie or any of its subsidiaries. The range of possible sanctions includes,
            among others, FDA issuance of adverse publicity, product recalls or seizures, fines, total or partial suspension of production and/or
            distribution, suspension of the FDA's review of product applications, enforcement actions, injunctions, and civil or criminal prosecution.
            Any such sanctions, if imposed, could have a material adverse effect on our business, operating results, financial condition and cash flows.
            Under certain circumstances, the FDA also has the authority to revoke previously granted drug approvals. Similar sanctions as detailed
            above may be available to the FDA under a consent decree, depending upon the actual terms of such decree. Although we have instituted
            internal compliance programs, if these programs do not meet regulatory agency standards or if compliance is deemed deficient in any
            significant way, it could materially harm our business. Certain of our vendors are subject to similar regulation and periodic inspections.
                  The process for obtaining governmental approval to manufacture and market pharmaceutical products is rigorous, time-consuming
            and costly, and we cannot predict the extent to which we may be affected by legislative and regulatory developments. We are dependent on
            receiving FDA and other governmental or third-party approvals prior to manufacturing, marketing and shipping our products.
            Consequently, there is always the chance that we will not obtain FDA or other necessary approvals, or that the rate, timing and cost of
            obtaining such approvals, will adversely affect our product introduction plans or results of operations. We carry inventories of certain
            product(s) in anticipation of launch, and if such product(s) are not subsequently launched, we may be required to write-off the related
            inventory.
                   Our Anda Distribution operations and our customers are subject to various regulatory requirements, including requirements from the
            DEA, FDA, state boards of pharmacy and city and county health regulators, among others. These include licensing, registration,
            recordkeeping, security and reporting requirements. The DEA requires our Anda Distribution business to monitor customer orders of DEA
            Scheduled Drugs and to report suspicious orders to the DEA. Any determination by the DEA that we have failed to comply with
            applicable laws and regulations could result in DEA suspending, terminating or refusing to renew Anda Distribution's license to distribute
            Scheduled Drugs. Additionally, although physicians may prescribe FDA approved products for an "off label" indication, we are permitted
            to market our products only for the indications for which they have been approved. Some of our products are prescribed off label and the
            FDA, the Department of Justice, the U.S. Attorney or otber regulatory authorities could take enforcement actions if they conclude that we
            or our distributors have engaged in off label marketing. In addition, several states and the federal government have begun to enforce anti-
            counterfeit drug pedigree laws which require the tracking of all transactions involving prescription drugs beginning with the manufacturer,
            through the supply chain, and down to the pharmacy or other health care provider dispensing or administering prescription drug products.
            For example, effective July I, 2006, the Florida Department of Health began enforcement of the drug pedigree requirements for
            distribution of prescription drugs in the State of Florida. Pursuant to Florida law and regulations, wholesalers and distributors,

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 47 of 169. PageID #: 358976




         10 /1 6 /2 0 1 8                                                             F or m 10 -K




            Table of Contents

            including our subsidiary, Anda Pharmaceuticals, are required to maintain records documenting the chain of custody of prescription drug
            products they distribute beginning with the purchase of products from the manufacturer. These entities are required to provide
            documentation of the prior transaction(s) to their customers in Florida, including pharmacies and other health care entities. Several other
            states have proposed or enacted legislation to implement similar or more stringent drug pedigree requirements. In addition, federal law
            requires that a "non-authorized distributor of record" must provide a drug pedigree documenting the prior purchase of a prescription drug
            from the manufacturer or from an "authorized distributor of record" In cases where the wholesaler or distributor selling the drug product
            is not deemed an "authorized distributor of record" it would need to maintain such records. The FDA had announced its intent to impose
            additional drug pedigree requirements (e.g., tracking of lot numbers and documentation of all transactions) through implementation of
            drug pedigree regulations which were to have taken effect on December 1, 2006. However, a federal appeals court has issued a preliminary
            injunction to several wholesale distributors granting an indefinite stay of these regulations pending a challenge to the regulations by these
            wholesale distributors.

                 The supply of APis into Europe may he negatively affected by recent regulations promulgated by the European Union.
                 As of July 2, 2013, all API's imported into the EU must be certified as complying with the good manufacturing practice ("GMP")
           standards established by the EU, as stipulated by the International Conference for Harmonization ("ICH Q7''). These new regulations
           place the certification requirement on the regulatory bodies of the exporting countries. Accordingly, as of July 2, 2013, the national
           regulatory authorities of each exporting country must: (i) insure that all manufacturing plants within their borders that export API into the
           EU comply with EU manufacturing standards and; (ii) for each API exported, present a written document confirming that the exporting
           plant conforms to EU manufacturing standards. The imposition of this responsibility on the governments of the nations exporting API may
           cause a shortage of API necessary to manufacture our products, as certain governments may not be willing or able to comply with the
           regulation in a timely fashion, or at all. A shortage in API may cause us to have to cease manufacture of certain products, or to incur costs
           and delays to qualify other suppliers to substitute for those API manufacturers unable to export. This could adversely affect the Company
           and could have a material adverse effect on our business, results of operations, financial condition and cash flow.

                Federal regulation of arrangements between manufacturers ofbrand and generic products could adversely affect our business.
                 As part of the MMA, companies are required to file with the FTC and the Department of Justice certain types of agreements entered
           into between brand and generic pharmaceutical companies related to the manufacture, marketing and sale of generic versions of brand
           drugs. This requirement, as well as new legislation pending in the U.S. Congress related to settlements between brand and generic drug
           manufacturers, could affect the manner in which generic drug manufacturers resolve intellectual property litigation and other disputes with
           brand pharmaceutical companies and could result generally in an increase in private-party litigation against pharmaceutical companies or
           additional investigations or proceedings by the FTC or other governmental authorities. The impact of this requirement, the pending
           legislation and the potential private-party lawsuits associated with arrangements between brand name and generic mug manufacturers, is
           uncertain and could adversely affect our business. For example, on April 5, 2013, two putative class actions were filed against Actavis,
           Inc. and certain affiliates alleging that Watson Pharmaceuticals, Inc. 's 2009 patent lawsuit settlement with Warner Chilcott related to
           Loestrin® 24 Fe (norethindrone acetate/ethinyl esrradiol tablets and ferrous fumarate tablets, "Loestrinv 24") is unlawful. The complaints,
           both asserted on behalf of putative classes of end-payors, generally allege that Watson and another generic manufacturer improperly
           delayed launching generic versions of Loestrins 24 in exchange for substantial payments from Warner Chilcott, which at the time was an
           unrelated company, in violation of federal and slate antitrust and consumer protection laws. Further, in January 2009, the FTC and the
           State of California filed a lawsuit against us alleging that our settlement with Solvay related to our ANDA for a generic version of
           Androgel® is unlawful. Numerous private parties purporting to represent various classes ofplaintiITs filed similar lawsuits. Similar
           lawsuits have been filed against us challenging the lawfulness of our settlements related to generic versions of Across, Androgcle, Cipro®,
           and Lidoderm=. We have also received requests for information and Statements of Objection in connection with investigations into
           settlements and other arrangements

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d64B811 d1 Ok.htm                                                       46/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 48 of 169. PageID #: 358977




         10 /16 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

            between competing pharmaceutical companies by the European Competition Commission. In the past, we have also received requests for
            information and Statements of Objection in connection with investigations into settlements and other arrangements between competing
            pharmaceutical companies by the European Competition Commission. Any adverse outcome of these actions or investigations, or actions
            or investigations related to other settlements we have entered into, could have a material adverse effect on our business, results of
            operations, financial condition and cash flows. Refer to Legal Matters in "NOTE 21 - Commitments and Contingencies" in the
            accompanying ''Notes to Consolidated Financial Statements" in this Annual Report.

                Healthcare reform and a reduction i11 the coverage and reimbursement levels by governmental authorities, HMOs, MCOs or other
                third-party payers 111ay adversely affect our business.
                  Demand for our products depends in part on the extent to which coverage and reimbursement is available from third-party payers,
            such as the Medicare and Medicaid programs and private payors. In order to commercialize our products, we have obtained from
            government authorities and private health insurers and other organizations, such as HMOs and MCOs, recognition for coverage and
            reimbursement at varying levels for the cost of certain of our products and related treatments. Third-party payers increasingly challenge
            pricing of pharmaceutical products. Further, the trend toward managed healthcare in the U.S., the growth of organizations such as HMOs
            and MCOs and legislative proposals to reform healthcare and government insurance programs create uncertainties regarding the future
            levels of coverage and reimbursement for pharmaceutical products. Such cost containment measures and healthcare reform could reduce
            reimbursement of our pharmaceutical products, resulting in lower prices and a reduction in the product demand. This could affect our
            ability to sell our products and could have a material adverse effect on our business, results of operations, financial condition and cash
            flows.
                  There is uncertainty surrounding implementation of legislation involving payments for pharmaceuticals under government programs
            such as Medicare, Medicaid and Tricare. Depending on how existing provisions are implemented, the methodology for certain payment
            rates and other computations under the Medicaid Drug Rebate program reimbursements may be reduced or not be available for some of
            our products. Additionally, any reimbursement granted may not be maintained or limits on reimbursement available from third-party
            payers may reduce demand for, or negatively affect the price of those products. Ongoing uncertainty and challenges to the ACA, including
            but not limited to, modification in calculation of rebates, mandated financial or other contributions to close the Medicare Part D coverage
            gap "donut hole," calculation of AMP, and other provisions could have a material adverse effect on our business. In addition, various
            legislative and regulatory initiatives in states, including proposed modifications to reimbursements and rebates, product pedigree and
            tracking, pharmaceutical waste "take-back" initiatives, and therapeutic category generic substitution carve-out legislation may also have a
            negative impact on the Company. We maintain a full-time government affairs department in Washington, DC, which is responsible for
            coordinating state and federal legislative activities, and places a major emphasis in terms of management time and resources to ensure a
            fair and balanced legislative and regulatory arena.

                The pharmaceutical industry is highly competitive and our future revenue growth and profitability are dependent 011 our timely
                development and launches of new products ahead of our competitors.
                  We face strong competition in our all of our businesses. The intensely competitive environment requires an ongoing, extensive search
            for technological innovations and the ability to market products effectively, including the ability to communicate the effectiveness, safety
            and value of brand products to healthcare professionals in private practice, group practices and MCOs. Our competitors va1y depending
            upon product categories, and within each product category, upon dosage strengths and drug-delivery systems. Based on total assets, annual
            revenues, and market capitalization, we are smaller than certain of our national and international competitors in the brand and distribution
            product arenas. Most of our competitors have been in business for a longer period of time than us, have a greater number of products on
            the market and have greater financial and other resources than we do. Furthermore, recent trends in this industry are toward further market
            consolidation of large drug companies into a smaller number of very large entities, further concentrating financial, technical and market
            strength and increasing competitive pressure in the industry. Ifwe directly compete with them for the same markets and/or

                                                                                47




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                      47/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 49 of 169. PageID #: 358978




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            products, their financial strength could prevent us from capturing a profitable share of those markets. It is possible that developments by
            our competitors will make our products or technologies noncompetitive or obsolete.
                 Revenues and gross profit derived from the sales of generic pharmaceutical products tend to follow a pattern based on certain
           regulatory and competitive factors. As patents for brand name products and related exclusivity periods expire, the first generic
           manufacturer to receive regulatory approval for generic equivalents of such products is generally able to achieve significant market
           penetration. Therefore, our ability to increase or maintain revenues and profitability in our generics business is largely dependent on our
           success in challenging patents and developing non-infringing formulations of proprietary products. As competing manufacturers receive
           regulatory approvals on similar products or as brand manufacturers launch generic versions of such products (for which no separate
           regulatory approval is required), market share, revenues and gross profit typically decline, in some cases dramatically. Accordingly, the
           level of market share, revenue and gross profit attributable to a particular generic product normally is related to the number of competitors
           in that product's market and the timing of that product's regulatory approval and launch, in relation to competing approvals and launches.
           Consequently, we must continue to develop and introduce new products in a timely and cost-effective manner to maintain our revenues
           and gross margins. We may have fewer opportunities to launch significant generic products in the future, as the number and size of
           proprietary products that are subject to patent challenges is expected to decrease in the next several years compared to historical levels.
           Additionally, as new competitors enter the market, there may be increased pricing pressure on certain products, which would result in
           lower gross margins. This is particularly true in the case of certain Asian and other overseas generic competitors, who may be able to
           produce products at costs lower than the costs of domestic manufacturers. Ifwe experience substantial competition from Asian or other
           overseas generic competitors with lower production costs, our profit margins will suffer.
                 We also face strong competition in our Anda Distribution business, where we compete with a number of large wholesalers and other
           distributors of pharmaceuticals, including McKesson Corporation, AmerisourceBergen Corporation and Cardinal Health, Inc., which
           market both brand and generic pharmaceutical products to their customers. These companies are significant customers of our Actavis
           Specialty Brands and Acta vis Pharma businesses. As generic products generally have higher gross margins for distributors, each of the
           large wholesalers, on an increasing basis, are offering pricing incentives on brand products if the customers purchase a large portion of
           their generic pharmaceutical products from the primary wholesaler. As Anda does not offer a full line of brand products lo our customers,
           we have been at times competitively disadvantaged and must compete with these wholesalers based upon our very competitive pricing for
           generic products, greater service levels and our well-established telemarketing relationships with our customers, supplemented by our
           electronic ordering capabilities. The large wholesalers have historically not used telemarketers to sell lo their customers, but recently have
           begun lo do so. Additionally, generic manufacturers are increasingly marketing their products directly lo smaller chains and thus
           increasingly bypassing wholesalers and distributors. Increased competition in the generic industry as a whole may result in increased price
           erosion in the pursuit of market share.

                Sales of our products may co11ti1111e to he adversely affected by the continuing consolidation of our distribution network and the
                concentration of 0111· customer base.
                 Our principal customers in our brand and generic pharmaceutical operations are wholesale drug distributors and major retail drug
           store chains. These customers comprise a significant part of the distribution network for pharmaceutical products in the U.S. This
           distribution network is continuing to undergo significant consolidation marked by mergers and acquisitions among wholesale distributors
           and the growth of large retail drug store chains. As a result, a small number of large wholesale distributors and large chain drug stores
           control a significant share of the market. We expect that consolidation of drug wholesalers and retailers will increase pricing and other
           competitive pressures on drug manufacturers, including the Company.
                 The loss of any of these customers could have a material adverse effect on our business, results of operations, financial condition and
           cash Dows. In addition, none of our customers are party to any long-term supply agreements with us, and thus are able to change suppliers
           freely should they wish to do so.

                                                                                 48




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                        48/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 50 of 169. PageID #: 358979




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

            Additional Risks Related to the Warner Chilcott Acquisition and Re-domiciliation of Actavis to Ireland
                 We incurred direct and indirect costs as a result of the Warner Chilcott Acquisition.
                  We incurred costs and expenses in connection with, and as a result of, the Warner Chilcott Acquisition. These costs and expenses
            included professional fees to comply with Irish corporate and tax laws and financial reporting requirements, costs and expenses incurred in
            connection with holding a majority of the meetings of the board of directors and certain executive management meetings in Ireland, as
            well as any additional costs we may incur going forward as a result of our new corporate structure. These costs may exceed the costs
            historically borne by Actavis, Inc. and Warner Chilcott.

                The Internal Revenue Service (the "IRS") may not agree with our conclusion to treat Actavis pie as a foreign corporation for U.S.
                federal tax purposes following the Wamer Chilcott Acquisition.
                  Although we are incorporated in Ireland, the IRS may assert that we should be treated as a U.S. corporation (and, therefore, a U.S.
            tax resident) for U.S. federal tax purposes pursuant to Section 7874. For U.S. federal tax purposes, a corporation generally is considered a
            tax resident in the jurisdiction of its organization or incorporation. Because we are an Irish incorporated entity, we would generally be
            classified as a foreign corporation (and, therefore, a non-U.S. tax resident) under these mies. Section 7874 provides an exception under
            which a foreign incorporated entity may, in certain circumstances, be treated as a U.S. corporation for U.S. federal tax purposes.
                  For us to be treated as a foreign corporation for U.S. federal tax purposes under section 7874, either (i) the former stockholders of
            Acta vis, Inc. must own (within the meaning of section 7874) less than 80% (by both vote and value) of our ordinary shares by reason of
            holding shares in Actavis, Inc., which is referred to in this report as the "ownership lest," or (ii) we must have substantial business
            activities in Ireland (laking into account the activities of our expanded affiliated group). Immediately following the transaction with
            Warner Chilcott, the former Actavis, Inc. stockholders owned less than 80% (by both vote and value) of our shares after the transaction by
            reason of their ownership of shares of Actavis, Inc. As a result, under current law, we believe we are treated as a foreign corporation for
            U.S. federal tax purposes. We cannot assure you that the IRS will agree with the position that the ownership test is satisfied, however.

                Section 7874 likely will limit Actavis, I11c. 's anti its U.S. affiliates' ability to utilize their U.S. tax attributes to offset certain U.S.
                taxable income, if any, generated by the Warner Chilcott Acquisition or certain specified transactions for a period of time following
                the transaction.
                  Following the acquisition of a U.S. corporation by a foreign corporation, Section 7874 can limit the ability of the acquired U.S.
            corporation and its U.S. affiliates to utilize U.S. tax attributes such as net operating losses to offset U.S. taxable income resulting from
            certain transactions. Based on the limited guidance available, we currently expect that following the transaction, this limitation will apply
            and as a result, Actavis currently does not expect that it or its U.S. affiliates will be able to utilize their U.S. tax attributes to offset their
            U.S. taxable income, if any, resulting from certain specified taxable transactions.

                Future changes to the international tax laws could adversely affect us.
                  Under current law, we expect to be treated as a foreign corporation for U.S. federal tax purposes. However, changes to the inversion
            rules in Section 7874 or the U.S. Treasury Regulations promulgated thereunder could adversely affect our status as a foreign corporation
            for U.S. federal tax purposes, and any such changes could have prospective or retroactive application to us, Actavis, Inc., our respective
            stockholders, shareholders and affiliates, and/or the transaction with Warner Chilcott. In addition, recent legislative proposals have aimed
            to expand the scope of U.S. corporate tax residence, and such legislation, if passed, could have an adverse effect on us.
                 Moreover, the U.S. Congress, the Organisation for Economic Co-operation and Development and other Government agencies in
           jurisdictions where we and our affiliates do business have bad an extended focus on issues related to the taxation of multinational
           corporations. One example is where payments are made between

                                                                                     49




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                               49/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 51 of 169. PageID #: 358980




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            affiliates within a multinational corporation. As a result, the tax laws in the U.S. and other countries in which we and our affiliates do
            business could change on a prospective or retroactive basis, and any such changes could adversely affect us.

                We will seek Irish High Court approval of the creation of distributable reserves. We expect this will he forthcoming hut cannot
                guarantee this.
                  Under Irish law, dividends may only be paid and share repurchases and redemptions must generally be fonded only out of
            "distributable reserves," which we do not have immediately following the closing of our acquisition of Warner Chilcott. The creation of
            distributable reserves requires the approval of the Irish High Court and, in connection with seeking such court approval, the approval of
            the former Actavis, Inc. stockholders and Warner Chilcott shareholders has been obtained. The approval of the Irish High Court is
            expected in the second quarter of 2014. We are not aware of any reason why the Irish High Court would not approve the creation of
            distributable reserves; however, the issuance of the required order is a matter for the discretion of the Irish High Court. In the event that
            distributable reserves are not created, no distributions by way of dividends, share repurchases or otherwise will be permitted under Irish
            law until such time as the group has created sufficient distributable reserves from its trading activities.

                As a result ofdifferent shareholder voting requirements in Ireland relative to laws in effect ill certain states in the United States, we
                may have less flexibility with respect to certain aspects of capital management than companies organized i11 the United States.
                 Under Irish law, our authorized share capital can be increased by an ordinary resolution of our shareholders and the directors may
           issue new ordinary or preferred shares up to a maximum amount equal to the authorized but unissued share capital, without shareholder
           approval, once authorized to do so by our articles of association or by an ordinary resolution of our shareholders. Additionally, subject to
           specified exceptions, Irish law grants statutory preemption rights to existing shareholders to subscribe for new issuances of shares for cash,
           but allows shareholders to authorize the waiver of the statutory preemption rights by way of special resolution with respect to any
           particular allotment of shares. Accordingly, our articles of association contain, as permitted by Irish company law, a provision authorizing
           the board to issue new shares for cash without offering preemption rights. The authorization of the directors to issue shares and the
           authorization of the waiver of the statutory preemption rights must both be renewed by the shareholders at least every five years, and we
           cannot provide any assurance that these authorizations will always be approved, which could limit our ability to issue equity and thereby
           adversely affect the holders of our securities.

                We are incorporated in Ireland, and Irish law differs from the laws in effect i11 the United States and may afford less protection to,
                or otherwise adversely affect, our shareholders.
                  Our shareholders may have more difficulty protecting their interests than would shareholders of a corporation incorporated in a
           jurisdiction of the United States. As an Irish company, we are governed by the Irish Companies Acts (the "Companies Act"). The
           Companies Act differs in some material respects from laws generally applicable to U.S. corporations and shareholders, including the
           provisions relating to interested directors, mergers, amalgamations and acquisitions, takeovers, shareholder lawsuits and indemnification
           of directors. For example, under Irish law, the duties of directors and officers of a company are generally owed to the company only. As a
           result, shareholders of Irish companies do not have the right to bring an action against the directors or officers of a company, except in
           limited circumstances. In addition, depending on the circumstances, you may be subject to different or additional tax consequences under
           Irish law as a result of your acquisition, ownership and/or disposition of our ordinary shares, including, but not limited to, Irish stamp duty,
           dividend withholding tax and capital acquisitions tax.

                 We are an Irish company and it may be difficult for you to enforce judgments against us or certain of our officers and directors.
                 We are incorporated in Ireland and a substantial portion of our assets are located in jurisdictions outside the United States. In
           addition, some of our officers and directors reside outside the United States, and some or all of

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                            50/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 52 of 169. PageID #: 358981




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

            their respective assets arc or may be located in jurisdictions outside of the United States. Therefore, it may be difficult for investors to
            effect service of process against us or such officers or directors or to enforce against us or them judgments of U.S. courts predicated upon
            civil liability provisions of the U.S. federal securities laws.
                  There is no treaty between Ireland and the United States providing for the reciprocal enforcement of foreign judgments. The
            following requirements must be met before the foreign judgment will be deemed co be enforceable in Ireland:
                            the judgment must be for a definite sum;
                            the judgment must be final and conclusive; and
                            the judgment must be provided by a court of competent jurisdiction,
                  An Irish court will also exercise its right to refuse judgment if the foreign judgment was obtained by fraud, if the judgment violated
            Irish public policy, if the judgment is in breach of natural justice or if it is irreconcilable with an earlier judgment. Further, an Irish court
            may stay proceedings if concurrent proceedings are being brought elsewhere. Judgments of U.S. courts of liabilities predicated upon U.S.
            federal securities laws may not be enforced by Irish courts if deemed co be contrary to public policy in Ireland.

                A transfer of Company Ordinary Shares, other than by means of the transfer of book-entry interests in the Depository Trust
                Company ("DTC'~, may be subject to Irish stamp duty.
                 Transfers of Company Ordinary Shares effected by means of the transfer of book entry interests in OTC will not be subject to Irish
            stamp duty. However, if you hold your Company Ordinary Shares directly rather than beneficially through DTC, any transfer of your
            Company Ordinary Shares could be subject to Irish stamp duty (currently at the rate of I% of the higher of the price paid or the market
            value of the shares acquired). Payment of Irish stamp duty is generally a legal obligation of the transferee. The potential for stamp duty
            could adversely affect the price of your shares.

                In certain limited circumstances, dividends we pay may be subject to Irish dividend withholding tax.
                  While we do not currently contemplate paying dividends upon our ordinary shares, in certain limited circumstances, dividend
            withholding tax (currently at a rate of 20%) may arise in respect of dividends, if any, paid on our ordinary shares. A number of exemptions
            from dividend withholding tax exist such chat shareholders resident in the U.S. and shareholders resident in certain countries may be
            entitled co exemptions from dividend withholding tax.
                  Shareholders resident in the U.S. that hold their shares through OTC will not be subject to dividend withholding tax provided the
            addresses of the beneficial owners of such shares in the records of the brokers holding such shares are recorded as being in the U.S. (and
            such brokers have further transmitted the relevant information to a qualifying intermediary appointed by us). Similarly, shareholders
            resident in the U.S. that hold their shares outside of OTC will not be subject to dividend withholding tax if, in the case of former Actavis,
            Inc. shareholders, they provide a IRS Form 6166 to our transfer agent co confirm their U.S. residence and claim an exemption, or, in the
            case of former Warner Chilcott shareholders, such shareholders previously filed valid dividend withholding tax forms with Warner
            Chilcott or its transfer agent in respect of their Warner Chilcott shareholdings. All new U.S. resident shareholders in Acta vis pie that hold
            their shares outside of OTC and shareholders resident in certain other countries (irrespective of whether they hold their shares through
            OTC or outside DTC) will not be subject to dividend withholding tax provided the beneficial owners of such shares have furnished
            completed and valid dividend withholding tax forms or an IRS Fann 6166, as appropriate, to our transfer agent or their brokers (and such
            brokers have further transmitted the relevant information to our transfer agent). However, other shareholders may be subject to dividend
            withholding tax, which could adversely affect the price of your shares.

                Dividends received by Irish residents anti certain other shareholders may be subject to Irish income tax.
                 Shareholders entitled co an exemption from Irish dividend withholding tax on dividends received from us will not be subject to Irish
            income tax in respect of those dividends, unless they have some connection with

                                                                                    51




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                             51/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 53 of 169. PageID #: 358982




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

            Ireland other than their shareholding in us (for example, they are resident in Ireland). Shareholders who are not resident nor ordinarily
            resident in Ireland but who are not entitled to an exemption from Irish dividend withholding tax will generally have no further liability to
            Irish income tax on those dividends which suffer dividend withholding tax.

                 Company Ordinary Shares received by means of a gift or inheritance could he subject to Irish capital acquisitions tax.
                  Irish capital acquisitions tax ("CAT") could apply to a gift or inheritance of Company Ordinary Shares irrespective of the place of
            residence, ordinary residence or domicile of the parties. This is because Company Ordinary Shares are regarded as property situated in
            Ireland. The person who receives the gift or inheritance has primary liability for CAT. Gifts and inheritances passing between spouses are
            exempt from CAT. Children have a tax-free threshold of€225,000 in respect of taxable gifts or inheritances received from their parents.

            ITEM IB.            UNRESOLVED STAFF COMMENTS
                     Not applicable.

            ITEM 2.          PROPERTIES
                     We conduct our operations using a combination of owned and leased properties.
                Our owned properties consist of facilities used for R&D, manufacturing, distribution (including warehousing and storage), sales and
            marketing and administrative functions. The following table provides a summary of locations for our significant owned properties:

                  Location                                                  Primary Use                                     Segm ent
                  Ag. Varvara, Greece                                       Manufacturing, R&D, Administration              Actavis Pharma
                  Auckland, New Zealand                                     Distribution, Administration                    Actavis Pharma
                  Barnstaple, UK                                            Manufacturing, Administration                   Actavis Pharma
                  Bucharest, Romania                                        Manufacturing, Distribution,                    Actavis Pharma
                                                                            Administration, R&D
                  Corona, CA, USA                                           Manufacturing, Warehouse,                       Actavis Pharma / Actavis
                                                                            Distribution                                    Specialty Brands
                  Davie, FL, USA                                            Manufacturing, Distribution, R&D,               Actavis Pharma/ Actavis
                                                                            Administration                                  Specialty Brands
                 Dundalk, Ireland                                           Administration                                  Actavis Specialty Brands
                 Dupnitsa, Bulgaria                                         Manufacturing                                   Actavis Pharma
                 Elizabeth, NJ, USA                                         Manufacturing, R&D, Administration              Actavis Pharma/ Actavis
                                                                                                                            Specialty Brands
                 Fajardo, Puerto Rico                                       Manufacturing, Packaging                        Actavis Specialty Brands
                 Goa, India                                                 Manufacturing                                   Actavis Pharma
                 Gurnee, IL, USA                                            Warehousing, Distribution                       Actavis Pharma/ Actavis
                                                                                                                            Specialty Brands
                  Hafnarfjordur, Iceland                                    Manufacturing, Warehousing,                     Actavis Pharma
                                                                            Distribution, Administration
                 Jakarta-Timur, Indonesia                                   Manufacturing, Warehousing,                     Actavis Pharma
                                                                            Distribution, Administration
                 Larue, Northern Ireland                                    Manufacturing                                   Actavis Specialty Brands
                 Leskovac, Serbia                                           Manufacturing                                   Actavis Pharma
                 Lincolnton, NC, USA                                        Manufacturing, Administration,                  Actavis Pharma
                                                                            Warehouse

                                                                                 52




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 54 of 169. PageID #: 358983




        10 /16 /2 0 1 8                                                                    F o rm 10 -K




           Table of Contents

                Loc:ition                                                    Primary Use                                Segment
                Liverpool, UK                                                Administration, R&D                        Actavis Specialty Brands
                Manati, Puerto Rico                                          Warehouse, Distribution,                   Actavis Specialty Brands
                                                                             Administration
                Mississauga, Canada                                          Manufacturing, R&D, Administration         Actavis Pharma
                Nerviano, Italy                                              Manufacturing, R&D                         Actavis Pharma
                Rio de Janeiro, Brazil                                       Manufacturing, Distribution,               Actavis Pharma
                                                                             Administration
                Troyan, Bulgaria                                             Manufacturing                              Actavis Pharma
                Weiterstadt, Germany                                         Manufacturing                              Actavis Specialty Brands

                Properties that we lease include R&D, manufacturing, distribution (including warehousing and storage), and administrative facilities.
           The following table provides a summary of locations for our significant leased properties:

                Location                                                    Prfm:arv Use                                Segn1cnt
                Belgrade, Serbia                                            Manufacturing, Administration               Actavis Pharma
                Birzebbuga, Malta                                           Manufacturing, Distribution,                Actavis Pharma/Actavis
                                                                            Administration                              Specialty Brands
                Dublin, Ireland                                             Administration                              Actavis Pharrna/Actavis
                                                                                                                        Specialty Brands
                Gentofte, Denmark                                           Administration                              Acravis Pharma
                Groveport, OH, USA                                          Distribution                                Anda Distribution
                Haan, Germany                                               Distribution                                Actavis Pharma
                Istanbul, Turkey                                            Administration                              Actavis Pharma
                Kiev, Ukraine                                               Administration                              Actavis Pharma
                Liege, Belgium                                              Manufacturing, Administration, R&D          Specialty Brands
                London, UK                                                  Administration                              Actavis Pharma
                Lyon, France                                                Administration                              Actavis Pharma
                Moscow, Russia                                              Administration                              Actavis Pharma
                Mumbai, India                                               R&D, Administration                         Actavis Pharma
                Munich, Germany                                             Administration                              Actavis Pharma
                Olive Branch, Ml, USA                                       Distribution, Administration                Anda Distribution
                Owings Mills, MD, USA                                       Manufacturing, R&D, Administration          Actavis Pharma
                Parsippany, NJ, USA                                         Administration                              Actavis Pharma/Actavis
                                                                                                                        Specialty Brands
                Rockaway, NJ, USA                                           Administration                              Actavis Specialty Brands
                Salt Lake City, UT, USA                                     Manufacturing, Distribution, R&D            Actavis Pharma / Actavis
                                                                                                                        Specialty Brand
                Singapore City, Singapore                                   Manufacturing, Administration, R&D          Actavis Pharma
                Sofia, Bulgaria                                             Administration                              Actavis Pharma
                Stockholm, Sweden                                           Administration                              Actavis Pharma
                Warsaw, Poland                                              Administration                              Actavis Pharma
                Weston, FL, USA                                             Distribution, Administration, R&D           Actavis Pharma/Anda
                                                                                                                        Distribution
                Zejtun, Malta                                               Manufacturing, Distribution,                Actavis Pharma
                                                                            Administration, R&D

                   Our leased properties are subject to various lease terms and expirations.

                                                                                   53




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 55 of 169. PageID #: 358984




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            Table of Contents

                  \Ve believe that we have sufficient facilities to conduct our operations during 2014. However, we continue to evaluate the purchase or
            lease of additional properties, or the consolidation of existing properties as our business requires.

            ITEM3.          LEGAL PROCEEDINGS
                 For information regarding legal proceedings, refer to Legal Matters in "NOTE 21 - Commitments and Contingencies" in the
            accompanying "Notes to Consolidated Financial Statements" in this Annual Report.

            ITEM4.          MINE SAFETY DISCLOSURES
                     Not applicable

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      54/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 56 of 169. PageID #: 358985




         10 /16 /2 0 18                                                                F o rm 10 -K




           Table of Contents

                                                                               PART II

           ITEM 5.           MARKET FOR REGISTRAN T'S COMMON EQUITY, RELATED STOCKHOLDER MATTERS AND ISSUER
                             PURCHASES OF EQUITY SECURITIES
           Market for Registrant's Common Equity
                Our Ordinary Shares (formerly Class A common shares of Actavis, Inc.) traded on the New York Stock Exchange under the symbol
           "WPI" until close of business on January 24, 2013, at which time the symbol was changed to "'ACT." The following table sets forth the
           quarterly high and low share trading price information for the periods indicated:

                                                                                                                            ___!!_ig!,_       ~
                   Year ended December 31, 2013:
                        First                                                                                               $ 92.37           $ 82.02
                         Second                                                                                             $133.00           $ 91.88
                        Third                                                                                               $145.50           $121.12
                        Fourth                                                                                              $170.51           $136.52
                   Year ended December 31, 2012:
                        First                                                                                               $ 67.50           $ 55.00
                         Second                                                                                             $ 77.73           $ 65.70
                        Third                                                                                               $ 86.07           $ 73.39
                        Fourth                                                                                              $ 91.47           $ 81.73

                   As of February 7, 2014, there were approximately 2,560 registered holders of our Ordinary Shares.
                We have not paid any cash dividends since our initial public offering in February 1993, and do not anticipate paying any cash
           dividends in the foreseeable future.

            Issuer Purchases of Equity Securities
                 During the quarter ended December 31, 2013, we repurchased 26,151 of our Ordinary Shares to satisfy tax withholding obligations
           in connection with the vesting of restricted stock issued to employees as follows:

                                                                                                                                    Approximate Dollar
                                                                                                        Total Number of             Value or Shares that
                                                                Total Number           Average        Shares Purchased as               May Yet Be
                                                                  of Shares           PrkePaid         Part of Publicaly                Purchased
                    Period                                       Purchased            per Share       Announced Program              Under lhe Program
                   October I - 31, 2013                                 364           $ 143.09
                   November I - 30, 2013                              9,159           $ 162.85
                   December I - 3 I, 2013                       ~                     $ 166.01
                   October I - December 31, 2013                ~                     $ 164.58

           Recent Sale of Unregistered Securities; Uses of Proceeds from Registered Securities
                   None.

           Securities Authorized for Issuance Under Equity Compensation Plans
               For information regarding securities authorized for issuance under equity compensation plans, refer to "ITEM 12. SECURITY
           OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND MANAGEMENT AND RELATED STOCKHOLDER MATTERS" and
           "NOTE 16- Stockholders' Equity" in the accompanying "Notes to Consolidated Financial Statements" in this Annual Report.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 57 of 169. PageID #: 358986




         10 /16 /2 0 1 8                                                                                     F o rm 10 -K




            Table of Contents

            Performance Graph
                 The information in this section of the Annual Report pertaining to our performance relative to our peers is being furnished but not
           filed with the SEC. and as such, the information is neither subject lo Regulation I 4A or I 4C or lo the liabilities of Sec/ion I 8 of the
           Securities Exchange Act of/934.
                  The following graph compares the cumulative 5-year total return of holders of Actavis' Ordinary Shares (Iorrnerly Class A common
            shares of Actavis, Inc.) with the cumulative total returns of the S&P 500 index and the Dow Jones US Pharmaceuticals index. The graph
            tracks the performance of a $ l 00 investment in our Ordinary Shares and in each of the indexes (with reinvestment of all dividends, if any)
            on December 31, 2008 with relative performance tracked through December 31, 2013.
                 Notwithstanding anything to the contrary set forth in our previous filings under the Securities Act of 1933, as amended, or the
           Securities Exchange Act of 1934, as amended, which might incorporate future filings made by us under those statutes, the following graph
           will not be deemed incorporated by reference into any future filings made by us under those statutes.

                                                    COMPARISON OF 5 YEAR CUMULATIVE TOTAL RETURN*
                                              Among Actavis plc, the S&P 500 Index, and the Dow Jones US Pharmaceuticals Index

                                     100    r:---:----------r-----------
                                             -0- Actavi» pie
                                     soo       -6:- S&P 500
                                     500       -0,...    Dow Jones US Pharmaceuticals

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                                        o~------~---~----~----------~
                                                    2008                   2:f.)09               20m                    201l                      2fH2            :wn
                  *S l 00 invested on 12/31/08 in stock or index, including reinvestrnem of dividends. Fiscal year ending December 31.

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                  Copyrightc, 2014 Dow Jones & Co. All rights reserved.


                                                                                                          12/08         12/09            12/10           12/11    12/12       12/13
               Actavis pk                                                                             100.00          149.08         194.39          227.10      323.67   632.29
               S&P 500                                                                                100.00          126.46         145.51          148.59      172.37   228.19
               Dow Jones US Pharmaceuticals                                                           100.00          119.09         121.62          144.30      164.36   220.11

                    The stock price performance included i11 this graph is not necessarily indicative offuture stock price performance.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 58 of 169. PageID #: 358987




         10 /16 /2 0 18                                                                       F or m 10 -K




           Table of Contents

           ITEM 6.         SELECTED FINANCIAL DATA
                 The following table sets forth our selected historical consolidated financial data. The selected consolidated financial data at
           December 31, 2013 and 2012 and for the years ended December 31, 2013, 2012 and 2011 presented in this table have been derived from
           our audited consolidated financial statements and related notes included elsewhere in this Annual Report. The selected consolidated
           financial data at December 31, 2011, 20 IO and 2009 and for the years ended December 3 I, 20 IO and 2009 presented in chis table are
           derived from our audited consolidated financial statements and related notes which are not included in this Annual Report.
                The selected consolidated financial data set forth below should be read in conjunction with, and is qualified by reference to,
           "Management's Discussion and Analysis of Financial Condition and Results of Operations" and the Notes to the Consolidated Financial
           Statements included elsewhere in this Annual Report and in our previously filed Annual Reports on Form I 0-K.

                                                                             ACTAVISPLC
                                                                     FINANCIAL HIGHLIGHTS
                                                                (In millions, except per share amounts)

                                                                                                                        Years Ended December 31.
                                                                                            2013t1 l<2 H 0 >        2012<•l    _2_
                                                                                                                                 01_
                                                                                                                                   1 _        ~                 2009t6 l
                   Operating Highlights:
                   Net revenues                                                             $ 8,677.6           55,914.9       $4,584.4       $3,566.9      $2,793.0
                   Operating (loss)/income                                                     (423.2)             315.7          523.4          305.4         383.9
                   Net (loss)/incorne
                    attributable to common shareholders                                          (750.4)               97.3         260.9           184.4         222.0
                   Basic (loss)/earnings per share                                                (5.27)        s      0.77    $     2.10     $      1.51   $      2.11
                   Diluted (loss)/eamings per share                                               (5.27)        $      0.76    $     2.06     $      1.48   $      1.96
                   Weighted average shares outstanding:
                          Basic                                                                    142.3              125.8          124.5          122.4         105.0
                          Diluted                                                                  142.3              128.4          126.5          124.2         116.4

                                                                                                                          Ar December 31.
                                                                                     2013(1)(2)(.1)(4)(5)
                                                                                                               ~               --1!!!!...._   --2!!!Q_          2009(6 )
                   Balance Sheet Highlights:
                   Current assets                                                    $       4,434.7           $ 3,838.3       $2,569.7       $1,786.7      $1,749.2
                   Working capital, excluding assets and
                    liabilities held for sale                                                1,115.4             1,089.0             730.2          978.7         721.6
                   Total assets                                                            22,725.9             14,114.8           6,698.3        5,686.6       5,772.4
                   Total debt                                                               9,052.0              6,433.3           1,033.0        1,016.1       1,457.8
                   Total equity                                                             9,537.1              3,856.4           3,562.5        3,282.6       3,023.1

           (I)     On October 1, 2013, we completed the Warner Chilcott Acquisition. Warner Chilcott was a leading specialty pharmaceutical
                   company focused on women's healthcare, gastroenterology, urology and dermatology segments of the branded pharmaceuticals
                   market, primarily in North America. Beginning October I, 2013, the following items were included in our operating results:
                          total revenues and related cost of sales for Warner Chilcott products;
                          selling, general and administrative expenses and research and development expenses;
                          amortization expense for intangible assets acquired; and
                          increased interest expense from the senior secured notes assumed and the $2.0 billion aggregate term loan indebtedness
                          assumed, and subsequently refinanced, in connection with the Warner Chilcott Acquisition.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 59 of 169. PageID #: 358988




         10 /16 /2 0 1 8                                                                  F or m 10 -K




           Table of Contents

            (2)     On August I, 2013, we entered into a transaction with Palau to acquire worldwide product rights to develop and commercialize
                    albaconazole for the treatment of candidiasis. We simultaneously entered into a manufacturing and supply agreement with Palau for
                    the supply of clinical and commercial quantities of the products. In connection with the execution of the agreements, we paid an
                    upfront non-refundable payment of €10.0 million, or $13.4 million to Palau, which was recorded as R&D expense in the year ended
                    December 31, 2013.
            (3)     On June 11, 2013, we entered into an exclusive license agreement with Medicines360 to market, sell and distribute Medicines360
                    LNG20 intrauterine device in the U.S. and in Canada for a payment of approximately $52.3 million. We will also pay Medicines360
                    certain regulatory and sales based milestone payments totaling up to nearly $125.0 million plus royalties. Mcdicincs360 retains the
                    rights to market the product in the U.S. public sector, including family planning clinics that provide services to ]ow-income women.
                    LNG20, originally developed by Uteron Pharma S.P.R.L. in Belgium (now a subsidiary of the Company), is designed to deliver 20
                    mcg of levonorgestrel per day for the indication of long term contraception, and is currently in Phase Ill clinical trials in the United
                    States. Pending FDA approval, the LNG20 product could be launched in the U.S. as early as 2014.
           (4)      On January 23, 2013, we completed the Uteron Acquisition. The Uteron Acquisition expanded our Specialty Brands' pipeline of
                    Women's Health products including two potential near term commercial opportunities in contraception and infertility, and one oral
                    contraceptive project projected to launch by 20 I 8. Several additional products in earlier stages of development are also included in
                    the acquisition.
           (5)     On October 31, 2012, we completed the Actavis Group Acquisition. As of December 31, 2012, the estimated number of shares
                   contingently issuable in connection with the Actavis Group earn-out was calculated to be 3.85 million shares. In the year ended
                   December 3 I, 2013, the decision was made lo award the remaining 1.65 million shares. The 1.6 additional shares are included in the
                   basic weighted average common shares outstanding for the year ended December 31, 2013 beginning on March 28, 2013. Actavis
                   Group was a privately held generic pharmaceutical company specializing in the development, manufacture and sale of generic
                   pharmaceuticals. Ow- financial statements included in this report do not include the financial results of the Actavis Group for any of
                   the periods presented prior to October 31, 2012.
           (6)     On December 2, 2009, we acquired all the outstanding equity of the Arrow Group in exchange for cash consideration of
                   $1.05 billion, approximately 16.9 million shares of ow- Restricted Ordinary Shares and 200,000 shares of our Mandatorily
                   Redeemable Preferred Stock and certain contingent consideration (the "Arrow Group Acquisition"). The fair value of the total
                   consideration was approximately $1.95 billion.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 60 of 169. PageID #: 358989




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            ITEM 7.         MANAGEMENT'S DISCUSSION AND ANALYSTS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS
                  Except for the historical information contained herein, the following discussion contains forward-looking statements that are subject
            to !mown and unknown risks, uncertainties and other/actors that may cause actual results to differ materially from those expressed or
            implied by such forward-looking statements. We discuss such risks, uncertainties and otherfactors throughout this report and specifically
            under the caption "Cautionary Note Regarding Forward-Looking Statements" under ''ITEM IA. RISK FACTORS" in this Annual Report.
            !11 addition, the following discussion offinancial condition and results of operations should be read in co11j1111ctio11 with the Consolidated
            Financial Statements and Notes thereto included elsewhere in this Annual Report.
                  In prior periods, our consolidatedfinancial statements present the accounts ofActavis, Inc., and all of its wholly-owned subsidiaries.
            On May I 6, 2013, Actavis pie (formally known as Actavis Limited) was incorporated in Ireland as a private limited company and re-
            registered effective September 18, 2013 as a public limited company. It was establishedfor the purpose offacilitating the business
            combination between Actavis, Inc. and fVarner Chilcott. On October 1, 2013, we became the successor registrant ofActavis, Inc. and
            Warner Chi/coll in connection with the consummation of certain transactions further described elsewhere in this Annual Report. In
            addition, on October 1, 2013, the shares ofActavis Public Limited Company began trading on the NYSE under the symbol '"ACT," the
            same symbol under which Actavis, inc. s shares previously traded. References throughout lo "ordinary shares" refer to Actavis Inc. s
            Class A common shares, par value $0. 0033 per share, prior to the consummation of the transactions and to our ordinary shares, par value
            $0.0001 per share, since the consummation of the transactions.

            EXECUTIVE SUMMARY
            Overview
                  We are a leading integrated global specialty pharmaceutical company engaged in the development, manufacturing, marketing, sale
            and distribution of generic, branded generic, brand name, biosimilar and OTC pharmaceutical products. Through our third-party business
            within the Actavis Pharma segment, we out-license generic pharmaceutical products rights that we develop or acquire, primarily in
            Europe. We are also developing biosimilar products within our Actavis Specialty Brands segment. Additionally, we distribute generic and
            branded pharmaceutical products manufactured by third parties through our Anda Distribution segment. Our largest market is the United
            States of America, followed by our key international markets including Europe, Canada, Australia, Southeast Asia.
                  We have supported our Actavis Pharma and Actavis Specialty Brands businesses with a significant commitment ofR&D
            expenditures of approximately 7% of net revenues for the years ended December 31, 2013, 2012 and 20 I 1 Our global growth strategy is
            focused on: (i) internal development of differentiated high-demand products; (ii) establishment of strategic alliances and collaborations
            that bring new products, technologies and markets to our existing portfolio; and (iii) acquisition of products and/or companies that
            complement our existing portfolio in generics, brands and biosimilars.
                  As of December 31, 2013, we marketed over 250 generic pharmaceutical product families and approximately 45 branded
            pharmaceutical product families in the U.S. and a significant number of product families internationally. Generic pharmaceutical products
            are bioequivalents of their respective branded products and provide a cost-efficient alternative to branded products. Branded
            pharmaceutical products are marketed under brand names through programs that are designed to generate physician and consumer loyalty.
            Through our Anda Distribution segment, we distribute approximately I 2,725 SKUs in the U.S. primarily to independent pharmacies,
            alternate care providers (hospitals, nursing homes and mail order pharmacies) and pharmacy chains, as well as generic products and
            certain selective branded products to physicians' offices.

            2013 Transactions
                  During 2013, we completed the following transactions that impacted our results of operations and will continue to have an impact on
            our future operations.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 61 of 169. PageID #: 358990




         10 /16 /2 0 1 8                                                              F or m 10 -K




            Table of Contents

                Actavis (Foshan} Pharmaceuticals Co., Ltd. Assets Heldfor Sale
                As a result of the Foshan Sale, we recognized an impairment on the net assets held for sale of $8.4 million in the year ended
            December 31, 2013.

                Western European Assets Heldfor Sale
                  During the year ended December 31, 2013, we held for sale our Acta vis Phanna's commercial infrastructure in France, Italy, Spain,
            Portugal, Belgium, Germany and the Netherlands, including products, marketing authorizations and dossier license rigbts. We believe that
            the potential divestiture allows the Company to focus on faster growth markets including Central and Eastern Europe, and other emerging
            markets which we believe will enhance our long-term strategic objectives. On January 17, 2014, we announced our intention to enter into
            an agreement with Aurobindo Pharma Limited to sell these businesses. The transaction is conditional on certain antitrust approvals and
            completion of employee consultation processes. As a result of the transaction, in 2013 the Company recognized an impairment on the net
            assets held for sale of $34.3 million.

                Sale of Changzhou Watson Phannaceuticals Co., Ltd
                 On November 27, 2013, we sold our Changzhou business to Great Harmony Enterprises Limited, a Hong Kong Company, for a total
            consideration of $8.0 million. As a result of the sale, we recorded a gain of S2.3 million in other income (expense) in the year ended
            December 31, 2013.

                Amendment to Sanofi Collaboration Agreement
                 On October 28, 2013, WCCL and Sanofi entered into the Sanofi Amendment. Pursuant to the Amendment, the parties amended the
           Collaboration Agreement with respect to Actonelv and Ate!via·lil in the Exclusive Tenitory to provide that, in exchange for the payment of
           a lump sum of$ I 25.0 million by WCCL to Sanofi in the year ended December 31, 2013, WCCL's obligations with respect to the global
           reimbursement payment, which represented a percentage of Actavis' net sales as defined, as it related to the Exclusive Territory for the
           year ended December 31, 2014, shall be satisfied in full. The Sanofi Amendment did not and does not apply to or affect the parties'
           respective rights and obligations under the Collaboration Agreement with respect to (i) the remainder of 2013 or (ii) territories outside the
           Exclusive Territory, The $125.0 million was recorded as an intangible asset during the year ended December 31, 2013, which will be
           amortized over the course oftbe year ending December 31, 2014.

                Acquisition of Warner Chilcott
                 On October I, 2013, we completed the Warner Chilcott Acquisition for a transaction value, including the assumption of debt, of $9.2
           billion. Warner Chilcott was a leading specialty pharmaceutical company focused on women's healthcare, gastroenterology, urology and
           dermatology segments of the branded pharmaceuticals market, primarily in North America. The Warner Chilcott Acquisition expands our
           presence in our Specialty Brands Segment. Warner Ch.ilcott's financial statements included in this report do not include the financial
           results of Warner Chilcott for any of the periods or at any of the dates presented prior to October I, 2013. For additional information, refer
           to "NOTE 4 - Acquisitions and Other Agreements" in the accompanying "Notes to Consolidated Financial Statements" in this Annual
           Report.
                 In order to obtain regulatory clearance under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended ("Hart-Scott-
           Rodino"), in connection with the Warner Chilcott Acquisition, wc were required lo divest certain assets. On October I, 2013, four generic
           pharmaceutical products were sold to Amneal Pharmaceuticals for consideration of $10.0 million, subject to certain refunds of purchase
           price provisions, which resulted in a deminimis impact to the consolidated statement of operations. The divested products consisted of
           both commercial and development stage products in both oral contraception and osteoporosis treatment. Net sales of divested products
           included in our results of operations were $2.5 million, S4.6 million and $0.7 million in the years ended December 31, 20 I 3, 2012 and
           2011, respectively.
               On October I, 20 l 3 in connection with the Warner Chilcott Acquisition, Actavis pie, Bank of America, N.A. ('"BofA"), as
           Administrative Agent and a syndicate of banks participating as lenders became parties to the

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 62 of 169. PageID #: 358991




         10 /16 /2 0 1 8                                                             F or m 10 -K




            Table of Contents

            Warner Chilcott Tenn Loan Credit and Guaranty Agreement (the "WC Tenn Loan Agreement"), pursuant to which the lenders party to the
            agreement provide loans to Warner Chilcott Corporation, a Delaware corporation (the "US Borrower"), WC Luxco S.a r.l., a private
            limited liability company (societe n responsabilite limitee) incorporated under the laws of the Grand-Duchy of Luxembourg (the
            "Luxembourg Borrower"), and WCCL, a limited liability company organized under the laws of the Commonwealth of Pue110 Rico (the
            "Puerto Rico Borrower" and, together with the US Borrower and the Luxembourg Borrower, the "WC Borrowers") in an aggregate
            amount of $2.0 billion, comprised of (i) a S 1.0 billion tranche that will mature on October I, 2016 (the "Three Year Tranche") and (ii) a
            $1.0 billion tranche that will mature on October l, 2018 (the "Five Year Tranche"). The proceeds of borrowings under the WC Tenn Loan
            Agreement, together with $41.0 million of cash on hand, were used to finance the repayment in full of all amounts outstanding under
            Warner Chilcott's then-existing Credit Agreement, dated as of March 17, 2011, as amended by Amendment No. I on August 20, 20 I 2,
            among the WC Borrowers, BofA, as administrative agent and a syndicate of banks participating as lenders.

                Palau Pharma S.A. Agreement
                 On August I, 2013, we entered into a purchase agreement with Palau to acquire worldwide product rights to develop and
            commercialize albaconazole for the treatment of candidiasis. We simultaneously entered into a manufacturing and supply agreement with
            Palau for the supply of clinical and commercial quantities of the products. In connection with the execution of the agreements, we paid an
            upfront non-refundable payment of€ I 0.0 million, or$ I 3.4 million to Palau, which was recorded as R&D expense in the year ended
            December 31, 2013. The agreement also provides for certain future milestone payments up to€ 18.0 million in the aggregate, upon the
            successful completion of Phase III trials of the products and regulatory approvals.

                Acquisition ofMedicines360
                  On June 11, 2013, we entered into an exclusive license agreement with Medicines360 to market, sell and distribute LNG20 in the
            U.S. and in Canada for a payment of approximately $52.3 million. According to the terms of the agreement, we are also required to pay
            Medicines360 certain regulatory and sales based milestone payments totaling up to $125.0 million plus royalties. Medicines360 retained
            the rights to market the product in the U.S. public sector, including family planning clinics that provide services to low-income women.
            LNG20, originally developed by Uteron Pharma S.P.R.L. in Belgium (now a subsidiary of the Company), is designed to deliver 20 mcg of
            levonorgestrel per day for the indication of Jong-term contraception, and is currently in Phase lII clinical trials in the United States.
            Pending FDA approval, the LNG20 product could be launched in the U.S. as early as 2014. The transaction has been accounted for using
            the acquisition method of accounting. In connection with the acquisition, the Company recorded $191 7 million in IPR&D, S6. 7 million in
            prepaid R&D and contingent consideration of $146.1 million.

                Metronidazole 1.3% Vaginal Gel and Zovira~1 Ointment and Cream
                  On May I, 20 I 3, we entered into an agreement to acquire the worldwide rights to Valeant's metronidazole 1.3% vaginal gel
            antibiotic development product, a topical antibiotic for the treatment of bacterial vaginosis. Under the terms of the agreement, we will
            acquire the product upon FDA approval for approximately S57.0 million, which includes upfront and certain milestone payments and
            guaranteed royalties for the first three years of commercialization. Upon FDA approval, or receipt of product launch quantity, we will
            account for this transaction using the acquisition method of accounting. In the event of generic competition on rnetronidazole 1.3%, and
            should we choose to launch an authorized generic product, we would share the gross profits of the authorized generic with Valeant.
                 On April 5, 2013, we entered into an agreement with Valcant to be the exclusive marketer and distributor of the authorized generic
           version of'Valeanr's Zoviraxs ointment (acyclovir 5%) product. Under the terms of the agreement, Valeant will supply a generic version of
           Valeant's Zoviraxs ointment product and we will market and distribute the product in the U.S. Additionally, we were granted the exclusive
           right by Valeant to co-promote Zovirax® cream (acyclovir 5%) to obstetricians and gynecologists in the U.S. and we granted Valeant the
           exclusive right to co-promote Actavis Specialty Brands' Cordrans Tape (flurandrenolide) product in the U.S. Under the terms of the
           agreement related to the co-promotion of Zovirax+ cream, we will utilize ow· existing Specialty Brands sales and marketing structure to
           promote the product and we will receive a co-promotion fee

                                                                                61




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                     61/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 63 of 169. PageID #: 358992




         10 /16 /2 0 1 8                                                                   F o rm 10 -K




           Table of Contents

           from sales generated by prescriptions written by our defined targeted physician group. The fees earned under the Zovirax cream co-
           promotion arrangement will be recognized in other revenues in the period earned. Under the terms of the Cordrarrs Tape co-promotion
           agreement, Valeant will utilize its existing Dermatology sales and marketing structure to promote the product, and will receive a co-
           promotion fee on sales. The fees paid to Valeant under the Cordrans Tape arrangement will be recognized in the period incurred as selling
           and marketing expenses.

               Acquisition of Uteron Pharma, SA
                On January 23, 2013, we completed the Uteron Acquisition. The acquisition expands our Specialty Brands' pipeline of Women's
           Health products, including two potential near term commercial opportunities in contraception and infertility, and one oral contraceptive
           project projected to launch by 2018. Several additional products in earlier stages of development were also included in the acquisition.

                Other Agreements
                 We entered into an agreement with Endo and Teikoku Seiyaku Co., Ltd to settle all outstanding patent litigation related to our generic
           version of Lidoderm's. Lidoderm® is a local anesthetic indicated to relieve post-shingles pain. Per the terms of the agreement, on
           September I 5, 20 I 3, we launched our generic version of Lidode1m® (lidocaine topical patch 5%) to customers in the U.S. more than two
           years before the product's patents expire. Under applicable Hatch Waxman rules, we believe we are entitled to I 80 days of marketing
           exclusivity. Additionally, under the terms of the agreement, we received and distributed branded Lidoderm's prior to the launch of the
           generic version of'Lidoderrrre.

           2012 Transactions
                 During 2012, we completed the following transactions that impacted our results of operations and will continue to have an impact on
           our future operations.

               Acquisition ofActavis Group
                 On October 31, 2012, we completed the Actavis Group Acquisition. Acta vis Group was a privately held generic pharmaceutical
           company specializing in the development, manufacture and sale of generic pharmaceuticals. With the acquisition of the Acta vis Group, the
           Company became the third largest global generics pharmaceutical company with operations in more than 60 countries. The acquisition
           expanded the Company's core leadership position in modified release, solid oral dosage and transdermal products into semi-solids, liquids
           and injectables. The result is a broader and more diversified global product portfolio, and an expanded development pipeline.
                To finance the purchase of the Actavis Group, we incurred $5. 7 billion of indebtedness, including proceeds from (i) the October 2,
           2012 issuance of $3.9 billion in senior debt (the "2012 Senior Notes"). This debt was issued in three tranches as follows:
                           $1,200.0 million aggregate principal amount of 1.875% senior notes due October I, 2017,
                   • $1,700.0 million aggregate principal amount of3.250% senior notes due October I, 2022, and
                   • $1,000.0 million aggregate principal amount of 4.625% senior notes due October I, 2042
                 In addition, on October 31, 2012, the Company borrowed S 1.8 billion under a senior unsecured Tenn loan credit agreement (the
           "Term Loan Credit Agreement). For further details, refer to ''NOTE 13 - Long-Term Debt" in the accompanying "Notes to Consolidated
           Financial Statements" in this Annual Report. As a result of the transaction, we continue to incur greater interest expense than we incurred
           in prior periods and are required to dedicate cash flow to servicing our debt.

               Sale of Equity Interest in Moksha8 Pharmaceuticals, Inc.
                On October 22, 2012, we completed the Moksha8 Sale. Simultaneously, we expanded our ongoing sales and marketing collaboration
           with Moksha8 by granting a license to Moksha8 for five new branded generic products

                                                                                     62




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                     62/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 64 of 169. PageID #: 358993




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

            to be developed for the Brazilian and Mexican markets in exchange for defined milestones and sales royalties. We retained generic
            marketing rights in each market for all products licensed to Moksha8. As a result of the sale, we recorded a gain of $28.8 million in other
            income (expense) in the year ended December 31, 2012. During the year ended December 31, 2013, we terminated the agreement with
            Moksha8 resulting in a loss of$4.0 million.

                Acquisition of Ascent Pharmahealth Limited
                  On January 24, 2012, we completed the acquisition of Ascent, the Australian and Southeast Asian generic pharmaceutical business of
            Strides Arcolab Ltd, for AU$376.6 million in cash, or approximately £392.6 million, including working capital adjustments. The
            transaction was funded using cash-on-hand and borrowings from our revolving credit facility. As a result of the acquisition, we enhanced
            our commercial presence in Australia and we gained selling and marketing capability in Southeast Asia through Ascent's line ofbranded-
            generic and OTC products. For additional information regarding the Ascent acquisition, refer to "NOTE 4 - Acquisitions and Other
            Agreements in the accompanying "Notes to Consolidated Financial Statements" in this Annual Report.

                Product Divestitures
                  In order to obtain regulatory clearance under Hart-Scott-Rodino, in connection with the Actavis Group Acquisition, we were required
            to divest certain assets. On October 31, 2012, a total of 22 generic pharmaceutical products owned by either Actavis Group or Watson
            were sold to Par Pharmaceuticals Companies, Inc. and Sandoz, Inc., which resulted in a gain of $24.0 million in the year ended
            December 31, 2012. TI1e divested products consisted of both commercial and development stage products in a number of therapeutic
            categories where the two companies owned overlapping products. Watson's net sales of divested products were $18.5 million and $7 .3
            million for the years ended December 31, 2012 and 2011, respectively. Actavis Group's net sales of divested products were $60.8 million
            and S90.2 million for the years ended December 31, 2012 and 201 l, respectively. The sale of the Actavis Group divested products did not
            have an impact on our net revenues as these amounts were not included in the results of operations of the Company for the respective
            periods. For the years ended December 3 I, 2012 and 20 I l, no one product accounted for more than one percent of our consolidated net
            revenues.

                Rugby OTC Business
                   On October 29, 2012, we completed the Rugby Sale. Under the terms of the agreement, Harvard acquired the Rugby trademark and
            all rights to market, sell and distribute OTC products and nicotine gum products sold under the trademark. We retained all rights to
            manufacture, sell and distribute all store-branded OTC and nicotine gum products, as well as other non-Rugby OTC products in our
            portfolio. We retained ownership of our nicotine gum ANDAs, as well as nicotine gum manufacturing facilities. Also, as part of the
            transaction, we entered into a supply and license agreement with Harvard under which we manufacture and supply nicotine gum products
            sold under the Rugby and Major labels. Major is Harvard's existing private label brand. In connection with the sale of the Rugby assets,
            we recorded a gain of $88.7 million in other income (expense) in the year ended December 31, 2012.

                 Other Agreements
                  Our two most significant products in 2012 were the authorized generic version of Concertav (methylphenidate ER) and Lipitor+
            (atorvasiatin), which on a combined basis comprised 16% and 21 % of our revenues in the years ended December 31, 2013 and 2012,
            respectively. These products were sold pursuant to exclusive marketing arrangements.
                   In November 20 I 0, we entered into an exclusive agreement with OMJPI to market the authorized generic version of Concertav
            (methylphenidate ER). Under the terms of the agreement, the product is supplied by OMJPI. We launched our authorized generic of
            Conccrta+ on May I, 2011 Under the terms of our agreement with OMJPI, we agreed to pay a royalty to OMJPI based on the gross profit
            of product revenues as defined in the agreements. During 2012, the royalty payable to OMJPI ranged from 50% to 55% of sales. Our
            royalty payable on sales of methylphenidate ER declined to 30% in 2013 when a third party competitor launched a competing
            bioequivalent product. The change in royalty was a one-time event and was applied on a strength-by-strength basis following the launch of
            the first third party generic competitor. This royalty includes the cost of the product

                                                                                63




         https:/lwww.sec.gov/Archives/edgar/data/157BB45/000119312514066242/d64BB11 d1 Ok.him                                                       63/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 65 of 169. PageID #: 358994




         10 /1 6 /2 0 1 8                                                             F or m 10 -K




            Table of Contents


            supplied by OMJPJ. The agreement with OMJPI expires on December 31, 2014 and is subject to 1101mal and customary early termination
            provisions. The agreement with OMJPI has been accounted for as a distribution arrangement. Accordingly, we recorded the net sales of the
            authorized generic product in the period earned and reflected the cost of product sold and the royalty payments to OMJPI in costs of goods
            sold in the period incun·ed.
                  During 2011 and 2012, Atorvastatin was sold pursuant to an exclusive agreement with Pfizer, Inc. ("Pfizer"). We launched our
            authorized generic of Lipitor+ on November 30, 2011 Due to the significant decline in the market for this product, we agreed to terminate
            this agreement effective January I, 2013. In exchange, we are entitled to receive a royalty on furure sales of the product by Pfizer through
            2015.
                  On July 13, 2012, we entered into a global license agreement with Synthon, obtaining an exclusive license to its trastuzurnab
            molecule, which is being developed as a biosimilar to Herceptirrs. We subsequently contributed the product to our biosimilar collaboration
            agreement with Amgen mentioned below. Under the terms of the Synthon agreement, we, along with Amgen, assumed all responsibility
            for worldwide development and commercialization ofbiosimilar trastuzumab, including Phase Ill clinical trials and global
            manufacturing. The agreement entitled Synthon to an initial payment and the opportunity to receive a milestone payment and royalties on
            net sales. Synthon also received compensation for transitional support activities provided under the agreement.

            2011 Transactions
                  During 2011, we completed the following transactions that impacted our results of operations and will continue to have an impact on
            our future operations.

                Biosimilars Collaboration with Amgen Inc.
                 On December 19, 2011, we entered into the Amgen Collaboration Agreement. Under the terms of the agreement, Amgen assumed
           primary responsibility for developing, manufacturing and initially commercializing the oncology antibody products. We agreed to
           contribute up to $400.0 million in co-development costs over the course of development ($312.4 million as of December 31, 2013),
           including the provision of development support, and to share product development risks. In addition, we agreed to contribute our
           significant expertise in the commercialization and marketing of products in highly competitive specialty and generic markets, including
           helping effectively manage the lifecycle of the biosimilar products. The collaboration products are expected to be sold under a joint
           Amgen/Actavis label. We will initially receive royalties and sales milestones from product revenues. The collaboration does not pursue
           biosimilars of Amgen's proprietary products.

                Acquisition of Specifar Commercial Industrial Pharmaceutical, Chemical and Construction Exploitations Societe A11011yme (ABEE)
                  On May 25, 2011, we acquired all of the outstanding equity of Pao mar PLC ("'Paomar") for cash totaling €400.0 million, or
           approximately $56 I 7 million at closing, subject to a net of working capital adjustment of€ 1.5 million, or approximately $2.2 million, and
           certain contingent consideration (the "Specifar Acquisition"). Pao mar was a company incorporated under the laws of Cyprus and owner of
            I 00 percent of the shares of Specifar Commercial Industrial Pharmaceutical, Chemical and Construction Exploitations Societe Anonyme
           ("Specifar"), a company organized under the laws of Greece. Specifar developed, manufactured and marketed generic pharmaceuticals.
           Specifar also out-licensed generic pharmaceutical products, primarily in Europe. Specifar had a commercial presence in the Greek branded
           generics pharmaceuticals market and owned I 00 percent of the shares of A let Pharmaceuticals Industrial and Commercial Societe
           Anonyme, a company that markets branded-generic pharmaceutical products in the Greek market. For additional information on the
           Specifar acquisition, refer to "NOTE 4 - Acquisitions and Other Agreements."

                                                                                 64




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                       64/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 66 of 169. PageID #: 358995




         10 /1 6 /2 0 1 8                                                                           F o rm 10 -K




            Table of Contents

            2013 Financial Highlights
                     Among the significant consolidated financial highlights for 20 I 3 were the following:
                            Net revenues in 20 I 3 increased $2,762.7 million, or 47% to 58,677.6 million in 2013 from $5,914.9 million in 2012;
                            Operating income decreased S738.9 million, or (234)%, to S( 423.2) million in 20 I 3 from $3 I 5. 7 million in 2012; and
                            Net loss attributable to common shareholders for 2013 was 5(750.4) million ($(5.27) per diluted share), compared to net income of
                            $97.3 million (SO. 76 per diluted share) in 20 I 2.

            Segments
                 We operated our business in three segments during the year ended December 31, 2013: Actavis Pharma, Actavis Specialty Brands
            and Anda Distribution. The Actavis Pharma segment includes off-patent pharmaceutical products that are therapeutically equivalent to
            proprietary products. The Actavis Specialty Brands segment includes patent-protected products and certain trademarked off-patent
            products that we sell and market as branded pharmaceutical products. The Anda Distribution segment distributes generic and branded
            pharmaceutical products manufactured by third parties, as well as by Actavis, primarily to independent pharmacies, pharmacy chains,
            pharmacy buying groups and physicians' offices. The Anda Distribution segment operating results exclude sales by Anda of products
            developed, acquired, or licensed by Actavis Pharma and Actavis Specialty Brands segments.
                  We evaluate segment performance based on segment net revenues and segment contribution. Segment contribution represents
            segment net revenues less cost of sales (excludes amortization and impairment of acquired intangibles including product rights), R&D
            expenses and selling and marketing expenses. We do not report total assets, capital expenditures, corporate general and administrative
            expenses, amortization, gains or losses on asset sales or disposals and impairments by segment as such information is not accounted for at
            the segment level, nor is such information used by all segments.

            YEAR ENDED DECEMBER 31, 2013 COMPARED TO 2012
                 Results of operations, including segment net revenues, segment operating expeuses and segment contribution information for our
            Actavis Pharma, Actavis Specialty Brands and Anda Distribution segments consisted of the following (in millions):

                                                                                                         Years Ended December 31.
                                                                                      2013                                                        2012
                                                                          Aclavis                                                    Actavis
                                                              Actavis     Specialty          Anda                        Actavis     Specialty           Anda
                                                              Pharma      Brands         Dlsn-lbutlun        Toca!       Pharma       Brands         Distribution       Total
            Product sales                                     $6,252.3    S 1,042.6      ~                 S8.491.8      $4,385.2    S4Jl.6          ~                 55,783.2
            Other revenue                                     ~
                                                              6.355.9
                                                                          -----1.U
                                                                            1,124.8           1,196.9
                                                                                                           --1ill
                                                                                                             8,677.6
                                                                                                                         ~
                                                                                                                         4,446.1
                                                                                                                                     ___]QJ_
                                                                                                                                        482A
                                                                                                                                                                       ___!l!1
                                                                                                                                                                        5,914.9
                    Net revenues                                                                                                                            986.4
            Operating expenses:
                    Cost ofsuli:sO)                            3,294.0      372.2             1,024.5       4,690.7       2,430.9       116.8               846.6       3,394.3
                    Research and development                     425.1      191.8                             616.9         256.3       146.2                             402.5
                      Selling and marketing
            Contribution
                                                              ___llid
                                                              Sl.998.5
                                                                          ___lli1
                                                                          S 291.3
                                                                                         __1_
                                                                                         $
                                                                                            12_
                                                                                              .5
                                                                                            59.9
                                                                                                            1.020.3
                                                                                                           52,349.7
                                                                                                                         -1ill
                                                                                                                         $1,477.7
                                                                                                                                     ___J_ill
                                                                                                                                     5   43.9
                                                                                                                                                    ~
                                                                                                                                                    5 50.0
                                                                                                                                                                       ~
                                                                                                                                                                       S!,571.6
            Contribution margin                                   31.4%      25.9%           5.0%              27.1%         33.2%         9.1%                 5.1%      26.6%
            General and administrative                                                                      1,027.5                                                      625.3
            Amortization                                                                                      842.7                                                      481.1
            Goodwill impairments                                                                              647.5
            Loss on assets held for sale                                                                       42.7
            Loss on asset sales, other impairments and commitment
               contingencies, net
                      Operating (loss)/ income
                                                                                                           ---1.!12
                                                                                                           S (423.2)
                                                                                                                                                                       ~
                                                                                                                                                                       5 315.7
                      Operating 111argi11                                                                       (4.9)%                                                      5.3%

            (I)      Excludes amortization and impairment of acquired intangibles including product rights.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                                              65/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 67 of 169. PageID #: 358996




         10 /16 /2 0 1 8                                                               F or m 10 -K




            Table of Contents

                  Actavis Pharma Segment

                                                                                         Years Ended December 31.                   Change
                    (Sin millions)                                                       2013            -1!l!L_          Dollars            ~
                    Product sales                                                     $ 6,252.3         $ 4,385.2        $1,867.1            42.6%
                    Other revenue                                                         103.6              60.9            42.7            70.1%
                          Net revenues                                                  6,355.9           4,446.1         1,909.8            43.0%
                    Operating expenses:
                          Cost of sales' 11                                             3,294.0           2,430.9          863.1              35.5%
                          Research and development                                        425.J             256.3          168.8              65.9%
                          Selling and marketing                                           638.3             281.2          357.1             127.0%
                    Contribution                                                      $ 1,998.5         $ 1,477.7        $ 520.8              35.2%
                    Contribution margin                                                     31.4%            33.2%                            -1.8%

            (I)     Excludes amortization and impairment of acquired intangibles including product rights.

                    Net Revenues
                 Our Actavis Pharma segment develops, manufactures, markets, sells and distributes generic, branded generic and OTC products.
           Generic products are the therapeutic equivalent to their branded name counterparts and are generally sold at prices significantly less than
           the branded product. As such, generic products provide an effective and cost-efficient alternative to brand products. When patents or other
           regulatory exclusivity no longer protect a branded product, or if we are successful in developing a bioequivalent, non-infringing version of
           a branded product, opportunities exist to introduce off-patent or generic counterparts to the branded product. Additionally, we distribute
           Authorized Generics to the extent such arrangements are complementary to our core business. Om portfolio of generic products includes
           products we have internally developed, products we have licensed from third parties and products we distribute for third parties.
                 Net revenues in our Actavis Pharma segment include product sales and other revenue derived from generic, branded generic and
           OTC products. Our Actavis Pharma segment product line includes a variety of products and dosage forms. Indications for this line include,
           but are not limited to, pregnancy prevention, pain management, depression, hypertension, attention-deficit/hyperactivity disorder and
           smoking cessation. Dosage forms include oral solids, semi-solids, liquids, gels, transdermals, injectables, inhalation and oral
           transmucosals.
                    Other revenues consist primarily of royalties, milestone receipts, conunission income and revenue from licensing arrangements.
                 The increase in net revenues is primarily due to the foll year net sales resulting from the Actavis Group Acquisition of$2,799.5
           million in the year ended December 31, 20 I 3 versus $428.3 million in the year ended December 31, 20 I 2. A !so contributing to the
           increase are higher U.S. unit sales related to new products including lidocaine topical patch 5% ($392.9 million) and mixed amphetamine
           (Adderall XR® Cll) ($145.2 million), offset in part by lower net sales of certain U.S. products including the authorized generic version of
           Lipitorv (atorvastatin) ($403.6 million, of which $24.3 million is due to price and $379.3 million is due to volume) and declines in other
           international revenues.

                    Cost of Sales
                Cost of sales includes production and packaging costs for the products we manufacture, third party acquisition costs for products
           manufactured by others, profit-sharing or royalty payments for products sold pursuant to licensing agreements, inventory reserve charges
           and excess capacity utilization charges, where applicable. Cost of sales does not include amortization or impairment costs for acquired
           product rights or other acquired intangibles.
                 The increase in cost of sales was mainly due to the full year manufacturing expenses resulting from the Actavis Group Acquisition of
           $1,508.6 million in the year ended December 31, 20 I 3 versus $284.2 million in the year ended December 31, 2012. A lso contributing to
           the increase were new product launches including the September 2013 launch of a generic version of Lidoderm'P (lidocaine topical patch
           5%) ($120.5 million) and

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                        66/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 68 of 169. PageID #: 358997




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            mixed ampethamine (Adderall XRE CII) ($36. I million), offset, in part by a decrease in costs resulting from lower Lipitor+ sales ($251 .6
            million). Cost of sales as a percentage of net revenues decreased to 5 I .8% as compared to 54.7% in the prior period.

                     Research and Development Expenses
                 R&D expenses consist predominantly of personnel-related costs, AP! costs, contract research, biosrudy and facilities costs associated
            with product development.
                The increase in R&D expenses was primarily due to the full year effect of higher costs associated with the Actavis Group
            Acquisition (S228.2 million), compared to only two months in 20 I 2 (S41.8 million).

                     Selling and Marketing Expenses
                 Selling and marketing expenses consist mainly of personnel-related costs, distribution costs, professional services costs, insurance,
            depreciation and travel costs.
                  The increase in selling and marketing expenses within our Actavis Pharma segment was primarily due to the full year effect of higher
            selling and marketing expenses incurred resulting from the Actavis Group Acquisition (S427.7 million), compared to only two months in
            2012 (S74.0 million).

                Actavis Specialty Brands Segment

                                                                                              Years Ended December 31,                Chunsc
                     (Sin millions)                                                       ---2!!.!l..._          2012       Uollars            ~
                     Product sales                                                        $ 1,042.6           ~             $631.0             153.3%
                     Other revenue                                                             82.2                70.8       11.4              16.1%
                           Net revenues                                                     1,124.8               482.4      642.4             133.2%
                     Operating expenses:
                           Cost of salesPl                                                     372.2              I 16.8     255.4             218.7%
                           Research and development                                            I 91.8             146.2       45.6              31.2%
                           Selling and marketing                                               269.5              175.5       94.0              53.6%
                     Contribution                                                         $    291.3          S     43.9    $247.4             563.6%
                     Contribution margin                                                         25.9%               9.1%                       16.8%

            (I)      Excludes amortization and impairment of acquired intangibles including product rights.

                     Net Revenues
                  Our Actavis Specialty Brands segment for the full year ended December 31, 2013 included our key promoted products such as
            Rapaflo», Androderme, Generesss Fe, INFeDK, Crinone+ and Trelstar+ and a number of non-promoted products. In October 2013, as a
            result of the Warner Chilcott Acquisition, we began promoting a number of products, including, but not limited to, Actonels, Asacol® HD,
            Atelvias, Delzicol®, Doryxs, Estraces Cream, Enablex®, Lo Loestrin® Fe and Minastrinv 24 Fe.
                  Other revenues in the Actavis Specialty Brands segment consist primarily of co-promotion revenue, royalties and the recognition of
            deferred revenue relating to our obligation to manufacture and supply brand products to third parties. Other revenues also include revenue
            recognized from R&D and licensing agreements.
                 Tile increase in net revenues is primarily due to the Warner Chilcott Acquisition, which contributed three months of sales in 2013
            compared to no sales in the prior period ($545.4 million). In addition, the increase in net revenues was due to continued product sales
            growth from Generess= Fe and Rapaflo® and sales of Kadianv acquired as part of the Actavis Group Acquisition ($68. l million).

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                           67/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 69 of 169. PageID #: 358998




         10 11 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

                     Cost of Sales
                 Cost of sales includes production and packaging costs for the products we manufacture, third party acquisition costs for products
            manufactured by others, profit-sharing or royalty payments for products sold pursuant to licensing agreements, inventory reserve charges
            and excess capacity utilization charges, where applicable. Cost of sales does not include amortization or impairment costs for acquired
            product rights or other acquired intangibles.
                  The increase in cost of sales was due to higher product sales as a result of the Warner Chilcott Acquisition ($231.9 million),
            including the impact of selling through a portion of the fair value step-up of the October I, 20 I 3 Warner Chilcott inventory ($173.5
            million). In addition, the increase was driven by increased product volume primarily from Generess® Fe, Rapaflo® and Kadian® and
            contingent consideration fair value adjustments associated with previous business combinations. Cost of sales as a percentage of net
            revenues increased to 33.1 % from 24.2% in the prior year period due to product mix and the fair value accounting for acquired inventory
            in the Warner Chilcott Acquisition.

                     Research and Development Expenses
                 R&D expenses consist mainly of personnel-related costs, contract research costs, clinical and facilities costs associated with the
            development of our products.
                     The increase in R&D expenses was primarily due to higher costs associated with the Warner Chilcott Acquisition ($33. l million).

                     Selling and Marketing Expenses
                  Selling and marketing expenses consist mainly of personnel-related costs, product promotion costs, distribution costs, professional
            services costs, insurance and depreciation.
                 The increase in selling and marketing expenses was primarily due to higher selling and marketing costs associated with the Warner
            Chilcott Acquisition ($81.2 million), including co-promotion costs to Sanofi ($44.6 million).

                Anda Distribution Segment

                                                                                                       Years Ended Ucccmhcr 31.                 Change
            ($ in millions)                                                                             2013           ---2!!.!l_   Uullars              ~
            Produce sales                                                                          $ 1,196.9          $   986.4     S210.5               21.3%
            Other revenue                                                                                                                                 0.0%
                  Net revenues                                                                         1,196.9            986.4         210.5            21.3%
            Operating expenses:
                  Cost of salesi')                                                                     1,024.5            846.6         177.9            21.0%
                  Research and development                                                                                                                0.0%
                  Selling and marketing                                                                  112.5              89.8         22.7            25.3%
            Contribution                                                                           $      59.9        $     50.0    $     9.9            19.8%
            Contribution margin                                                                            5.0%              5.1%                        (0.1)%

            (I)      Excludes amortization and impairment of acquired intangibles including product rights.

                     Net Revenues

                 Our Anda Distribution segment distributes generic and brand pharmaceutical products manufactured by third parties, as well as by
            Actavis, primarily to independent pharmacies, pharmacy chains, pharmacy buying groups and physicians' offices. Sales arc principally
            generated through an in-house telemarketing staff and through internally developed ordering systems. The Anda Distribution segment
            operating results exclude sales by Anda of products developed, acquired, or licensed by Actavis Pharma and Actavis Specialty Brands
            segments.

                                                                                   68




         https://www.sec.gov/Archives/edgarldata/1578845/000119312514066242/d648811 d1 Ok.htm                                                               681201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 70 of 169. PageID #: 358999




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents


                  The increase was primarily due to an increase in U.S. base product sales due to volume increases ($136.6 million) and an increase in
            third party launches (S73.9 million).

                     Cost of Sales
                 Cost of sales includes third party acquisition costs, profit-sharing or royalty payments for products sold pursuant to licensing
            agreements and inventory reserve charges, where applicable. Cost of sales does not include amortization or impairment costs for other
            acquired intangibles.
                 The increase in cost of sales within our Anda Distribution segment was due to higher product sales. Cost of sales as a percentage of
            revenue decreased to 85.6% compared to 85.8% in the prior year period primarily due to product and customer mix.

                     Selling and Marketing Expenses
                  Selling and marketing expenses consist mainly of personnel costs, facilities costs, insurance and freight costs which support the Anda
            Distribution segment sales and marketing functions.
                     The increase in selling and marketing expenses relate to higher freight costs and higher personnel costs.

                General and Administrative Expenses
                  General and administrative expenses consist mainly of personnel-related costs, facilities costs, insurance, depreciation, litigation and
            settlement costs and professional services costs which are general in nature and not directly related to specific segment operations.

                                                                                                 Years Ended December 31.                    Change
                     (Sin millions)                                                               2013              2012           Dollars             U/o
                     General and administrative expenses                                       S 1,027.5          S 625.3         $402.2              64.3%
                       as% of net revenues                                                          11.8%            10.6%

                  The increase in general and administrative expenses was due in part to the increase resulting from the Actavis Group Acquisition of
            $206.5 million, higher domestic costs including increased personnel, legal fees and other costs, costs incurred by Warner Chilcott for
            restructuring charges of$ I 24.7 million including stock-based compensation ($45.4 million), costs incurred in order to complete to the
            Warner Chilcott Acquisition ($45.6 million) and higher stock-based compensation and related employer payroll taxes resulting from the
            acceleration of directors' and named executive officers unvested equity-based awards immediately prior to the Warner Chilcott
            Acquisition (S41.3 million).

                Amortization

                                                                                               Years Ended December 31,                     Change
                     (Sin millions)                                                            2013               2012            Dollars              %
                     Amortization                                                         842.7                S4ru              $361.6               75.2%
                       as% of net revenues                                                        9.7%                8.1%

                  Amortization for the year ended December 31, 2013 increased as compared to the prior year period primarily as a result of
            amortization of identifiable assets acquired in the Warner Chilcott ($244.1 million) and the increase due to the Actavis Group ($95.8
            million) acquisitions.

                Goodwill Impairments

                                                                                               Years Ended December 31,                     Chanue
                     (Sin millions)
                     Goodwill impairments                                                  $
                                                                                               2013
                                                                                                 647.5
                                                                                                                 2012
                                                                                                               ---
                                                                                                                                 Dollars             ~
                                                                                                                                 $647.5               100.0%


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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                                 69/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 71 of 169. PageID #: 359000




         10 /16 /2 0 18                                                                F or m 10 -K




           Table of Contents

                 In the year ended December 31, 2013, we recorded an impairment charge related to the goodwill in the Actavis Pharma - Europe
           reporting unit ($647.5 million). For further details on the goodwill impairment charge, refer to "NOTE 12- Goodwill, Product Rights
           and Other Intangible Assets" in the accompanying "Notes to Consolidated Financial Statements" in this Annual Report.

               Loss 011 Assets Held for Sale and Loss 011 Asset Sales, Other !111pair111e11ts a111/ Contingent Considerations, net

                                                                                             Years Ended Ucccmbcr 31,                    Change
                   (Sin millions)                                                        ___2QQ_            ---2ill...._       Oollars            ~
                   Loss on assets held for sale                                                  42.7                          S 42.7              100.0%
                   Loss on asset sales, other impairments and contingent
                     considerations, net                                                      212.5               149.5        $ 63.0              42.1%

                  Loss on assets held for sale relates to the Company's announced intention in 2013 to sell Actavis Pharma's infrastructure in France,
           Italy, Spain, Portugal, Belgium, Germany and the Netherlands, including products, marketing authorizations and dossier license rights and
           the Company's announced Foshan Sale.
                 Loss on asset sales, other impairments and contingent considerations, net for the year ended December 31, 2013 included a charge
           associated with the issuance of an additional 1.65 million shares of Ordinary Shares in connection with the Acta vis Group Acquisition
           ($150.3 million), an impairment charge related to a facility in Greece ($19.4 million), an impairment of fixed ass ts in Serbia ($24.2
           million), an impairment ofa product right intangible asset in connection with the Specifar Acquisition ($13.9 million), the impairment of
           the Gabapentin asset acquired as part of the Acta vis Group Acquisition ($ I 0.8 million), a loss on the termination of the agreement with
           Moksha8 ($4.0 million), an impairment ofIPR&D intangibles in connection with the Arrow Group Acquisition ($4.4 million) and the
           impairment of the Curosurf assets (S2.5 million), offset, in part, by gains related to the sale of our Russian subsidiary ($11 7 million), a
           manufacturing facility in India ($4.5 million), and other miscellaneous gains. The impairment charges recognized were due to various
           factors impacting future value to be realized by such assets.
                 Loss on asset sales and impairments for the year ended December 31, 2012 includes a non-cash impairment charge related to product
           rights and IPR&D intangible assets acquired in connection with the Specifar Acquisition ($117.8 million, of which $101.0 million related
           to IPR&D and $16.8 million related to product rights), an impairment charge related to a manufacturing facility located in Greece ($40.3
           million), an impairment related to the sale of a German subsidiary ($17.6 million) and an impairment related to API manufacturing assets
           in India ($1.6 million). Partially offsetting these charges was a fair value adjustment of the contingent obligation due to the Specifar selling
           shareholders based on esomeprazole gross profits ($27.5 million) and net gains on miscellaneous asset sales ($0.3 million). The
           impairment relating to the intangible assets acquired in connection with the Specifar acquisition was recorded during the fourth quarter of
           2012 and related to esomeprazole product rights following the Company's decision to discontinue selling the product as a result of
           products acquired in connection with the Actavis Group Acquisition ($16.8 million). In addition, we recorded during the second quarter of
           2012 a charge related to three products in development as a result of various factors occurring during the same period mainly related to
           delays in expected launch dates, competitive factors resulting in realization of lower pricing and incremental costs related to
           manufacturing efforts. These events led to revised estimates of the fair value of each IPR&D asset compared to the canying values ($101.0
           million). The impairment for the Greece facility was due to a change in the intended use of the facility as a result of the Company's
           decision during the third quarter of 2012 to discontinue further construction as a result of the planned acquisition of the Actavis Group.

               Interest I11co111e

                                                                                                           Years Ended
                                                                                                           December 31~                   Chanuc
                   (Sin millions)                                                                        20~ 12                 DoJlars             1
                                                                                                                                                        1/o
                   Interest income                                                                      $4.8            $2.5    $ 2.3              92.0%

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                                70/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 72 of 169. PageID #: 359001




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents


                     Interest income represents interest earned on cash and cash equivalents held during the respective periods.

                Interest Expense

                                                                                                            Year Ended
                                                                                                           December 31,                      Change
                     (Sin millions)
                     Interest expense - 2009 Senior Notes
                                                                                                        2013        ~              Dollars            ~
                                                                                                   $ 45.7           $ 49.3        $ (3.6)                (7.3)%
                     Interest ex pence - 2012 Senior Notes                                           128.3            32.8          95.5               291.2%
                     Interest expense - WC Notes                                                      18.8                          18.8               100.0%
                     Interest expense - Term Loans                                                    38.4                 5.9      32.5               550.8%
                     Interest expense - Revolving Credit Facility                                      2.7                 4.5      (1.8)              (40.0)%
                     Interest expense - Manditorily Redeemable
                         Preferred Stock accretion                                                                        I 6.8     (16.8)            (100.0)%
                     Interest expense - Foreign exchange currency option premium
                        payab 1 e accretion                                                                            0.5           (0.5)            (100.0)%
                     Interest expense - Other                                                         5.9              1.8            4.1              227.8%
                     Interest expense                                                              $239.8           $111.6        $ 128.2              114.9%

                  Interest expense increased for the year ended December 31, 2013 over the prior year primarily due to the full year effect of interest
            expense on the 2012 Senior Notes and the Term Loan Credit Agreement issued in connection with the Actavis Group Acquisition, as well
            as the interest expense on the approximately $3.3 billion of term loan indebtedness assumed, and subsequently refinanced, and the WC
            Notes relating to the Warner Chilcott Acquisition.

                Other J11co111e (expense)

                                                                                                           Years Ended
                                                                                                           December 31,                      Cbanec
                     (S in millions)                                                                    2013          2012        Dollars              ¾
                     Gain on sale of products                                                      $      4.3       $ 88.7        $(84.4)               (95.2)%
                     Gain on sale of investments                                                                      28.8         (28.8)             (100.0)%
                     Gain on sale of divested products                                                                24.0         (24.0)             (100.0)%
                     Gain on sale of business                                                             2.3                        2.3               100.0%
                     Loss on extinguishment of debt                                                     (18.5)                     (18.5)             (100.0)%
                     Loss on foreign exchange derivative                                                             (70.4)         70.4              (100.0)%
                     Bridge loan expenses                                                                            (37.1)         37.1              (100.0)%
                     Earnings (losses) on equity method investments                                   6.0              1.3           4.7               361.5%
                     Other income                                                                    25.7              3.2          22.5               703.1%
                     Other income (expense)                                                        $ 19.8           $ 38.5        $(18.7)              (48.6)%

                     Gain 011 Sale of Products
                 As a result of the sale of select rights to Taro Pharmaceuticals North America, Inc., we recorded a gain of $4.3 million in other
            income (expense), in the year ended December 31, 2013. As a result of the Rugby Sale, we recorded a gain of $88.7 million in other
            income ( expense), in the year ended December 31, 2012.

                     Gain 011 Sale ofInvestments
                    As a result of the Moksha8 Sale, we recorded a gain of $28.8 million in other income (expense) in the year ended December 31,
           2012.

                                                                                    71




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                      71/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 73 of 169. PageID #: 359002




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

                     Gain 011 Sale ofDivested Products
                  In order to obtain regulatory clearance under Hart-Scott-Rodino, in connection with the Warner Chilcott Acquisition, we were
            required to divest certain assets. On October 1, 2013, four generic pharmaceutical products were sold to Amneal Pharmaceuticals for
            consideration of$ l 0.0 million, subject to certain refunds of purchase price provisions, which resulted in a deminimis impact on net
            income. The divested products consisted of both commercial and development stage products in both oral contraceptive and osteoporosis
            treatment. Net sales of divested products were S2.5 million, S4.6 million and $0.7 million for the years ended December 31, 2013, 2012
            and 201 I, respectively.
                  In order to obtain regulatory clearance under Hart-Scott-Rodino, in connection with the Actavis Group Acquisition, we were required
            to divest certain assets. On October 3 I, 20 I 2, a total of 22 generic pharmaceutical products owned by either Actavis Group or Watson
            were sold to Par Pharmaceuticals Companies, Inc. and Sandoz, Inc., which resulted in a gain of $24.0 million in the year ended
            December 3 I, 2012. The divested products consisted of both commercial and development stage products in a number of therapeutic
            categories where the two companies owned overlapping products.

                     Gain 011 Sale ofBusiness
                     As a result of the Changzou Sale, we recorded a gain of $2.3 million in other income (expense), in the year ended December 31,
            2013.

                     Loss 011 Extinguishment ofDebt
                  As a result of the extinguishment of our $450.0 million notes, we recorded a loss of $17.1 million in other income (expense), in the
            year ended December 3 I, 2013. In addition, the Company incurred a S 1.5 million non-cash write-off of deferred loan costs in connection
            with the optional prepayment of term loan indebtedness.

                     Loss 011 Foreign Exchange Derivative
                  Included in the year ended December 3 I, 2012 is approximately $70.4 million of realized losses for the derivative instruments
            entered into to mitigate the exposure resulting from movements of the U.S. dollar against the Euro in connection with the Actavis Group
            Acquisition.

                     Bridge Loa11 Expenses
                  Included in the year ended December 31, 2012 is approximately $37.1 million for the expenses of the bridge loan entered into to
            fund the Actavis Group Acquisition.

                     Other Income
                  Other income for the year ended December 31, 2013 includes a gain from the release of fonds held in an escrow account established
            in connection with the Arrow Acquisition (S15.0 million), a gain on foreign currency derivative transactions (S14. l million) and a gain on
            the sale of securities (SI I million), offset in part by the release of an indemnification receivable established in connection with an
            acquisition (S8.8 million).

                  Included in other income for the year ended December 31, 2012 is a S3.0 million contract termination settlement received by an
            equity method investee and a $0.8 million gain related to the revaluation of securities issued by an equity method investee.

                Provision for Income Taxes

                                                                                                       Years Ended
                                                                                                       Dcccmbcr3J                         Change
                (Sin millions)                                                                     ~             ---1.Q.!L      Dollars             %
                Provision for income taxes                                                         $112.7        $146.8         $(34.1)            (23.2)
                   Effective lax rate                                                               (17.7)%        59.9%

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          72/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 74 of 169. PageID #: 359003




        10 /1 6 /2 0 1 8                                                                      F or m 10 -K




           Table of Contents


                 The effective tax rate for the year ended December 3 I, 2013 was impacted by certain non-deductible pre-tax expenses including a
           goodwill impairment charge of $647.5 million, a charge for consideration due Lo the former Actavis Group stakeholders of $150.3 million
           and non-deductible executive compensation. In addition, the pre-tax expense for the amortization of Warner Chilcott's inventory and
           intangible step-up resulted in a rate derriment of$ I 52.8 million. These items were partially offset by non-taxable pre-lax income of$ I 5.0
           million related lo the Arrow Acquisition and $50.2 million primarily related to the carryback of current year capital losses against prior
           year capital gains. The effective lax rate for the year ended December 31, 2012 was impacted by the non-deductibility of a loss from
           foreign exchange derivatives partially offset by the reversal of deferred lax liabilities relating to the Ascent Acquisition. The effective tax
           rate was also impacted by losses in certain non-US jurisdictions for which no tax benefit is provided and the amortization of intangible
           assets being tax benefited al a lower rate than the U.S. federal tax rate.

           YEAR ENDED DECEMBER 31, 2012 COMPARED TO 2011
                Results of operations, including segment net revenues, segment operating expenses and segment contribution information for our
           Actavis Pharma, Actavis Specialty Brands and Anda Distribution segments, consisted of the following (in millions):
                                                                                                     Years Ended December 31.
                                                                                2012                                                            2011
                                                                    Actavis                                                         Actavis
                                                        Actavls     Specialty         Anda                         Acravis         Speclulry          Anda
                                                        Pharma       Brands        Disrribudon          To1al      Pharma           Brands         Disrribution            Tolal
           Product sules                                54,385.2    S4ll.6         ~                   55,783.2    53,320.2        S 364.9         5776.2                 $4,461.3
           Otherrevenue                                     60.9    ---2!!1                            ___!_l!_2       47.0        ----2£:.!                              ____!2LI_
                     Net revenues                        4,446.1       482.4                986.4       5,914.9     3,367.2           441.0                 776.2          4,584.4
           Openning expenses:
                     Cost of salest+J                    2,430.9       116.8                846.6       3,394.3      1,818.8            95.0                652.7          2,566.5
                     Research and development              256.3       146.2                              402.5        241.8            64 .8                                306.6
                     Selling and marketing              ---1ill
                                                        51.477.7
                                                                    ___l1.U
                                                                    S   43.9       S
                                                                                             89_
                                                                                               .8
                                                                                             50.0
                                                                                                       ~
                                                                                                       51,571.6
                                                                                                                   -1..&Q
                                                                                                                   Sl.150.6
                                                                                                                                   ~               ___
                                                                                                                                                     77_
                                                                                                                                                       .2                 ~
           Contribution                                                                                                            S 112.6         S 46.3                 Sl,309.5
           Contribution margin                              33.2%        9.1%                 5.1%        26.6%        34.2%            25.5%         6.0%                   28.6%
           General und admi nistrative                                                                   625.3                                                              353.1
           Amortization                                                                                  481.1                                                              354.3
           Loss on asset sales and impairments, net                                                    _!fil                                                              __1!1
                     Operating income                                                                  S 315.7                                                            S 523.4
                     Operating margin                                                                      5.3%                                                              11.4%

           (1)      Excludes amortization and impairment of acquired intangibles including product rights.

               Actavis Pharnta Seg111e11t
                                                                                                          Years Ended
                                                                                                          Dcccmbcr31.!                                 Cbunoc
                    (Sin millions)                                                              ---2!!..!2.._       ---2!!.!..!_            Dollar-s            _'.'t!_
                    Product sales                                                               $4,385.2            $3,320.2              $1,065.0                  32.1%
                    Other revenue                                                                   60.9                47.0                  13.9                  29.6%
                          Net revenues                                                           4,446.1             3,367.2               1,078.9                  32.0%
                    Operating expenses:
                          Cost of salesv:                                                        2,430.9             1,818.8                612.1                 33.7%
                          Research and development                                                 256.3               241.8                 14.5                  6.0%
                          Selling and marketing                                                    281.2               156.0                125.2                 80.3%
                    Contribution                                                                $1,477.7            $1,150.6              $ 327.1                 28.4%
                    Contribution margin                                                               33.2%               34.2%                                     (1.0)%

           (1)     Excludes amortization and impairment of acquired intangibles including product rights.

                                                                                       73




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                                   73/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 75 of 169. PageID #: 359004




         10 /16 /2 0 1 8                                                               Fo rm 10 -K




            Table of Contents

                    Net Revenues
                 We completed three acquisitions within the relevant periods that contributed to the year-over-year net revenue increase. During 2012,
           Actavis Group contributed two mouths of sales compared to no sales in the prior period ($428.3 million), Specifar contributed twelve
           months of sales in 2012 compared to seven months in 2011 and Ascent contributed twelve months of sales in 2012 compared to no sales in
           2011 ($637.9 million on a combined basis for all three acquisitions). In addition to the acquisitions, the increase in net revenues were due
           to increased unit sales of authorized generic versions of Concertav (methylphenidate ER) and Lipitor" (atorvastatin) (S280.2 million),
           which we launched in May 2011 and November 2011, respectively and increased U.S. unit sales related to new products including
           enoxaparin, progesterone capsules, levalbuterol, vancomycin hydrochloride, metformin hydrochloride extended-release, morphine sulfate
           extended-release and trospiurn choride ($247.2 million). These increases were partially offset by price and unit sales declines due to
           competition including metoprolol, potassium XR and fentanyl transdermal system ($116.2 million).

                    Cost of Sales
                 The increase in cost of sales was primarily due to product costs on atorvastatin, enoxaparin, metformin hydrochloride extended-
           release, progesterone capsules ($182.5 million) and increased unit sales as a result of the Acta vis Group, Ascent and Specifar acquisitions
           in October 2012, January 2012 and May 2011, respectively ($406.6 million). Cost of sales as a percentage of net revenues increased lo
           54.7% from 54.0% in the prior year period.

                    Research and Development Expenses
                 The increase in R&D expenses was primarily due to higher costs associated with the Actavis Group Acquisition ($41.8 million),
           offset, in part, by decreases in domestic spend.

                    Selling and Marketing Expenses
                The increase in selling and marketing expenses within our Actavis Pharma segment was primarily due lo higher selling and
           marketing expenses incurred resulting from the Actavis Group, Ascent and Specifar acquisitions ($ 112.6 million).

               Actavis Specialty Brands Segment

                                                                                                       Years Ended
                                                                                                       December 31,                     Change
                    (Sin millions)                                                              2012             _1J)_l1__    Dollars            ~
                    Product sales                                                             $411.6             $364.9       $ 46.7               12.8%
                    Other revenue                                                               70.8               76.1       ~)                 _J]_;Q)%
                          Net revenues                                                         482.4              441.0         41.4                9.4%
                    Operating expenses:
                          Cost of salest»                                                      116.8                95.0        21.8              22.9%
                          Research and development                                             146.2                64.8        81.4             125.6%
                          Selling and marketing                                                175.5               168.6         6.9               4.1%
                    Contribution                                                              $ 43.9             $ 112.6      $(68.7)            (61.0)%
                    Contribution margin                                                              9.1%             25.5%                       (/6.4)%

           (1)      Excludes amortization and impairment of acquired intangibles including product rights.

                    Net Revenues
                The increase in net revenues was due to higher product sales ($46.7 million) mainly resulting from new products including
           Generess= Fe, sodium ferric gluconate and Kadian®, which was acquired as pan of the Actavis Group Acquisition and key promoted
           products including Rapaflo=, Crinone= and TNFeD:ol. This increase was partially offset by lower sales of certain non-promoted products.

                                                                                 74




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                               74/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 76 of 169. PageID #: 359005




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

                     Cost of Sales
                 The increase in cost of sales was due to higher product sales. Cost of sales as a percentage of net revenues increased to 24.2% from
            21.5% in the prior year period due to product mix.

                     Research and Development Expenses
                  The increase in R&D expenses was primarily due lO an increase in biosimilar product development costs including rFSH and
            products being developed under our collaboration agreement with Amgen ($59.6 million), higher contractual in-licensing costs (S 13.5
            million) and prior year fair value adjustment of certain contingent obligations relating to the acquisition of our progesterone business from
            Columbia Labs ($7.7 million), which lowered R&D expense in the prior year.

                     Selling and Marketing Expenses
                  The increase in selling and marketing expenses compared to the prior year period was due to higher U.S. field force and support
            costs (S7.3 million), primarily related to increased headcount and higher commercial spending in Canada (SI 1.2 million), offset, in part, by
            lower U.S. product promotional spending (S 11.9 million).

                  Anda Distribution Seg111e11t

                                                                                                        Years Ended
                                                                                                        Dcccmbcr31,                      Chance
                     (Sin millions)                                                             ---1.!!!L        -1Q!!_        Dollars            ~
                     Product sales                                                              $986.4           $776.2        $210.2             27.1%
                     Other revenue                                                                                                                 0.0%
                           Net revenues                                                           986.4               776.2        210.2          27.1%
                     Operating expenses:
                           Cost of salesC1J                                                       846.6               652.7        193.9          29.7%
                           Research and development                                                                                                0.0%
                           Selling and marketing                                                  89.8             77.2             12.6          16.3%
                     Contribution                                                               $ 50.0           $ 46.3        $     3.7           8.0%
                     Contribution margin                                                               5.1%             6.0%                      (0.9)%

            (I)      Excludes amortization and impairment of acquired intangibles including product rights.

                     Net Revenues
                 The increase in net revenues compared to the prior year period was primarily due to an increase in third-party new product launches
            ($180.4 million) and an increase in U.S. base product sales, which includes volume increases in both generic and branded pharmaceutical
            product sales, offset, in part, by price declines ($29.7 million).

                     Cost of Sales
                  The increase in cost of sales compared to the prior year period was due to higher product sales. Cost of sales as a percentage of
            revenue increased to 85.8% compared to 84.1 % in the prior year period primarily due to an increase of sales to chain customers at lower
            than average margins.

                     Selling and Marketing Expenses
                  The increase in selling and marketing expenses compared to the prior year period was primarily due to higher Ii-eight costs ($6.6
            million), higher expenses associated with relocating our Groveport, Ohio distribution operations to the Olive Branch, Mississippi facility
            ($3.1 million) and higher sales related expenses ($2.4 million).

                                                                                  75




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1-0k.htm                                                              75/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 77 of 169. PageID #: 359006




         10 /16 /20 18                                                                 For m 10 -K




           Table of Contents

               General and Administrative Expenses

                                                                                                         Years Ended
                                                                                                         December31.1                            Change
               (Sin millions)                                                                        --1Q!L           ---1Q!.!_        Dollars            ~
               General and administrative expenses                                                   $625.3           $353.1           5,272.2            77.1 %
                 as% of net revenues                                                                   10.6%             7.7%

                The increase in general and administrative expenses was primarily due co higher acquisition, integration and restructuring costs
           ($103.1 million), higher costs ($61 I million) resulting from the Actavis Group, Ascent and Specifar acquisitions in October 2012, January
           2012 and May 2011, respectively, higher litigation charges ($82.7 million), higher legal costs ($16.3 million) and higher stock-based
           compensation expenses ($7.7 million).

               Amortization

                                                                                                         Years Ended
                                                                                                         Dcccmbcr31                              Change
               (Sin millions)                                                                         2012             2011            Dollars             %
               Amortization                                                                          $481.1           5,354.3          $126.8             35.8%
                 as % of net revenues                                                                   8.1%              7.7%

                 Amortization expense for the year ended December 3 l, 2012 increased as a result of the amortization of atorvastatin and levalbuterol
           product rights associated with the launch of these products in late 2011 and 2012 ($40.8 million) and amortization of product rights and
           other intangible assets acquired in the Actavis Group, Specifar and Ascent acquisitions (S,85.1 million), offset, in part, by product rights
           and other intangible assets which were fully amortized subsequent to the prior year period.

               Loss on Asset Sales and Impairments, net

                                                                                                                Years Ended
                                                                                                                Dcccmbcr31.1                     Change
               (Sin millions)                                                                                --1Q!L        ..1Q.!!__    DoJlars            %
               Loss on asset sales and impairments, net                                                      $149.5        $78.7        $ 70.8            9().0%
                 Loss on asset sales and impairments for the year ended December 31, 2012 includes a non-cash impairment charge related to product
           rights and IPR&D intangible assets acquired in connection with the Specifar Acquisition ($117 .8 million, of which S 101.0 million related
           to IPR&D and Sl6.8 million related to product rights), an impairment charge related to a manufacturing facility located in Greece ($40.3
           million), an impairment related to the sale of a German subsidiary ($17.6 million) and an impairment related to API manufacturing assets
           in India ($1.6 million). Partially offsetting these charges was a fair value adjustment of the contingent obligation due to the Specifar selling
           shareholders based on esomeprazole gross profits ($27.5 million) and net gains on miscellaneous asset sales ($0.3 million). The
           impairment relating to the intangible assets acquired in connection with the Specifar acquisition was recorded during the fourth quarter of
           2012 and related to csomcprazolc product rights following the Company decision to discontinue selling the product as a result of products
           acquired in connection with the Actavis Group Acquisition ($16.8 million). In addition, we recorded during the second quarter of2012 a
           charge related to three products in development as a result of various factors occurring during the same period mainly related to delays in
           expected launch dates, competitive factors resulting in realization oflower pricing and incremental costs related to manufacturing efforts.
           These events led to revised estimates of the fair value of each IPR&D asset compared to the carrying values (S!Ol .0 million). The
           impairment for the Greece facility was due to a change in the intended use of the facility as a result of the Company's decision during the
           third quarter of 2012 to discontinue further construction as a result of the planned acquisition of the Actavis Group.
                 Loss on assets sales and irnpairrnents for the year ended December 31, 2011 included an impairment charge of lPR&D intangibles
           assets relating to progesterone gel business acquired from Columbia ($75.8 million),

                                                                                 76




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                  76/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 78 of 169. PageID #: 359007




         10 /16 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents


            impairment charges ofIPR&D intangible assets acquired as part of the December 2, 2009 acquisition of the Arrow Group ($27.0 million),
            impairment charges related to tbe sale of our Australia R&D facility and two buildings at our Copiague, New York manufacturing facility
            ($14.4 million), an other-than-temporary impairment charges related to equity-method investments (S9.4 million) and a loss on the sale of
            an equity method investment ($2.4 million). These amounts were offset by fair value adjustments of certain contingent obligations relating
            to the acquisition of our progesterone gel business from Columbia Labs ($49.0 million) and net gains on the sale of certain assets ($1.3
            million).

                Interest Income

                                                                                                                  Years Ended
                                                                                                                  December31                                 Change
                (Sin millions)                                                                                  2012              20tl             Dollars            ~
                Interest income                                                                                 $2.5              $2.1             S 0.4              19.0%

                Interest Expense

                                                                                                           Year Ended
                                                                                                           December 31.                              Change
                    (Sin millions)                                                                      2012          2011                Dollars             ~
                    lnterest expense - 2009 Senior Notes                                              $ 49.3             $49.2            S 0.1                   0.2%
                    Interest expence - 2012 Senior Notes                                                32.8                               32.8                 100.0%
                    Interest expense - Term Loans                                                        5.9                                 5.9                100.0%
                    Interest expense - Revolving Credit Facility                                         4.5                0.8              3.7                462.5%
                    Interest expense - 2006 Credit Facility                                                                 1.1             (1.J)              (J00.0)%
                    Interest expense - Manditorily Redeemable
                       Preferred Stock accretion                                                         16.8              16.7               O.J                 0.6%
                    Interest expense - Foreign exchange currency option premium payable
                       accretion                                                                         0.5                                 0.5                100.0%
                    Interest expense - Other                                                             1.8              1.2                0.6                 50.0%
                    Interest expense                                                                  $111.6            $69.0             S 42.6                 61.7%

                 Interest expense increased for the year ended December 31, 2012 over the prior year primarily due to interest expense on the 2012
            Senior Notes and the Term Loan Credit Agreement issued in connection with the Actavis Group Acquisition.

                Other Income (expense)

                                                                                                         Years Ended
                                                                                                         Decem ber 31,                              Change
                    (Sin millions)                                                                    ~                .1.Q.!!_          Dollars              ~
                    Gain on sale of products                                                          $ 88.7           S-                S 88.7                 100.0%
                    Gain on sale of investments                                                         28.8              0.8              28.0                  NM
                    Gain on sale of divested products                                                   24.0                               24.0                 100.0%
                    Loss on foreign exchange derivative                                                (70.4)                             (70.4)               (100.0)%
                    Bridge loan expenses                                                               (37.1)                             (37.1)               (100.0)%
                    Earnings (losses) on equity method investments                                       1.3            (4.5)               5.8                  NM
                    Other income                                                                         3.2             3.2                                       0%
                    Other income (expense)                                                            $ 38.5           S(0.5)            S 39.0                  NM

                    Gain 011 Sale of Products
                    As a result of the Rugby Sale, we recorded a gain of $88. 7 million in other income (expense), in the year ended December 31, 2012.

                                                                                  77




        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                                              77/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 79 of 169. PageID #: 359008




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

                     Gain Oil Sale of Investments
                     As a result of the Moksha8 Sale, we recorded a gain of S28.8 million in other income (expense) in the year ended December 31,
            2012.

                     Gain 011 Sale a/Divested Products
                  In order to obtain regulatory clearance under Hart-Scott-Rodino, in connection with the Actavis Group Acquisition, we were required
            to divest certain assets. On October 31, 2012, a total of 22 generic pharmaceutical products owned by either Actavis Group or Watson
            were sold to Par Pharmaceuticals Companies, Inc. and Sandoz, Inc., which resulted in a gain of $24.0 million in the year ended
            December 31, 2012. The divested products consisted of both commercial and development stage products in a number of therapeutic
            categories where the two companies owned overlapping products.

                     Loss Oil Foreign Exchange Derivative
                  Included in the year ended December 31, 2012 is approximately $70.4 million of realized losses for the derivative instruments
            entered into to mitigate the exposure resulting from movements of the U.S. dollar against the Euro in connection with the Actavis Group
            Acquisition.

                     Bridge Loan Expenses
                  Included in the year ended December 31, 2012 is approximately $37.1 million for the expenses of the bridge loan entered into to
            fund the Actavis Group Acquisition.

                     Other Income (loss)
                 Included in other income (loss) for the year ended December 3 l, 2012 is a S3.0 million contract termination settlement received by
            an equity method investee and a $0.8 million gain related to the revaluation of securities issued by an equity method investee.

                Provision for Income Taxes

                                                                                                              Years Ended
                                                                                                              Dcccmhcr31 1                     Change
            (Sin millions)                                                                              ---1.!!.!.L    .zsu,         Dollars             %
            Provision for income taxes                                                                  S146.8         $196.9        $(50.1)            (25.4)%
               Effective tax rate                                                                           59.9%        43.2%

                  The provision for income taxes differs from the amount computed by applying the statutory U.S. federal income tax rate primarily
            due to the inability to tax benefit losses incurred in certain foreign jurisdictions and the amortization and impairment of foreign intangibles
            being tax benefited at rates that are lower than the U.S. federal income tax rate.
                  The higher effective tax rate for the year ended December 31, 2012, as compared to the prior year period, is primarily a result of
            additional amortization relating to certain of our foreign intangibles which a.re tax benefited at rates lower than the U.S. federal rate. In
            addition, the effective tax rate for the year ended December 31, 2012 included certain non-recurring items such as an impairment charge
            being tax benefited at a lower tax rate than the U.S. federal rate and a non deductible loss from a foreign exchange derivative for which no
            tax benefit was provided. These increases to the effective tax rate were partially offset by the reversal of a deferred tax liability related to
            the Ascent Acquisition.

                                                                                   78




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                               78/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 80 of 169. PageID #: 359009




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

            LIQUIDITY AND CAPITAL RESOURCES
                 Working Capital Position
                     Working capital at December 31, 2013 and 2012 is summarized as follows:

                                                                                                                                                Incr ease
            (Sin millions):                                                                                    ___lill_        ---1!!!l._      (D ecrease)
            CuITenL Assets:
                  Cash and cash equivalents                                                                    $ 329.0         $ 319.0         s     10.0
                  Marketable securities                                                                             2.5             9.0              (6.5)
                  Accounts receivable, net of allowances                                                        1,404.9         1,330.9              74.0
                 Inventories, net                                                                               1,786.3         1,546.5             239.8
                 Prepaid expenses and other current assets                                                        409.2           323.6              85.6
                 Assets held for sale                                                                             271.0                             271.0
                  Deferred tax assets                                                                             231.8           309.3        _J7.7.J)
                         Total current assets                                                                   4,434.7         3,838.3             596.4
            Current liabilities:
                  Accounts payable and accrued expenses                                                        $2,343.2         2,467.9         (124.7)
                 Income taxes payable                                                                              96.6            68.1           28.5
                  Current portion of long-term debt and capital leases                                            534.6           176.2          358.4
                 Liabilities held for sale                                                                        246.6                          246.6
                 Other                                                                                             73.9            37.1           36.8
                         Total current liabilities                                                              3,294.9         2,749.3          545.6
                         Working Capital                                                                       $1,139.8        $1,089.0        S 50.8
                              Working Capital excluding assets held for sale, net                              $1,115.4        $1,089.0        S     26.4
                                    Adjusted Current Ratio                                                         1.37             1.40

                 Working capital excluding assets held for sale, net, increased $26.4 million to $1,115.4 million at December 31, 2013 compared to
            $1,089.0 million at December 31, 2012. This increase is due in part to the working capital acquired in the Warner Chilcott Acquisition as
            of October I, 2013 ($297.8 million) and timing of other working capital movements, offset, in part, by an increase in the current portion of
            long-term debt ($358.4 million).

                Cash Flows Ji-om Operations
                     Summarized cash flow from operations is as follows:
                                                                                                                         Years Ended December 31.
            ($ in millions)                                                                                         ___lill_      -1!!.!L      --2!!.!!._
            Net cash provided by operating activities                                                               51,213.5        $665.8         $632.0

                 Cash flows from operations represent net income adjusted for certain non-cash items and changes in assets and liabilities. Cash
           provided by operating activities increased $54 7. 7 million in the year ended December 3J,2013 versus the prior year period, due primarily
           to an increase in net income, adjusted for non-cash activity ofS631.0 million ($1,377.1 million and $746.1 million of adjusted cash net
           income in the years ended December 31, 2013 and 2012, respectively), offset, in part, by certain working capital movements including the
           payment of liabilities assumed in the Warner Chilcott Acquisition relating to tax liabilities associated with the employee stock based
           compensation awards that vested on October I, 2014 ($34.3 million).
                 Management expects that available cash balances and 2014 cash flows from operating activities will provide sufficient resources to
            fund our operating liquidity needs and expected 2014 capital expenditure funding requirements.

                                                                                    79




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                         79/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 81 of 169. PageID #: 359010




         10 /1 6 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents

                Investing Cash Flows
                     Our cash flows from investing activities are summarized as follows:
                                                                                                                        Years Ended December 31.
                     (Sin millions)                                                                             2013              2012           2011
                     Net cash used in investing activities                                                    $275.3           $5,749.0        $719.0
                 Investing cash flows consist primarily of cash used in acquisitions of businesses and intangibles (primarily product rights), capital
           expenditures for property, plant and equipment and purchases of investments and marketable securities partially offset by proceeds from
           the sale of investments and marketable securities. Included in the year ended December 31, 2013 was cash used in connection with the
           Uteron Acquisition, net of cash acquired ($141.3 million), cash used in connection with the October 28, 2013, WCCL and Sanofi
           Amendment, whereby the parties amended the Collaboration Agreement with respect to Actonel ~. and Atelvia® in the Exclusive Territory
           ($125.0 million), cash used in connection with Medicines360 Acquisition ($52.3 million) and capital expenditures for property, plant and
           equipment($ I 77.9 million), offset, in part, by cash acquired in connection with the Warner Chilcott Acquisition ($179.5 million) and
           proceeds from the sale of property, plant and equipment and marketable securities and other investments ($40.3 million).
                  Included in the year ended December 31, 2012 was cash used in connection with the Acta vis Group Acquisition, net of cash acquired
            ($5,359.3 million), the Ascent Acquisition, net of cash acquired ($383.5 million), capital expenditures for property, plant and equipment
            ($137.5 million) and investment in foreign exchange derivative instruments ($156.7 million). Partially offsetting these uses of cash were
            proceeds from the sale of the Rugby assets ($116.6 million), products divested in connection with the Actavis Group Acquisition ($115.9
            million) and the sale of our Moksha8 equity investment ($46.6 million).

                Financing Cash Flows
                     Our cash flows from financing activities are summarized as follows:
                                                                                                                        Years Ended December 31!
                     (Sin millions)                                                                              2013              2012            2011
                     Net cash (used in) provided by financing activities                                       $867.3           $5,189.6           $16.4
                  Financing cash flows consist primarily of borrowings and repayments of debt, repurchases of Ordinary Shares and proceeds from the
            exercise of stock options. Cash provided by financing activities in the year ended December 31, 2013 included payments on debt, net of
            borrowings, in connection with the extinguishment of the Company's $450.0 million 5.00% notes ($450.0 million), the refinancing of the
            Warner Chilcott term debt and other borrowings and repayments, including capital leases ($342.2 million), the acquisition of non-
            controlling interests ($10.4 million), the payment of debt issuance costs in connection with the refinancing of the Company's term loan
            indebtedness ($7.4 million) and the repurchase of Ordinary Shares to satisfy tax withholding obligations in connection with vested
            restricted stock issued to employees ($170.0 million), offset, in part, by excess tax benefit from stock based compensation ($69.0 million)
            and proceeds from stock option exercises ($48.0 million). Cash provided by financing activities in 2012 included proceeds from the
            issuance of 2012 Senior Notes and the Term Loan Credit Agreement to fund the purchase of the Actavis Group ($3.9 billion and $1.8
            billion, respectively), proceeds from borrowing under the Revolving Credit Facility ($375.0 million) and proceeds from stock option
            exercises ($18.8 million), offset, in part, by principal payments on debt ($679.7 million), payments on contingent consideration liabilities
            primarily related to atorvastati.t1($105.3 million), debt issuance costs ($77.8 million) and the repurchase of Ordinary Shares to satisfy tax
            withholding obligations in connection with vested restricted stock issued to employees ($16.1 million).

                                                                                  80




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok. htm                                                            80/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 82 of 169. PageID #: 359011




         10 /16 /2 0 1 8                                                                  F o rm 10 -K




           Table of Contents

                Debt and Borrowing Capacity
                    Debt consisted of the following (in millions):
                                                                                                                      December 31,       December 31,
                                                                                                                      __
                                                                                                                       2_
                                                                                                                        01_
                                                                                                                          3_             _
                                                                                                                                         $ ___
                                                                                                                                            2012
           WC Term Loan Agreement                                                                                         1,832.8
           Amended and Restated ACT Tenn Loan                                                                             1,310.0             1,700.0
           Revolving Credit Facility                                                                                        265.0
           Senior Notes:
                        $450.0 million 5.00% notes                                                                                              450.0
                        $1,200.0 million 1.875% notes due October 1,2017                                                1,200.0               1,200.0
                        $1,250.0 million 7.75% notes due September 15, 2018                                             1,250.0
                        $400.0 million 6.125% notes due August 14,2019                                                    400.0                 400.0
                        $1,700.0 million 3.250% notes due October I, 2022                                               1,700.0               1,700.0
                        $1,000.0 million 4.625% notes due October I, 2042                                               1,000.0               1,000.0
                 Plus: Unamortized premium                                                                                103.9
                 Less: Unamortized discount                                                                           ~)                 ~)
           Senior Notes, net                                                                                            5,622.0            4,714.9
           Capital leases                                                                                                  22.2               18.4
                 Total debt                                                                                             9,052.0            6,433.3
           Less: Current portion                                                                                          534.6              176.2
                 Total long-term debt and capital leases                                                              $ 8,5 I 7.4        $ 6,257.1

            Credit Facility Indebtedness
           2013 Term Loan
                WC Term Loan Agreement
                 On October I, 2013 in connection with the Warner Chilcott Acquisition, Actavis pie, BofA, as Administrative Agent and a syndicate
           of banks participating as lenders became parties to the WC Term Loan Agreement, pursuant to which the lenders party to the agreement
           provide the Three Year Tranche and the Five Year Tranche. The proceeds of borrowings under the WC Term Loan Agreement, together
           with $41.0 million of cash on hand, were used to finance, the repayment in full of all amounts outstanding under Warner Chilcott's then-
           existing Credit Agreement, dated as of March 17, 2011, as amended by Amendment No. I on August 20, 2012, among the WC Borrowers,
           BofA, as administrative agent and a syndicate of banks participating as lenders.
                  Borrowings under the WC Term Loan Agreement bear interest at the applicable WC Borrower's choice of a per annum rate equal to
           either (i) a base rate plus an applicable margin per annum varying from (x) 0.00% per annum to 0.75% per annum under the Three Year
           Tranche and (y) 0.125% per annum to 0.875% per annum under the Five Year Tranche, depending on the publicly announced debt ratings
           for non-credit-enhanced, senior unsecured long-term indebtedness of Parent (such applicable debt rating the "Debt Rating") or (b) a
           Eurodollar rate, plus an applicable margin varying from (x) 1.00% per annum to 1.75% per annum under the Three Year Tranche and
           (y) J. J 25% per annum to 1.875% per annum under the Five Year Tranche, depending on the Debt Rating.
                  The outstanding principal amount of loans under the Three Year Tranche is not subject to quarterly amortization and shall be payable
           in full on the three year anniversary of October 1, 2013 (the "Closing Date"), which is October I, 2016. The outstanding principal amount
           of loans under the Five Year Tranche is payable in equal quarterly amounts of 2.50% per quarter prior to the fifth anniversary of the
           Closing Date, with the remaining balance payable on the fifth year anniversary of the Closing Date, which is October I, 2018.
                The WC Term Loan Agreement provides that all obligations thereunder are jointly and severally guaranteed by (i) us, (ii) each
           subsidiary of the Company (other than any WC Borrower) that is a primary obligor or a

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                    81/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 83 of 169. PageID #: 359012




         10 /16 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            guarantor under the 7. 75% senior notes due 2018 issued by the Puerto Rico Borrower and Warner Chilcott Finance LLC and (iii) any
            subsidiary (other than any WC Borrower) that becomes a guarantor of third party indebtedness of a WC Borrower in an aggregate
            principal amount exceeding $200.0 million (unless, in the case of a foreign subsidiary, such guarantee would give rise to adverse tax
            consequences as reasonably determined by Parent).
                 The New Term Loan Agreement contains representations and warranties, financial reporting covenants and other affirmative
            covenants, negative covenants, a financial covenant and events of default that are substantially similar to those in the Amended and
            Restated Credit Facilities.
                 During the year ended December 31, 2013, we made optional prepayments totaling S75.0 million of our indebtedness under the
            Three Year Tranche and $67.3 million of our indebtedness under the Five Year Tranche. As of December 31, 2013, the outstanding
            indebtedness under the Three Year Tranche and the Five Year Tranche was $925.0 million and $907.8 million, respectively. The book
            value of the outstanding indebtedness approximates fair value as the debt is at variable interest rates and re-prices frequently.

                A111e11ded and Restated Actavis, Inc. Credit and Guaranty Agreements
                Amended and Restated ACT Term Loan
                  On the Closing Date and pursuant to that certain Term Loan Amendment Agreement (the "Term Amendment Agreement"), by and
           among Actavis, Inc., a wholly owned subsidiary of the Company, BofA, as administrative agent thereunder, and the lenders party thereto,
           dated as of August I, 2013, the Company, as parent guarantor, Actavis WC Holding S.a r.l. (the "ACT Borrower"), as borrower, Actavis,
           Inc., as a subsidiary guarantor, and BofA, as administrative agent, entered into that certain Amended and Restated Actavis Term Loan
           Credit and Guaranty Agreement (the "ACT Term Loan Agreement"), dated as of October I, 2013. The ACT Term Loan Agreement
           amended and restated Acta vis, Inc. 's $1,800.0 million senior unsecured term loan credit facility, dated as of June 22, 2012. At closing, an
           aggregate principal amount of S 1,572.5 million was outstanding under the ACT Term Loan Agreement.
                 The Amended and Restated Term Loan provides that loans thereunder will bear interest, at our choice, of a per annum rate equal to
           either (a) a base rate, plus an applicable margin per annum varying from 0.00% per annum to 1.00% per annum depending on the Debt
           Rating or (b) a Eurodollar rate, plus an applicable margin varying from 1.00% per annum to 2.00% per annum depending on the Debt
           Rating.
                The Amended and Restated Term Loan matures on October 31, 2017 (or if such day is not a business day, the next preceding
           business day). The outstanding principal amount is payable in equal quarterly installments of2.50% per quarter, with the remaining
           balance payable on the maturity date.
                 The ACT Term Loan Agreement contains covenants that are substantially similar to those in the Company's Amended and Restated
           Revolver (defined below). The ACT Term Loan Agreement contains standard events of default (the occurrence of which may trigger an
           acceleration of amounts outstanding under the ACT Term Loan Agreement). The ACT Tenn Loan Agreement became effective in
           accordance with its terms on October 1, 2013.
                 We are subject to, and, at December 31, 2013, were in compliance with, all financial and operational covenants under the terrns of
           the ACT Term Loan Agreement. During the year ended December 31, 2013, we made optional prepayments of $220.0 million of
           indebtedness under the ACT Term Loan Agreement. The outstanding balance of the Term Loan at December 31, 2013 was S 1,310.0
           million. The book value of the outstanding indebtedness approximates fair value as the debt is at variable interest rates and re-prices
           frequently.

                Revolving Credit Facility
                 On the Closing Date and pursuant to that certain Revolver Loan Amendment Agreement (the "Revolver Amendment Agreement"
           and, together with the Term Amendment Agreement, the "Amendment Agreements"), by and among Actavis; Inc., as subsidiary guarantor,
           BofA, as administrative agent thereunder, and the lenders party thereto, dated as of August 1, 2013, the Company, as parent guarantor, the
           ACT Borrower, as borrower, Actavis, Inc., as a subsidiary guarantor, and BofA, as administrative agent, entered into that certain Amended
           and

                                                                                 82




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                       82/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 84 of 169. PageID #: 359013




         10 /16 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            Restated Actavis Revolving Credit and Guaranty Agreement (the "ACT Revolving Credit Agreement" and, together with the ACT Tenn
            Loan Agreement, the "Amended and Restated Credit Agreements"), dated as of October 1, 2013. The ACT Revolving Credit Agreement
            amended and restated Acta vis, Inc. 's $750.0 million senior unsecured revolving credit facility dated as of September 16, 2011, as amended
            by that certain Amendment No. 1 to the credit agreement andjoinder agreement, dated as of May 21, 2012. At closing, $9.4 million of
            letters of credit were outstanding under the ACT Revolving Credit Agreement and no loans were outstanding.
                  The ACT Revolving Credit Agreement provides that loans thereunder will bear interest, at our choice of a per annum rate equal to
            either (a) a base rate, plus an applicable margin per annum varying from 0.00% per annum to 0.75% per annum depending on the Debt
            Rating or (b) a Eurodollar rate, plus an applicable margin varying from 0.875% per annum to 1.75% per annum depending on the Debt
            Rating. Additionally, to maintain availability of funds, we pay an unused commitment fee, which according to the pricing grid is set at
            0.15% of the unused portion of the revolver.
                 Subject to certain limitations, borrowings under the ACT Revolving Credit Agreement may be made in alternative currencies,
           including Euros, British Pounds Sterling and other currencies. The ACT Revolving Credit Agreement contains sublimits on letters of
           credit and swingline loans in the amount of $100.0 million and S50.0 million, respectively. The issuance of letters of credit and borrowings
           of swingline loans reduces the amount available to be borrowed under the ACT Revolving Credit Agreement on a dollar-for-dollar basis.
           Amounts borrowed under the ACT Revolving Credit Agreement may be used to finance working capital and other general corporate
           purposes.
                  The ACT Revolving Credit Agreement imposes certain customary restrictions including, but not limited to, limits on the incurrence
            of debt or liens upon the assets ofus or our subsidiaries, investments and restricted payments. The ACT Revolving Credit Agreement
            includes a consolidated leverage ratio covenant, as defined, whereby we are permitted to have a maximum consolidated leverage ratio as
            of the last day of any period of four consecutive fiscal quarters of the Company of up to (i) with respect to the four consecutive fiscal
            quarters from the Acquisition Date through December 31, 2013, 4.25 to 1.00; (ii) with respect to the four consecutive fiscal quarters from
            January I, 2014 through December 31, 2014, 4.00 to 1.00; and (iii) with respect to the period of four consecutive fiscal quarters ending
            from January I, 2015 and thereafter, 3.50 to 1.00.
                 We are subject to, and, as of December 31, 2013, were in compliance with, all financial and operational covenants under the terms of
            the Revolving Credit Facility. At December 31, 2013, loans and letters of credit outstanding were $265.0 million and $9.4 million,
            respectively. The net availability under the Revolving Credit Facility was $475.6 million. As of the date of this report, we repaid the full
            amount of our indebtedness under the Revolving Credit Facility.

            Senior Notes Indebtedness
                Actavis, Inc. Supplemental Indenture
                 On October I, 2013, the Company, Actavis, Inc., a wholly owned subsidiary of the Company, and Wells Fargo Bank, National
           Association, as trustee, entered into a fourth supplemental indenture (the "Fourth Supplemental Indenture") to the indenture, dated as of
           August 24, 2009 (the "Base Indenture" and, together with the First Supplemental Indenture, the Second Supplemental Indenture and the
           Third Supplemental Indenture (each as defined below), the "Indenture"), as supplemented by the first supplemental indenture, dated as of
           August 24, 2009 (the "First Supplemental Indenture"), the second supplemental indenture, dated as of May 7, 2010 (the "Second
           Supplemental Indenture"), and the third supplemental indenture, dated as of October 2, 2012 (the "Third Supplemental Indenture").
           Pursuant to the Fourth Supplemental Indenture, we have provided a full and unconditional guarantee of Acta vis, Inc. 's obligations under
           its $450.0 million 5.000% senior notes due August 15, 2014, (the "2014 Notes"), its $400.0 million 6.125% senior notes due August 15,
           2019 (the "2019 Notes"), its $1,200.0 million 1.875% senior notes due October I, 2017 (the "2017 Notes"), its $1,700.0 million 3.250%
           seniornotes due October I, 2022 (the "2022 Notes") and its Sl,000.0 million 4.625% Senior Notes due 2042 (the "2042 Notes", and
           together with the 2014 Notes, the 2019 Notes, the 2017 Notes and the 2022 Notes, the "Notes").

                                                                                83




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                      83/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 85 of 169. PageID #: 359014




         10 /16 /2 0 1 8                                                               F o rm 10 -K




           Table of Contents

                  On October 18, 2013, Acta vis, Inc., a wholly-owned subsidiary of ours, instructed Wells Fargo Bank, National Association, as trustee
            (the "Trustee"), pursuant to the Indenture governing its 2014 Notes, to issue a notice from Actavis, Jnc. to the holders of the 2014 Notes
            that Actavis, Inc. has elected to redeem in full the entire aggregate principal amount of the 2014 Notes on November 5, 2013 (the
            "Redemption Date"). The 2014 Notes, which had an outstanding principal balance of$450.0 million and which were fully and
            unconditionally guaranteed by us, were redeemed on November 5, 2013 at a redemption price equal to $465.6 million, which resulted in a
            cash expense ofS15.6 million.

                WC Supplemental Indenture
                 On October I, 2013, the Company, WCCL, Warner Chilcott Finance LLC (the "Co-Issuer" and together with WC Compauy, the
           "Issuers") and Wells Fargo Bank, National Association, as trustee (the "WC Trustee"), entered into a third supplemental indenture (the
           "Supplemental Indenture") to the indenture, dated as of August 20, 20 IO (the "WC Indenture"), among the Issuers, the guarantors party
           thereto and the WC Trustee, with respect to the Issuers' 7. 75% senior notes due 2018 (the "WC Notes"). Pursuant to the Supplemental
           Indenture, we have provided a full and unconditional guarantee of the Issuers' obligations under the WC Notes and the WC Indenture.
                On October 1, 2013, the Issuers and the Trustee entered into a release of guarantees of certain guarantors (the "Release of
           Guarantees"), pursuant to which Warner Chilcott's guarantee of the WC Notes was released in accordance with Section l I .05(f) of the WC
           Indenture and the guarantees of certain other guarantors were released in accordance with Section l I .05(c) or l J .05(e) of the WC
           Indenture.
                The WC Notes are unsecured senior obligations of the Issuers, guaranteed on a senior basis by us and are, subject to certain
           exceptions. The WC Notes will mature on September 15, 2018. Interest on the WC Notes is payable on March 15 and September 15 of
           each year.
                  The Indenture contains restrictive covenants that limit, among other things, the ability to incur additional indebtedness, pay dividends
           and make distributions on common and preferred stock, repurchase subordinated debt and common and preferred stock, make other
           restricted payments, make investments, sell certain assets, incur liens, consolidate, merge, sell or otherwise dispose of all or substantially
           all of its assets and enter into certain transactions with affiliates. Certain of these restrictive covenants will be suspended at any time when
           the WC Notes are rated Investment Grade by each of Moody's Investors Service, Inc. and Standard & Poor's Rating Services and no
           default has occurred and is continuing, in each case as described and defined in the Indenture. The Indenture also contains customary
           events of default which would permit the holders of the WC Notes to declare those WC Notes to be immediately due and payable if not
           cured within applicable grace periods, including the failure to make timely payments on the WC Notes or other material indebtedness, the
           failure to comply with covenants, and specified events of bankruptcy and insolvency.
                 The Company may redeem the WC Notes on or after September 15, 20 I 4, in whole at any time or in part from time to time, at the
           Issuer's option, at a redemption price equal to 103.875% of the principal amount of notes to be redeemed plus accrued and unpaid interest,
           if any. The Company may redeem the WC Notes on or after September 15, 2015, in whole at any time or in part from time to time, at the
           Issuer's option, at a redemption price equal to IO 1.938% of the principal amount of notes to be redeemed plus accrned and unpaid interest,
           if any. The Company may redeem the WC Notes on or after September 15,2016, in whole at any time or in part from time to time, at the
           Issuer's option, at a redemption price equal to I 00% of the principal amount of notes to be redeemed plus accrned and unpaid interest, if
           any.
                The fair value of the outstanding WC Notes ($1,250.0 million book value), as determined in accordance with ASC Topic 820 "Fair
           Value Measurements and Disclosures" ("ASC 820") under Level 2 based upon quoted prices for similar items in active markets, was
           $1,357.4 million as of December 31, 2013.

                2012 Notes Issuance
                 On October 2, 2012, Actavis, Inc., a wholly owned subsidiary of ours, issued the 2017 Notes, the 2022 Notes, and the 2042 Notes
           (collectively the "2012 Senior Notes"). Interest payments are due on the 2012 Senior Notes semi-annually in arrears on April I and
           October I beginning April I, 2013.

                                                                                 84




         https:/!www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                         84/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 86 of 169. PageID #: 359015




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                  Actavis, Inc. may redeem the 2012 Senior Noles, in whole at any lime or in part from time to time, at the Issuer's option, at a
            redemption price equal to the greater of I 00% of the principal amount of notes to be redeemed and the sum of the present values of the
            remaining scheduled payments of principal and interest in respect of the 2012 Senior Notes being redeemed discounted on a semi-annual
            basis at the treasury rate plus 20 basis points in the case of the 2017 Notes, 25 basis points in the case of the 2022 Notes and 30 basis
            points in the case of the 2042 Notes plus in each case accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                  In addition, Actavis, Inc. may redeem the 2022 Notes on or after July I, 2022 (three months prior to their maturity date), and the
            2042 Notes on or after April I, 2042 (six months prior to their maturity date) in each case, in whole at any time or in part from time to
            time, at the Issuer's option at a redemption price equal to 100% of the aggregate principal amount of the 2012 Senior Notes being
            redeemed, plus, in each case, accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                  Upon a change of control triggering event and a downgrade of the 2012 Senior Notes below an investment grade rating by each of
            Moody's Investors Service, Inc. and Standard & Poor's Rating Services, the Issuer will be required to make an offer to purchase each of
            the 20 I 2 Senior Notes at a price equal to l O I% of the principal amount of the 20 I 2 Senior Notes to be repurchased, plus any accrued and
            unpaid interest, if any, to, but excluding, the date of repurchase.
                  Net proceeds from the offering of the 2012 Senior Notes were used for the Actavis Group Acquisition. The fair value of the
            outstanding 2012 Senior Notes (53,900.0 million book value) as determined in accordance with ASC 820 under Level 2 based upon
            quoted prices for similar items in active markets, was $3,683.2 miLlion as of December 31, 2013.

                2009 Notes Issuance
                  On August 24, 2009, Acta vis, Inc. issued the 2014 Notes and the 2019 Notes (collectively the "2009 Senior Notes"). Interest
            payments are due on the 2009 Senior Notes semi-annually in arrears on February 15 and August 15, respectively, beginning February 15,
            2010.
                  Actavis, Inc. may redeem the 2019 Notes in whole at any time or in part from time to time, at the Issuer's option at a redemption
            price equal to the greater of (i) I 00% of the principal amount of the notes to be redeemed and (ii) the sum of the present values of the
            remaining scheduled payments of principal and interest in respect of the notes being redeemed, discounted on a semi-annual basis at the
            treasury rate plus 40 basis points, plus accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                  Upon a change of control triggering event, as defined by the Base Indenture, Actavis, Inc. is required to make an offer to repurchase
            the 2019 Notes for cash at a repurchase price equal to IO I% of the principal amount of the 20 I 9 Notes to be repurchased plus accrued and
            unpaid interest to the date of purchase.
                 Net proceeds from the offering of 2009 Senior Notes were used to repay certain debt with the remaining net proceeds being used to
            fund a portion of the cash consideration for the Arrow Acquisition. The fair value of the outstanding 2009 Senior Notes (S400.0 million
            book value) as determined in accordance with ASC 820 under Level 2 based upon quoted prices for similar items in active markets, was
            $460.9 million as of December 31, 2013.

                                                                                  85




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          85/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 87 of 169. PageID #: 359016




         10 /16 /2 0 1 8                                                                    F o rm 10 -K




           Table of Contents

                 Long-term Obligations
                  The following table lists our enforceable and legally binding obligations as of December 31, 2013. Some of the amounts included
            herein are based on management's estimates and assumptions about these obligations, including their duration, the possibility of renewal,
            anticipated actions by third parties and other factors. Because these estimates and assumptions are necessarily subjective, the enforceable
            and legally binding obligation we will actually pay in future periods may vary from those reflected in the table:

                                                                                                  Paymcnls Due bv Period (Jncludinu bucresr on Debt}
                    (in millions):
                    Long-term debt(1J
                                                                                      ~                  2014         2015-2016       2017-2018      Thereafter
                                                                                      S 8,957.8        $ 241.3        $1,407.6       $3,943.9        $3,365.0
                    Cash interestv')                                                    1,434.9           294.1          572.9          473.4            94.5
                    Contingent consideration liabilitiesr»                                451.1            26.5           111.7          53.0           259.9
                    Operating lease obligationst»                                         208.6            50.8            71.5          38.4            47.9
                    Capital lease obligationsrn                                            24.1             9.7             7.5           3.0             3.9
                    Milestone obligationst»                                               610.9           364.9          104.5           81.5            60.0
                    Other obligations and commirmentsr»                                   396.5           189.2          112.9           76.8            17.6
                              Tota]<7l                                                 12,083.9         1,176.5        2,388.6        4,670.0         3,848.8

           (I)     Amounts represent total minimum cash payments and anticipated interest payments, as applicable, assuming scheduled repayments
                   under the WC Tenn Loan Agreement, the ACT Tern, loan Agreement and maturities of the Company's existing notes. Amounts
                   exclude fair value adjustments, discounts or premiums on outstanding debt obligations.
           (2)      Amount primarily represents contingent consideration obligations, including accretion resulting from various acquisitions.
           (3)      Amount represents operating leases for our global business. There are no contingent rental amounts or sublease rentals.
           (4)      Amount represents capital leases for our global business. leases are for property, plant and equipment, vehicles and furniture and
                    fixtures.
           (5)     We have future potential milestone payments and co-development expenses payable to third parties as part of our licensing,
                   development and co-development programs. Payments under these agreements generally become due and are payable upon the
                   satisfaction or achievement of certain developmental, regulatory or commercial milestones or as development expenses are incurred
                   on defined projects. Amounts represent contractual payment obligations due as actual expenditures are incurred by our partners or
                   upon the achievement of developmental, regulatory or commercial milestones based on anticipated approval dates assuming all
                   milestone approval events are met, the most significant of which are future potential co-development costs under the Amgen
                   Collaboration Agreement. At December 31, 2013, our maximum potential remaining co-development obligation under the Amgen
                   Collaboration Agreement was $312.4 million.
                   Other significant milestone payments include:
                       Amounts owed to Preglem, to develop and, if approved, market products under development in the United States and Canada of
                       $74.0 million relating to Esmya in the United States and Fibristal in Canada;
                           Amounts owed to Medicines360 relating to LNG 20 in the United States and Canada of $122.5 million;
                       Amounts owed to Valeant upon the FDA approval ofMetronidazole 1.3% vaginal gel antibiotic development product of$9.0
                       million;
                           Amounts owed to Palau to develop and, if approved, market albaconazole for the treatment of candidiasis of $18.0 million;
                       Amounts owed to Dong-A PhannTech Co. ltd. ("Dong-A"), to develop and, if approved, market its orally-administered udenafil
                       product, a PDE5 inhibitor for the treatment of erectile dysfunction ("ED") in the United States of $13.0 million;

                                                                                      86




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                     86/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 88 of 169. PageID #: 359017




         10 /1 6 /2 0 1 8                                                                    F o rm 10 -K




            Table of Contents

                            Amounts owed to Paratek Pharmaceuticals Inc. ("Paratek") under which it acquired certain rights to novel tetracyclines under
                            development for the treatment of acne and rosacea of $21.0 million; and
                            Amounts owed to Dong-A for the right to develop, and if approved, market in the United States and Canada, Dong-A's udenafil
                            product for the treatment of lower urinary tract symptoms associated with Benign Prostatic Hyperplasia ("BPH") of $25.0 million
                     Milestone payment obligations are uncertain, including the prediction of timing and the occurrence of events niggering a future
                     obligation and are not reflected as liabilities in our consolidated balance sheet. Amounts in the table above do not include royalty
                     obligations on future sales of product as the timing and amount of future sales levels and costs to produce products subject to
                     milestone obligations is not reasonably estimable.
            (6)      Other obligations and commitments include agreements to purchase third-party manufactured products, capital purchase obligations
                     for the construction or purchase of property, plant and equipment and the liability for income tax associated with uncertain tax
                     positions.
            (7)      Total does not include contractual obligations already included in current liabilities on our Consolidated Balance Sheet (except for
                     capital leases and the current portion of long-term debt) or certain purchase obligations, which are discussed below.
                  For purposes of the table above, obligations for the purchase of goods or services are included only for purchase orders that are
            enforceable, legally binding and specify all significant terms including fixed or minimum quantities to be purchased; fixed, minimum or
            variable price provisions; and the timing of the obligation. Our purchase orders are based on our current manufacturing needs and are
            typically fulfilled by our suppliers within a relatively short period. At December 31, 2013, we have open purchase orders that represent
            authorizations to purchase rather than binding agreements that are not included in the table above.
                  We are involved in certain equity investments that are intended to complement our core business and markets. We have the discretion
            to provide funding on occasion for working capital or capital expenditures. We make an evaluation of additional funding based on an
            assessment of the venturc's business opportunities. We believe that any possible commitments arising from the current arrangements will
            not be significant to our financial condition, results of operations or liquidity.

                  OJJ-Bala11ce Sheet Arrangements
                  We do not have any material off-balance sheet arrangements that have, or are reasonably likely to have, a current or future effect on
            our financial condition, changes in financial condition, net revenues or expenses, results of operations, liquidity, capital expenditures or
            capital resources.

            CRITICAL ACCOUNTING ESTIMATES
                 Our consolidated financial statements are prepared in accordance with accounting principles generally accepted in the United States
           ("GAAP"). These accounting principles require us to make certain estimates, judgments and assumptions. We believe that the estimates,
           judgments and assumptions are reasonable based upon information available to us at the time that these estimates, judgments and
           assumptions are made. These estimates, judgments and assumptions can affect the reported amounts of assets and liabilities as of the date
           of the financial statements, as well as the reported amounts of revenues and expenses during the periods presented. To the extent there are
           material differences between these estimates.judgments or assumptions and actual results, our financial statements will be affected. The
           significant accounting estimates that we believe are important to aid in fully understanding and evaluating our reported financial results
           include the following:
                            Revenue and Provision for Sales Returns, Allowances and Other Trade-Related Deductions
                            Revenue Recognition Including Multiple-Element Arrangements
                            Inventory Valuation
                            Product Rights and other Definite-Lived Intangible Assets
                            Goodwill and Intangible Assets with Indefinite-Lives

                                                                                        87




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                              87/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 89 of 169. PageID #: 359018




         10 /16 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                    • Allocation of Acquisition Fair Values to Assets Acquired and Liabilities Assumed
                    • Contingent Consideration and Other Commitments
                 In many cases, the accounting treatment ofa particular transaction is specifically dictated by GAAP and requires management's best
            estimates of the underlying data in its application. There are also areas in which management's judgment in selecting among available
            GAAP alternatives would not produce a materially different result.

                Revenue and Provision for Sales Returns and Allowances and Otiz er Trade-Related Deductions
                  As is customary in the pharmaceutical industry, our gross product sales are subject to a variety of deductions in arriving at reported
            net product sales. When we recognize revenue from the sale of our products, an estimate of sales returns, allowances and other trade-
            related deductions ("SRA") is recorded which reduces product sales. Accounts receivable and/or accrued liabilities are also reduced and/or
            increased by the SRA amount. These adjustments include estimates for chargebacks, rebates, cash discounts and returns and other
            allowances. These provisions are estimated based on historical payment experience, historical relationship to revenues, government
            regulations, estimated customer inventory levels and current contract sales terms with direct and indirect customers. The estimation
            process used to determine our SRA provision has been applied on a consistent basis and no material adjustments have been necessary to
            increase or decrease our reserves for SRA as a result of a significant change in underlying estimates. We use a variety of methods to assess
            the adequacy of our SRA reserves to ensure that our financial statements are fairly stated. This includes periodic reviews of customer
            inventory data, customer contract programs and product pricing trends to analyze and validate the SRA reserves,
                  Chargebacks - The provision for chargebacks is our most significant SRA. A chargeback represents an amount payable in the
           future to a wholesaler for the difference between the invoice price paid by our wholesale customer for a particular product and the
           negotiated contract price that the wholesaler's customer pays for that product. Our chargeback provision and related reserve varies with
           changes in product mix, changes in customer pricing and changes to estimated wholesaler inventories. The provision for chargebacks also
           takes into account an estimate of the expected wholesaler sell-through levels to indirect customers at contract prices. We validate the
           chargeback accrual quarterly through a review of the inventory reports obtained from our largest wholesale customers. This customer
           inventory information is used to verify the estimated liability for future chargeback claims based on historical chargeback and contract
           rates. These large wholesalers represent the vast majority of our chargeback payments. We continually monitor current pricing trends and
           wholesaler inventory levels to ensure the liability for future chargebacks is fairly stated.
                Rebates - Rebates include volume related incentives to direct and indirect customers, Medicaid, other government rebates based on
           claims incurred and third party managed care and Medicare Part D rebates.
                 Volume rebates are generally offered to customers as an incentive to continue to carry our products and to encourage greater product
           sales. These rebate programs include contracted rebates based on customers' purchases made during an applicable monthly, quarterly or
           annual period. The provision for rebates is estimated based on our customers' contracted rebate programs and our historical experience of
           rebates paid. Any significant changes to our customer rebate programs are considered in establishing our provision for rebates. We
           continually monitor our customer rebate programs to ensure that the liability for accrued rebates is fairly stated.
                  The provisions are based, in part, upon historical experience of claims submitted by the various states and third party providers,
           contractual terms, as well as government regulations. We monitor Medicaid legislative changes to determine what impact such legislation
           may have on our provision for Medicaid rebates. Our rebates are reviewed on a quarterly basis against actual claims data to ensure the
           liability is fairly stated.
                 Cash Discounts - Cash discounts arc provided to customers that pay within a specific period. The provision for cash discounts are
           estimated based upon invoice billings, utilizing historical customer payment experience, Our customer's payment experience is fairly
           consistent and most customer payments qualify for the cash discount. Accordingly, our reserve for cash discounts is readily determinable.
                Returns and Other Allowances - Our provision for returns and other allowances include returns, pricing adjustments, promotional
           allowances including loyalty cards and billback adjustments.

                                                                                88




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      88/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 90 of 169. PageID #: 359019




         10 /1 6 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents

                  Consistent with industry practice, we maintain a returns policy that allows our customers to return product for a credit. In accordance
            with our return goods policy, credits for customer returns of products are applied against outstanding account activity or settled by check.
            Product exchanges are not permitted. Customer returns of product are not resalable unless the return is due to a shipping error. Our
            estimate of the provision for returns is based upon historical experience and current trends of actual customer returns. Additionally, we
            consider other factors when estimating our current period returns provision, including levels of inventory in our distribution channel, as
            well as significant market changes which may impact future expected returns, and may cause adjustments to our current period provision
            for returns when it appears product returns may differ from original estimates.
                  Pricing, which includes shelf stock adjustments, are credits issued to reflect price decreases in selling prices charged to our direct
            customers. Shelf stock adjustments are based upon the amount of product our customers have in their inventory at the time of an agreed-
            upon price reduction. The provision for shelf stock adjustments is based upon specific terms with our direct customers and includes
            estimates of existing customer inventory levels based upon their historical purchasing patterns. We regularly monitor all price changes to
            help evaluate our reserve balances. The adequacy of these reserves is readily determinable as pricing adjustments and shelf stock
            adjustments are negotiated and settled on a customer-by-customer basis.
                 Promotional allowances are credits that are issued in connection with a product launch or as an incentive for customers to carry our
            product. We establish a reserve for promotional allowances based upon these contractual terms.
                 Billback adjustments are credits that are issued to certain customers who purchase directly from us as well as indirectly through a
            wholesaler. These credits are issued in the event there is a difference between the customer's direct and indirect contract price. The
            provision for bill backs is estimated based upon historical purchasing patterns of qualified customers who purchase product directly from
            us and supplement their purchases indirectly through our wholesale customers.
                 The Company does nnt expect future payments of SRAs to materially exceed our current estimates. However, if future SRA
            payments were to materially exceed our estimates, such adjustments may have a material adverse impact on our financial position, results
            of operations and cash flows.
                     The following table summarizes the activity in the Company's major categories of SRA (in millions):

                                                                                                                  Returns and
                                                                                                                     Other        Cash
                                                                            Charoehacks               Rebates     Allowances    Discounts     ~
            Balance at December 31, 20 I 0                                 $      100.8           $      219.9    $893          $17.0         $      427.0
                 Provision related to sales in 201 I                            1,308.1                1,113.2         306.6      120.5            2,848.4
                 Credits and payments                                          (1,248.0)          _J~.~i:.!)          (273.9)    (102.6)          (2,468.6)
            Balance at December 31, 2011                                          160.9                   489.0        122.0       34.9              806.8
                 Add: Actavis Group Acquisition                                   94.3                359.4         171.4           9.7           634.8
                 Provision related to sales in 2012                            1,522.4              1,484.4         485.5         155.2         3,647.5
                 Credits and payments                                      _J.!..2§.~.!)           (1,482.0)      ~)             (162.9)       (3,640.4)
            Balance at December 3 J, 2012                                  $     211.5            $ 850.8         S 349.5       $ 36.9        $ 1,448.7
                 Add: Warner Chilcott Acquistion                                    5.6               255.5            121.3         5.5          387.9
                 Less: Assets held for sale                                                          (155.2)            (3.3)       (1.0)        (159.5)
                 Less: Actavis Acquisition adjustment                                                 (31.0)                                      (31.0)
                 Provision related to sales in 2013                           2,340.0               2,339.1            904.1      201 7         5,784.9
                 Credits and payments                                        (2,310.7)             (2,197.4)      _J}._J}_})     (195.4)       (5,457.2)
            Balance at December 31, 2013                                   $    246.4             $ 1,061.8       S    617.9    $ 47.7        $ 1,973.8

                                                                                  89




        https://www.sec.gov/Archives/edgar/data/1 578845/000119312514066242/d648811 d 1 Ok.him                                                         89/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 91 of 169. PageID #: 359020




         10 /16 /2 0 1 B                                                                        F o rm 10 -K




           Table of Contents

                    The following table summarizes the activity in gross-to-net revenues (in millions):
                                                                                                                          Returns and
                                                                         Gross                                                Other       Cash      Net product
           Year Ended December Jl,                                   Produr.:t Sales        Charorbacks         Rebates   Allowances    Discounts      sales
            2011                                                     $    7,309.7           $   1,308.1        $1,113.2   S    306.6    $ 120.5     $ 4,461.3
            2012                                                          9,430.7               1,522.4         1,484.4        485.5      155.2       5,783.2
            2013                                                         14,276.7               2,340.0         2,339.1        904.1      201 7       8,491.8
               Included in the tables above are accounts receivable deductions within SRA's of $1,254.8 million and $814.3 million at
           December 31, 2013 and 2012, respectively. SRA balances in accounts receivable at December 31, 2013 increased $440.5 million
           compared to December 31, 2012. SRA's within accounts payable and accrued expenses were S7 l 9.0 million and $634.4 million at
           December 31, 2013 and 2012, respectively, an increase of $84.6 million. The primary driver to the overall increase was the impact of the
           Warner Chilcott Acquisition ($387.9 million).
                 The provision for chargebacks as a percentage of gross product sales has decreased from 17. 9% in 201 I to 16.1 % in 2012 and 16.4%
           in 2013 primarily related to growth of international revenues as a result of the acquisitions of Specifar in 2011, and Ascent and Actavis in
           January and October 2012, respectively, in the Actavis Pharma Segment. The provision for rebates as a percentage of gross product sales
           has increased from 15.2% in 2011, to 15.7% in 2012 and to 16.4% in 2013 primarily related to the increase in commercial rebates of the
           branded business due in large part to the Warner Chilcott Acquisition and the growth of international revenues as a result of the
           acquisitions of Specifar in 2011 and Ascent and Actavis in January and October 2012, respectively, in the Actavis Pharma segment.
           Returns and other allowances increased due to returns for new product launches and other allowances related to new product launches and
           customer and product mix. The increase in provision for cash discounts is due to the acquisitions of Specifar, Ascent, Actavis and Warner
           Chilcott.

                Re1>e1111e Recognition Including Multiple-Element Arrangements

                 Revenue is generally realized or realizable and earned when persuasive evidence of an arrangement exists, delivery has occurred or
           services have been rendered, the seller's price to the buyer is fixed or determinable, and collectability is reasonably assured. We record
           revenue from product sales when title and risk of ownership have been transferred to the customer, which is typically upon delivery to the
           customer. We identify each discrete deliverable included in a multiple element arrangement and identify which of tbose deliverables have
           standalone value to the customer under Financial Standards Accounting Board ("FASB") Accounting Standards Codification ("ASC")
           Topic 605-25 "Revenue Recognition - Multiple-Element Arrangements" ("ASC 605-25") and Accounting Standards Update ("ASU")
           2009-13 "Revenue Recognition- Multiple-Deliverable Revenue" ("ASU No. 2009-13"). We allocate arrangement consideration to the
           deliverables based on the appropriate selling price using the hierarchy outlined in ASC 605-25, as amended by ASU No. 2009-13. The
           selling price used for each deliverable is based on vendor-specific objective evidence ("VSOE") if available, third-party evidence ("TPE")
           ifVSOE is not available, or best estimated selling price ("BESP") if neither VSOE nor TPE is available. BESP is determined in a manner
           consistent with that used to establish the price to sell the deliverable on a standalone basis. Revenue is recognized for each unit of
           accounting based on the relevant authoritative literature for that deliverable.
                  Revenues recognized from research, development and licensing agreements (including milestone receipts) are recorded on the
           "contingency-adjusted performance model" which requires deferral of revenue until such time as contract milestone requirements, as
           specified in the individual agreements, have been met. Under this model, revenue related to each payment is recognized over the entire
           contract performance period, starting with the contract's commencement, but not prior to earning and/or receiving the milestone amount
           (i.e., removal of any contingency). The amount of revenue recognized is based on the ratio of costs incurred to date to total estimated cost
           to be incurred. In certain circumstances, it may be appropriate to recognize consideration that is contingent upon achievement of a
           substantive milestone in its entirety in the period in which the milestone is achieved. In order to recognize milestone consideration as
           revenue in the period in which the milestone is

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 92 of 169. PageID #: 359021




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

            achieved, there needs to be "substantive" certainty that the milestone will be achieved, relate solely LO past performance and the
            consideration needs to be commensurate with our performance. Factors we consider in determining whether a milestone is substantive at
            the inception of an arrangement include: whether substantive effort will be required LO achieve the milestone; what labor, skill, other costs
            will be incurred to achieve the milestone; how certain the achievement of the milestone is; whether a reasonable amount of time will
            elapse between any upfront payment and the first milestone as well as between each successive milestone; and, whether the milestone is
            nonrefundable or contain clawback provisions.
                 Royalty and commission revenue is recognized as a component of net revenues in accordance with the terms of their respective
            contractual agreements when collectability is reasonably assured and revenue can be reasonably measured.

                Inventory Valuation
                  Inventories consist of finished goods held for distribution, raw materials and work in process. Included in inventory are generic
            pharmaceutical products that are capitalized only when the bioequivalence of the product is demonstrated or the product is already FDA
            approved and is awaiting a contractual triggering event to enter the marketplace. Inventory valuation reserves are established based on a
            number of factors/situations including, but not limited to, raw materials, work in process, or finished goods not meeting product
            specifications, product obsolescence, or application of the lower of cost (first-in, first-out method) or market (net realizable value). The
            determination of events requiring the establishment of inventory valuation reserves, together with the calculation of the amount of such
            reserves may require judgment. Assumptions utilized in our quantification of inventory reserves include, but are not limited to, estimates
            of future product demand, consideration of current and future market conditions, product net selling price, anticipated product launch
            dates, potential product obsolescence and other events relating to special circumstances surrounding certain products. No material
            adjustments have been required to our inventory reserve estimates for the periods presented. Adverse changes in assumptions utilized in
            our inventory reserve calculations could result in an increase to our inventory valuation reserves and higher cost of sales.

                Product Rights and Other Definite-Lived Intangible Assets
                   Our product rights and other definite-lived intangible assets are stated at cost, less accumulated amortization, and are amortized using
            the economic benefit model or the straight-line method, if results are materially aligned, over their estimated useful lives. We determine
            amortization periods for product rights and other definite-lived intangible assets based on our assessment of various factors impacting
            estimated useful lives and cash flows. Such factors include the product's position in its life cycle, the existence or absence of like products
            in the market, various other competitive and regulatory issues, and contractual terms. Significant changes to any of these factors may result
            in a reduction in the intangibles useful life and an acceleration of related amortization expense, which could cause our operating income,
            net income and earnings per share to decline.
                 Product rights and other definite-lived intangible assets are tested periodically for impairment when events or changes in
           circumstances indicate that an asset's carrying value may not be recoverable. The impairment testing involves comparing the carrying
           amount of the asset to the forecasted undiscounted future cash flows. In the event the carrying value of the asset exceeds the undiscounted
           future cash flows, the carrying value is considered not recoverable and an impairment exists. An impairment loss is measured as the excess
           of the asset's carrying value over its fair value, calculated using a discounted future cash flow method. The computed impairment loss is
           recognized in net income/ (loss) in the period that the impairment occurs. Assets which are not impaired may require an adjustment to the
           remaining useful lives for which to amortize the asset. Our projections of discounted cash flows use a discount rate determined by our
           management to be commensurate with the risk inherent in our business model. Our estimates of future cash flows attributable to our other
           definite-lived intangible assets require significant judgment based on our historical and anticipated results and are subject to many factors.
           Different assumptions and judgments could materially affect the calculation of the fair value of the other definite-lived intangible assets
           which could trigger impairment.

                                                                                 91




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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 93 of 169. PageID #: 359022




         10 /1 6 /2 0 1 B                                                              F o rm 10 -K




            Table of Contents

                 Goodwill a111/ Intangible Assets with Indefinite-Lives
                  We test goodwill and intangible assets with indefinite-lives for impairment annually at the end of the second quarter by comparing
            the fair value of each of our reporting units to the respective carrying value of the reporting units. Additionally, we may perform tests
            between annual tests if an event occurs or circumstances change that could potentially reduce the fair value of a reporting unit below its
            carrying amount. The carrying value of each reporting unit is determined by assigning the assets and liabilities, including the existing
            goodwill and intangible assets, to those reporting units.
                  Goodwill is considered impaired if the carrying amount of the net assets exceeds the fair value of the reporting unit. Impairment, if
            any, would be recorded in operating income and this could result in a material reduction in net income I (loss) and earnings per share.
            During the 2013 integration of the Acta vis Group with the Watson business, we reorganized our organizational structure and management
            performance reporting. Consequently, the reporting units within our Actavis Pharma operating segment were organized as follows:
            Americas; Europe; MEAAP; and Third-Party Business. These reporting units combine the Watson and Actavis Group businesses.
            Previously, goodwill for the Watson's Global Generics operating segment was tested as one unit.
                   During the second quarter of 20 I 3, concurrent with the availability of discrete financial information for the our new reporting units,
            we completed an extensive review of our operating businesses, including exploring options for addressing overall profitability of seven
            Western European commercial operations consisting of, among other things, restructuring their operations, refocusing their activities on
            specific sub-markets, as well as potential divestitures of such businesses to other third parties. The potential impact of these conditions
            were considered in our projections when determining the indicated fair value of our reporting units for the impairment tests that were
            performed during the second quarter of this year. Upon completion of step one of the impairment analysis for each of our reporting units, it
            was concluded the fair value of the Actavis Pharma - Europe reporting unit was below its carrying value including goodwill. This was
            primarily related to the integration of our Arrow Group with the Actavis Group in Europe. The fair value of our reporting units was
            estimated based on a discounted cash flow model using management's business plans and projections as the basis for expected future cash
            flows for approximately five years and residual growth rates ranging from 2% to 4% thereafter. Management believes that the assumptions
            it used for the impairment tests performed are consistent with those that would be utilized by a market participant in performing similar
            valuations of om reporting units. A separate discount rate was utilized for each reporting unit that was derived from published sources and,
            on a weighted average basis, a discount rate of 8% was utilized using our weighted average cost of capital, which considered the overall
            inherent risk of the reporting unit and the rate of return a market participant would expect. As a result of completing step two of our
            impairment analysis, we recorded an impairment of the Actavis Pharma - Europe reporting unit of $647.5 million, representing primarily
            all the goodwill allocated to this reporting unit, in the year ended December 31, 2013.
                  During the second quarter of 2012, we performed our annual impairment assessment of goodwill, IPR&D intangible assets and trade
            name intangibles assets with indefinite-lives. The Company determined there was no impairment associated with goodwill or trade name
            intangible assets.
                  IPR&D intangible assets represent the value assigned to acquired research and development projects that, as of the date acquired,
            represent the right to develop, use, sell and/or offer for sale a product or other intellectual property that we have acquired with respect to
            products and/or processes that have not been completed or approved. The IPR&D inrangible assets will be subject to impairment testing
            until completion or abandonment of each project. Impairment testing will require the development of significant estimates and
            assumptions involving the determination of estimated net cash flows for each year for each project or product (including net revenues, cost
            of sales, research and development costs, selling and marketing costs), the appropriate discount rate to select in order to measure the risk
            inherent in each future cash flow stream, the assessment of each asset's life cycle, competitive trends impacting the asset and each cash
            flow stream as well as other factors. The major risks and uncertainties associated with the timely and successful completion of the IPR&D
            projects include legal risk and regulatory risk. Changes in these assumptions or uncertainties could result in future impairment charges. No
            assurances can be given that the underlying assumptions used to prepare the discounted cash flow analysis will not change or the timely
            completion of each project to commercial success will occur. For these and other

                                                                                  92




         https://www.sec.gov/Archives/edgar/data/157BB45/000119312514066242/d64BB11 d1 Ok.htm                                                         92/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 94 of 169. PageID #: 359023




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents


            reasons, actual results may vary significantly from estimated results. During the year ended December 31, 2013, we recorded an
            impairment charge associated with Gabapentin of$ I 0.8 million, acquired as part of the Acta vis Group Acquisition, a S4.4 million
            impairment charge associated with the Arrow Group Acquisition and an impairment ofa product right intangible asset in connection with
            the Specifar Acquisition for$ 13.9 million. During 2012, we recorded a SI 01.0 million impairment charge related to certain IPR&D assets
            acquired in the Specifar Acquisition. The impairments were related to delays in expected launch dates, and other competitive factors that
            resulted in lower forecasted pricing and additional projected manufacturing costs. These events led us to revise the estimated fair value of
            these IPR&D assets compared to the carrying values. In 2011, we recorded $102.8 million of impairment charges related to certain IPR&D
            assets due to changes in market conditions in certain international locations and forecasted performance of certain products not yet
            launched.
                  Upon successful completion of each project and approval of the product, we will make a separate determination of useful life of the
            intangible, transfer the amount to currently marketed products and amortization expense will be recorded over the estimated useful life.

                Allocation ofAcquisition Fair Values to Assets Acquired and Liabilities Assumed
                  We account for acquired businesses using the acquisition method of accounting, which requires that assets acquired and liabilities
            assumed be recorded at date of acquisition at their respective fair values. The consolidated financial statements and results of operations
            reflect an acquired business after the completion of the acquisition. The fair value of the consideration paid, including contingent
            consideration, is assigned to the underlying net assets of the acquired business based on their respective fair values. Any excess of the
            purchase price over the estimated fair values of the net assets acquired is recorded as goodwill. Intangible assets, including IPR&D assets
            upon successful completion of the project and approval of the product, are amortized to amortization expense over the expected life of the
            asset. Significant judgments are used in determining the estimated fair values assigned to the assets acquired and liabilities assumed and in
            determining estimates of useful lives oflong-lived assets. Fair value determinations and useful life estimates are based on, among other
            factors, estimates of expected future net cash flows, estimates of appropriate discount rates used to present value expected future net cash
            flow streams, the timing of approvals for IPR&D projects and the timing of related product launch dates, the assessment of each asset's
            life cycle, the impact of competitive trends on each asset's life cycle and other factors. These judgments can materially impact the
            estimates used to allocate acquisition date fair values to assets acquired and liabilities assumed and the future useful lives. For these and
            other reasons, actual results may vary significantly from estimated results.

                 Co11ti11ge11t Consideration and Other Co111111it111e11ts
                  We determine the acquisition date fair value of contingent consideration obligations based oo a probability-weighted income
            approach derived from revenue estimates, post-tax gross profit levels and a probability assessment with respect to the likelihood of
            achieving contingent obligations including contingent payments such as milestone obligations, royalty obligations and contract earn-out
            criteria, where applicable. The fair value measurement is based on significant inputs not observable in the market and thus represents a
            Level 3 measurement as defined using the fair value concepts defined in ASC Topic 820 "Fair Value Measurement" The resultant
            probability-weighted cash flows are discounted using an appropriate effective annual interest rate. At each reporting date, the contingent
            consideration obligation will be revalued to estimated fair value and changes in fair value will be reflected as income or expense in our
            consolidated statement of operations. Changes in the fair value of the contingent consideration obligations may result from changes in
            discount periods and rates, changes in the timing and amount of revenue estimates and changes in probability assumptions with respect to
            the likelihood of achieving the various contingent payment obligations. Adverse changes in assumptions utilized in our contingent
            consideration fair value estimates could result in an increase in our contingent consideration obligation and a corresponding charge to
            operating income.
                  We are involved in various legal proceedings in the normal course of our business, including product liability litigation, intellectual
           property litigation, employment litigation and other litigation. We record reserves related to these legal matters when losses related to such
           litigation or contingencies are both probable and

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                       93/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 95 of 169. PageID #: 359024




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            reasonably estimable. Refer to "NOTE 21 - Commitment and Contingencies" in the accompanying "Notes to the Consolidated Financial
            Statements" in this Annual Report for a description of our significant current legal proceedings.

            RECENT ACCOUNTING PRONOUNCEMENTS
                  In July 2013, the FASB issued guidance to address the diversity in practice related to the financial statement presentation of
            unrecognized tax benefits as either a reduction of a deferred tax asset or a liability when a net operating loss carryforward, a similar tax
            loss, or a tax credit carryforward exists. This guidance is effective prospectively for fiscal years, and interim periods within those years,
            beginning after December 15, 2013. The Company's financial statement presentation is in accordance with this guidance; therefore this
            pronouncement is not expected to have a material impact on the Company's consolidated financial statements.
                  In March 2013, the FASB issued clarifying guidance for the release of the cumulative n·anslation adjustment in accumulated other
            comprehensive income when an entity either sells a part or all of its investment in a foreign entity or ceases to have a controlling financial
            interest in the subsidiary or group of assets that is a nonprofit activity or a business within a foreign entity. This guidance is effective
            prospectively for fiscal years (and interim reporting periods within those years) beginning after December 15, 2013. The adoption of this
            guidance is not expected lo have a material impact on the Company's consolidated financial statements.

            ITEM 7A.        QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK
                  The following discussion provides forward-looking quantitative and qualitative information about our potential exposure lo market
            risk. Market risk represents the potential loss arising from adverse changes in the value of financial instruments. The risk of loss is
            assessed based on the likelihood of adverse changes in fair values, cash flows or future earnings. We are exposed to market risk for
            changes in the market values of our investments (Investment Risk) and the impact of interest rate changes (Interest Rate Risk) and the
            impact of foreign currency exchange changes (Foreign Currency Exchange Risk).
                  We maintain our portfolio of cash equivalents and short-term investments in a variety of securities, including both government and
            government agency obligations with ratings of A or better and money market funds. Our investments in marketable securities are governed
            by our investment policy which seeks to preserve the value of our principal, provide liquidity and maximize return on the Company's
            investment against minimal interest rate risk. Consequently, our interest rate and principal risk are minimal on our non-equity investment
            portfolio. The quantitative and qualitative disclosures about market risk are set forth below.

            Investment Risk
                  As of December 31, 2013, our total investments in marketable and equity securities of other companies, including equity method
            investments were $15.8 million (included in marketable securities and investments and other assets). The fair values of these investments
            are subject to significant fluctuations due to volatility of the stock market and changes in general economic conditions.
                 We regularly review the carrying value of our investments and identify and recognize losses, for income statement purposes, when
            events and circumstances indicate that any declines in the fair values of such investments below our accounting basis are other than
            temporary.

            Interest Rate Risk
                  Our exposure to interest rate risk relates primarily to our non-equity investment portfolio and our floating rate debt. Our cash is
            invested in bank deposits and A-rated or better money market mutual funds.
                  Our portfolio of marketable securities includes U.S. treasury and agency securities classified as available-for-sale securities, with no
            security having a maturity in excess of two years. These securities arc exposed to interest rate fluctuations. Because of the short-term
            nature of these investments, we are subject to minimal interest rate risk and do not believe that an increase in market rates would have a
            significant negative impact on the realized value of our portfolio.

                                                                                   94




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                           94/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 96 of 169. PageID #: 359025




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

                     Floating Rate Debt
                  At December 31, 2013, there were borrowings outstanding of $265.0 million under our Revolving Credit Facility. Borrowings under
            the revolving credit facility bear interest based on one-month London Interbank Offered Rate ("LIBOR"), plus an applicable margin. At
            December 31, 2013, borrowings outstanding under the WC Term Loan Agreement and the Amended and Restated Term Loan were
            $3,142.8 million. Assuming a one percent increase in the applicable interest rate, annual interest expense under the WC Term Loan
            Agreement and the Amended and Restated ACT Term Loan would increase by approximately $31.4 million in 2014.

                     Fixed Rate Debt
                 The Company has $5,550.0 million outstanding under its Senior Notes. Changes in market interest rates generally affect the fair
            value of fixed-rate debt, but do not impact earnings or cash flows.

            Foreign Currency Exchange Risk
                  We operate and transact business in various foreign countries and are, therefore, subject to the risk of foreign currency exchange rate
            fluctuations, The Company manages this foreign currency risk, in part, through operational means including managing foreign currency
            revenues in relation to same currency costs as well as managing foreign currency assets in relation to same currency liabilities. The
            Company is also exposed to the potential earnings effects from intercompany foreign currency assets and liabilities that arise from normal
            trade receivables and payables and other intercompany loans. The Company seeks to limit exposure to foreign exchange risk involving
            intercornpany trade receivables and payables by settling outstanding amounts through normal payment terms. Other methodologies to limit
            the Company's foreign exchange risks are being developed currently which may include foreign exchange forward contracts or options.
                  Net foreign currency gains and losses did not have a material effect on the Company's results of operations for the years ended
            December 31, 2013 or 201 I, respectively. In April 2012, the Company entered into foreign exchange derivative contracts including
            options and forward contracts, with an aggregate notional value of€4.25 billion, to hedge the Company's agreed upon purchase price of
            Actavis Group. These derivatives were purchased to mitigate exposure resulting from movements of the U.S. dollar against the Euro in
            connection with the Acta vis Acquisition. The foreign currency derivative contracts outstanding were settled on October 31, 2012. Since
            these derivatives are hedges of foreign currency exposures for a business combination denominated in a foreign currency, change in the
            value of the derivatives are recognized in the statement of operations. For the year ended December 31, 2012, net losses on foreign
            exchange derivatives was $70.4 million.
                     At this time, we have no material commodity price risks.
                     We do not believe that inflation has had a significant impact on our revenues or operations.

            ITEM 8.          FINANCIAL STATEMENTS AND SUPPLEMENTARY DATA
                 The information required by this Item is contained in the financial statements set forth in Item 15 (a) under the caption "Consolidated
            Financial Statements and Supplementary Data" as a part of this Annual Report on Form I 0-K.

            ITEM9.           CHANGES IN AND DISAGREEMENTS WITH ACCOUNTANTS ON ACCOUNTING AND FINANCIAL
                             DISCLOSURE
                     There have been no changes in or disagreements with accountants on accounting or financial disclosure matters.

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        https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                        95/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 97 of 169. PageID #: 359026




         10 /16 /2 0 1 8                                                               F o rm 10 -K




           Table of Contents

            ITEM 9A.       CONTROLS AND PROCEDURES
            Evaluation of Disclosure Controls and Procedures
                  The Company maintains "disclosure controls and procedures," as such term is defined under Rule 13a-15(e) of the Exchange Act,
            that are designed lo provide reasonable assurance that information required to be disclosed in the Company's Exchange Act reports is
            recorded, processed, summarized and reported within the time periods specified in the SEC's rules and forms, and that such information is
            accumulated and communicated to the Company's management, including its Principal Executive Officer and Principal Financial Officer,
            as appropriate, to allow timely decisions regarding required disclosure. In designing and evaluating the disclosure controls and procedures,
            management recognized that any controls and procedures, no matter how well designed and operated, can provide only reasonable
            assurance of achieving the desired control objective.

                As required by SEC Rule 13a-l 5(b), the Company carried out an evaluation, under the supervision and with the participation of the
           Company's management, including the Company's Principal Executive Officer and Principal Financial Officer, of the effectiveness of the
           design and operation of the Company's disclosure controls and procedures as of December 31, 2013. Based on this evaluation, the
           Company's Principal Executive Officer and Principal Financial Officer concluded that the Company's disclosure controls and procedures
           were not effective as of December 31, 2013 because of the material weakness in our internal control over financial reporting described
           below.

           Management's Report on Internal Control Over Financial Reporting
                Management is responsible for establishing and maintaining adequate "internal control over financial reporting," as such term is
           defined under Rule l 3a- I 5(f) of the Exchange Act. We maintain internal control over financial reporting designed to provide reasonable
           assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
           with generally accepted accounting principles.

                 Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also,
           projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of
           changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate. Therefore, internal control over
           financial reporting determined to be effective provides only reasonable assurance regarding the reliability of financial reporting and the
           preparation of financial statements for external purposes in accordance with generally accepted accounting principles. A material
           weakness is a deficiency, or combination of deficiencies, in ICFR, such that there is a reasonable possibility that a material misstatement
           of the Company's annual or interim financial statements will not be prevented or detected on a timely basis.

                 Management of the Company has assessed the effectiveness of the Company's internal control over financial reporting as of
           December 31, 2013 based on criteria set forth in Internal Control - Integrated Framework issued by Committee of Sponsoring
           Organizations (I 992). Based on its evaluation of internal control over financial reporting as described above, management concluded that
           it did not design or maintain effective internal controls with respect to segregation of duties and related information technology general
           controls regarding user access and change management activities. Specifically, the controls were not designed to provide reasonable
           assurance that incompatible access within the system, including the ability to record transactions, was appropriately segregated, impacting
           the validity, accuracy and completeness of all key accounts and disclosures. The locations impacted were principally related to the
           international entities acquired as part of the Actavis Group in 2012.

                 While this control deficiency did not result in any audit adjustments, this control deficiency could result in a material misstatement to
           the annual or interim consolidated financial statements and disclosures that would be not be prevented or detected. Accordingly,
           management has concluded that this control deficiency constitutes a material weakness.

                                                                                 96




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                       96/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 98 of 169. PageID #: 359027




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

                  Because of the above described material weakness in internal control over financial reporting, management concluded that our
            internal control over financial reporting was not effective as of December 31, 2013.

                 On October I, 2013, the Company completed the Warner Chilcott Acquisition. As a result, management excluded Warner Chilcott
            from its assessment of internal control over financial reporting. Warner Chilcott, a wholly owned subsidiary of the Company, represents
            approximately 6% of the total assets (excluding amounts resulting from purchase price allocation); and 6.3% of net revenues of the related
            consolidated financial statement amounts as of and for the year ended December 31, 2013, respectively.

                  The effectiveness of the Company's internal control over financial reporting as of December 31, 2013 has been audited by
            PricewaterhouseCoopers LLP, an independent registered public accounting firm, as stated in their report which appears under Item I 5(a)
            (I) of this Form 10-K.

            Changes in Internal Control Over Financial Reporting
                 There have been no changes in the Company's internal control over financial reporting, during the fiscal quarter ended December 31,
            2013, that has materially affected, or are reasonably likely to materially affect, the Company's internal control over financial reporting.

            ITEM 9B.         OTHER INFORMATION
                     None.

                                                                                 97




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                    97/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 99 of 169. PageID #: 359028




         10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

                                                                                 PART III

            ITEM 10.         DIRECTORS, EXECUTIVE OFFICERS AND CORPORATE GOVERNANCE
            Directors
                 The information concerning directors of Actavis required under this Item is incorporated herein by reference to the "Board of
            Directors and Committees" section of our definitive proxy statement, to be filed pursuant to Regulation l4A, related to our 2014 Annual
            Meeting of Shareholders to be held on May 9, 2014 (our "2014 Proxy Statement").
                 The information concerning our Audit Committee and the independence of its members required by this Item, along with information
            about the financial expert(s) serving on the Audit Committee, is incorporated by reference to "The Audit Committee" section of our 2014
            Proxy Statement.

            Executive Officers of the Registrant
                     Below are our executive officers as of February 25, 2014:

                      Name                                                          ~                     Principal Position wilh Reoistranl
                      Paul M. Bisaro                                                 53      Chairman of the Board of Directors and Chief
                                                                                             Executive Officer
                      Sigurdur 0. Olafsson                                           45      President, Actavis Pharma
                      G. Frederick Wilkinson                                         57      President, Actavis Global Research and Development
                      Robert A. Stewart                                              46      President, Global Operations
                      R. Todd Joyce                                                  56      Chieffinancial Officer - Global
                      David A. Buchen                                                49      Chief Legal Officer - Global & Secretary
                      Charles M. Mayr                                                57      Chief Communications Officer - Global
                      Patrick J. Eagan                                               56      Chief Human Resources Officer- Global
                      James C. D'Arecca                                              43      Chief Accounting Officer - Global

            Paul M. Bisaro
                Paul M. Bisaro, age 53, has served as our President and Chief Executive Officer and as our chairman of our Board of Directors since
           October 20 l 3, prior to which he served on the Board of Directors of Actavis, Inc. since September 2007. Prior to joining Actavis,
           Mr. Bisaro was President, Chief Operating Officer and a member of the Board of Directors of Barr Pharmaceuticals, Inc. ('"Barr") from
           1999 to 2007. Between 1992 and 1999, Mr. Bisaro served as General Counsel ofBarr and from 1997 to 1999 served in various additional
           capacities including Senior Vice President - Strategic Business Development. Prior to joining Barr, he was associated with the law firm
           Winston & Strawn and a predecessor furn, Bishop, Cook, Purcell and Reynolds from 1989 to 1992. Mr. Bisaro also currently serves on the
           Boards of Visitors of the Catholic University of America's Columbus School of Law and Zimmer Holdings, Inc, Mr. Bisaro received his
           undergraduate degree in General Studies from the University of Michigan in 1983 and a Juris Doctor from Catholic University of America
           in Washington, D.C. in 1989.

           Sigurdur 0. Olafsson
                 Sigurdur 0. Olafsson, age 45, is the President, Actavis Pharma and joined Actavis as Executive Vice President, Global Generics in
           September 20 I 0, and was appointed President of the Global Generics business in April 2012. Mr. Olafsson was also appointed as a
           member of our Board of Directors since October 20 I 3. Prior to joining Acta vis, Mr. Olafsson served as Chief Executive Officer of the
           Actavis Group from 2008 to 2010, where he was responsible for overseeing its global pharmaceuticals business with operations in more
           than 40 countries, From 2006 until 2008 Mr. Olafsson served as Deputy CEO of the Actavis Group and was CEO, Actavis Inc. U.S. and
           Chief Executive Corporate Development from 2003 to 2006, where he led Actavis' sales and marketing organization. Prior to joining the
           Actavis Group, he held increasingly responsible positions with Pfizer's Global

                                                                                   98




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                    98/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 100 of 169. PageID #: 359029




         10 /1 6 /2 0 1 8                                                            F o rm 10 -K




            Table of Contents


            Research and Development organization in both the U.S. and the U.K. from 1998 to 2003, and served as head of Drug Development for
            Omega Farma in Iceland for four years. Mr. Olafsson has a M.S. in Pharmacy (Cand Phann) from the University of Iceland.

            G. Frederick Wilkinson
                  G. Frederick Wilkinson, age 57, was appointed President, Actavis Global Research and Development on January 31, 2014. Prior to
            his cw-rent appointment, he was President, Actavis Specialty Brands since April 27, 2012. He joined Actavis as Executive Vice President,
            Actavis Specialty Brands in September 2009. Prior to joining Actavis, Mr. Wilkinson was President and Chief Operating Officer of
            Duramed Pharmaceuticals, Inc. the proprietary products subsidiary of Barr from 2006 to 2009. Prior to joining Durarned Pharmaceuticals,
            Inc., he was President and Chief Executive Officer of Columbia Laboratories, Inc. from 200 I to 2006. From 1996 to 200 I, Mr. Wilkinson
            was Senior Vice President and Chief Operating Officer of Watson Pharmaceuticals, Inc. Prior to joining Watson, he spent sixteen years at
            Sandoz, Inc. in numerous senior management positions of increasing responsibility. Mr. Wilkinson received his M.B.A. from Capital
            University in 1984 and his B.S. in Pharmacy from Ohio Northern University in 1979. Mr. Wilkinson serves as the Company designee on
            the Board of Directors for Columbia Laboratories, Inc.

            Robert A. Stewart
                 Robert A. Stewart, age 46, was appointed President, Global Operations on April 27, 2012. As President, Global Operations, Mr.
            Stewart is responsible for managing Actavis' Anda, Inc. distribution business, in addition to Global Operations. He had served as
            Executive Vice President, Global Operations, since August 2010. He joined Actavis in November 2009 as Senior Vice President, Global
            Operations. Prior to joining Actavis, Mr. Stewart held various positions with Abbott Laboratories, Inc. from 2002 until 2009 where he
            most recently served as Divisional Vice President, Global Supply Chain. From 2005 until 2008, he served as Divisional Vice President,
            Quality Assurance and prior to this position served as Divisional Vice President for U.S./Puerto Rico and Latin America Plant Operations
            as well as Director of Operations for Abbott's Whippany plant. Prior to joining Abbott Laboratories, Inc., he worked for Knoll
            Pharmaceutical Company from 1995 to 2001 and Hoffman La-Roche Inc. Mr. Stewart received B.S. degrees in Business
            Management/ Finance in 1994 from Fairleigh Dickinson University.

            R. Todd Joyce
                  R. Todd Joyce, age 56, has served as Chief Financial Officer - Global of Actavis since April 27, 2012. Mr. Joyce had served as
            Executive Vice President, Ch.iefFinancial Officer since March 2011. He had previously served as Senior Vice President, Chief Financial
            Officer of Actavis from October 2009 co March 201 l Mr. Joyce joined Actavis in 1997 as Corporate Controller, and was named Vice
            President, Corporate Controller and Treasurer in 2001. During the periods October 2006 to November 2007 and from July 2009 until his
            appointment as Chief Financial Officer, Mr. Joyce served as interim Principal Financial Officer of Actavis. Prior to joining Actavis,
            Mr. Joyce served as Vice President of Tax from 1992 to 1996 and as Vice President of Tax and Finance from 1996 until 1997 at ICN
            Pharmaceuticals. Prior to ICN Pharmaceuticals, Mr. Joyce served as a Certified Public Accountant with Coopers & Lybrand and Price
            Waterhouse. Mr. Joyce received a B.S. in Business Administration from the University ofNonh Carolina at Chapel Hill in 1983 and a
            M.S. in Taxation from Golden Gate University in 1992.

            David A. Buchen
                  David A. Buchen, age 49, was appointed Chief Legal Officer- Global and Secretary on April 27, 2012. He also serves as Secretary
            to Actavis' Board of Directors. Mr. Buchen had served as Executive Vice President, General Counsel and Secretary since March 2011. He
            had served as Senior Vice President, General Counsel and Secretary from November 2002 to March 2011 From November 2000 to
            November 2002, Mr. Buchen served as Vice President and Associate General Counsel. From February 2000 to November 2000, he served
            as Vice President and Senior Corporate Counsel. From November 1998 to February 2000, he served as Senior Corporate Counsel and as
            Corporate Counsel. He also served as Assistant Secretary from February 1999 to November 2002. Prior to joining Actavis, Mr. Buchen
            was Corporate Counsel at Bausch & Lomb Surgical (formerly Chiron Vision

                                                                                99




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                   99/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 101 of 169. PageID #: 359030




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

             Corporation) from November 1995 until November 1998 and was an attorney with the law firm of Fulbright & Jaworski, LLP. Mr. Buch en
             received a B.A. in Philosophy from the University of California, Berkeley in 1985, and a Juris Doctor with honors from George
             Washington University Law School in 1989.

             Charles M. Mayr
                  Charles M. Mayr, age 57, was appointed Chief Communication Officer- Global on April 27, 2012. Mr. Mayr joined Actavis as
             Senior Vice President, Corporate Affairs in September 2009. Prior to joining Actavis, Mr. Mayr operated advertising and public relations
             consulting company, serving such clients as Actavis, the Generic Pharmaceuticals Association, Barr Pharmaceuticals, Inc. and a variety of
             professional associations and consumer products and service companies. Prior to starting his consultancy business, he served as director of
             corporate communications for Barr. Prior to joining Barr, he served as director of global communications for Sterling Drug Inc., the global
             brand and consumer health products pharmaceutical subsidiary of Kodak. Mr. Mayr began his career as a broadcast and print journalist
             and has a B.A. in journalism from New York University.

             Patrick J. Eagan
                   Patrick J. Eagan, age 56, was appointed Chief Human Resources Officer - Global on November O I, 20 I 2. Mr. Eagan joined Acta vis
             in July 2011 as Senior Vice President, Human Resources. Prior to joining Actavis, Mr. Eagan held various positions with Abbott
             Laboratories, Inc. from 1993 until 2011 where he most recently served as Divisional Vice President, Human Resources, in global
             manufacturing operations. From 2007 until 2009 he served as Divisional Vice President, Human Resources in U.S. commercial operations
             and prior to this position served as Director, Talent Management at the corporate level. Prior lo joining Abbott Laboratories, Inc., he
             worked for McDonnell Douglas Corporation from 1980 to 1993. Mr. Eagan received his M.B.A. from Lindenwood University, and his
             B.S. degree in Business Administration in 1980 from the University of Missouri - St. Louis.

             James C. D'Arecca
                  James C. D' Arecca, age 43, was appointed Chief Accounting Officer - Global, on August 7, 2013. Prior to joining Actavis, Mr.
             D' Arecca held a similar position at Bausch & Lomb. Prior to joining Bausch & Lomb, Mr. D' Arecca worked for Merck & Co., Inc. where
             he was Executive Director and Business Development Controller responsible for being the primary liaison between the Controller's
             organization and the business development and corporate licensing functions. Prior to joining Merck, Mr. D' Arecca was Executive
             Director and Assistant Controller at Schering-Plough. Mr. D' Arecca also spent 13 years with PricewaterhouseCoopers as a Certified
             Public Accountant. Mr. D' Arecca received his MBA from Columbia University and his BS in Accounting from Rutgers University.
                  Our executive officers are appointed annually by the Board of Di.rectors, hold office until their successors are chosen and qualified,
             and may be removed at any time by the affirmative vote of a majority of the Board of Directors. We have employment agreements with
             most of our executive officers. There are no family relationships between any director and executive officer of Actavis.

                 Section 16(a) Compliance
                  The information concerning compliance with Section l 6(a) of the Securities Exchange Act of 1934 required by this Item is
             incorporated by reference to the "Section J 6(a) Beneficial Ownership Reporting Compliance" section of our 20 l 4 Proxy Statement.

                 Code of Ethics
                  Actavis has adopted a Code of Conduct that applies to our employees, including our principal executive officer, principal financial
            officer and principal accounting officer. The Code of Conduct is posted on our Internet website at www.Actavis.com. Any person may
            request a copy of our Code of Conduct by contacting us at our administrative address: Manis Corporate Center UI, 400 Interpace Parkway,
            Parsippany, NJ 07054, Attn: Secretary. Any amendments lo or waivers from the Code of Conduct will be posted on our website at
            www.Actavis.com under the caption "Corporate Governance" within the Investors section of our website.

                                                                                  100




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                       100/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 102 of 169. PageID #: 359031




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

            ITEM 11.             EXECUTIVE COMPENSATION
                 The information concerning executive and director compensation, and concerning our compensation committee and the
            compensation committee report for Actavis required under this Item is incorporated herein by reference to the "Compensation Discussion
            and Analysis" section of our 2014 Proxy Statement.

            ITEM 12.             SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND MANAGEMENT AND RELATED
                                 STOCKHOLDER MATTERS
                  The information concerning security ownership of certain beneficial owners and management and related stockholder matters and the
            equity compensation plan information required under this Item is incorporated herein by reference to the "Beneficial Ownership of
            Stockholders, Directors and Executive Officers" and "Equity Compensation Plan Information as of December 31, 2013" sections of our
            2014 Proxy Statement.

            ITEM 13.              CERTAIN RELATIONSHIPS AND RELATED TRANSACTIONS, AND DIRECTOR INDEPENDENCE
                 The information concerning certain relationships and related transactions, and director independence required under this Item is
            incorporated herein by reference to the "Certain Relationships and Related Transactions" and "Director Independence" sections of our
            2014 Proxy Statement.

            ITEM 14.              PRINCIPAL ACCOUNTING FEES AND SERVICES
                The information concerning principal accountant fees and services required under this Item is incorporated herein by reference to the
            "Audit Fees" section of our 2014 Proxy Statement.

                                                                               PARTIV

            ITEM 15.             EXHIBITS, FINANCIAL STATEMENT SCHEDULES
                     (a)    The following documents are filed as pan of this Annual Report on Form 10-K:
                            1.      Consolidated Financial Statements and Supplementary Data

                                                                                                                                                  Page
            Report oflndependent Registered Public Accounting Firm                                                                                F-2
            Consolidated Balance Sheets as of December 31, 2013 and 2012                                                                          F-3
            Consolidated Statements of Operations for the years ended December 31, 2013, 2012 and 2011                                            F-4
            Consolidated Statements of Comprehensive (Loss)/ Income for the years ended December 31, 2013, 2012 and 2011                          F-5
            Consolidated Statements of Casb Flows for the years ended December 31, 2013, 2012 and 2011                                            F-6
            Consolidated Statements of Stockholders' Equity for the years ended December 31, 2013, 2012 and 2011                                  F-7
           Notes to Consolidated Financial Statements                                                                                             F-8
            Supplementary Data (Unaudited)                                                                                                          F-
                                                                                                                                                    93

                             2.     Financial Statement Schedule
            Schedule II - Valuation and Qualifying Accounts                                                                                         F-
                                                                                                                                                    92
                 All other financial statement schedules have been omitted because they are not applicable or the required information is included in
            the Consolidated Financial Statements or notes thereto.
                            3.      Exhibits
                 Reference is hereby made to the Exhibit Index immediately following page F-93 Supplementary Data (Unaudited) of this Annual
            Report on Form I 0-K.

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Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 103 of 169. PageID #: 359032




          10 /1 6 /2 0 1 8                                                             F o rm 10 -K




             Table of Contents

                                                                          SIGNATURES

                 Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this
             Annual Report to be signed on its behalf by the undersigned, thereunto duly authorized, on February 25, 2014.

                                                                                                      ACTAVISPLC

                                                                                                      By:                   Isl Paul M. Bisaro
                                                                                                      Name:               Paul M. Bisaro
                                                                                                      Title:   President and Chief Executive Officer
                                                                                                                   (Principal Executive Officer)

                  Pursuant to the requirements of the Secwities Exchange Act of 1934, this Annual Report has been signed below by the following
             persons on behalf of the registrant and in the capacities indicated on February 25, 2014.

                                           Signatu re                                                              Tille


             Isl Paul M. Bisaro                                                  President, Chief Executive Officer and Director (Principal Executive
             Paul M. Bisaro                                                                                    Officer)

             Isl R. Todd Joyce                                                      Chief Financial Officer- Global (Principal Financial Officer)
             R. Todd Joyce

             Isl James C. D' Arecca                                                    Chief Accounting Officer (Principal Accounting Officer)
             James C. D'Arecca

             Isl Sigurdur Oli Olafsson                                                           President - Actavis Pharma and Director
             Sigurdur Oli Olafsson

            Isl James H. Bloem                                                                                   Director
             James H. Bloem

            Isl Christo.!'_her W. Bodine                                                                         Director
             Christopher W. Bodine

            Isl Tamar D. Howson                                                                                  Director
             Tamar D. Howson

            Isl Catherine M. Klema                                                                               Director
             Catherine M. Klema

            Isl John A. King, Ph.D.                                                                              Director
            John A. King, Ph.D.

            Isl Jiri Michal                                                                                      Director
            Jtri Michal

            Isl Jack Michelson                                                                                   Director
            Jack Michelson

            Isl Patrick J. O'Sullivan                                                                            Director
             Patrick J.; O'Sullivan

            Isl Ronald R. Taylor                                                                                 Director
            Ronald R. Taylor


          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                     102/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 104 of 169. PageID #: 359033




         10 /1 6 /2 0 1 8                                                             Form 10-K

            Isl Andrew L. Turner                                                                  Director
            Andrew L. Turner

            Isl Fred G. Weiss                                                                     Director
            Fred G. Weiss

                                                                                102




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                103/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 105 of 169. PageID #: 359034




          10 /16 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                                                  INDEX TO CONSOLIDATED FINANCIAL STATEMENTS

                                                                                                                                          Page
            lli;P.ort of Independent Registered Public Accounting Firm                                                                     F-2
             Consolidated Balance Sheets as of December 31, 2013 and 2012                                                                  F-3
             Consolidated Statements of Operations for the Y.ears ended December 31, 2013, 2012 and 2011                                   F-4
             Consolidated Scatemems of Comi,rehensive (Loss)/ Income for the Y.ears ended December 31, 2013, 2012 and 2011                 F-5
            Consolidated Scatemems of Cash Flows for the Y.ears ended December 31, 2013, 2012 and 2011                                     F-6
            Consolidated Statements of Stockholders' Egl!.i!:Y. for the Y.ears ended December 31, 2013, 2012 and 2011                      F-7
            Notes to Consolidated Financial Statements                                                                                     F-8
            Schedule II - Valuation and Qualify.i!Jg Accounts                                                                             F-92

            ~1mlemema1y Data (Unaudited).                                                                                                 F-93

            Exhibits
                 Reference is hereby made lo the Exhibit Index immediately following page F-93 Supplementary Data (Unaudited) of this Annual
            Report on Form 1 0-K

                                                                                F-1




          https://www.sec.gov/Archives/edgar/data/157B845/000119312514066242/d64B811 d1 Ok.htm                                            104/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 106 of 169. PageID #: 359035




         10 /1 6 /2 0 1 8                                                               F or m 10 -K




            Table of Contents


                                                   Report oflndependent Registered Public Accounting Firm

            To the Board of Directors and Stockholders of Actavis pie

                   In our opinion, the accompanying consolidated balance sheets and the related consolidated statements of operations, comprehensive
            (loss)/income, stockholders' equity and cash flows present fairly, in all material respects, the financial position of Actavis pie and its
            subsidiaries at December 31, 2013 and December 31, 20 I 2 and the results of their operations and their cash flows for each of the three
            years in the period ended December 31, 2013 in conformity with accounting principles generally accepted in the United States of America.
            In addition, in our opinion, the financial statement schedule appearing under Item 15 (a)(2) presents fairly, in all material respects, the
            information set forth therein when read in conjunction with the related consolidated financial statements. Also in our opinion, the
            Company did not maintain, in all material respects, effective internal control over financial reporting as of December 31, 20 I 3, based on
            criteria established in Internal Control-Integrated Framework ( 1992) issued by the Committee of Sponsoring Organizations of the
            Treadway Commission (COSO) because of a material weakness in internal control over financial reporting related to segregation of duties
            and related information technology general controls regarding user access and change management activities. A material weakness is a
            deficiency, or a combination of deficiencies, in internal control over financial reporting, such that there is a reasonable possibility that a
            material misstatement of the annual or interim financial statements will not be prevented or detected on a timely basis. The material
            weakness referred to above is described in Management's Report on Internal Control over Financial Reporting appearing under Item 9A.
            We considered this material weakness in determining the nature, timing, and extent of audit tests applied in our audit of the 20 I 3
            consolidated financial statements and our opinion regarding the effectiveness of the Company's internal control over financial reporting
            does not affect our opinion on those consolidated financial statements. The Company's management is responsible for these financial
            statements and financial statement schedule, for maintaining effective internal control over financial reporting and for its assessment of the
            effectiveness of internal control over financial reporting included in management's report referred lo above. Our responsibility is to
            express opinions on these financial statements, the financial statement schedule, and on the Company's internal control over financial
            reporting based on our integrated audits. We conducted our audits in accordance with the standards of the Public Company Accounting
            Oversight Board (United States). Those standards require that we plan and perform the audits to obtain reasonable assurance about
            whether the financial statements are free of material misstatement and whether effective internal control over financial reporting was
            maintained in all material respects. Our audits of the financial statements included examining, on a test basis, evidence supporting the
            amounts and disclosures in the financial statements, assessing the accounting principles used and significant estimates made by
            management, and evaluating the overall financial statement presentation. Our audit of internal control over financial reporting included
            obtaining an understanding of internal control over financial reporting, assessing the risk that a material weakness exists, and testing and
            evaluating the design and operating effectiveness of internal control based on the assessed risk. Our audits also included performing such
            other procedures as we considered necessary in the circumstances. We believe that our audits provide a reasonable basis for our opinions.

                 A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability
           of financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting
           principles. A company's internal control over financial reporting includes those policies and procedures that (i) pertain to the maintenance
           of records that, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the company; (ii) provide
           reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in accordance with generally
           accepted accounting principles, and that receipts and expenditures of the company are being made only in accordance with authorizations
           of management and directors of the company; and (iii) provide reasonable assurance regarding prevention or timely detection of
           unauthorized acquisition, use, or disposition of the company's assets that could have a material effect on the financial statements.

                Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also,
           projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of
           changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate.

                  As described in Management's Report on Internal Control over Financial Reporting, management has excluded Warner Chilcott from
           its assessment of internal control over financial reporting as of December 31, 2013 because it was acquired by the Company in a purchase
           business combination in 2013. We have also excluded Warner Chilcott from our audit of internal control over financial reporting. Warner
           Chilcott is a wholly-owned subsidiary whose total assets and total revenues represent approximately 6% and 6.3%, respectively, of the
           related consolidated financial statement amounts as of and for the year ended December 31, 2013.

           Isl PRJCEWATERHOUSECOOPERS LLP
           Florham Park, New Jersey
           February 25, 2014

                                                                                 F-2


         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                        105/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 107 of 169. PageID #: 359036




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                      ACTAVIS PLC
                                                              CONSOLIDATED BALANCE SHEETS
                                                            (In millions, except par value and share data)

                                                                                                                  Dccembcr Sf ,   December 31,
                                                                                                                  __
                                                                                                                   2_
                                                                                                                    01_
                                                                                                                      3_          ____1QQ___
                                                                    ASSETS
             Current assets:
                Cash and cash equivalents                                                                               329.0     $      319.0
                Marketable securities                                                                                      2.5             9.0
                Accounts receivable, net                                                                              1,404.9          1,330.9
                I nvcn tori es, net                                                                                   1,786.3          1,546.5
                Prepaid expenses and other current assets                                                               409.2            323.6
                Assets held for sale                                                                                    271.0
                Deferred tax assets                                                                                     23 l.8         309.3
                    Total current assets                                                                              4,434.7        3,838.3
             Property, plant and equipment, net                                                                       1,616.8        1,485.0
             Investments and other assets                                                                               137.5           91.2
             Deferred tax assets                                                                                        104.8           61.8
             Product rights and other intangibles                                                                     8,234.5        3,784.3
             Goodwill                                                                                             ~                  4,854.2
                    Total assets                                                                                  $ 22,725.9      $ 14,114.8
                                                         LIABILITIES AND EQUITY
             Current liabilities:
                Accounts payable and accrued expenses                                                                 2,343.2     $    2,467.9
                Income taxes payable                                                                                     96.6             68.1
                Current portion of long-term debt and capital leases                                                    534.6            176.2
                Deferred revenue                                                                                         38.8             32.3
                Liabilities held for sale                                                                               246.6
                Deferred tax liabilities                                                                                 35.l             4.8
                   Total current liabilities                                                                          3,294.9         2,749.3
             Long-term debt and capital leases                                                                        8,517.4         6,257.1
             Deferred revenue                                                                                            40.l            11.3
             Other long-term liabilities                                                                                326.2           162.6
             Other taxes payable                                                                                        187.3            70.3
             Deferred lax liabilities                                                                                   822.9     ~
                   Total liabilities                                                                              ~                   I 0,258.4
             Commitments and contingencies
             Equity:
                Ordinary Shares; $0.0001 and $0.0033 par value per share; 1,000.0 million shares authorized,
                   174.2 million and 138.0 million shares issued and 174.2 million and 127.7 million shares
                   outstanding, respectively                                                                                          0.4
                Additional paid-in capital                                                                           8,012.6      1,956.7
                Retained earnings                                                                                    1,432.3      2,182.7
                Accumulated other comprehensive income                                                                  90.5         36.8
                Treasury shares, at cost; I 8.3 thousand and l 0.3 million shares held, respectively              __    (3_
                                                                                                                          .3)     ~)
                   Total stockholders' equity                                                                        9,532.1      3,833.8
                   Noncontrolling interest                                                                               5.0         22.6
                   Total equity                                                                                      9,537.1      ~
                   Total liabilities and equity                                                                   $ 22,725.9      $   14,114.8

                                                   See accompanying Notes to Consolidated Financial Statements.

                                                                                  F-3




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok. htm                                          106/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 108 of 169. PageID #: 359037




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

                                                                  ACTAVIS PLC
                                                     CONSOLIDATED STATEMENTS OF OPERATIONS
                                                             (In millions, except per share amounts)

                                                                                                                           Years Ended December 31.
                                                                                                              ---2!!..!l...__        2012           2011
            Net revenues                                                                                      58,677.6         $5,914.9         $4,584.4
           Operating expenses:
              Cost of sales (excludes amortization and impairment of acquired intangibles including
                 product rights)                                                                                  4,690.7          3,394.3          2,566.5
              Research and development                                                                              616.9            402.5            306.6
              Selling and marketing                                                                               1,020.3            546.5            401.8
              General and administrative                                                                          1,027.5            625.3            353.l
              Amortization                                                                                          842.7            481.1            354.3
              Goodwill impairment                                                                                   647.5
              Loss on assets held for sale                                                                           42.7
              Loss on asset sales, impairments and contingent consideration adjustment, net                         212.5            149.5             78.7
                 Total operating expenses                                                                         9,100.8          5,599.2          4,061.0
           Operating (loss)/income                                                                                 (423.2)           315.7            523.4
           Non-Operating income (expense):
              Interest income                                                                                      4.8                 2.5              2.1
              Interest expense                                                                                  (239.8)             (111.6)           (69.0)
              Other income (expense), net                                                                         19.8                38.5      __l_Cl_2)
                 Total other income (expense), net                                                              (215.2)        ~)               ~)
           (Loss)/income before income taxes and noncontrolling interest                                        (638.4)          245.1            456.0
           Provision for income taxes                                                                            112.7           146.8            196.9
           Net (loss)/income                                                                                    (751 I)           98.3            259.l
           Loss/(income) attributable to noncontrolling interest                                                   0.7         ~)                   1.8
           Net (loss)/income attributable to common shareholders                                              $ (750.4)        $ 97.3           $ 260.9
            (Loss)/earnings per share attributable to common shareholders:
               Basic                                                                                          S     (5.27)     $     0.77       $     2.10
                 Diluted                                                                                      S     (5.27)     $     0.76       $     2.06
            Weighted average shares outstanding:
              Basic                                                                                                 142.3           125.8             124.5
                 Diluted                                                                                            142.3           128.4            126.5

                                                   See accompanying Notes to Consolidated Financial Statements.

                                                                                F-4




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                         107/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 109 of 169. PageID #: 359038




          10 /16 /2 0 1 8                                                             F o rm 10 -K




             Table of Contents

                                                           ACTAVIS PLC
                                      CONSOLIDATED STATEMENTS OF COMPREHENSIVE (LOSS)/ INCOME
                                                                           (In millions)

                                                                                                                     Years Ended December 31.
                                                                                                                 2013            2012           2011
            Net (loss)/income                                                                                   $(751.1)     $    98.3     S259.l
            Other comprehensive income/ (loss)
               Foreign currency translation gains/ (losses)                                                        48.4          113.3       (64.9)
               Unrealized gains/ (losses), net of tax                                                               5.3                       (8.3)
               Reclassification for gains included in net income, net of tax                                                               ~)
            Total other comprehensive income/ (loss), net of tax                                                   53.7          113.3       (74.0)
            Comprehensive (loss) I income                                                                        (697.4)         211.6      185.1
            Comprehensive loss/ (income) attributable to noncontrolling interest                                    0.7      -1!..:Q )         1.8
            Comprehensive (loss)/ income attributable to common shareholders                                    $(696.7)     $210.6        $186.9

                                                 See accompanying Notes to Consolidated Financial Statements.

                                                                                F-5




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                    108/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 110 of 169. PageID #: 359039




         10 /1 6 /2 0 1 8                                                                                  F o rm 10 -K




            Table of Contents

                                                                                  ACTAVIS PLC
                                                                     CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                                                 (In millions)
                                                                                                                                          Years Ended December 31.
                                                                                                                                 -1.Q.!L           --1!!!.L        -21!.!L
            Cash Flows From Operating Acrtvirtes:
            Net Ilossj/incorne
            Reconciliation to net cash provided by operating activities:
                                                                                                                                 ~---12~.:. !.l    L.......2.U     ~
                 Depreciutiou                                                                                                           202.0              97.5          93.6
                 Amortization                                                                                                           842.7             481.1         354.3
                 Provision for inventory reserve                                                                                        113.8              62.5          44.4
                 Share-based compensation                                                                                               133.6              48.8          39.8
                 Deferred income tax benefit                                                                                           (275.0)           (221.0)       (126.9)
                 (Earnings)/ loss on equity method investments                                                                            (5.7)            (1.3)           4.5
                 Gain on sale of securities                                                                                                               (28.8)          (0.8)
                 Goodwill impairment                                                                                                    64 7.5
                 Loss 011 asset sules und impai rm ent, net                                                                              60.8              58.7          76.3
                 Amortization of inventory step up                                                                                      267.0              44 .1         10.0
                 Loss on foreign exchange derivatives                                                                                                      70.4
                 Amortiz:nion of deferred financing costs                                                                                10.3              40.6
                 (Decrease) / increase in allowarn.:c: for doubtful accounts                                                              (0.3)             3.6           2.3
                 Accretion of preferred stock and contingent payment consideration                                                        11.4             21.5          14.6
                 Contingent consideration fair value adjustment                                                                         148.6             (19.5)
                 Excess tax benefit from stock-based compensation                                                                       (69.0)            (13.7)        (14.6)
                 hnpuct of ussets hd<l for sute                                                                                          42.7
                 Other,net                                                                                                               (2.2)              3.3          (0.2)
                 Changes in assets and liabilities (net of effects of acquisitions):
                             Decrease/ (increase) in accounts receivable, net                                                            19.1        371.1             (590.9)
                             Decrease / (increase) in inventories                                                                      (213.1)       (50.3)            (292.2)
                             Decrease/ (increase) in prepaid expenses and other current assets                                           49.9        (41.6)              43.5
                             Increase I (decrease) in accounts payable and accrued expenses                                             (20 .4)     (222.7)             671.8
                             Increase/ (decrease) in deferred revenue                                                                    28.2        (14.9)              (8.7)
                             Increase / (decrease) in income an<l other tuxes payable                                                     7.4       (130.6)              85.5
                             Increase/ (decrease) in other assets and liabilities                                                ____lli1)         _ _8_ .7        ~
                                    Total a<ljustmc::nlS                                                                              1,964 .6     ~               ~
                                        Net cash provided by operating activities
            Cash Flows Frum Investing Activities:
                                                                                                                                      1.2 13.5     ~               _fil_Q

            Additions to property, plant and equipment                                                                                 (177.9)       (137.5)           (126.7)
            Additions to product rights und other intangibles                                                                          (130.0)          (9.0)           (18.7)
            Additions to marketable securities and other investments                                                                                    (5.2)           (13.6)
            Proceeds from sales of property, plant and cquipmcnl                                                                          7.1            8.0              6.7
            Proceeds from sales of marketable securities and other investments                                                           33.2          58.9               6.1
            Proceeds from sales of divested products                                                                                      4.5         232.5
            Acquisition of business, net of cash acquired                                                                               (15.1)     (5,742.8)           (575.1)
            lnvestmcnt in foreign exchange derivative                                                                                                (156.7)
            Other investing activities, net                                                                                      _ _2_
                                                                                                                                     .9            _ _2_  .8       -----11
                                        Net cash (used in) investing activities                                                  --1illd)              (5.749.0)   ~)
            Cash Flows From Financing Activities:
            Proceeds from issuance oflong-1crm debt                                                                                   1.882.3          5.665.5
            Proceeds from borrowings on revolving credit facility                                                                       555.0            375.0         400.0
            Debt issuance costs                                                                                                           (7.4)          (77.8)
            Principal payments on debt, including the revolving credi1 facility                                                      (3,229.5)          (679.7)        (428.8)
            Proceeds from stock plans                                                                                                    48.0             18.8           54.9
            Payment of contingent consideration                                                                                          (4.3)          (105.3)          (4.5)
            Repurchase of onlinury shares                                                                                              (170.0)           (16.1)         (14.2)
            Acquisition of noncontrolling interest                                                                                      (10.4)            (4.5)          (5.6)
            Excess tax benefit from stock-based compensation                                                                     _fil                     13.7     ---1.i£
                               Net cash (used in) provided by financing activities                                               ---<llid)             5.189.6     _ill
            Effect of currency exchuuge rate changes on cash and cash equivale nts                                                      (23.9)              3.3          (2.9)
            Less: Cash held for sale                                                                                             ____QlQ)
                           Nd increase / (decrease) in cush and cash equivalents                                                         10.0             109.7         (73.5)
            Cash and cash equivalents at beginning of period                                                                     .........1..!:!   ___1Q2d         --1lli
            Cush and cash equivalents ut eud of period                                                                           S     329.0       S     319.0     $ 209.3
            Supplemental Disclosures of Cash Flow Information:
                  Cash paid during the year for:
                     Interest                                                                                                    S     226.5       S      56.7     S    48.9
                            Income: taxes, net of refunds                                                                              380.1       S     489.0     $ 223.4
            Schedule of Non-Cash Investing Activities:
            Acquisition of Warner Chi Icon net assets                                                                            S 5.654.4         s               $
            Schedule of Non-Cash Financing Activities:
            Equity considc::ration related to Wa rner Chilcon Acquisition, net of shares cuncelled                               S 5,833.9         s               $
            Shares issued in connection with Actavis Group Acquisition                                                           S     486.3       s               $      -

                                                                  See accompanying Notes to Consolidated Financial Statements.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d64BB11 d1 Ok.htm                                                                          109/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 111 of 169. PageID #: 359040




          10 /16 /2 0 1 8                                                                                 F or m 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                                          CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY
                                                                                             (In millions)

                                                                                                  .Additional                          Accumulated
                                                                                                                                          Other
                                                                           Ordinary Shares           Paid-in       Retained        Comprehensive             Treasury Shares


             BALANCE, .January I, 2011
                                                                          Shares
                                                                          l3U
                                                                                    Amount
                                                                                    SD.4
                                                                                                 ~
                                                                                                 s 1,771.8
                                                                                                                   Earninos
                                                                                                                   S 1,824.5       $
                                                                                                                                    (Loss)/lncome
                                                                                                                                               (2.5)
                                                                                                                                                           Shares
                                                                                                                                                           (9.7)
                                                                                                                                                                      Amount
                                                                                                                                                                      S (312.5)
                                                                                                                                                                                     Total
                                                                                                                                                                                    $3,281.7
               Comprehensive income:
                  Net income attributable to common sharebolders                                                          260.9                                                        260.9
                  Other comprehensive (loss), net of tax                                                                                          (74.0)                            ___l1iQ)
              Total comprehensive income                                                                                                                                               186.9
              Share-based compensation                                                                    39.8                                                                          39.8
              Ordinary shares issued under employee stock plans              1.6                          54.8                                                                          54.8
              Tax benefits from exercise of options                                                       14.6                                                                          14.6
              Repurchase of ordinary shares                                                                                                                __JQd)     _____l!i1)    ___ill1)
            BALANCE, December 31, 2011                                     137.1    s    0.4     s     1,881.0     S 2,085.4       $              (76.5)     (10.0)   S (326.7)     $3,563.6
              Comprehensive income:
                  Net income attributable to common shareholders                                                           97.3                                                         97.3
                  Other comprehensive income, net of lax                                                                                          113.3                             --1.!ld
              Total comprehensive income                                                                                                                                               210.6
              Share-based compensation                                                                    48.1                                                                          48.1
              Ordinary shares issued under employee stock plans              0.9                          18.8                                                                          18.8
              Tax benefits from exercise of options                                                       13.7                                                                          13.7
              Acquisition of noncontrolling interest                                                      (4.9)                                                                          (4.9)
              Repurchase of ordinary shares                                                                                                                _JQ])      _J.!£!.l      __l!,U)
            BALANCE, December 31, 20 12                                    138.0    s    0.4     s     1,956.7     S 2,182.7       $              36.8       (10.3)   S   (342.8)   $3,833.8
              Comprcbcnsive income:
                  Nd (loss) nttributnble to common shurehclders                                                          (750.4)                                                      (750.4)
                  Other comprehensive income, net of tax                                                                                          53.7                              ----211
                 Totul comprehensive income                                                                                                                                           (696.7)
                 Ordinary shares issued in connection with the
                    Actavis Acquisition                                      5.5                         486.3                                                                         486.3
                 Ordinary shares issued in connection with the
                      Warner Chilcott Acquisition                           40.4                       5,833.9                                                                       5,833.9
                 Result of contribution of Actavis, Inc. to Acravis pie    (11.5)       (0.4)           (509.1)                                               11.5        509.5
                 Share-based compensation                                                                132.1                                                                         132.1
                 Ordinary shares issued under employee stock plans           1.8                          48.0                                                                          48.0
                 Tax benefits from exercise: of options                                                   69.0                                                                          69.0
              Acquisition of noncontrolling interest                                                       (4.3)                                                                         (4.3)
              Repurchase of ordinary shares                                                                                                                _fill      -111Q;Q )     -111Q;Q )
            BALANCE, December 31, 2013                                     174.2    s            S     8.012.6     S 1.432.3       $              90.5
                                                                                                                                                           --
                                                                                                                                                                      S   (3.3)     $9.532.1

                                                               See accompanying Notes to Consolidated Financial Statements.

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          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                                         110/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 112 of 169. PageID #: 359041




         10/16/2018                                                                   Form 10-K



           Table of Contents

                                                                          ACTAVJS PLC
                                               OTES TO THE CO'.'ISOLIDATED FINANCIAL STATEMENTS

           NOTE 1- Description of Business
                  Actavis pie (formerly known as Actavis Limited) is an integrated global specialty pharmaceutical company engaged in the
           development, manufacturing, marketing, sale and distribution of generic, branded generic, brand name ("brand" or "branded"), biosimilar
           and over-the-counter ("OTC") pharmaceutical products. The Company also develops and out-licenses generic pharmaceutical products
           primarily in Europe through om Medis third-party business. Following the renaming of the Company (discussed below) in January of
           2013, the Company changed the name of the Company's three reporting segments, the effect of which remained through December 31,
           2013. The Global Generics segment became "Actavis Pharma," Global Brands became "Actavis Specialty Brands," and Distribution
           became "Anda Distribution." The Company operates manufacturing, distribution, research and development ("R&D") and administrative
           facilities in many of the world's established and growing international markets, including the United States of America ("U.S."), followed
           by its key international markets including the other Americas (Canada, Latin America), Europe (Europe, Russia, Commonwealth of
           Independent States ("CIS"), and Turkey), and MEAAP (Middle East, Africa, Australia, and Asia Pacific).

           NOTE 2 - Formation of the Company
                 Actavis pie was incorporated in Ireland on May 16, 2013 as a private limited company and re-registered effective September 18,
           2013 as a public limited company. It was established for the purpose of facilitating the business combination between Actavis, Inc. and
           Warner Chilcott pie ("Warner Chilcott"). On October I, 2013, pursuant to the transaction agreement dated May 19, 2013 among Actavis,
           Inc., Warner Chilcott, the Company, Actavis Ireland Holding Limited, Actavis W.C. Holding LLC (now known as Actavis W.C. Holding
           lnc.) and Actavis W.C. Holding 2 LLC (now known as Actavis W.C. Holding 2 Inc.) ("MergerSub"), (i) the Company acquired Warner
           Chilcott (the "Warner Chilcott Acquisition") pursuant to a scheme of arrangement under Section 201, and a capital reduction under
           Sections 72 and 74, of the Irish Companies Act of 1963 where each Warner Chilcott ordinary share was converted into 0.160 of a
           Company ordinary share (the "Company Ordinary Shares"), or S5,833.9 million in equity consideration, and (ii) MergerSub merged with
           and into Actavis, lnc., with Actavis, Inc. as the surviving corporation in the merger (the "Merger" and, together with the Warner Chilcott
           Acquisition, the "Transactions"). Following the consummation of the Transactions, each of Actavis, Inc. and Warner Chilcott became
           wholly-owned subsidiaries of the Company. Each of Actavis, Inc. 's common shares was converted into one Company Ordinary Share.
                The issuance of the Company Ordinary Shares in connection with the Transactions was registered under the Securities Act of 1933,
           as amended, pursuant to the Company's registration statement on Fann S-4 (File No. 333-189402) filed with the Securities and Exchange
           Commission and declared effective on July 31, 2013.
                Pursuant to Rule I 2g-3(c) under the Securities Exchange Act of 1934, as amended (the "Exchange Act"), the Company is the
           successor issuer to Actavis, Inc. and to Warner Chilcott. The Company Ordinary Shares are deemed to be registered under Section l 2(b) of
           the Exchange Ace, and the Company is subject to the informational requirements of the Exchange Act, and the mies and regulations
           promulgated thereunder. The Company's Ordinary Shares were approved for listing on the New York Stock Exchange ("NYSE") and trade
           under the symbol "ACT"
                On October 31, 2012, Watson Pharmaceuticals, Inc. completed the acquisition of the Acta vis Group for a cash payment of
           €4,219.7 million, or approximately 55,469.8 million, and contingent consideration ofup to 5.5 million newly issued shares of Actavis, Inc.
           which have since been issued (the "Actavis Group Acquisition"). Watson Pharmaceuticals, Jnc.'s Common Stock traded on the NYSE
           under the symbol "WP!" until close of trading on January 23, 2013, at which time Watson Pharmaceuticals, Inc. changed its corporate
           name to "Actavis, Inc." and changed its ticker symbol to "ACT."
                References throughout to ·'we," "our," "us," the "Company" or "Actavis" refer to financial information and transactions of Watson
           Pharmaceuticals, Inc. prior to January 23, 20 l3, Actavis, Inc. from January 23, 20 I 3 until October I, 2013 and Actavis pie subsequent to
           October I, 2013.

                                                                                F-8




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                     111/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 113 of 169. PageID #: 359042




          10 /1 6 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                            ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             NOTE 3 - Summary of Significant Accounting Policies
                 Basis ofPresentation
                  The Company's consolidated financial statements are prepared in accordance with accounting principles generally accepted in the
            U.S. ("GAAP"). The consolidated financial statements include the accounts of wholly owned subsidiaries, after elimination of
            intercompany accounts and transactions. The consolidated financial information presented herein reflects all financial information that, in
            the opinion of management, is necessary for a fair statement of financial position, results of operations and cash flows for the periods
            presented.
                  The Company's consolidated financial statements include the financial results of all acquired companies subsequent to the
             acquisition date.

                 Reclassifications
                    The Company has made certain reclassifications to prior period information to conform to the current period presentation, including
             (i) the reclassification of contingent consideration accretion expense from interest expense into operating expenses, which includes the by
             quarter impact on the year ended December 3 I, 2012 as seen in "Schedule II" and (ii) expanding the categories disclosed in the
             accompanying footnotes related to accounts payable and accrued expenses, revenues by therapeutic category and other long terrn
             liabilities.

                 Use ofEstimates
                  Management is required to make certain estimates and assumptions in order to prepare consolidated financial statements in
            conformity with GAAP. Such estimates and assumptions affect the reported amounts of assets, liabilities, revenues and expenses and
            disclosure of contingent assets and liabilities in the consolidated financial statements and accompanying notes. The Company's most
            significant estimates relate to the determination of sales returns, allowances and other trade-related deductions ("SRA") included within
            either accounts receivable or accrued liabilities, the valuation of inventory balances, the determination of useful lives for intangible assets,
            pension and other post-retirement benefit plan assumptions, the assessment of expected cash flows used i11 evaluating goodwill and other
            long-lived assets for impairment and recognition and measurement of assets acquired and liabilities assumed in business combinations at
            fair value. The estimation process required to prepare the Company's consolidated financial statements requires assumptions to be made
            about future events and conditions, and as such, is inherently subjective and uncertain. The Company's actual results could differ
            materially from those estimates.

                 Foreign Currency Translation
                   For most of the Company's international operations, the local currency has been determined to be the functional currency. The results
            of its non-U.S. dollar based operations are translated to U.S. dollars at the average exchange rates during the period. Assets and liabilities
            are translated at the rate of exchange prevailing on the balance sheet date. Equity is translated at the prevailing rate of exchange at the date
            of the equity transaction. Translation adjustments are reflected in stockholders' equity and are included as a component of other
            comprehensive income/ (loss). The effects of convening non-functional currency assets and liabilities into the functional currency are
            recorded as general and administrative expenses in the consolidated statements of operations.

                 Cash and Cash Equivalents
                   The Company considers cash and cash equivalents to include cash in ban.ks, commercial paper and deposits with financial
            institutions that can be liquidated without prior notice or penalty. The Company considers all highly liquid investments with an original
            maturity of three months or less to be cash equivalents.

                 Fair Value of Other Financial I11stru111e11ts
                  The Company's financial instruments consist primarily of cash and cash equivalents, marketable securities, accounts and other
            receivables, investments, trade accounts payable, and long-term debt, including the current

                                                                                  F-9




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                         112/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 114 of 169. PageID #: 359043




         10 /16 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                                                                          ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

           portion. The carrying amounts of cash and cash equivalents, marketable securities, accounts and other receivables and trade accounts
           payable are representative of their respective fair values due lo their relatively short maturities. The fair values of investments in
           companies that are publicly traded and not accounted for under the equity method are based on quoted market prices. The Company
           estimates the fair value of its fixed rate long-term obligations based on quoted market rates. The carrying amount reported for long-term
           debt, other than the Company's indebtedness under senior notes, is considered to be representative of fair value as they are at variable rates
           and reprice frequently.

                Inventories
                 Inventories consist of finished goods held for sale and distribution, raw materials and work in process. Inventory includes product
           pending approval by the U.S. Food and Drug Administration ("FDA"), by other regulatory agencies or product that has not been launched
           due to contractual restrictions. This inventory consists of generic pharmaceutical products that are capitalized only when the
           bioequivalence of the product is demonstrated or the product has already received regulatory approval and is awaiting a contractual
           triggering event to enter the marketplace. Inventories are stated at the lower of cost (first-in, first-out method) or market (net realizable
           value). The Company writes down inventories to net realizable value based on forecasted demand, market conditions or other factors,
           which may differ from actual results.

                Property, Plant and Equipment
                 Property, plant and equipment are stated at cost, less accumulated depreciation. Major renewals and improvements are capitalized,
           while routine maintenance and repairs arc expensed as incurred. The Company capitalizes interest on qualified construction projects. Al
           the time property, plant and equipment arc retired from service, the cost and accumulated depreciation is removed from the respective
           accounts.
                  Depreciation expense is computed principally on the straight-line method, over the estimated useful lives of the related assets. The
            following table provides the range of estimated useful lives used for each asset type:
                    Computer software / hardware (including internally developed)                                                     3-10 years
                    Machinery and equipment                                                                                           3-15 years
                    Research and laboratory equipment                                                                                 3-10 years
                    Furniture and fixtures                                                                                            3-10 years
                    Buildings, improvements, leasehold improvements and other                                                         4-50 years
                    Transportation equipment                                                                                          3-20 years

                 The Company assesses property, plant and equipment for impairment whenever events or changes in circumstances indicate that an
           asset's carrying amount may not be recoverable.

               I11vest111e11ts
                 The Company's equity investments are accounted for under the equity method of accounting when the Company can exert significant
           influence and the Company's ownership interest does not exceed 50%. The Company records equity method investments al cost and
           adjusts for the appropriate share of investee net earnings or losses. Investments in which the Company owns less than a 20% interest and
           cannot exert significant influence are accounted for using the cost method if the fair value of such investments is not readily determinable.

               Marketable Securities
                The Company's marketable securities consist of U.S. treasury and agency securities and equity securities of publicly-held companies.
           The Company's marketable securities arc classified as available-for-sale and are recorded al fair value, based upon quoted market prices.
           Unrealized temporary adjustments to fair value are

                                                                               F-10




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      113/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 115 of 169. PageID #: 359044




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                           ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             included on the balance sheet in a separate component of stockholders' equity as unrealized gains and losses and are reported as a
             component of accumulated other comprehensive income/ (loss). No gains or losses on marketable securities are realized until shares are
             sold or a decline in fair value is determined to be other-than-temporary. Ifa decline in fair value is determined to be other-than-temporary,
             an impairment charge is recorded and a new cost basis in the investment is established.

                 Goodwill and Intangible Assets with Indefinite-Lives
                   The Company tests goodwill and intangible assets with indefinite-lives for impairment annually in the second quarter by comparing
             the fair value of each of the Company's reporting units to the respective canying value of the reporting units. Additionally, the Company
             may perform interim tests if an event occurs or circumstances change that could potentially reduce the fair value of a reporting unit below
             its carrying amount. The carrying value of each reporting unit is determined by assigning the assets and liabilities, including the existing
             goodwill and intangible assets, to those reporting units.
                   Goodwill is considered impaired if the canying amount of the net assets exceeds the fair value of the reporting unit. Impairment, if
             any, would be recorded in operating income and this could result in a material reduction in net income and earnings per share.
                   Acquired in-process research and development ("IPR&D") intangible assets represent the value assigned to acquired research and
             development projects that, as of the date acquired, represent the right to develop, use, sell and/or offer for sale a product or other
             intellectual property that the Company has acquired with respect to products and/or processes that have not been completed or approved.
             The IPR&D intangible assets are subject to impairment testing until completion or abandonment of each project. Impairment testing
             requires the development of significant estimates and assumptions involving the determination of estimated net cash flows for each year
             for each project or product (including net revenues, cost of sales, R&D costs, selling and marketing costs), the appropriate discount rate to
             select in order to measure the risk inherent in each future cash flow stream, the assessment of each asset's life cycle, competitive trends
             impacting the asset and each cash flow stream as well as other factors. The major risks and uncertainties associated with the timely and
             successful completion of the IPR&D projects include legal risk and regulatory risk. Changes in these assumptions or uncertainties could
             result in future impairment charges. No assurances can be given that the underlying assumptions used to prepare the discounted cash flow
             analysis will not change or the timely completion of each project to commercial success will occur. For these and other reasons, actual
             results may vary significantly from estimated results.
                   Upon successful completion o[ each project and approval of the product, we will make a separate determination of the useful life of
             the intangible, transfer the amount to currently marketed products ("CMP") and amortization expense will be recorded over the estimated
             useful life.

                 Contingent Consideration
                  Contingent consideration is recorded at the acquisition date estimated fair value of the contingent payment for all acquisitions. The
            fair value of the contingent consideration is remeasured at each reporting period with any adjustments in fair value included in our
            consolidated statement of operations. (Refer to "NOTE 20 - Fair Value Measurement" for additional details regarding the fair value of
            contingent consideration.)

                 Revenue Recognition Including Multiple-Element Arrangements
                  Revenue is generally realized or realizable and earned when persuasive evidence ofan arrangement exists, delivery has occurred or
            services have been rendered, the seller's price to the buyer is fixed or determinable, and collectability is reasonably assured. The Company
            records revenue from product sales when title and risk of ownership have been transferred lo the customer, which is typically upon
            delivery to the customer. The Company

                                                                                 F-11




         https://www.sec.gov/Archives/edgar/data/1 578845/000119312514066242/d648811 d1 Ok.him                                                       114/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 116 of 169. PageID #: 359045




         10 /1 6 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                                                                          ACTAVIS PLC
                                     NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

            identifies each discrete deliverable included in a multiple element arrangement and identifies which of those deliverables have standalone
            value to the customer under Financial Standards Accounting Board ("FASB") Accounting Standards Codification ("ASC") Topic 605-25
            "Revenue Recognition - Multiple-Element Arrangements" ("ASC 605-25") and Accounting Standards Update ("ASU") 2009-13
            "Revenue Recognition - Multiple-Deliverable Revenue" ("ASU No. 2009-13"). The Company allocates arrangement consideration to the
            deliverables based on the appropriate selling price using the hierarchy outlined in ASC 605-25, as amended by ASU No. 2009-13. The
            selling price used for each deliverable is based on vendor-specific objective evidence ("VSOE") if available, third-party evidence ("TPE")
            ifVSOE is not available, or best estimated selling price ("BESP") if neither VSOE nor TPE is available. BESP is determined in a manner
            consistent with that used to establish the price to sell the deliverable on a standalone basis. Revenue is recognized for each unit of
            accounting based on the relevant authoritative literature for that deliverable.
                   Revenues recognized from research, development and licensing agreements (including milestone receipts) are recorded on the
            "contingency-adjusted performance model" which requires deferral of revenue until such time as contract milestone requirements, as
            specified in the individual agreements, have been met. Under this model, revenue related to each payment is recognized over the entire
            contract performance period, starting with the contract's commencement, but not prior to earning and/or receiving the milestone amount
            (i.e., removal of any contingency). The amount of revenue recognized is based on the ratio of costs incurred to date to total estimated cost
            to be incurred. In certain circumstances, it may be appropriate to recognize consideration that is contingent upon achievement of a
            substantive milestone in its entirety in the period in which the milestone is achieved. In order to recognize milestone consideration as
            revenue in the period in which the milestone is achieved, there needs to be "substantive" certainty that the milestone will be achieved,
            relate solely to past performance and the consideration needs to be commensurate with the Company's performance. Factors the Company
            considers in determining whether a milestone is substantive at the inception of an arrangement include: whether substantive effort will be
            reqni.red to achieve the milestone; what labor, skill, other costs will be incurred to achieve the milestone; how certain the achievement of
            the milestone is; whether a reasonable amount of time will elapse between any upfront payment and the first milestone as well as between
            each successive milestone; and, whether the milestone is nonrefundable or contain clawback provisions.
                 Royalty and commission revenue is recognized as a component of net revenues in accordance with the terms of their respective
            contractual agreements when collectability is reasonably assured and revenue can be reasonably measured.

                Provisions for Sales Returns and Allowances
                  As is customary in the pharmaceutical industry, our gross product sales are subject to a variety of deductions in arriving at reported
            net product sales. When the Company recognizes revenue from the sale of products, an estimated SRA is recorded which reduces product
            sales. Accounts receivable and/or accrued liabilities are also reduced and/or increased by the SRA amount. These adjustments include
            estimates for chargebacks, rebates, cash discounts and returns and other allowances. These provisions are estimated based on historical
            payment experience, historical relationship to revenues, government regulations, estimated customer inventory levels and current contract
            sales terms with direct and indirect customers. The estimation process used to determine our SRA provision has been applied on a
            consistent basis and no material adjustments have been necessary to increase or decrease our reserves for SRA as a result of a significant
            change in underlying estimates. The Company uses a variety of methods to assess the adequacy of the SRA reserves to ensure that our
            financial statements are fairly stated. This includes periodic reviews of customer inventory data, customer contract programs and product
            pricing trends to analyze and validate the SR,<\ reserves,
                  Chargebacks - The provision for chargcbacks is the Company's most significant SRA. A chargeback represents an amount payable
            in the future to a wholesaler for the difference between the invoice price paid by our wholesale customer for a particular product and the
            negotiated contract price that the wholesaler's customer

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      115/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 117 of 169. PageID #: 359046




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                           ACTAVISPLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             pays for that product. The chargeback provision and related reserve varies with changes in product mix, changes in customer pricing and
             changes to estimated wholesaler inventories. The provision for chargebacks also takes into account an estimate of the expected wholesaler
             sell-through levels lo indirect customers at contract prices. The Company validates the chargeback accrual quarterly through a review of
             the inventory reports obtained from our largest wholesale customers. This customer inventory information is used to verify the estimated
             liability for future chargeback claims based on historical chargeback and contract rates. These large wholesalers represent the vast majority
             of the Company's chargeback payments. We continually monitor current pricing trends and wholesaler inventory levels to ensure the
             liability for future chargebacks is fairly stated.
                  Rebates - Rebates include volume related incentives to direct and indirect customers, Medicaid, other government rebates based on
             claims incurred and third party managed care and Medicare Part D rebates.
                    Volume rebates are generally offered to customers as an incentive to continue to cany the Company's products and to encourage
             greater product sales. These rebate programs include contracted rebates based on customers' purchases made during an applicable
             monthly, quarterly or annual period. The provision for rebates is estimated based on our customers' contracted rebate programs and the
             Company's historical experience ofrebates paid. Any significant changes to our customer rebate programs are considered in establishing
             the provision for rebates. The Company continually monitors our customer rebate programs to ensure that the liability for accrued rebates
             is fairly stated.
                    The provisions are based, in part, upon historical experience of claims submitted by the various states and third party providers,
             contractual terms, as well as government regulations. We monitor Medicaid legislative changes to determine what impact such legislation
             may have on our provision for Medicaid rebates. Rebates are reviewed on a quarterly basis against actual claims data to ensure the liability
             is fairly stated.
                    Cash Discounts - Cash discounts are provided to customers that pay within a specific period. The provision for cash discounts are
             estimated based upon invoice billings, utilizing historical customer payment experience. The Company's customer's payment experience
             is fairly consistent and most customer payments qualify for the cash discount. Accordingly, our reserve for cash discounts is readily
             determinable.
                Returns and Other Allowances -The Company's provision for returns and other allowances include returns, pricing adjustments,
            promotional allowances including loyalty cards and billback adjustments.
                  Consistent with industry practice, the Company maintains a returns policy that allows customers lo return product for a credit. In
            accordance with the Company's return goods policy, credits for customer returns of products are applied against outstanding account
            activity or settled by check. Product exchanges are not permitted. Customer returns of product are not resalable unless the return is due to a
            shipping error. The Company's estimate of the provision for returns is based upon historical experience and current trends of actual
            customer returns. Additionally, we consider other factors when estimating the CUJTenl period returns provision, including levels of
            inventory in the distribution channel, as well as significant market changes which may impact future expected returns, and may cause
            adjustments to the Company's current period provision for returns when it appears product returns may differ from original estimates.
                  Pricing, which includes shelf stock adjustments, are credits issued to reflect price decreases in selling prices charged to the
            Company's direct customers. Shelf stock adjustments are based upon the amount of product our customers have in their inventory at the
            time of an agreed-upon price reduction. The provision for shelf stock adjustments is based upon specific terms with the Company's direct
            customers and includes estimates of existing customer inventory levels based upon their historical purchasing patterns. We regularly
            monitor all price changes to help evaluate the Company's reserve balances. The adequacy of these reserves is readily determinable as
            pricing adjustments and shelf stock adjustments are negotiated and settled on a customer-by-customer basis.
                 Promotional allowances are credits that are issued in connection with a product launch or as an incentive for customers to cany our
            product. The Company establishes a reserve for promotional allowances based upon these contractual terms.

                                                                                 F-13




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                       116/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 118 of 169. PageID #: 359047




         10 /1 6 /2 0 1 8                                                                           F o rm 10 -K




            Table of Contents

                                                                                 ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                 Billback adjustments are credits that are issued to certain customers who purchase directly from us as well as indirectly through a
            wholesaler. These credits are issued in the event there is a difference between the customer's direct and indirect contract price. The
            provision for billbacks is estimated based upon historical purchasing patterns of qualified customers who purchase product directly from
            us and supplement their purchases indirectly through our wholesale customers.
                     The following table summarizes the activity in the Company's major categories of SRA (in millions):

                                                                                                                      Returns and Other           Cash
                                                                       Charnebacks                  Rebates              Allowances           Discounts        ~
            Balance at December 31, 20 I 0                            s         100.8           $      219.9          $           89.3        $     17.0          $      427.0
               Provision related to sales in 2011                             1,308.1                1,113.2                     306.6             120.5               2,848.4
               Credits and payments                                          (1,248.0)                (844.1)                   (273.9)           (102.6)             (2,468.6)
            Balance at December 31, 2011                                        160.9                  489.0                     122.0              34.9                 806.8
               Add: Actavis Group Acquisition                              94.3                     359.4                        171.4            9.7                 634.8
               Provision related to sales in 2012                       1,522.4                   1,484.4                        485.5          155.2               3,647.5
               Credits and payments                                   ~)                         (1,482.0)                      (429.4)        (162.9)             (3,640.4)
            Balance al December 31, 2012                              S   211.5                 $ 850.8               $          349.5        $ 36.9              $ 1,448.7
              Add: Warner Chilcott Acquistion                                     5.6               255.5                        121.3                5.5          387.9
               Less: Assets held for sale                                                          (155.2)                        (3.3)              (1.0)        (159.5)
               Less: Actavis Acquisition adjustment                                                 (31.0)                                                         (31.0)
               Provision related to sales in 2013                        2,340.0                  2,339.1                        904.l          201.7            5,784.9
               Credits and payments                                     (2,310.7)                (2,197.4)                      (753.7)        (195.4)          (5,457.2)
            Balance at December 31, 2013                              S    246.4                $ 1,061.8             $          617.9        $ 47.7           $ 1,973.8

                     The following table summarizes the activity in gross-to-net revenues (in millions):

                                                                Gross                                                     Returns and Other         Cash               Net
            Yeur Ended Ucc.: cmbcr 31.                       Product Sales        Charncbacks               Rebates          Allowances           Discounts   product sales
            20.11                                            S    7,309.7         $     1,308.1           $1,113.2        $         306.6         S 120.5     $       4,461.3
            2012                                                  9,430.7               1,522.4            1,484.4                  485.5           155.2             5,783.2
            2013                                                 14,276.7               2,340.0            2,339.1                  904.1           201.7             8,491.8
                lncluded in the tables above are accounts receivable deductions within SRA's of$ I ,254.8 million and $814.3 million at
            December 31, 2013 and 2012, respectively. SRA balances in accounts receivable at December 31, 2013 increased $440.5 million
            compared to December 31, 2012. SRA's within accounts payable and accrued expenses were S7 l 9.0 million and $634.4 million at
            December 31, 2013 and 2012, respectively, an increase of $84.6 million. The primary driver to the overall increase was the impact of the
            Warner Chilcott Acquisition ($387.9 million).
                  The provision for charge backs as a percentage of gross product sales has decreased from 17. 9% in 2011 lo 16.1 % in 2012 and 16.4%
            in 2013 primarily related to growth of international revenues as a result of the acquisitions of Specifar in 2011, and Ascent and Actavis in
            January and October 2012, respectively, in the Actavis Pharma Segment. The provision for rebates as a percentage of gross product sales
            has increased from 15.2% in 2011, to 15.7% in 2012 and to 16.4% in 2013 primarily related to the increase in commercial rebates of the

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         https://www.sec.gov/Archives/edgarldata/1578845/000119312514066242/d648811 d1 Ok.him                                                                                117/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 119 of 169. PageID #: 359048




          10 /1 6 /2 0 1 8                                                             F o rm 10 -K




             Table of Contents

                                                                           ACTAVIS PLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             branded business due in large part to the Warner Chilcott Acquisition and the growth of international revenues as a result of the
             acquisitions of Specifar in 2011 and Ascent and Actavis in January and October 2012, respectively, in the Actavis Pharma segment.
             Returns and other allowances increased due to returns for new product launches and other allowances related to new product launches and
             customer and product mix. The increase in provision for cash discounts is due to the acquisitions of Specifar, Ascent, Actavis and Warner
             Chilcott.
                  The Company does not expect future payments of SRA to materially exceed our current estimates. However, if future SRA payments
             were to materially exceed our estimates, such adjustments may have a material adverse impact on our financial position, results of
             operations and cash flows.

                 Shipping and Handling Costs
                   The Company records shipping and handling costs in selling and marketing expenses. These expenses, which include the allocation
             of personnel costs associated with shipping and handling, were $153.0 million, $102.3 million and $72.9 million in the years ended
             December 2013, 2012 and 2011, respectively.

                 Litigation and Contingencies
                    The Company is involved in various legal proceedings in the normal course of its business, including product liability litigation,
             intellecrual property litigation, employment litigation and other litigation. Additionally, the Company, in consultation with its counsel,
             assesses the need to record a liability for contingencies on a case-by-case basis in accordance with ASC Topic 450 "Contingencies" ("ASC
             450"). Accrnals are recorded when the Company determines that a loss related to a matter is both probable and reasonably estimable.
             These accruals are adjusted periodically as assessment efforts progress or as additional information becomes available. Acquired
             contingencies in business combinations are recorded at fair value to the extent determinable, otherwise in accordance ASC 450.

                 Concentration
                   For the year ended December 31, 2013, the Company's largest customer accounted for I I% of the Company's net revenues. For each
             of the years ended December 2012 and 2011 the Company's two largest customers accounted for 16% and 14% individually, of the
             Company's net revenues. No other individual customers accounted for more than I 0% of net revenues. The acquisitions of Warner
             Chilcott and Actavis, and the related change in the mix of global sales resulting from these acquisitions had the impact of lowering overall
             concentration risk for the Company.
                  The Company's accounts receivable primarily arise from product sales in North America and Europe and primarily represent
            amounts due from wholesalers, distributors, drug store chains and service providers in the health care and pharmaceutical industries,
            public hospitals and other government entities. Approximately 55% and 53% of the gross accounts receivable balance are concentrated
            among the Company's four largest customers as of December 31, 2013 and 2012, respectively. The Company performs ongoing credit
            evaluations of its customers and maintains an allowance for potential uncollectible accounts. Actual losses from uncollectible accounts
            have been minimal.
                  Outside of the U.S., concentrations of credit risk with respect to accounts receivable are limited due to the wide variety of customers
            and markets using the Company's products, as well as their dispersion across many different geographic areas. The Company monitors
            economic conditions, including volatility associated with international economies, and related impacts on the relevant financial markets
            and its business, especially in light of sovereign credit issues. As of December 31, 2013, the Company's value of gross accounts receivable
            and allowance for potential uncollectible accounts in Western Europe were reduced as a result of the announced intention in 2013 to hold
            for sale our Actavis Pharma's commercial infrastructure in France, Italy, Spain,

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                       118/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 120 of 169. PageID #: 359049




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

                                                                           ACTAVTS PLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

            Portugal, Belgium, Germany and the Netherlands, including products, marketing authorizations and dossier license rights. The remaining
            exposure in Western Europe due to deteriorating credit and economic conditions resides within Greece. The Company continues to
            monitor these conditions, including the length of time that it takes to collect on its accounts receivable outstanding in Greece. The
            Company does not expect to have write-offs or adjustments to accounts receivable which would have a material adverse effect on its
            financial position, liquidity or results of operations.
                  Certain of the Company's finished products and raw materials are obtained from single source suppliers. Although the Company
            seeks to identify more than one source for its various finished products and raw materials, loss of a single source supplier could have an
            adverse effect on the Company's results of operations, financial condition and cash flows. Further, a second source supplier may not be
            able to produce the same volumes of inventory as the Company's primary supplier. Third-party manufactured products accounted for
            approximately 29%, 55% and 49% of our Actavis Pharma and Actavis Specialty Brands segments product sales in the years ended
            December 31, 2013, 2012 and 2011, respectively, including products supplied under authorized generic arrangements.

                R&D Activities
                  R&D activities are expensed as incurred and consist of self-funded R&D costs, the costs associated with work performed under
            collaborative R&D agreements, regulatory fees, and milestone payments, if any. R&D expenses include direct and allocated expenses.
            R&D expenses incurred under collaborative agreements were approximately $100.6 million, $74.2 million and $2 l.5 million for the years
            ended December 31, 2013, 2012 and 2011, respectively.

                /11co111e Taxes
                  Income taxes are accounted for using an asset and liability approach that requires the recognition of deferred tax assets and liabilities
            for the expected future tax consequences of temporary differences between the financial statement and tax bases of assets and liabilities at
            the applicable tax rates. A valuation allowance is provided when it is more Likely than not that some portion or all of the deferred tax assets
            will not be realized. The Company evaluates the realizability of its deferred tax assets by assessing its valuation allowance and by
            adjusting the amount of such allowance, if necessary. The factors used to assess the likelihood of realization include the Company's
            forecast of future taxable income and available tax planning strategies that could be implemented to realize the net deferred tax assets.
            Failure to achieve forecasted taxable income in applicable tax jurisdictions could affect the ultimate realization of deferred tax assets and
            could result in an increase in the Company's effective tax rate on future earnings.
                 Income tax positions must meet a more-likely-than-not recognition threshold to be recognized. Income tax positions that previously
           failed to meet the more-likely-than-not threshold are recognized in the first financial reporting period in which that threshold is met.
           Previously recognized tax positions that no longer meet the more-likely-than-not threshold are derecognized in the first financial reporting
           period in which that threshold is no longer met. The Company recognizes potential accrued interest and penalties related to unrecognized
           tax benefits within the consolidated statements of income as income tax expense.

                Comprehensive Income/Il.oss)
                   Comprehensive income/(loss) includes all changes in equity during a period except those that resulted from investments by or
            distributions to the Company's stockholders. Other comprehensive income /(loss) refers to revenues, expenses, gains and losses that are
            included in comprehensive income/ (loss), but excluded from net

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                       119/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 121 of 169. PageID #: 359050




          10 /1 6 /2 0 1 8                                                                  F or m 10 -K




             Table of Contents

                                                                                  ACTAVIS PLC
                                             NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             income/(loss) as these amounts are recorded directly as an adjustment to stockholders' equity. The Company's other comprehensive
             income/ (loss) is comprised of unrealized gains/ (losses) on certain holdings of publicly traded equity securities, investments in U.S.
             treasury and agency securities and actuarial gains/(losses), net of realized gains/ (losses) included in net income, net of tax and foreign
             currency translation adjustments.

                 Earnings Per Share ("EPS'')
                  The Company accounts for EPS in accordance with ASC Topic 260, "Earnings Per Share" ("ASC 260") and related guidance, which
            requires two calculations ofEPS to be disclosed: basic and diluted. Basic EPS is computed by dividing net (loss)/ income by the weighted
            average common shares outstanding during a period. Diluted EPS is based on the treasury stock method and includes the effect from
            potential issuance of Ordinary Shares, such as shares issuable pursuant to the exercise of stock options and restricted stock units. Common
            share equivalents have been excluded where their inclusion would be anti-dilutive.
                   Our 2012 results included the Company's then current estimate of shares issuable to the former shareholders of the Actavis
             Group. The number of shares issuable was based upon year over year growth in Cash EBITDA, as defined, in correlation with the Actavis
             Group Acquisition. Based on the Company's then current estimate, the Company accounted for the issuance of3.85 million shares
             associated with contingent earn-out. On March 28, 2013, based on further evaluation, the decision was made to award the remaining I .65
             million contingent shares.
                   A reconciliation of the numerators and denominators of basic and diluted EPS consisted of the following (in millions, except per
             share amounts):

                                                                                                                         Years Ended December 31 2
                                                                                                                    -1.!!!L       -2Q!L        __ll!!!_
                      EPS-basic
                        Net (loss) I income attributable to common shareholders                                     $(750.4)      $ 97.3       S260.9
                             Basic weighted average ordinary shares outstanding                                       142.3          125.8       124.5
                             EPS-basic                                                                              $ (5.27)      $ 0.77       $ 2.10
                      EPS - diluted
                        Net (loss)/ income attributable to common shareholders                                      $(750.4)      $ 97.3       $260.9
                             Basic weighted average ordinary shares outstanding                                       142.3          125.8       124.5
                             Effect of dilutive securities:
                                Dilutive stock awards                                                                                  2.6         2.0
                             Diluted weighted average ordinary shares outstanding                                     142.3          128.4       126.5
                             EPS - diluted                                                                          $ (5.27)     $   0.76      S 2.06
                  Stock awards to pm-chase 2.1 million and 0. I million common shares during the year ended December 31, 2013 and 2011,
            respectively, were outstanding, but not included in the computation of diluted EPS, because the awards were anti-dilutive. There were no
            anti-dilutive shares for the year ended December 31, 2012.

                 Employee Benefits
                 Defined Contribution Plans
                  The Company has a defined contribution plan that is a post-employment benefit plan under which the Company pays fixed
            contributions to a separate entity and has no legal or constructive obligation to pay further amounts. Obligations for contributions to the
            defined contribution plans are recognized as an employee benefit expense in the consolidated statement of operations in the periods during
            which the related services were rendered.

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          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok. him                                                          120/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 122 of 169. PageID #: 359051




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

                                                                           ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                Defined Benefit Plans
                  The Company recognizes the overfunded or underfunded status of each of its defined benefit plans as an asset or liability on its
            consolidated balance sheets. The obligations are generally measured at the actuarial present value of all benefits attributable to employee
            service rendered, as provided by the applicable benefit formula. The estimates of the obligation and related expense of these plans
            recorded in the financial statements are based on certain assumptions. The most significant assumptions relate to discount rate and
            expected return on plan assets. Other assumptions used may include employee demographic factors such as compensation rate increases,
            retirement patterns, expected employee turnover and participant mortality rates. The difference between these assumptions and acrual
            experience results in the recognition of an asset or liability based upon a net actuarial (gain)/ loss. If the total net actuarial (gain)/ loss
            included in accumulated other comprehensive income/ (loss) exceeds a threshold of I 0% of the greater of the projected benefit obligation
            or the market related value of plan assets, it is subject to amortization and recorded as a component of net periodic pension cost over the
            average remaining service lives of the employees participating in the pension plan. Net periodic benefit costs are recognized in the
            consolidated statement of operations.

                Share-based Compensation
                  The Company issues non-vested shares in the form of restricted stock and restricted stock units under its long-term equity incentives
            program. Non-vested shares granted to employees and directors are valued al the market price of the shares on the date of grant. Share-
            based compensation expense recognized during a period is based on the value of the portion of share-based awards that are expected to
            vest with employees. That is, share-based compensation expense is reduced for estimated future forfeitures. These estimates are revised in
            future periods if actual forfeitures differ from the estimates. Changes in forfeiture estimates impact compensation expense in the period in
            which the change in estimate occurs.
                  In connection with the Transactions, the Actavis Board of Directors modified the existing awards for its directors and executive
            officers during the second quarter of 2013 such that immediately prior to closing of the Warner Chilcott Acquisition, each stock option,
            share of restricted stock and restricted stock unit held became fully vested and exercisable and converted into a right to receive an Actavis
            pie ordinary share net of applicable tax withholding. The effect of the modification resulted in an increase of £38.3 million in stock
            compensation expense in the year ended December 31, 2013 (in addition to £3.0 million related to employer payroll taxes resulting from
            the one-time charge).

                Restructuring Costs
                  The Company records liabilities for costs associated with exit or disposal activities in the period in which the liability is incurred. In
            accordance with existing benefit arrangements, employee severance costs are accrued when the restructuring actions are probable and
            estimable. Costs for one-time termination benefits in whicb the employee is required to render service until termination in order to receive
            the benefits are recognized ratably over the future service period. Refer to "NOTE 18 - Business Restructuring Charges" for more
            information.

                Recent Accounting Pro1101111ce111e11ts

                  In July 2013, the FASB issued guidance to address the diversity in practice related to the financial statement presentation of
            unrecognized tax benefits as either a reduction of a deferred tax asset or a liability when a net operating loss carryforward, a similar tax
            loss, or a tax credit carryforward exists. This guidance is effective prospectively for fiscal years, and interim periods within those years,
            beginning after December 15, 2013. The Company's financial statement presentation is in accordance with this guidance; therefore this
            pronouncement is not expected to have a material impact on the Company's consolidated financial statements.

                                                                                  F-18




         https://www.sec.gov/Archives/edgar/data/157884S/000119312514066242/d648811 d1 Ok.htm                                                          121/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 123 of 169. PageID #: 359052




          10 /1 6 /2 0 1 8                                                                  F o rm 10 -K




             Table of Contents

                                                                               ACTAVISPLC
                                          NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                   In March 2013, the FASB issued clarifying guidance for the release of the cumulative translation adjustment in accumulated other
             comprehensive income when an entity either sells a part or all of its investment in a foreign entity or ceases to have a controlling financial
             interest in the subsidiary or group of assets that is a nonprofit activity or a business within a foreign entity. This guidance is effective
             prospectively for fiscal years (and interim reporting periods within those years) beginning after December 15, 2013. The adoption of this
             guidance is not expected to have a material impact on the Company's consolidated financial statements.

             NOTE 4 - Acquisitions and Other Agreements
                 Acquisition of Warner Chilcott
                   On October I, 2013, the Company completed the Warner Chilcott Acquisition in a stock for stock transaction for a value, including
             the assumption of debt, of $9.2 billion. Warner Chilcott was a leading specialty pharmaceutical company focused on the women's
             healthcare, gastroenterology, urology and dermatology segments of the branded pharmaceuticals market, primarily in North America.

                 Recognition and Measurement ofAssets Acquired and Liabilities Assumed at Fair Value
                    The transaction has been accounted for using the acquisition method of accounting. This method requires that assets acquired and
             liabilities assumed in a business combination be recognized at their fair values as of the acquisition date. As of December 31, 2013, certain
             amounts relating to SRA reserves have not been finalized. The finalization of these matters may result in changes to goodwill and the
             Company expects to finalize such matters in 2014.
                      The following table summarizes the fair values of the assets acquired and liabilities assumed at the acquisition date:

                      (In millions)                                                                                                             Amounl
                      Cash and cash equivalents                                                                                                    179.5
                      Accounts receivable                                                                                                          306.l
                      Inventories                                                                                                                  532.5
                      Other current assets                                                                                                          83.4
                      Property, plant and equipment                                                                                                220.0
                      Other long-term assets                                                                                                         1.2
                      IPR&D intangible assets                                                                                                    1,708.0
                      Intangible assets                                                                                                          3,021.0
                      Goodwill                                                                                                                   3,992.9
                      Current liabilities                                                                                                         (670.l)
                      Deferred tax liabilities, net                                                                                                (40.6)
                      Other long-term liabilities                                                                                                  (99.6)
                      Outstanding indebtedness                                                                                                  (3,400.4)
                         Net assets acquired                                                                                                   $ 5,833.9

                 Consideration
                   The total consideration for the Warner Chilcott Acquisition of $5,833.9 million is comprised of the equity value of shares that were
             outstanding and vested prior to October l, 2013 ($5,761.3 million) and the portion of outstanding equity awards deemed to have been
             earned as of October I, 2013 ($72.6 million). The portion

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          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htrn                                                            122/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 124 of 169. PageID #: 359053




         10 /1 6 /2 0 1 8                                                             F o rm 10 -K




            Table of Contents

                                                                         ACTAVIS PLC
                                     ~OTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

            deemed not to have been earned ($77.4 million) as of October 1, 2013 will be expensed over the remaining future vesting period, including
            $45.4 million relating lo Warner Chilcott restructuring charges recognized in the year ended December 31, 2013.

                Inventories
                 The fair value of inventories acquired included a step-up in the value of inventories of $408.3 million. In the year ended
            December 31, 20 l 3, the Company recognized S l 73.5 million as a component of cost of sales as the inventory acquired on October l, 2013
            was sold lo the Company's customers.

                IPR&D and Intangible Assets
                  IPR&D intangible assets represent the value assigned to acquired R&D projects that, as of the acquisition date, had not established
            technological feasibility and had no alternative future use. The IPR&D intangible assets are capitalized and accounted for as indefinite-
            lived intangible assets and will be subject to impairment testing until completion or abandonment of the projects. Upon successful
            completion of each project and launch of the product, the Company will make a separate determination of the estimated useful life of the
            IPR&D intangible asset and the related amortization will be recorded as an expense over the estimated useful life ("IPR&D Acquisition
            Accounting"). Intangible assets represent CMPs and IPR&D and have an estimated weighted average useful life of2.7 years.

                  The estimated fair value of the IPR&D and identifiable intangible assets was determined using the "income approach," which is a
            valuation technique that provides an estimate of the fair value of an asset based on market participant expectations of the cash flows an
            asset would generate over its remaining useful life. Some of the more significant assumptions inherent in the development of those asset
            valuations include the estimated net cash flows for each year for each asset or product (including net revenues, cost of sales, R&D costs,
            selling and marketing costs and working capital/asset contributory asset charges), the appropriate discount rate to select in order to
            measure the risk inherent in each future cash flow stream, the assessment of each asset's life cycle, the potential regulatory and
            commercial success risks, competitive trends impacting the asset and each cash flow stream as well as other factors (the "IPR&D and
            Intangible Asset Valuation Technique"). The discount rates used to arrive at the present value at the acquisition date ofCMPs was 8.0%
            and for JPR&D ranged from 8.0% to 9.0%, lo reflect the internal rate of return and incremental commercial uncertainty in the cash flow
            projections. No assurances can be given that the underlying assumptions used to prepare the discounted cash flow analysis will not change.
            For these and other reasons, actual results may vary significantly from estimated results.

                                                                               F-20




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                   123/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 125 of 169. PageID #: 359054




          10 /16 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                            ACTAVIS PLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                     The following table identifies the summarized amounts recognized and the weighted average useful lives of intangible assets:

                                                                                                                     Amounrs
                                                                                                                 Recognized as           \Veighted Average
                                                                                                                 of Acquisition             Useful Lives
             (In millions)                                                                                       ~                            ~
            CMP:
              Oral contraceptive franchise                                                                            1,181.0                         3.2
              Mesalamine franchise                                                                                      589.0                         1.8
              Estracev Cream                                                                                            397.0                         2.1
              Risedronate franchise                                                                                     311.0                         3.6
              Doryx=                                                                                                    237.0                         2.4
              Enablcx+                                                                                                  107.0                         2.1
              Other CMP products                                                                                        199.0                         3.9
                 Total CMP                                                                                            3,021.0                         2.7
            IPR&D:
              Mesalamine franchise                                                                                      809.0
              Oral Contraceptive segment                                                                                321.0
              Estradiol                                                                                                 278.0
              Urology segment                                                                                           165.0
              Other                                                                                                     135.0
                 Total IPR&D                                                                                     ~
              Total identifiable intangible assets                                                               $    4,729.0

                 Goodwill
                 Among the primary reasons the Company acquired Warner Chilcott and factors that contributed lo the preliminary recognition of
            goodwill were to expand the Company's branded pharmaceuticals product portfolio, and to acquire certain benefits from the Warner
            Chilcott structure. The goodwill recognized from the Warner Chilcott Acquisition is not deductible for tax purposes. Goodwill from the
            Warner Chilcott Acquisition was assigned to the Actavis Specialty Brands segment.

                Deferred Tax Liabilities, net
                  Deferred tax liabilities, net, include the impact resulting from identifiable intangible assets and inventory fair value adjustments.
            These adjustments create excess book basis over the tax basis which is multiplied by the statutory tax rate for the jurisdiction in which the
            deferred taxes exist.

                 Unaudited Pro Forma Results of Operations
                  The following table presents the unaudited pro forma consolidated operating results for the Company, as though the Warner Chilcott
            Acquisition had occurred as of the beginning of the prior annual reporting period. The unaudited proforma results reflect certain
            adjustments related to past operating performance, acquisition costs and acquisition accounting adjustments, such as increased
            depreciation and amortization expense based on the fair valuation of assets acquired and the related tax effects. The proforma results do
            not include any

                                                                                 F-21




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                        124/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 126 of 169. PageID #: 359055




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

                                                                            ACTAVJS PLC
                                             '.'/OTES TO THE CONSOLIDATED FINANCIAL STATEME!'i'TS- (Continued)

            anticipated synergies which may be achievable subsequent to the acquisition date. Accordingly, such pro forma amounts are not
            necessarily indicative of the results that actually would have occurred had the acquisition been completed on the dates indicated, nor are
            they indicative of the future operating results of the combined company:

                                                                                                                          Year Ended December 31.
                     (in millions; except per share amounrs)                                                           --1Q!L_           --1Q1l_
                     Net revenues                                                                                      $10,468.2         $ I 0,555.3
                     Net (loss) attributable to common shareholders                                                    $ (244.2)         $   (445.4)
                     Earnings per share:
                        Basic                                                                                               (1.72)       $     (2.68)
                        Diluted                                                                                             (I 72)       $     (2.68)

                Divested Products
                 In order to obtain regulatory clearance under the Han-Scott-Rodino Antitrust Improvements Act of 1976 ("Hart-Scott-Rodino"), as
            amended, in connection with the Warner Chilcott Acquisition, the Company was required to divest certain assets. On October I, 2013, four
            generic pharmaceutical products were sold to Amneal Pharmaceuticals for consideration of $10.0 million, subject to certain refunds of
            purchase price provisions, which had a deminimis impact on the consolidated statement of operations. The divested products consisted of
            both commercial and development stage products in both oral contraceptive and osteoporosis treatment. Net sales of divested products
            were $2.5 million, $4.6 million and $0.7 million in the years ended December 31, 2013, 2012 and 2011, respectively.

                Acquisition-Related Expenses
                  Included in general and administrative expenses for the year ended December 31, 2013 are restructuring charges ofS124.7 million,
            including stock-based compensation (S45.4 million), and $45.6 million for acquisition and integration costs including advisory, legal and
            regulatory costs incurred in connection with the Warner Chi Icon Acquisition. Additionally, the acceleration of directors and named
            executive officers unvested equity-based awards immediately prior to the Transactions resulted in $41.3 million of general and
            administrative expenses in the year ended December 31, 2013.

                Acquisition ofMedici11es360
                  On June 11, 2013, the Company entered into an exclusive license agreement with Medicines360 to market, sell and distribute
            Medicines360's LNG20 intrauterine device ("LNG 20") in the U.S. and in Canada for a payment of approximately $52.3 million.
            According to the terms of the agreement, the Company is also required to pay Medicines360 certain regulatory and sales based milestone
            payments totaling up to $125.0 million plus royalties (the "Medicines360 Acquisition"). Medicines360 retained the rights to market the
            product in the U.S. public sector, including family planning clinics that provide services to low-income women. LNG20, originally
            developed by Uteron Pharma S.P.R.L. in Belgium (now a subsidiary of the Company), is designed to deliver 20 mcg of levonorgcstrcl per
            day for the indication of long-term contraception, and is currently in Phase Ill clinical trials in the United States. Pending FDA approval,
            the LNG20 product could be launched in the U.S. as early as 2014. The transaction has been accounted for using the acquisition method of
            accounting. This method requires that assets acquired and liabilities assumed in a business combination be recognized at their respective
            fair values as of the acquisition date. In connection with the acquisition, the Company recorded $191 7 million in IPR&D, S6. 7 million in
            prepaid R&D and contingent consideration of $146. J million.

                 Unaudited Pro Fonna Results of Operations
                     Pro form a results of operations have not been presented because the effect of the Medicines360 Acquisition was not material.

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                           125/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 127 of 169. PageID #: 359056




          10 /16 /2 0 1 8                                                                F or m 10 -K




            Table of Contents

                                                                              ACTAVISPLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                 Acquisition of Uteron Pharma, SA
                  On January 23, 2013, the Company completed the acquisition of Uteron Pharma, SA for approximately $142.0 million in cash, plus
            assumption of debt and other liabilities of $7.7 million and up to S 155.0 million in potential future milestone payments (the "Uteron
            Acquisition"). The acquisition expanded the Company's Specialty Brands' pipeline of Women's Health products including two potential
            near term commercial opportunities in contraception and infertility, and one oral contraceptive project projected to launch by 2018. Several
            additional products in earlier stages of development were also acquired in the Uteron Acquisition.

                 Recognition and Measurement a/Assets Acquired and Liabilities Assumed al Fair Value
                  The transaction has been accounted for using the acquisition method of accounting. The following table summarizes the fair values
            of the tangible and identifiable intangible assets acquired and liabilities assumed at the acquisition date:

                     (In millions)                                                                                                            Am ount
                     Accounts receivable                                                                                                      ~
                     Other current assets                                                                                                          1.2
                     Property, plant & equipment                                                                                                   5.7
                     Other long-term assets                                                                                                        0.5
                     IPR&D intangible assets                                                                                                    250.0
                     Goodwill                                                                                                                    26.4
                     Current liabilities, excluding current portion of debt                                                                       (8.0)
                     Long-term deferred tax and other tax liabilities                                                                           (82.5)
                     Contingent consideration                                                                                                   (43.4)
                     Debt                                                                                                                        (5.2)
                     Other long-term Liabilities                                                                                              ~)
                        Net assets acquired                                                                                                   $ 142.0


                IPR&D
                  The fair value of the IPR&D intangible assets as determined by IPR&D Acquisition Accounting was determined using the IPR&D
            and Intangible Asset Valuation Technique. The discount rate used to arrive at the present value of!PR&D intangible assets as of the
            acquisition date was 22% to reflect the internal rate of return and incremental commercial uncertainty in the cash flow projections. No
            assurances can be given that the underlying assumptions used to prepare the discounted cash flow analysis will not change. For these and
            other reasons, actual results may vary significantly from estimated results.

                 Contingent Consideration
                  Additional consideration is conditionally due lo the seller upon the achievement of certain milestones in respect lo the development
            and commercialization of the products as well as reaching certain sales targets. The Company estimated the fair value of the contingent
            consideration to be $43.4 million using a probability weighting approach that considered the possible outcomes based on assumptions
            related to the timing and probability of the product launch date, discount rates matched to the timing of first payment, and probability of
            success rates and discount adjustments on the related cash Dows.

                Long-Term Deferred Tax Liabilities and Other Tax Liabilities
                  Long-term deferred tax liabilities and other tax liabilities result from identifiable intangible assets fair value adjustments. These
            adjustments create excess book basis over the tax basis which is multiplied by the statutory tax rate for the jurisdiction in which the
            deferred taxes exist.

                                                                                  F-23




          https://www.sec.gov/Archivesledgarldata/1578845/000119312514066242/d648811 d1 Ok.htm                                                            126/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 128 of 169. PageID #: 359057




         10 /16 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                Unaudited Pro Forma Results of Operations
                    Pro form a results of operations have not been presented because the effect of the Uteron Acquisition was not material.

                Acquisition ofActavis Group
                 On October 31, 2012, the Company completed the Acta vis Group Acquisition. The Actavis Group was a privately held generic
            pharmaceutical company specializing in the development, manufacture and sale of generic pharmaceuticals, With the Acta vis Group
            Acquisition, the Company significantly expanded its international market presence in established markets including Europe and MEAAP.
            In addition, the acquisition expanded the Company's product portfolio and pipeline in modified release, solid oral dosage and transdermal
            products into semi-solids, liquids and injectables. Actavis Group results are included in the Actavis Pharma and Actavis Specialty Brands
            segments as of the acquisition date.
                 The Company funded the cash portion of the transaction through a combination of term loan borrowings and senior unsecured notes.
            For additional information, refer to "Note 13 - Long-term Debt."

                Recognition and Measurement a/Assets Acquired and Liabilities Assumed at Fair Value
                 The transaction has been accounted for using the acquisition method of accounting. The following table summarizes the final fair
            values of the tangible and identifiable intangible assets acquired and liabilities assumed at the acquisition date:

                    (In millions)                                                                                                             Amount
                    Cash and cash equivalents                                                                                            $]1().5
                    Accounts receivable                                                                                                       527.9
                    Inventories                                                                                                               680.1
                    Other current assets                                                                                                      274.7
                    Property, plant and equipment                                                                                             763.0
                    Other long-term assets                                                                                                     16.9
                    IPR&D intangible assets                                                                                                   272.9
                    Intangible assets                                                                                                      2,268.0
                    Goodwill                                                                                                               2,868.8
                    Current liabilities                                                                                                   (I ,365.5)
                    Long-term deferred tax and other tax liabilities                                                                         (735.5)
                    Other long-term liabilities                                                                                             (I 76.0)
                    Long-term debt                                                                                                            (14.1)
                    Noncontrolling interests                                                                                             ~)
                       Net assets acquired                                                                                               $ 5,469.8


                inventories
                 The fair value of inventories acquired included a step-up in the value of inventories of approximately $137.3 million. In the years
            ended December 31, 2013 and 2012, the Company recognized S93.5 million (which includes the U.S. dollar impact of foreign currency on
            EURO denominated inventory) and $44.1 million, respectively, as a component of cost of sales as the inventory acquired was sold to the
            Company's customers.

                                                                                  F-24




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                          127/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 129 of 169. PageID #: 359058




          10 /16 /2 0 18                                                               F o rm 10 -K




            Table of Contents

                                                                           ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                JPR&D and Intangible Assets
                  The fair value of the IPR&D intangible assets as determined by IPR&D Acquisition Accounting and the fair value of intangible
            assets was determined using the IPR&D and Intangible Asset Valuation Technique. Intangible assets represent product rights, trademarks,
            customer relationships and technology rights and have an estimated weighted average useful life of I 0.8 years.
                  The discount rates used to arrive at the present value of product right intangible assets as of the acquisition date ranged from 8.8% to
            11.5% to reflect the internal rate of return and incremental commercial uncertainty in the cash flow projections. No assurances can be
            given that the underlying assumptions used to prepare the discounted cash flow analysis will not change. For these and other reasons,
            actual results may vary significantly from estimated results. The following table identifies the summarized amounts recognized and the
            weighted average useful lives of intangible assets.

                                                                                                             Amounts
                                                                                                          Recognize d as            \Veighted Average
                                                                                                          of Acquisiti on              Useful Lives
                                                 (In millions)                                            ~                              ~
                    CMPs
                      Top 6 Global CMP                                                                           570.3                           6.5
                      Americas                                                                                   505.1                           7.0
                      Europe
                         Western Europe, excluding U.K.                                                          116.7                           7.0
                         U.K.                                                                                    103.7                           6.9
                         Central Eastern Europe ("'CEE"), excluding Russia                                       194.4                           9.0
                         Russia                                                                                   25.9                           9.0
                      Total Europe                                                                               440.7                           8.0
                      MEAAP
                         MEAAP, excluding Indonesia                                                              155.6                           8.0
                         Indonesia                                                                                 25.9                          8.0
                      Tota!MEAAP                                                                                 I 81.5                          8.0
                             Total CMP                                                                         1,697.6                           7.2
                    IPR&D:
                      Americas                                                                                   246.9
                      Europe
                         Western Europe, excluding U.K.                                                           13.0
                         CEE, excluding Russia                                                                    13.0
                      Total Europe                                                                                26.0
                             Total IPR&D                                                                         272.9
                    Other finite lived intangible assets:
                      Trademarks                                                                                 427.8                         23.9
                      Customer relationships                                                                     103.7                         15.0
                      Technology rights                                                                           38.9                         15.0
                         Total Other finite lived intangible assets:                                             570.4                         21 7
                      Total identifiable intangible assets                                                $    2,540.9                         10.8

                                                                                F-25




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          128/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 130 of 169. PageID #: 359059




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                              NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                 Goodwill
                  Among the primary reasons the Company acquired the Actavis Group and factors that contributed to the preliminary recognition of
            goodwill were a strong commercial presence on an expanded global basis. In addition, the acquisition expanded the Company's product
            portfolio and pipeline in modified release, solid oral dosage and transdermal products into semi-solids, liquids and injectables. The
            goodwill recognized from the Actavis Group Acquisition is not deductible for ta'< purposes. Goodwill from the Actavis Group Acquisition
            was assigned to the Actavis Pharma and Actavis Specialty Brands segments.

                 Co111i11ge11I Consideration
                  At December 31, 2012, the Company estimated the Actavis Group earn-out to be 3.85 million shares. On March 28, 2013, based on
            further evaluation, the decision was made to award the remaining l .65 million contingent shares. Accordingly, during the first quarter of
            2013, the Company recorded expense of S 150.3 million for contingent consideration as a result of the decision to award all remaining
            contingent shares.

                Long-Term Deferred Tax Liabilities and Other Tax Liabilities
                  Long-term deferred tax liabilities and other tax liabilities result from identifiable intangible assets fair value adjustments. These
            adjustments create excess book basis over the tax basis which is multiplied by the statutory tax rate for the jurisdiction in which the
            deferred taxes exist.

                 Unaudited Pro Forma Results of Operations
                  The following table presents the unaudited pro forma consolidated operating results for the Company, as though the Actavis Group
            Acquisition had occurred as of the beginning of the prior annual reporting period. The unaudited proforma results reflect certain
            adjustments related to past operating performance, acquisition costs and acquisition accounting adjustments, such as increased
            depreciation and amortization expense based on the fair valuation of assets acquired, the impact of acquisition financing in place at
            January I, 2012 and the related tax effects. The pro fonna results do not include any anticipated synergies which may be achievable
            subsequent to the acquisition date. Accordingly, such proforma amounts are not necessarily indicative of the results that actually would
            have occurred had the acquisition been completed on the dates indicated, nor are they indicative of the future operating results of the
            combined company:

                                                                                                                            Ycar Ended Occcrnbcr 31.
                     (In millions; except per share amount's)                                                               2012               20ll
                     Net revenues                                                                                         $8,082.7          $ 7,090.7
                     Net income/ (loss) attributable to common shareholders                                               $ l I l.6         $ (429.4)
                     Earnings per share:
                       Basic                                                                                                   0.86        $     (3.35)
                       Diluted                                                                                                 0.85        $     (3.35)

                Divested Products
                  In order to obtain regulatory clearance under the Hart-Scott-Rodino, in connection with the Actavis Group Acquisition, the Company
            was required to divest certain assets. On October 31, 2012, a total of 22 generic pharmaceutical products owned by either Actavis Group
            or Watson Pharmaceuticals, Inc. were sold to Par Pharmaceuticals Companies, Inc. and Sandoz, Inc., which resulted in a gain ofS24.0
            million in the fourth quarter of 2012. The divested products consisted of both commercial and development stage products in a number of
            therapeutic categories where the two companies owned overlapping products. Watson Pharmaceuticals, Inc. 's net sales of divested
            products were $18.5 million and $7.3 million for the years ended December 3 I, 2012 and 201 I,

                                                                                  F-26




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                             129/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 131 of 169. PageID #: 359060




          10 /1 6 /2 0 1 8                                                             F o rm 10 -K




             Table of Contents

                                                                          ACTAVIS PLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             respectively. Actavis Group's net sales of divested products were S60.8 million and $90.2 million for the years ended December 31, 2012
             and 2011, respectively. The sale of the Actavis Group divested products did not have an impact on our net revenues as these amounts were
             not included in the results of operations of the Company for the respective periods. For the years ended December 31, 2012 and 2011, no
             one product accounted for more than one percent of the Company's consolidated net revenues.

                 Measurement Period Adjustments
                   In connection with the Actavis Group Acquisition, the Company has notified the Centers for Medicare and Medicaid Services
             ("CMS") that certain Medicaid price submissions require adjustment for the period 2007 through 2012. The Company is in the process of
             completing that resubmission. The Company has proposed to CMS that periods prior to 2007 not be recalculated and as a result 110
             amounts have been estimated for those periods. The Company recorded a measurement period adjustment of $31.0 million to reduce the
             estimated liability originally recorded in the acquisition accounting in the third quarter of 2013. The amount was not considered material
             and therefore prior periods have not been revised.

                 Acquisition-Related Expenses
                   Included in general and administrative expenses for the years ended December 31, 2013 and 2012 is acquisition costs totaling $26.8
             million and $73.5 million, respectively, for acquisition and integration costs including advisory, legal and regulatory costs incurred in
             connection with the Actavis Group Acquisition.

                 Acquisition ofAscent Pharmahealth LuL
                  On January 24, 2012, the Company acquired all of the outstanding equity of Ascent Pharmahealth Ltd. ("Ascent") the Australian and
            Southeast Asian generic pharmaceutical business of Strides Arcolab Ltd. for AU$376.6 million, or approximately $392.6 million,
            including working capital adjustments (the "Ascent Acquisition"). As a result of the acquisition, the Company enhanced its commercial
            presence in Australia and gained selling and marketing capabilities in Southeast Asia. In Australia, Ascent markets generic, brands, OTC
            and dermatology and skin care products. In Southeast Asia, Ascent markets generic and OTC products. Ascent's Southeast Asian business
            includes commercial operations in Singapore, Malaysia, Hong Kong, Vietnam and Thailand. Ascent operates a manufacturing facility in
            Singapore for generic products in Southeast Asian markets. Ascent's results are included in the Actavis Pharma segment as of the
            acquisition date.

                                                                                F-27




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                     130/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 132 of 169. PageID #: 359061




         10 /16 /2 0 1 8                                                                 F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                Recognition and Measurement ofAssets Acquired and Liabilities Assumed at Fair Value
                 The transaction has been accounted for using the acquisition method of accounting. The following table summarizes the final fair
            values of the tangible and identifiable intangible assets acquired and liabilities assumed at acquisition date:

                    (in millions)                                                                                                             Amount
                    Cash and cash equivalents                                                                                                 $9.1
                    Accounts receivable                                                                                                          29.7
                    Inventories                                                                                                                  27.2
                    Other current assets                                                                                                           3.3
                    Property, plant & equipment                                                                                                    4.4
                    Intangible assets                                                                                                           192.6
                    Goodwill                                                                                                                    214.3
                    Current liabilities                                                                                                         (35.7)
                    Long-term deferred lax and other tax liabilities                                                                            (51.8)
                    Other long-term liabilities                                                                                                   (0.4)
                    Long-term debt                                                                                                            ___@_!_)
                       Net assets acquired                                                                                                    $392.6

                Intangible Assets
                 Intangible assets represent product rights, contractual rights and trade names and have an estimated weighted average useful life of
           nine years. The estimated fair value of the identifiable intangible assets was determined using the IPR&D and Intangible Asset Valuation
           Technique. The discount rates used to arrive at the present value of product right intangible assets as of the acquisition date ranged from
           7.5% to I 0.0% to reflect the internal rate of return and incremental commercial uncertainty in the cash flow projections. No assurances can
           be given that the underlying assumptions used to prepare the discounted cash flow analysis will not change. For these and other reasons,
           actual results may vary significantly from estimated results.

                Goodwill
                 Among the primary reasons the Company acquired Ascent and factors that contributed to the preliminary recognition of goodwill
           were a strong commercial presence in the Australian and Southeast Asian pharmaceutical markets, history of operating margins and
           profitability, opportunity to generate revenue as well as a platform to grow in additional Southeast Asian markets. The goodwill
           recognized from the Ascent Acquisition is not deductible for tax purposes. All goodwill from the Ascent acquisition was assigned to the
           Actavis Pharma segment.

                Long-Tenn Deferred Tax Liabilities and Other Tax Liabilities
                  Long-term deferred tax liabilities and other tax liabilities result from identifiable intangible assets fair value adjustments. These
            adjustments create excess book basis over the tax basis which is multiplied by the statutory tax rate for the jurisdiction in which the
            deferred taxes exist.

                Acquisition-Related Expenses
                Included in general and administrative expenses for the year ended December 31, 2012 is acquisition costs totaling $5.0 million for
           advisory, legal and regulatory costs incurred in connection with the Ascent Acquisition.

                                                                                  F-28




         https://www.sec.gov/Archives/edgar/dala/1578845/000119312514066242/d648811 d1 Ok.htm                                                             131/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 133 of 169. PageID #: 359062




          10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




             Table of Contents

                                                                               ACTAVIS PLC
                                          NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                  Unaudited Pro Forma Results of Operations
                      Pro form a results of operations have not been presented because the effect of the acquisition was not material.

                 Acquisition ofSpecifar
                   On May 25, 2011, the Company and each of the shareholders (together, the "Sellers") of Paomar PLC ("Paomar") entered into a
             stock purchase agreement pursuant to which the Company purchased all of the outstanding equity of Paomar for cash totaling
             €400.0 million, or approximately $561 7 million at closing, subject to a net of working capital adjustment of €1.5 million, or
             approximately $2.2 million, and certain contingent consideration (the "Specifar Acquisition"). Paomar is a company incorporated under
             the laws of Cyprus and owner of 100 percent of the shares of Specifar Commercial Industrial Pharmaceutical, Chemical and Construction
             Exploitations Societe Anonyme, a company organized under the laws of Greece. Specifar owns I 00 percent of the shares of Alet
             Pharmaceuticals Industrial and Commercial Societe Anonyme ("A\et"). The contingent consideration due to the Specifar Acquisition (not
             to exceed an aggregate total of €40.0 million) is based on the gross profits on sales of the generic tablet version ofNexium®
             (esomeprazole) developed by Specifar during its first five years of sales in countries including major markets in Europe, Asia and Latin
             America, as well as in Canada. For additional information on the contingent payment, refer to "NOTE 20- Fair Value Measurements"
                   Through the Specifar Acquisition, the Company gained a generic pharmaceuticals product development company that develops and
             out-licenses generic pharmaceutical products primarily in Europe. In addition, the acquisition enhanced the Company's commercial
             presence in key European markets by providing a portfolio of products and provides a commercial presence in the branded-generic Greek
             pharmaceuticals market, including the Specifar and Alet brands of products. The Company funded the transaction using cash on hand and
             borrowings from the Company's credit facility. Specifar results are included in the Actavis Pharma segment subsequent to the acquisition
             date.

                 Recognition and Measurement a/Assets Acquired and Liabilities Assumed at Fair Value
                  The transaction has been accounted for using the acquisition method of accounting. The following table summarizes the final fair
             values of the tangible and identifiable intangible assets acquired and liabilities assumed at acquisition date:

                      (In millions)                                                                                                      Amount
                      Cash and cash equivalents                                                                                              0.6
                      Accounts receivable                                                                                                   20.6
                      Inventories                                                                                                           27.1
                      Other current assets                                                                                                   9.3
                      Property, plane & equipment                                                                                           65.1
                      IPR&D intangible assets                                                                                             164.3
                      Intangible assets                                                                                                   265.1
                      Goodwill                                                                                                            195.1
                      Other assets                                                                                                           5.6
                      Current liabilties                                                                                                   (28.4)
                      Long-term deferred tax and other tax liabilities                                                                     (94.6)
                      Long-term debt                                                                                                       (27.9)
                      Other long-term liabilities                                                                                          (42.4)
                         Net assets acquired                                                                                             $559.5

                                                                                    F-29




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                       132/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 134 of 169. PageID #: 359063




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                        :'.'/OTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                 In June 2011, the Company paid and retired $28.8 million in long-term debt assumed in the Specifar Acquisition. During the year
            ended December 31, 20 I 2, the Company recorded an impairment loss of $40.3 million related to a manufacturing facility located in
            Greece that was acquired as pan of the Specifar Acquisition. The impairment for the Greece facility was due to a change in the intended
            use of the facility as a result of the Company's decision during the third quarter of 20 I 2 to discontinue further construction as a result of
            the Actavis Group Acquisition.

                Inventories
                 The fair value of inventories acquired includes a step-up in the value of inventories of approximately SI 0.0 million, which was
            recognized as a component of cost of sales as the inventory acquired was sold to the Company's customers during the year ended
            December 31, 2011

                IPR&D and Intangible Assets
                  The fair value of the IPR&D intangible assets as determined by IPR&D Acquisition Accounting and the fair value of intangible
            assets was determined using the IPR&D and Intangible Asset Valuation Technique. The discount rate used to arrive at the present value of
            IPR&D projects as of the acquisition date was approximately 17.0% to reflect the internal rate of return and incremental commercial
            uncertainty in the projections as the products have not yet received regulatory approval. The major risks and uncertainties associated with
            the timely and successful completion of the IPR&D projects include development, legal and regulatory risk. No assurances can be given
            that the underlying assumptions used to prepare the discounted cash flow analysis will not change or the timely completion of each project
            to commercial success will occur. For these and other reasons, actual results may vary significantly from estimated results.
                  Intangible assets represent currently marketed products and have an estimated weighted average useful life of7.0 years. IPR&D
            intangible assets represent products that were expected to be approved for marketing over the next few years.
                  During the year ended December 3 I, 2012, the Company recorded impairment charges of SI 17.8 million related to product rights
            and IPR&D acquired in connection with the Specifar Acquisition. The impairment relating to the intangible assets acquired in connection
            with the Specifar Acquisition related to esomcprazole product rights following the Company decision to discontinue selling the product as
            a result of products acquired in connection with the Actavis Group Acquisition ($16.8 million). In addition, the Company recorded a
            charge related to three products in development as a result of various factors occurring during the same period mainly related to delays in
            expected launch dates, competitive factors resulting in realization of lower pricing and incremental costs related to manufacturing efforts.
            These events led to revised estimates of the fair value of each TPR&D asset compared to the carrying values (SI O 1.0 million).

                 Goodwill Allocation
                  Among the primary reasons the Company entered into the Specifar Acquisition and factors that contributed to a purchase price
            allocation resulting in the recognition of goodwill were a history of operating margins and profitability, a strong R&D organization and the
            ability to expand the Company's commercial footprint on a global basis, which will enable it to expand its product offerings. The goodwill
            recognized from the Specifar Acquisition is not deductible for tax purposes. All goodwill from the Specifar Acquisition was assigned to
            the Actavis Pharma segment.

                 Co11ti11ge11t Consideration
                 The Company's purchase price allocation determined the fair value of the contingent consideration obligation to be $35.5 million
            based on a probability-weighted income approach derived from revenue estimates

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                          133/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 135 of 169. PageID #: 359064




          10 116 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                           ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             and post-tax gross profit levels and a probability assessment with respect lo the likelihood of achieving the various earn-out criteria.
             During the year ended December 31, 2012, the Company recorded fair value adjustments resulting in a gain of S27.5 million based on
             forecasted esorneprazole profits. As of December 31, 2013, all contingent consideration has been settled.

                 Long-Term Deferred Tax Liabilities and Other Tax Liabilities
                  Long-term deferred tax liabilities and other tax liabilities result from purchase accounting adjustments for the inventory fair value
            step-up and identifiable IPR&D and intangible assets fair value adjustments. These adjustments create excess book basis over the tax basis
            which is multiplied by the statutory tax rate for the jurisdiction in which the deferred taxes exist.

                 Acquisition-Related Expenses
                  Included in general and administrative expenses for the year ended December 31, 2011 is acquisition costs totaling $6.5 million for
             advisory, legal and regulatory costs incurred in connection with the Specifar Acquisition.

                 Other Agreements
                 Actavis (Foshan) Pharmaceuticals Co., Ltd. Assets Held for Sale
                  During the year ended December 31, 2013, the Company held its Chinese subsidiary, Actavis (Foshan) Pharmaceuticals Co., Ltd.
            ("Foshan"), for sale. On January 24, 2014, the Company completed an agreement with Zhejiang Chiral Medicine Chemicals Co., Ltd to
            acquire its interest in Foshan (the "Foshan Sale"). The Company intends to continue further commercial operations in China in
            collaboration with our preferred business partners, As a result of the transaction, the Company recognized an impairment on the net assets
            held for sale of $8.4 million in the year ended December 31, 2013.

                 Western European Assets Held for Sale
                   During the year ended December 31, 2013, the Company held for sale our Actavis' Pharma's commercial infrastructure in France,
            Italy, Spain, Portugal, Belgium, Germany and the Netherlands, including products, marketing authorizations and dossier license rights. The
            Company believes that the potential divestiture allows the Company to focus on faster growth markets including Central and Eastern
            Europe, and other emerging markets which we believe will enhance our long-term strategic objectives. On January 17, 2014, we
            announced our intention to enter into an agreement with Aurobindo Pharma Limited to sell these businesses. The transaction is conditional
            on certain antitrust approvals and completion of employee consultation processes, which is anticipated in the year ending December 31,
            2014. As a result of the transaction, the Company recognized an impairment on the net assets held for sale of $34.3 million in the year
            ended December 31, 2013.

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         https:l/www.sec.gov/Archivesledgarldata/15788451000119312514066242/d648811 d1 Ok.htm                                                       1341201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 136 of 169. PageID #: 359065




         10 /1 6 /2 0 1 8                                                                   F or m 10 -K




            Table of Contents

                                                                              ACTAVISPLC
                                         :\'OTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                     The following represents the global net assets held for sale:

                                                                                                                                         Asof
                                                                                                                                       December
                                                                                                                                          31,
                                                                                                                                       __lQg_
                     Cash and cash equivalents                                                                                            37.0
                     Accounts receivable, net                                                                                             94.2
                     Inventories, net                                                                                                    122.9
                     Prepaid expenses and other current assets                                                                            59.6
                     Impairment on the assets held for sale                                                                            ~)
                        Total assets held for sale                                                                                     $ 271.0
                     Accounts payable and accrued expenses                                                                             $ 246.6
                        Total liabilities held for sale                                                                                $   246.6
                     Net assets held for sale                                                                                          $    24.4


                Amendment lo Sanofi Collaboration Agreement
                  On October 28, 2013, Warner Chilcott Company, LLC ("WCCL"), our indirect wholly-owned subsidiary, and Sanofi- Aventis U.S.
            LLC ("Sanofi") entered into an amendment (the "Sanofi Amendment") to the global collaboration agreement as amended (the
            "Collaboration Agreement") to which WCCL and Sanofi are parties. WCCL and Sanofi co-develop and market Acronel+ and Atelviav
            (risedronate sodium) on a global basis, excluding Japan .
                   Pursuant to the Sanofi Amendment, the parties amended the Collaboration Agreement with respect to Actonels and Atelvia+ in the
            U.S. and Puerto Rico (the "Exclusive Territory") to provide that, in exchange for the payment ofa lump sum of$125.0 million by WCCL
            to Sanofi in the year ended December 31, 2013, WCCL's obligations with respect to the global reimbursement payment, which represented
            a percentage of Actavis' net sales as defined, as it relates to the Exclusive Territory for the year ended December 31, 2014, shall be
            satisfied in full. The Sanofi Amendment did not and does not apply to or affect the parties' respective rights and obligations under the
            Collaboration Agreement with respect to (i) the remainder of201J or (ii) territories outside the Exclusive Territory. The S125.0 million
            was recorded as an intangible asset during the year ended December JI, 2013, which will be amortized over the course of the year ending
            December JI, 2014.

                Endo Pharmaceuticals inc.
                  The Company entered into an agreement with Endo Pharmaceuticals Inc. ("Endo") and Teikoku Seiyaku Co., Ltd to settle all
            outstanding patent litigation related to the Company's generic version of Lidoderrrre. Per the terms of the agreement, on September 15,
            2013, the Company launched its generic version of Lidodermv (lidocaine topical patch 5%) to customers in the U.S. more than two years
            before the product's patents expire. Under applicable Hatch Waxman rules, the Company believes it is entitled to 180 days of marketing
            exclusivity. Lidoderm® is a local anesthetic indicated to relieve post-shingles pain. Additionally, under the terms of the agreement, the
            Company has received and distributed branded Lidodermv prior to the launch of the generic version of Lidoderm",

                Palau Pharma, S.A.
                  On August I, 2013, the Company entered into a purchase agreement with Palau Pharma S.A. ("Palau") to acquire worldwide product
            rights to develop and commercialize albaconazole for the treaunent of candidiasis.

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         https://www.sec.gov/Archivesledgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                     135/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 137 of 169. PageID #: 359066




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                            ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             The Company simultaneously entered into a manufacturing and supply agreement with Palau for the supply of clinical and commercial
             quantities of the products. In connection with the execution of the agreements, the Company paid an upfront non-refundable payment of
             € 10.0 million, or $13.4 million to Palau, which was recorded as R&D expense in the year ended December 31, 2013. The agreement also
             provides for certain future milestone payments up to El 8.0 million in aggregate upon the successful completion of Phase III trials of the
             products, and regulatory approvals.

                 Metronidazole 1.3% Vaginal Gel and Zovirax Oi11Lmen1 and Cream
                   On May I, 2013, the Company entered into an agreement to acquire the worldwide rights to Valeant Pharmaceuticals International,
             Inc. ("Valeant") rnctronidazole 1.3% vaginal gel antibiotic development product, a topical antibiotic for the treatment of bacterial
             vaginosis. Under the terms of the agreement, the Company will acquire the product upon FDA approval for approximately $57.0 million
             which includes upfront ($1.0 million) and certain milestone payments ($11.0 million), and guaranteed royalties for the first three years of
             commercialization. Upon FDA approval or receipt of product launch quantity, the Company will account for this transaction using the
             acquisition method of accounting. In the event of generic competition on metronidazole 1.3% and should the Company choose to launch
             an authorized generic product, the Company would share the gross profits of the authorized generic with Valeant.
                  On April 5, 2013, the Company and Valeant entered into an agreement for the Company lo be the exclusive marketer and distributor
            of the authorized generic version ofValeant's Zoviraxw ointment (acyclovir 5%) product. Under the terms of the agreement, Valeant will
            supply the Company with a generic version ofValeant's Zovirax® ointment product and the Company will market and distribute the
            product in the U.S. Additionally, Valeanl granted the Company the exclusive right to co-promote Zovirax® cream (acyclovir 5%) to
            obstetricians and gynecologists in the U.S. and the Company granted Valeanl the exclusive right to co-promote Actavis Specialty Brands'
            Cordrarrs Tape (flurandrenolide) product in the U.S. Under terms of the agreement related to the co-promotion of Zoviraxv cream, the
            Company will utilize its existing Specialty Brands sales and marketing structure to promote the product and will receive a co-promotion
            fee from sales generated by prescriptions written by its defined targeted physician group. The fees earned by the Company under the
            Zovirax cream co-promotion arrangement will be recognized in other revenues in the period earned. Under the terms of the Cordran·lil Tape
            co-promotion agreement, Valeant will utilize its existing Dermatology sales and marketing structure to promote the product, and will
            receive a co-promotion fee on sales. The fees paid by the Company under the Cordran Tape arrangement will be recognized in the period
            incurred as selling and marketing expenses.                                                   '

                 Sale ofEquity Interest in Mok.sha8 Pharmaceuticals, Inc.
                  On October 22, 2012, we sold our investment in Moksha8 Pharmaceuticals, Inc. ("'Moksha8") for S46.6 million (the "Mokshafi
            Sale"). Simultaneously, we expanded our ongoing sales and marketing collaboration with Moksha8 by granting a license to Moksha8 for
            five new branded generic products to be developed for the Brazilian and Mexican markets in exchange for defined milestones and sales
            royalties. We retained generic marketing rights in each market for all products licensed to Moksha8. As a result of the sale, the Company
            recorded a gain of $28.8 million in other income (expense) in the year ended December 31, 2012. During the year ended December 31,
            2013, the Company terminated the agreement with Moksha8 resulting in a loss of S4.0 million.

                 Rugby OTC Business
                  On October 29, 2012, the Company sold our Rugby Group, Inc. ("Rugby") OTC pharmaceutical products and trademarks lo The
            Harvard Drug Group, L.L.C. ("Harvard") for $116.6 million (the "Rugby Sale"). Under the terms of the agreement, Harvard acquired the
            Rugby trademark and all rights to market, sell and distribute OTC products and nicotine gum products sold under the trademark. We
            retained all rights to manufacture, sell

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          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                    136/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 138 of 169. PageID #: 359067




         10 /1 6 /2 0 1 8                                                             F or m 10 -K




            Table of Contents

                                                                         ACTAVISPLC
                                     NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

            and distribute all store-branded OTC and nicotine gum products, as well as other non-Rugby OTC products in our portfolio. We retained
            ownership of our nicotine gum Abbreviated New Drug Applications ("AND As"), as well as nicotine gum manufacturing facilities. Also,
            as part of the transaction, we entered into a supply and license agreement with Harvard under which we manufacture and supply nicotine
            gum products sold under the Rugby and Major labels. Major is Harvard's existing private label brand. In connection with the sale of the
            Rugby assets, the Company recorded a gain of $88.7 million in other income (expense) in the year ended December 31, 2012.

                Actavis Pharma Business Development
                  The Company's two most significant products in 20 I 2 were the authorized generic version of Concetta" (methylphenidate ER) and
            Lipitor" (atorvastatin), which on a combined basis comprised 20.8% of the Company's revenues. These products were sold pursuant to
            exclusive marketing arrangements.
                 In November 20 I 0, the Company entered into an exclusive agreement with Ortho-Mclveil-Jansscn Pharmaceuticals, Inc. ("OMJPI")
            to market the authorized generic version ofConcerta® (methylphenidate ER). Under the terms of the agreement, OMJPI supplies the
            Company with product. The Company launched its authorized generic of Concertas on May I, 2011
                  Under the terms of its agreement with OMJPI, the Company pays a royalty to OMJPI based on the gross profit of product revenues
            as defined in the agreement. During 2012, the royalty payable to OMJPI ranged from 50% to 55% of sales. In 2013, the Company's
            royalty payable on sales of methylphenidate ER declined to 30% when a third party competitor launched a competing bioequivalent
            product. The change in royalty was a one-time event and was applied on a strength-by-strength basis following the launch of the first third-
            party generic competitor. This royalty includes the cost of the product supplied by OMJPI. The agreement with OMJPI expires on
            December 31, 2014 and is subject to normal and customary early termination provisions. The agreement with OMJPI has been accounted
            for as a distribution arrangement. Accordingly, the Company has recorded the net sales of the authorized generic product in the period
            earned and reflected the cost of product sold and the royalty payments to OMJPI in costs of goods sold in the period incurred.
                  During 2011 and 2012, Atorvastatin was sold pursuant to an exclusive agreement with Pfizer, Inc. ("Pfizer"). The Company launched
            its authorized generic of Lipitors on November 30, 2011. Due to the significant decline in the market for this product, the Company agreed
            to terminate this agreement effective January I, 2013. In exchange, the Company is entitled to receive a royalty on future sales of the
            product by Pfizer through 2015.

                Biosimilars Collaborations
                  On December 19,201 l, the Company entered into a collaboration agreement with Amgen, Inc. ("Amgen") to develop and
            commercialize, on a worldwide basis, several oncology antibody biosimilar medicines (the "Amgen Collaboration Agreement"). Under the
            terms of the agreement, Amgen assumed primary responsibility for developing, manufacturing and initially commercializing the oncology
            antibody products. The Company agreed to contribute up to $400.0 million in co-development costs over the course of development,
            including the provision of development support, and will share product development risks. As of December 31, 2013, the Company has
            outstanding commitments ofup to $312.4 million under the agreement. In addition, the Company will contribute its significant expertise in
            the commercialization and marketing of products in highly competitive specialty and generic markets, including helping effectively
            manage the lifecycle of the biosimilar products. The collaboration products are expected to be sold under a joint Amgen/Actavis label. The
            Company will initially receive royalties and sales milestones from product revenues. The collaboration will not pursue biosimilars of
            Amgen's proprietary products.

                                                                               F-34




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                     137/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 139 of 169. PageID #: 359068




          10 /1 6 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                            ACTAVISPLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                   On July I 3, 2012, the Company entered into a global license agreement with Synthon, obtaining an exclusive license to its
             trastuzurnab molecule, which is being developed as a biosimilar to Hercepurrv. The Company subsequently assigned the agreement to
             Amgen, and contributed the product to the Company's biosimilars collaboration with Amgen. Under the terms of the Synthon agreement,
             Amgen and the Company will assume all responsibility for worldwide development and commercialization ofbiosimilar trastuzumab,
             including Phase Ill clinical trials and global manufacturing. The agreement entitles Synthon to an initial payment and the opportunity to
             receive a milestone payment and royalties on net sales. Synthon will also receive compensation for transitional support activities provided
             under the agreement.

             NOTE 5 - Share-Based Compensation
                   The Company recognizes compensation expense for all share-based compensation awards made to employees and directors based on
             the fair value of the awards on the date of grant. A summary of the Company's share-based compensation plans is presented below.

                 Equity Award Plans
                   The Company has adopted several equity award plans, all of which have been approved by the Company's shareholders, which
             authorize the granting of options, restricted shares, restricted stock units and other forms of equity awards of the Company's ordinary
             shares, subject to certain conditions. At December 31, 2013, the Company had reserved I 0.2 million of its ordinary shares for issuance of
             share-based compensation awards under the Company's equity award plans, which includes 1.3 million shares reserved under the Warner
             Chilcott plan.
                    Option award plans require options to be granted at the fair value of the shares underlying the options at the date of the grant and
             generally become exercisable over periods ranging from three to five years. Each option granted expires ten years from the date of grant.
             During the year ended December 31, 20 I 3, the Company issued 225,000 stock options with an aggregate fair value of $4.9 million. The
             grant date fair value of options is based on a Black-Scholes grant date fair value of $21.63 per share. There were no option grants during
             the years ended December 31, 2012 and 20 I I The Compensation Committee of the Company's Board of Directors (the "Board")
             authorized and issued restricted stock and restricted stock units to the Company's employees, including its executive officers and certain
             non-employee directors (the "Participants") under the Company's equity compensation plans. Restricted stock awards are grants that
             entitle the holder to shares of Ordinary Shares, subject to certain terms. Restricted stock unit awards are grants that entitle the holder the
             right to receive an Ordinary Share, subject to certain terms. Restricted stock and restricted stock unit awards (both time-based vesting and
             performance-based vesting) generally have restrictions eliminated over a one to four year vesting period. Restrictions generally lapse for
             non-employee directors after one year. Certain restricted stock units are performance-based awards issued at a target number with the
             actual number of restricted shares issued ranging based on achievement of the performance criteria.
                   During the year-ended December 31, 2013, the Company incurred S45.4 million of stock-based compensation relating to the Warner
             Chilcott Acquisition. These costs included the immediate vesting of outstanding equity for certain employees on October I, 2013, as well
             as the recognition of compensation over the remaining vesting period for severed employees.

                 Fair Value Assumptions
                  The Company has granted equity-based incentives to its employees comprised of restricted stock and restricted stock units. All
            restricted stock and restricted stock units (whether time-based vesting or performance-based vesting), are granted and expensed, using the
            closing market price per share on the applicable grant date, over the applicable vesting period. Non-qualified options to purchase ordinary
            shares were granted to employees at exercise prices per share equal to the closing market price per share on the date of grant. The fair
            value of non-qualified options was determined on the applicable grant dates using the Black-Scholes method of valuation and that amount
            was recognized as an expense over the four year vesting period.

                                                                                  F-35




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                        138/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 140 of 169. PageID #: 359069




         10 /16 /2 0 18                                                               F or m 10 -K




           Table of Contents

                                                                         ACTAVIS PLC
                                           NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

               Share-Based Compensation Expense
                 Share-based compensation expense recognized in the Company's results of operations for the years ended December 31, 2013, 2012
           and 2011 was $133.6 million (including $1.5 million of non-equity settled awards), $48.8 million (including $0. 7 million of non-equity
           settled awards) and S39.8 million, respectively (related tax benefits were S44.4 million, $17.7 million and$ 14.4 million, respectively).
           Unrecognized future stock-based compensation expense was $75.3 million as of December 31, 2013. This amount will be recognized as an
           expense over a remaining weighted average period of 1.9 years. Stock-based compensation is being amortized and charged to operations
           over the same period as the restrictions are eliminated for the Participants, which is generally on a straight-line basis.

               Share Activity
                The following is a summary of equity award activity for unvested restricted stock and stock units in the period from December 31,
           2012 through December 31, 2013:

                                                                                                                          Weighted
                                                                                                       Weighted           Average
                                                                                                        Average          Remaining         Aggregate
                                                                                                       Grant Date       Contractual        Grant Date
           (in millions, except per share data)                                            Shares      Fair Value       Term (Years)       Fair Value
           Restricted shares outstanding at December 31, 2012                               2.6        $  52.88                  1.4              137.5
             Assumed in the Warner Chilcott Acquisition                                     0.4          144.00                                    57.6
             Granted                                                                        0.9           84.48                                    76.0
             Vested                                                                        (1.8)         (58.71)                                 (105.7)
             Cancelled                                                                     ~)            (66.06)                           _J.!].:?)
           Restricted shares outstanding at December 31, 2013                               1.9        $ 80.12                   1.4       $      152.2

               The following is a summary of equity award activity for non-qualified options to purchase ordinary shares in the period from
           December 31, 2012 through December 31, 2013:

                                                                                                                          \Vcighlcd
                                                                                                           \Veigh1cd       Average
                                                                                                           Average       Remaining             A.ggrcgafe
                                                                                                           Exercise      Contractual           Intrinsic
           (in millions, except per share data)                                              Options       ~             Term (Years)       ~
           Outstanding, December 3 I, 2012                                                    I.I          S 31.50
             Assumed in the Warner Chilcott Acquisition                                       0.2            63.11
             Granted                                                                          0.2            86.86
             Exercised                                                                       (1.0)           44.78
             Cancelled                                                                       ~)              39.72
           Outstanding, December 31, 2013                                                     0.4          S 43.50               3.4        $      54.5
           Vested and expected to vest at December 31, 2013                                      0.4       $ 40.35               3.1        $      52.5
                 In addition to the awards discussed above, the Company also grants deminimis awards to be settled in cash due to local statutory
           requirements.

                                                                               F-36




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                      139/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 141 of 169. PageID #: 359070




          10 11 6 /2 0 1 8                                                               F or m 10 -K




             Table of Contents

                                                                             ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             NOTE 6 - Pension and Other Postretirement Benefit Plans
                   Employee Benefit Plan Obligations
                   As part of the Warner Chilcott Acquisition, on October I, 2013, the Company assumed defined benefit pension plans (the "WC
             Plan") covering certain employees in Western Europe. In connection with the Acta vis Group Acquisition on October 31, 2012, the
             Company assumed all of the Actavis Group's defined benefit obligations and assets for its qualified and non-qualified pension plans and
             postretirement plans. Prior to these acquisitions the Company did not have any material defined benefit plans. Retirement benefits are
             generally based on an employee's years of service and compensation. Funding requirements are determined on an individual country and
             plan basis and are subject to local country practices and market circumstances.
                   Net periodic benefit cost of the defined benefit plans was deminimis in the year ended December 31, 2012. The net periodic benefit
             cost of the defined benefit plans for the year ended December 31, 20 I 3 was as follows:

                                                                                                                                     Defined Benefit
                                                                                                                                       Year Ended
                                                                                                                                      December 31,
                                                                                                                                          20]Jl1J
                      Service cost                                                                                                               7.0
                      Interest cost                                                                                                              6.0
                      Other investments                                                                                                         (1.3)
                      Expected return on plan assets                                                                                            (4.8)
                      Settlement loss                                                                                                            0.2
                      Net periodic benefit cost                                                                                                  7.1

             (I)      Includes net periodic benefit cost from the WC Plan following the Warner Chilcott Acquisition on October I, 2013.

                                                                                  F-37




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                          140/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 142 of 169. PageID #: 359071




         10 /1 6 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents


                                                                              ACTAVISPLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

                  Obligations and Funded Status
                 Employee benefit plans are an exception to the recognition and fair value measurement principles in business combinations.
            Employee benefit plan obligations are recognized and measured in accordance with the existing authoritative literature for accounting for
            benefit plans rather than at fair value. Accordingly, the Company remeasured the benefit plans acquired as part of its acquisitions and
            recognized an asset or liability for the funded status of these plans as of the respective acquisition dates.
                     Benefit obligation and asset data for the defined benefit plans, were as follows:

                                                                                                                                  Year Ended
                                                                                                                                Decem ber JI
                     (In mlltlons)                                                                                        2013 12 )          201zfi i
                     Change in Plan Assets
                     Fair value of plan assets at beginning of year                                                         67.2            $   66.5
                     Fair value of plan assets assumed in the Warner Chilcott Acquistion                                    79.l
                     Other acquisition related activity                                                                     18.2
                     Reclassification to assets held for sale                                                                (4.9)
                     Other contributions                                                                                      1.9
                     Actuarial gain                                                                                           4.5
                     Employer contribution                                                                                    8.4
                     Return on plan assets                                                                                    7.1              0.5
                     Benefits paid                                                                                          (4.4)             (0.2)
                     Effects of exchange rate changes                                                                         2.2              0.4
                     Fair value of plan assets at end of year                                                            S 179.3            $ 67.2
                     Change in Benefit Obligation
                     Benefit obligation at beginning of year                                                             S 90.9             $   89.9
                     Benefit obligation assumed in the Warner Chilcott Acquistion                                           97.5
                     Reclassification to assets held for sale                                                              (10.4)
                     Other acquisition related activity                                                                     40.6
                     Contributions                                                                                           2.0
                     Service cost                                                                                            7.0
                     Interest cost                                                                                           6.0                 0.6
                     Actuarial (gain)                                                                                       (1.1)
                     Benefit paid                                                                                           (5.5)             (0.2)
                     Effects of exchange rate changes                                                                        4.2               0.6
                     Benefit obligation at end of year                                                                   S23 l.2            $ 90.9
                     Funded status al end of year                                                                        S (51.9)           $(23.7)

            (I)     The year ended December 31, 2012 represents the period from October 31, 2012 to December 31, 2012.
            (2)     The year ended December 31, 2013 includes benefit obligation and asset data from the WC Plan following the Warner Chilcott
                    Acquisition on October 1, 2013.

                                                                                    F-38




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                           141/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 143 of 169. PageID #: 359072




          10 /16 /20 18                                                                  F or m 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                    The following table outlines the funded actuarial amounts recognized:

                                                                                                                                 As of December 312
                    (in millions)                                                                                              2Q.!L         ~
                   Current liabilities                                                                                         $ (0.1)       $ (3.5)
                   Noncurrent liabilities                                                                                      ~)             (20.2)
                                                                                                                               $(51.9)       $(23.7)

                  The underfunding of pension benefits is primarily a function of the different funding incentives that exist outside of the United
            States. ln certain countries, there are no legal requirements or financial incentives provided to companies to pre-fund pension obligations.
            In these instances, benefit payments are typically paid directly by the Company as they become due.

                Plan Assets
                  Companies are required to use a fair value hierarchy as defined in ASC Topic 820 "Fair Value Measurement," ("ASC 820") which
            maximizes the use of observable inputs and minimizes the use of unobservable inputs when measuring fair value. There are three levels of
            inputs used to measure fair value with Level I having the highest priority and Level 3 having the lowest:
                   Level I - Quoted prices (unadjusted) in active markets for identical assets or liabilities.
                 Level 2 - Observable inputs other than Level l prices, such as quoted prices for similar assets or liabilities, or other inputs that are
            observable or can be corroborated by observable market data for substantially the full Lenn of the assets or liabilities.
                  Level 3 - Unobservable inputs that are supported by little or no market activity. The Level 3 assets are those whose values are
            determined using pricing models, discounted cash flow methodologies, or similar techniques with significant unobservable inputs, as well
            as instruments for which the determination of fair value requires significant judgment or estimation.
                 If the inputs used to measure the financial assets fall within more than one level described above, the categorization is based on the
            lowest level input that is significant to the fail' value measurement of the instrument.

                                                                                  F-39




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                         142/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 144 of 169. PageID #: 359073




         10 /1 6 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents

                                                                            ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                     The fair values of the Company's pension plan assets at December 31, 2013 by asset category are as follows:

                                                                                Quoted Prices             Significant
                                                                                  In Active                 Other          Significant
                                                                                 M arkets for             Observable      Unobservable
                                                                               Identical Assets             lnpurs           Inputs
                     (in millions)                                                 (Level !J              ~               ~                       Tor:.11
                        Assets
                        Investment funds
                           U.S. large cap equities
                           Non-U.S. developed markets equities                             70.3                                                       70.3
                           Fixed income obligations                                        83.6                                                       83.6
                        Other investments
                           Other                                                                                  25.4                             25.4
                     Total Assets                                              $          153.9           $       25.4    $                     S 179.3
                     The fair values of the Company's pension plan assets at December 31, 2012 by asset category are as follows:

                                                                                Quoted Prices             Significant
                                                                                  Tn Ac1ivc                  Other         Si:,:nilicant
                                                                                 Markets for              Observable      Unobservable
                                                                               Identical Assets                Inputs         Inputs
                     (in millions)                                                 ~                          (Level 2J   ~                       ..12£1_
                        Assets
                        Investment funds
                           U.S. large cap equities                                         5.4                                                    $    5.4
                           Non-U.S. developed markets equities                            28.2                                                        28.2
                           Corporate obligations                                          27.8                                                        27.8
                        Other investments
                           Other                                                           5.8                                                      5.8
                     Total Assets                                                         67.2                                                    $67.2

                   The assets of the pension plan are held in separately administered trusts. The investment guidelines for the Company's pension plans
            is to create an asset allocation that is expected to deliver a rate of return sufficient to meet the long-term obligation of the plan, given an
            acceptable level of risk. The target investment portfolio of the Company's pension plans is allocated as follows:

                                                                                                                                       AclualAssct
                                                                                                                                      Allocations As
                                                                                                                                             of
                                                                                                                                      Dcccmhcr31.z.
                                                                                                                                   2013( 1 )       2012
                     Bonds                                                                                                             47%        40%
                     Equity securities                                                                                                 39%         50%
                     Other investments                                                                                                 14%         10%

            (I)      Includes the asset allocation of the WC Plan following the Warner Chilcott Acquisition on October I, 2013.

                                                                                   F-40




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                143/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 145 of 169. PageID #: 359074




          10 /1 6 /2 0 1 8                                                                 F o rm 10 -K




             Table of Contents

                                                                              ACTAVIS PLC
                                          NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                    Expected Contributions
                      Employer contributions to the pension plan during the year ending December 31, 2014 are expected to be $10.0 million.

                    Expected Benefit Payments
                      Total expected benefit payments for the Company's pension plans are as follows (in millions):

                      2014                                                                                                                         7.4
                      2015                                                                                                                         6.8
                      2016                                                                                                                         7.1
                      2017                                                                                                                         8.1
                      2018                                                                                                                         8.5
                      Thereafter                                                                                                                 193.3
                      Total Liability                                                                                                           $231.2

                 Expected benefit payments are based on the same assumptions used to measure the benefit obligations and include estimated future
             employee service. The majority of the payments will be paid from plan assets and not Company assets.

                 Amounts Recognized in Other Comprehensive Income (Loss)
                  Net loss amounts reflect experience differentials primarily relating to differences between expected and actual returns on plan assets
            as well as the effects of changes in actuarial assumptions. Net loss amounts in excess of certain thresholds are amortized into net pension
            cost over the average remaining service life of employees. Balances recognized within accumulated other comprehensive income (loss)
            that have not been recognized as components of net periodic benefit costs are as follows (in million):

                                                                                                                                         Defined Bcncli(
                      Balance as of December 31, 2012
                      Net actuarial loss11l                                                                                                            5.6
                      Balance as of December 31, 2013                                                                                                  5.6

             ( I)     Includes net accrual loss associated with the WC Plan following the Warner Chilcott Acquisition on October I, 2013.
                 The Company does not expect to amortize amounts from accumulated other comprehensive income to net periodic benefit costs
            during 2014.
                      Information for defined benefit plans with an accumulated benefit obligation in excess of plan assets is presented below (in millions):

                                                                                                                                    Defined Benefit
                                                                                                                                   As of December 31
                                                                                                                                  2013           2012
                      Projected benefit obligations                                                                             $231.2          $ 90.9
                      Accumulated benefit obligations                                                                           $214.4          $ 90.9
                      Plan assets                                                                                               $179.3          $ 67.2


                                                                                    F-41




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                               144/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 146 of 169. PageID #: 359075




         10 /1 6 /2 0 1 B                                                              F o rm 10 -K




            Table of Contents

                                                                           ACTAVIS PLC
                                          :-,/OTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                Actuarial Assumptions
                  The weighted average assumptions used to calculate the projected benefit obligations of the Company's defined benefit plans are as
            follows:

                                                                                                                              As or Decem ber 31,
                                                                                                                           2013                 2012
                     Discount rate                                                                                        ~%                  ~%
                     Salary growth rate                                                                                   3.8%                4.6%

                  The weighted average assumptions used to calculate the net periodic benefit cost of the Company's defined benefit plans are as
            follows:

                                                                                                                              As of December 311.
                                                                                                                          .2!!!L              2.!1.!L
                     Discount rate                                                                                           3.8%                 4.5%
                     Expected rate of return on plan assets                                                                  3.3%                 5.1%
                     Salary growth rate                                                                                      2.5%                4.6%
                 In order to select a discount rate for purposes of valuing the plan obligations the Company uses returns of long-term investment
            grade bonds and adjusts them as needed to tit the estimated duration of the plan liabilities.
                  The expected rate of return represents the average rate of return lo be earned on plan assets over the period the benefits included in
            the benefit obligation are to be paid. In developing the expected rate of return, long-term historical returns data are considered as well as
            actual returns on the plan assets and other capital markets experience. Using this reference information, the long-term return expectations
            for each asset category and a weighted average expected return was developed, according to the allocation among those investment
            categories.

                Savings Plans
                 The Company also maintains certain defined contribution savings plans covering substantially all U.S.-based employees. The
            Company contributes to the plans based upon the employee contributions. The Company's contributions to these retirement plans were
            $46.9 million, $25.8 million and $15.7 million in the years ended December 31, 2013, 2012 and 2011, respectively.

                                                                                F-42




         https://www.sec.gov/Archives/edgar/data/157BB45/000119312514066242/d64BB11 d1 Ok.him                                                            145/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 147 of 169. PageID #: 359076




          10 /1 6 /2 0 1 8                                                                F or m 10 -K




             Table of Contents

                                                                             ACTAVISPLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             NOTE 7 - Other Income (Expense)
                      Other income (expense) consisted of the following (in millions):

                                                                                                                      Years Ended December 31.
                                                                                                               2013              2012          21111
                      Gain on sale of products                                                                $4.3             $ 88.7          s=
                      Gain on sale of investments                                                                                28.S            0.8
                      Gain on sale of divested products                                                                          24.0
                      Gain on sale of business                                                                    2.3
                      Loss on extinguishrncnt of debt                                                          (l 8.5)
                      Loss on foreign exchange derivative                                                                       (70.4)
                      Bridge loan expenses                                                                                      (37.l)
                      Earnings (losses) on equity method investments                                             6.0              l.3           (4.5)
                      Other income                                                                              25.7              3.2            3.2
                      Other income (expense)                                                                  $ 19.8           $ 38.5          $(0.5)

                 Gain Oil Sale of Products
                  As a result of the sale of select rights to Taro Pbannaceuticals North America, Inc., we recorded a gain of $4.3 million in other
            income (expense), in the year ended December 31, 2013. As a result of the Rugby Sale, the Company recorded a gain of$88.7 million in
            other income (expense), in the year ended December 31, 2012.

                 Gain on Sale of Investments
                As a result of the Moksha8 Sale, the Company recorded a gain of $28.8 million in other income (expense) in the year ended
            December 31, 2012.

                 Gain Oil Sale of Divested Products
                  In order to obtain regulatory clearance under Hait-Scott-Rodino, in connection with the Warner Chilcott Acquisition, we were
            required to divest certain assets. On October l, 2013, four generic pharmaceutical products were sold lo Arnneal Pharmaceuticals for
            consideration of $10.0 million, subject to certain refunds of purchase price provisions, which resulted in a deminimis impact on net
            income. The divested products consisted of both commercial and development stage products in both oral contraceptive and osteoporosis
            treatment. Net sales of divested products were S2.5 million, $4.6 million and $0.7 million for the years ended December 31, 20 l 3, 2012
            and 2011, respectively.
                  In order to obtain regulatory approval under Hart-Scott-Rodino, in connection with the Actavis Group Acquisition, the Company was
            required to divest certain assets. On October 31, 2012, a total of 22 generic pharmaceutical products owned by either Acta vis Group or
            Watson Pharmaceuticals, Inc. were sold to Par Pharmaceuticals Companies, Inc. and Sandoz, Inc., which resulted in a gain of $24.0
            million in the year ended December 31, 2012. The divested products consisted of both commercial and development stage products in a
            number of therapeutic categories where the two companies owned overlapping products. Watson Pharmaceuticals, Inc. 's net sales of
            divested products were $18.5 million and $7.3 million for the years ended December 31, 2012 and 2011, respectively. Actavis Group's net
            sales of divested products were $60.8 million and $90.2 million for the years ended December 31, 2012 and 2011, respectively. The sale of
            the Actavis Group divested products did not have an impact on our net revenues as these amounts were not included in the results of

                                                                                   F-43




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          146/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 148 of 169. PageID #: 359077




         10 /1 6 /2 0 1 8                                                              F or m 10 -K




            Table of Contents

                                                                          ACTAVIS PLC
                                          NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

            operations of the Company for the respective periods. For the years ended December 31, 2012 and 2011, no one product accounted for
            more than one percent of the Company's consolidated net revenues. For additional information refer to ''NOTE-4 "Acquisitions and
            Other Agreements."

                 Gain 011 Sale of Business
                 On November 27, 2013, the Company sold its Changzhou Watson Pharmaceuticals Co., Ltd ("Changzhou") business to Great
            Harmony Enterprises Limited, a Hong Kong Company. As a result of the sale, we recorded a gain of S2.3 million in other income
            (expense) in the year ended December 31, 2013.

                Loss 011 Exti11g11ish111e11t ofDebt
                  As a result of the termination of our S450.0 million senior secured notes (Refer lo "Note 13 - Long Tenn Debt"), the Company
            recorded a loss of $17.1 million in other income (expense) in the year ended December 31, 2013. In addition, the Company incurred a $1.5
            million non-cash write-off of deferred loan costs in connection with the optional prepayment of term loan indebtedness.

                Loss 011 Foreign Exchange Derivative
                  Included in the year ended December 31, 2012 is approximately $70.4 million of realized losses for the derivative instruments
            entered into in order to mitigate the exposure resulting from movements of the U.S. dollar against the Euro in connection with the Actavis
            Group Acquisition.

                 Bridge Loa11 Expenses
                 Included in the year ended December 31, 20 I 2 is approximately $3 7. I million for the expenses of the bridge loan entered into to
            fund the Actavis Group Acquisition.

                 Other J11co111e (loss)
                  Other income for the year ended December 31, 2013 includes a gain from the release of funds held in an escrow account established
            in connection with the Arrow Acquisition (S15.0 million), a gain on foreign currency derivative transactions ($14.1 million), and a gain on
            the sale of securities (S 1.1 million), offset in part by the release of an indemnification receivable established in connection with an
            acquisition ($8.8 million).
                  Included in other income for the year ended December 31, 2012 is a S3.0 mm ion contract termination settlement received by an
            equity method investee and a $0.8 million gain related lo the revaluation of securities issued by an equity method investee.

               OTE 8 - Inventories
                  Inventories consist of finished goods held for sale and distribution, raw materials and work-in-process. Included in inventory at
            December 31, 2013 and December 31, 2012 is approximately $16.4 million and $49.7 million, respectively, of inventory that is pending
            approval by the FDA, by other regulatory agencies or has not been launched due to contractual restrictions. The decrease was primarily
            due to lidocai.ne inventories. This inventory consists of generic pharmaceutical products that are capitalized only when the bioequivalence
            of the product is demonstrated or the product has already received regulatory approval and is awaiting a contractual triggering event to
            enter the marketplace.

                                                                                F-44




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                      147/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 149 of 169. PageID #: 359078




          10 /16 /2 0 1 8                                                                F o rm 10 -K




             Table of Contents

                                                                            ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                     Inventories consisted of the following as of December 31, 2013 and 2012:

                                                                                                                               Dcccmbcr3l
                                                                                                                         ___lQ!l__        2012
                     Raw materials                                                                                       S 522.0          $ 426.9
                     Work-in-process                                                                                          168.9          126.2
                     Finished goods                                                                                        1,250.3         1,104.6
                                                                                                                           1,941.2         1,657.7
                     Less: inventory reserves                                                                                 154.9          111.2
                        Inventories, net                                                                                 $ I ,786.3       $1,546.5

                  Included in finished goods inventory as of December 31, 2013 was $235.1 million relating to the fair value step-up associated with
             the Warner Chilcott Acquisition.

            NOTE 9 - Accounts payable and accrued expenses
                     Trade accounts payable was $493.3 million and $598.6 million as of December 31, 20 I 3 and 2012, respectively.
                     Accrued expenses consisted of the following (in millions):

                                                                                                                                Deccmber j t,
                                                                                                                         __2l!!l_         --1!!!2._
                     Accrued expenses:
                       Accrued third-party rebates                                                                          615.8         $     551.1
                       Litigation-related reserves and legal fees                                                           265.7               183.8
                       Accrued payroll and related benefits                                                                 240.2               260.l
                       Royalties and sales agent payables                                                                   119.1                86.2
                       Accrued indirect returns                                                                             103.2                83.3
                       Accrued severence, retention and other shutdown costs                                                 89.3                65.l
                       Interest payable                                                                                      68.9                49.5
                       Accrued R&D expenditures                                                                              46.6                17.7
                       Accrued non-provision taxes                                                                           43.7                13.5
                       Accrued selling and marketing expenditures                                                            38.1                11.1
                       Cw-rent portion of contingent consideration obligations                                               33.8               351.9
                       Accrued professional fees                                                                             22.6                13.1
                       Accrued co-promotion liabilities                                                                      14.8
                       Other accrued expenses                                                                               148.1            182.9
                          Total accrued expenses                                                                         $1,849.9         $1,869.3

                                                                                  F-45




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          148/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 150 of 169. PageID #: 359079




         10 /1 6 /2 0 1 8                                                                        F o rm 10 -K




            Table of Contents


                                                                                 ACTAVIS PLC
                                            NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

            NOTE 10 - Property, plant and equipment, net
                     Property, plant and equipment, net consisted of the following (in millions):

                                                                                   Research
                                                       Land and      Machinery         and                                        Buildings and
                                                         land           and        laboratory                                         leasehold          Construction

            Cost
                                                     improvements    equipment     equipment         Other      Transportation    improvements          ~ ~
            At December 3 I, 20 I 2                          62.7    $   805.1     s     112.4       $296.7     s         30.l    s         808.7        s      114.7      $2,230.5
            Additions                                         4.0         79.1             3.5         36.9                4.8               30.2                19.3         177.8
            Additions due 10 the Warner Chilean
                 Acquisition                                 20.7      62.1                            34.9               32.5         51.1                      18.7           220.0
            Disposals/ transfers / impairments              (19.2)    (48.0)              (1.4)        (4.2)              (5.7)       (25.5)                     (I.OJ         (105.0)
            Transfer to assets held for sale                           (8.0)                           (1.3 )                          (3.6)                                    (12.9)
            Currency translation                    _ _ _o_
                                                          .2         __11_
                                                                         .4        _ _o_
                                                                                       .1           _____Q]_                      _ _ _5_.3             _ _ _1_
                                                                                                                                                              .2           ----1!2
            At December 31, 2013
            Accumulated dcprccbtion
                                                    ~                !.____1QL2    ~                 S363.3     s         61.8    ~                     L_______!R2        $2.528.9

            At December 31, 2012                                       299.9       s     80.9        S214.7     s          5.4    s   144.6             s                  $ 745.5
            Additions                                                   97.3              8.9          32.3                6.4         57.1                                  202.0
            Disposals/ transfers / impairments                         (25.0)            (0.9)         (I.I)              (3.8)         (5.4)                                (36.2)
            Transfer to assets held for sale                            (0.5)                          (0.8)                            (0.7)                                 (2.0)
            Currency translation                                     _ _2_.6       _fill                                          _ _ _o_ .3                              _____ll
            At December 31, 2013
            Net book value
                                                    _
                                                    s ___            ~ ~                             S245.I     s          8.0    ~ _s___                                  $   912.1

            At December 31, 2012                    ~ ----2.Qg ___gQ               __31_
                                                                                       .5                                 24.8    ~                     _ _ _1_
                                                                                                                                                              14_
                                                                                                                                                                .7         $1,485.0
            At December 31, 2013                    ~ ~ ~ ~                                                               53.8    ~ ~                                      $1,616.8


                 Depreciation expense was $202.0 million, S97.5 million and $93.6 million in the years ended December 31, 2013, 2012 and 2011,
            respectively.

            NOTE 11 - Investments in Marketable Securiries and Other Investments
                     Investments in marketable securities and other investments consisted of the following (in millions):

                                                                                                                                                        December 31,
                                                                                                                                                  ---1.!!!L        -1.!!.!.L
                     Marketable securities:
                       U.S. Treasury and agency securities - maturing within one year                                                             $    2.5         $ 6.5
                       U.S. Treasury and agency securities - maturing within two years                                                                               2.5
                          Total marketable securities                                                                                             $    2.5         $ 9.0
                     Investments and other assets:
                        Equity method investments                                                                                                    12.3          $ 9.6
                        Cost method and other long-term investments                                                                                   1.0            1.0
                        Taxes receivable                                                                                                             57.7
                        Other assets                                                                                                                 66.5           80.6
                           Total investments and other assets                                                                                     $ 137.5          $91.2

                                                                                       F-46




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                                                 149/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 151 of 169. PageID #: 359080




          10 /1 6 /2 0 1 8                                                                F o rm 10 -K




             Table of Contents

                                                                              ACTAVIS PLC
                                             NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                   The Company's marketable securities and other long-term investments are classified as available-for-sale and are recorded al fair
             value based on quoted market prices using the specific identification method. These investments are classified as either current or non-
             current, as appropriate, in the Company's consolidated balance sheets.
                  The following table provides a summary of the fair value and unrealized gains (losses) related to the Company's available-for-sale
             securities classified as current assets (in millions):

                                                                                          Gross Unrealized       Gross Unrcalizrd
                      At December 31 2013                        Amortized Cost                 Gains                 Losses               F::1irValuc
                      Available-for-sale:
                        U.S. treasury and agency
                            securities                                      2.5                                                            S      2.5
                            Total                                           2.5                                                                   2.5

                                                                                          Gross Unrealized       Gross Unrealized
                      At December 31, 2012                       Amoi-rized Cost               Gains                  Losses               Fair Value
                      Available-for-sale:
                        U.S. treasury and agency
                            securities                                      9.0                                                                  9.0
                            Total                                           9.0                                                                  9.0

                 Current I11vest111e11ts
                  The Company invests in U.S. treasury and agency securities. These investments are included in marketable securities on the
             Company's consolidated balance sheets at December 31, 2013 and 2012. Current investments are classified as available-for-sale and are
             recorded at fair value based on quoted market prices.

                 Investment in Equity Method I11vest111e11ts
                The Company's equity method investments at December 3 I, 2013 consist of various equity method investments in privately held
            companies.

                 Cost Method I11vest111e11ts
                The Company's cost method investments consist primarily of investments in common shares of a number of private and public
            companies where its ownership interest is less than 20% or where it does not have the ability to exercise significant influence.
                     The movements in long-tern, investments were as follows (in millions):

                                                                                                             Equity Method             Cost Method
                     Balance at December 31, 2012                                                            $          9.6            -
                                                                                                                                       $--1-
                                                                                                                                           .0
                       Additions                                                                                        5.6
                       Distributions                                                                                   (3.3)
                       Impairment
                       Foreign currency                                                                                 0.4
                     Balance at December 31, 2013                                                                      12.3            $          1.0

                                                                                   F-47




          https://www.sec.gov/Archivesledgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                           150/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 152 of 169. PageID #: 359081




         10 /1 6 /2 0 1 8                                                                     F o rm 10 -K




            Table of Contents

                                                                                ACTAVISPLC
                                             NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                 Other Assets
                     Other assets include security and equipment deposits and deferred financing fees, net of amortization.

            NOTE 12 - Goodwill, Product Rights and Other Intangible Assets
                     Goodwill for the Company's reporting segments consisted of the following (in millions):

                                                                               Actavls Spcclalry
                                                                                   ~                         Actavis Pharma    Anda Distribution     Total
            Balance at December 31, 2012                                                 474.7               Si    4,293.2                 86.3    $4,854.2
            Additions through acquisitions and adjustments to
               acquisition accounting                                                  4,019.3                                                      4,019.3
            Measurement period adjustments and other                                       3.3                        (38.8)                          (35.5)
            Impairment losses                                                                                       (647.5)                          (647.5)
            Foreign exchange and other adjustments                                        (0.6)                         7.7                             7.1
            Balance at December 31, 2013                                       $       4,496.7               $     3,614.6                 86.3    $8,197.6

                     During the year ended December 31, 2013, the following key items impacted goodwill:
                            The increase in Actavis Specialty Brands segment goodwill in 2013 is primarily due to goodwill of $3,992.9 million recognized in
                            connection with the Warner Chilcott Acquisition;
                            As described below, the Company recorded an impairment of the Actavis Pharma - Europe reporting unit of $64 7 .5 million,
                            representing primarily all the goodwill allocated to this reporting unit; and
                            The Company recognized goodwill in connection with the Uteron Acquisition of S26.4 million in the Actavis Specialty Brands
                            segment.
                  During the 2013 integration of the Actavis Group witb the Watson business, the Company reorganized its organizational structure
            and management performance reporting. Consequently, the reporting units within our Actavis Pharma operating segment were organized
            as follows: Americas; Europe; MEAAP; and Third-Party Business. These reporting units combine the Watson and Acravis Group
            businesses. Previously, goodwill for the Watson's Global Generics operating segment was tested as one unit. The combination of the
            Watson and the Actavis Group business and net assets in the European reporting unit, combined with other market factors, led to the
            impairment of the goodwill associated with this reporting unit.
                  During the second quarter of 2013, concurrent with the availability of discrete financial information for our new reporting units, the
            Company completed an extensive review of its operating businesses, including exploring options for addressing overall profitability of
            seven Western European commercial operations consisting of, among other things, restructuring their operations, refocusing their activities
            on specific sub-markets, as well as potential divestitures of such businesses to other third parties. The potential impact of these conditions
            were considered in the Company's projections when determining the indicated fair value of its reporting units for the impairment tests that
            were performed during the second quarter of this year. Upon completion of step one of the impairment analysis for each of the Company's
            reporting units, it was concluded the fair value of the Actavis Pharma - Europe reporting unit was below its carrying value including
            goodwill. This was primarily related to the integration of our AtTOW Group (acquired on December 2, 2009, in exchange for cash
            consideration of $1.05 billion, approximately 16.9 million shares of the Company's Restricted Ordinary Shares and 200,000 shares of the
            Company's Mandarorily Redeemable Preferred Stock and certain contingent consideration (the "Arrow Group Acquisition")) with the
            Actavis Group in Europe. The fair value of the Company's reporting

                                                                                      F-48




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                           151/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 153 of 169. PageID #: 359082




          10 /1 6 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                            ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

             units was estimated based on a discounted cash flow model using management's business plans and projections as the basis for expected
             future cash flows for approximately five years and residual growth rates ranging from 2% to 4% thereafter. Management believes that the
             assumptions it used for the impairment tests performed are consistent with those that would be utilized by a market participant in
             performing similar valuations of its reporting units. A separate discount rate was utilized for each reporting unit that was derived from
             published sources and, on a weighted average basis, a discount rate of 8% was utilized using the Company's weighted average cost of
             capital, which considered the overall inherent risk of the reporting unit and the rate of return a market participant would expect. As a result
             of completing step two of the Company's irnpairment analysis, the Company recorded an impairment of the Actavis Pharma - Europe
             reporting unit of $647.5 million, representing primarily all the goodwill allocated to this reporting unit, in the year ended December 31,
             2013.
                   During the second quarter of 2013, the Company tested its reporting units, in addition to Actavis Pharma- Europe, for impairment,
            none of which yielded an impairment in step one of the test. The Company will continue to monitor the canying value of goodwill,
            particularly with respect to our Actavis Pharma - MEAAP and Actavis Pharma-Third Party reporting units. As of June 30, 2013,
            Actavis Pharma -Third Party had $125.0 million of goodwill and Actavis Pharma-MEAAP had $178.0 million of goodwill. As of the
            annual impairment test, these two reporting units had fair values that exceeded canying values by at least 23%. However, because some of
            the inherent assumptions and estimates used in determining fair value of these reporting units are outside the control of management,
            including interest rates, the cost of capital and tax rates, changes in these underlying assumptions can also adversely impact the business
            units' fair value. The amount of any impairment is dependent on all these factors, which cannot be predicted with certainty, and may result
            in impairment for a portion or all of the goodwill amounts noted previously. Holding all other assumptions constant at the test date, a 100
            basis point increase in the discount rate would reduce the fair values that exceeded carrying values from the 23% to as low as 6%. If
            economic and market conditions deteriorate or do not perform as forecasted in these reporting units, this could increase the likelihood of
            future non-cash impairment charges related to our goodwill. The Company also reconciled the fair value of its aggregated reporting units
            to its market capitalization as of June 30, 2013 with a reasonable implied control premium.
                  During the second quarter of 2012, the Company per fanned its annual impairment assessment of goodwill, IPR&D and trnde name
            intangibles assets with indefinite-lives. The Company determined there was no impairment associated with goodwill or trade name
            intangible assets.

                                                                                  F-49




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                        152/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 154 of 169. PageID #: 359083




         10 /1 6 /2 0 1 8                                                                      F or m 10 -K




            Table of Contents

                                                                              ACTAVIS PLC
                                               NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                     Product rights and other intangible assets consisted of the following (in millions):

                                                                              Balance as of                                                                Balance as of
                                                                              December 31,                                                                 December 31,
            Cost basis
            Intangibles with definite lives:
                                                                              __
                                                                               20_1_
                                                                                   2_              Acquisitions     Impairments     ~             CTA      __2_
                                                                                                                                                              01_
                                                                                                                                                                3_

                 Product rights and other related intangibles                   5,117.6            s      3,150.2   5      (98.7)   S 231.1       519.3    $ 8.419.5
                 Core technology                                                   92.2                                                              0.9        93.1
                 Customer rdutionships                                        ___1_69_
                                                                                     .o                                             ~)            ___!_!   ___1_57_
                                                                                                                                                                  .2
                 To13l definite-lived intangible assets
            Intangibles with indefinite lives:
                                                                              ~                    ~                L_____fil.1)    U!.22         522.0    ~
                 IPR&D                                                          384.6                     2,149.7           (4.9)       (204.3)     9.5      2,334.6
                 Trude Nurne                                                  ___76_
                                                                                   .2                                                                      ___  76_
                                                                                                                                                                  .2
                 Total indefinite-lived intangible assets                     ~
                                                                              5 5.839.6
                                                                                                   ~                ___  (4_
                                                                                                                           .9)      ..QQ!l)       ---22    ~
                 Total producr rights and related Intangibles                                      S 5.299.9        5 (103.6)       S 13.2        S31.5    $    I 1.080.6

                                                                              Balance as of                                                                Balance as of
                                                                              Dcccmhcr31,                                                                  December 31,
            Accumulated Amortization
            Intangibles with definite lives:
                                                                              __2_
                                                                                 01_
                                                                                   2_              Amortization     Impairments     ~             CTA      __2_
                                                                                                                                                              01_
                                                                                                                                                                3_

                 Product rights and other related intangibles                      (2,000.3)      s    (823.8)      5      42.4     s      -      5 9.5    $    (2,772.2)
                 Con: technology                                                      (27.9)             (7.1)                                                     (35.0)
                 Customer relationships                                       _______QZJ_ )       _____i!_!J!)                                             _______Q.!_2)
                 Total definite-lived intangible assets
                 Total indefinite-lived intangible assets
                                                                              ~)                  ~)                ~               L..:=         L2.1     ~)

                 Total product rights and related intangibles                 5  (2,055.3)        ~)                5      42A      s      -      5 9.5    $    (2,846.1)
            Net Product Rights and Other Intangibles                          L__1IBd                                                                      ~
                   On October I, 2013, the Company acquired intangible assets in connection with the Warner Chilcott Acquisition of $4,729.0 million,
            including $3,021.0 million relating to product rights and other related intangibles. In addition the Company acquired JPR&D of
            $ I ,708.0 million. ln the fourth quarter of 2013, the Company entered into the Sanofi Amendment, resulting in an addition to intangible
            assets of$ I 25.0 million.
                     In January 2013, in connection with the Uteron Acquisition, the Company acquired IPR&D of $250.0 million.
                     In June 2013, in connection with the acquisition ofMedicines360, the Company recorded IPR&D ofSl91 7 million.
                 During the year ended December 31, 2013, we recorded an impairment charge associated with Gabapentin of$ I 0.8 million, acquired
            as pan of the Actavis Group Acquisition, a S4.4 million impairment charge associated with the A.ITow Group Acquisition, an impairment
            ofa product right intangible asset in connection with the Specifar Acquisition for $13.9 million and charges associated with fair value
            adjustments relating to our assets held for sale.
                  ln October 2012, the Company acquired intangible assets in connection with the Actavis Group Acquisition of S 1,697.6 million
            relating to CMP, $272.9 relating to CPR&D, S38.9 relating to core technology, $427.8 million

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htm                                                                     153/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 155 of 169. PageID #: 359084




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                            ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             relating to trademarks and $103. 7 relating to customer relationships. CMP intangibles have been included in product rights and other
             related intangibles and will be amortized over a weighted average useful life of I 0.8 years.
                  In January 2012, the Company acquired product rights, contractual rights and trade name intangible assets in connection with the
             Ascent Acquisition of S 192.6 million. These intangibles have been included in product rights and other related intangibles and will be
             amortized over a weighted average useful life.
                   During the second quarter of 2012, the Company recorded an impairment charge of $1 OJ .0 million related to certain IPR&D assets
             acquired as part of the Specifar Acquisition resulting in the decrease of lPR&D assets at December 3 I, 2012. The charge was related to
             three products in development as a result of various factors occurring during the same period mainly related to delays in expected launch
             dates, competitive factors resulting in realization of lower pricing and incremental costs related to manufacturing efforts. During the fourth
             quarter of 2012, the Company recorded an impairment charge of$ I 6.8 million related to esomeprazole product rights following the
             Company decision to discontinue selling the product as a result of products acquired in connection with the Actavis Group acquisition.
                   The Company re-evaluates the carrying value of identifiable intangible and long-lived assets for impairment whenever events or
             changes in circumstances indicate that the carrying value may not be recoverable. The Company continually evaluates the appropriateness
             of useful lives assigned to long-lived assets, including product rights.
                  Due to changes in market conditions in certain international locations and forecasted performance of certain products not yet
            launched, the Company performed off-cycle impairment reviews in 2011 and recorded impairment charges of S I 02.8 million related to
            certain acquired IPR&D assets during 2011. The impairment charges in 2011 include $75.8 million related to IPR&D intangibles acquired
            in the Company's acquisition of the progesterone gel business from Columbia and $27.0 million ofIPR&D intangibles acquired in the
            Arrow Acquisition. These impairment charges result from the Company's then current estimates of the fair value of these IPR&D assets,
            based on updated forecasts, compared to their assigned fair values on the acquisition date. The fair value of acquired identifiable intangible
            assets generally is determined using an income approach, based on a forecast of all expected future net cash flows related to the asset
            which are adjusted to present value using appropriate discount rates. Forecasts used to determine fair values of!PR&D assets are based on
            assumptions which include, among other factors, the impact of changes to the development programs, the current competitive
            environment, the regulatory timeframes impacting future product launch dates and the risk associated with these assets.
                  Assuming no additions, disposals or adjustments are made to the carrying values and/or useful lives of the intangible assets, annual
             amortization expense on product rights over the next five years is estimated to be as follows (in millions):

                                                                                                                                            Amounl
                      2014                                                                                                                 $1,667.0
                      2015                                                                                                                 $1,243.0
                      2016                                                                                                                 $ 767.0
                      2017                                                                                                                 $ 609.0
                      2018                                                                                                                 $ 496.0

                   The above amortization expense is an estimate. Actual amounts may change from such estimated amounts due to fluctuations in
             foreign currency exchange rates, additional intangible asset acquisitions, finalization of preliminary fair value estimate, potential
             impairments, accelerated amortization or other events.

                                                                                 F-51




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                        154/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 156 of 169. PageID #: 359085




         10 /1 6 /2 0 1 8                                                             F or m 10 -K




            Table of Contents


                                                                         ACTAVISPLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

            NOTE 13 - Long-Term Debt
                     Debt consisted of the following (in millions):

                                                                                                                       December 31,       December 31,
                                                                                                                      __
                                                                                                                       2_
                                                                                                                        01_
                                                                                                                          3_              __2_
                                                                                                                                             01_
                                                                                                                                               2_
            WC Term Loan Agreement                                                                                         1,832.8        $
            Amended and Restated ACT Tenn Loan                                                                             1,310.0            1,700.0
            Revolving Credit Facility                                                                                        265.0
            Senior Notes:
                  $450.0 million 5.00% notes                                                                                                    450.0
                  $1,200.0 million 1.875% notes due October I, 2017                                                     1,200.0               1,200.0
                  $1,250.0 million 7.75% notes due September 15, 2018                                                   1,250.0
                  $400.0 million 6.125% notes due August 14, 20 I 9                                                       400.0                 400.0
                  $1,700.0 million 3.250% notes due October 1, 2022                                                     1,700.0               1,700.0
                  $1,000.0 million 4.625% notes due October I, 2042                                                     1,000.0               1,000.0
               Plus: Unamortized premium                                                                                  103.9
               Less: Unamortized discount                                                                             ~)                  ~)
            Senior Notes, net                                                                                           5,622.0             4,714.9
            Capital leases                                                                                                 22.2                18.4
               Total debt                                                                                               9,052.0             6,433.3
            Less: Current portion                                                                                         534.6               176.2
               Total long-term debt and capital leases                                                                $ 8,517.4           $ 6,257.1

            Credit Facility Indebtedness
            2013 Term Loan
                 WC Term Loan Agreement
                 On October I, 2013 (the "Closing Date"), Warner Chilcott Corporation ("WC Corporation"), WC Luxco S.a r.l. ("WC Luxco"),
           WCCL ("WC Company" and, together with WC Corporation and WC Luxco, the "WC Borrowers"), as borrowers, and Warner Chilcott
           Finance LLC, as a subsidiary guarantor, became parties to that certain Warner Chilcott Tenn Loan Credit and Guaranty Agreement (the
           "WC Term Loan Agreement"), dated as of August I, 2013, by and among the Company, as parent guarantor, Bank of America ("BofA"),
           as administrative agent thereunder and a syndicate of banks participating as lenders. Pursuant to the WC Tern, Loan Agreement, on the
           Closing Date, the lenders party thereto provided term loans to the WC Borrowers in a total aggregate principal amount ofS2.0 billion,
           comprised of (i) a $1.0 billion tranche that will mature on October I, 2016 (the "Three Year Tranche") and (ii) a S 1.0 billion tranche that
           will mature on October I, 2018 (the "Five Year Tranche"). The proceeds of borrowings under the WC Term Loan Agreement, together
           with S41.0 million of cash on hand, were used to finance, the repayment in full of all amounts outstanding under Warner Chilcott's then-
           existing Credit Agreement, dated as of March 17, 2011, as amended by Amendment No. I on August 20, 2012, among the WC Borrowers,
           BofA, as administrative agent and a syndicate of banks participating as lenders.
                  Borrowings under the WC Term Loan Agreement bear interest at the applicable WC Borrower's choice ofa per annum rate equal to
            either (i) a base rate plus an applicable margin per annum varying from (x) 0.00% per

                                                                               F-52




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                    155/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 157 of 169. PageID #: 359086




          10 /1 6 /2 0 1 8                                                             F o rm 10 -K




             Table of Contents

                                                                           ACTAVIS PLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             annum to 0. 75% per annum under the Three Year Tranche and (y) 0.125% per annum to 0.875% per annum under the Five Year Tranche,
             depending on the publicly announced deht ratings for non-credit-enhanced, senior unsecured long-term indebtedness of Parent (such
             applicable debt rating the "Debt Rating") or (b) a Eurodollar rate, plus an applicable margin varying from (x) 1.00% per annum to
             1. 75% per annum under the Three Year Tranche and (y) 1.125% per annum to 1.875% per annum under the Five Year Tranche, depending
             on the Debt Rating.
                    The outstanding principal amount of loans under the Three Year Tranche is not subject to quarterly amortization and shall be payable
             in full on the three year anniversary of the Closing Date. The outstanding principal amount of loans under the Five Year Tranche is payable
             in equal quarterly amounts of 2.50% per quarter prior to the fifth anniversary of the Closing Date, with the remaining balance payable on
             the fifth year anniversary of the Closing Date.
                    The WC Tenn Loan Agreement provides that all obligations thereunder are jointly and severally guaranteed by (i) the Company,
             (ii) each subsidiary of the Company (other than any WC Borrower) that is a primary obligor or a guarantor under the 7.75% senior notes
             due 2018 issued by the Pue110 Rico Borrower and Warner Chilcott Finance LLC and (iii) any subsidiary (other than any WC Borrower)
             that becomes a guarantor of third party indebtedness of a WC Borrower in an aggregate principal amount exceeding $200.0 million
             (unless, in the case of a foreign subsidiary, such guarantee would give rise to adverse tax consequences as reasonably determined by
             Parent).
                  The New Term Loan Agreement contains representations and warranties, financial reporting covenants and other affirmative
             covenants, negative covenants, a financial covenant and events of default that are substantially similar to those in the Amended and
             Restated Credit Facilities.
                  During the year ended December 31, 2013, the Company made optional prepayments totaling $75.0 million of its indebtedness under
             the Three Year Tranche and $67.3 million of its indebtedness under the Five Year Tranche. As of December 31, 2013, the outstanding
             indebtedness under the Three Year Tranche and the Five Year Tranche was $925.0 million and $907.8 million, respectively. The book
             value of the outstanding indebtedness approximates fair value as the debt is at variable interest rates and re-prices frequently.

                 Amended and Restated Actavis, Inc. Credit and Guaranty Agreements
                 Amended and Restated A CT Term Loan
                  On the Closing Date and pursuant to that certain Term Loan Amendment Agreement (the "Term Amendment Agreement"), by and
            among Actavis, Inc., a wholly owned subsidiary of the Company, BofA, as administrative agent thereunder, and the lenders party thereto,
            dated as of August I, 2013, the Company, as parent guarantor, Actavis WC Holding S.a r.1. (the "ACT Borrower"), as borrower, Actavis,
            Inc., as a subsidiary guarantor, and BofA, as administrative agent, entered into that certain Amended and Restated Actavis Tenn Loan
            Credit and Guaranty Agreement (the "ACT Term Loan Agreement"), dated as of October I, 2013. The ACT Term Loan Agreement
            amended and restated Acta vis, Inc. 's $1,800.0 million senior unsecured term loan credit facility, dated as of June 22, 2012. At closing, an
            aggregate principal amount of SI ,572.5 million was outstanding under the ACT Term Loan Agreement.
                  The Amended and Restated Term Loan provides that loans thereunder will bear interest, at the Company's choice, of a per annum
            rate equal to either (a) a base rate, plus an applicable margin per annum varying from 0.00% per annum to I .00% per annum depending on
            the Debt Rating or (b) a Eurodollar rate, plus an applicable margin varying from 1.00% per annum to 2.00% per annum depending on the
            Debt Rating.
                 The Amended and Restated Tenn Loan matures on October 31, 20 I 7 ( or if such day is not a business day, the next preceding
            business day). The outstanding principal amount is payable in equal quarterly installments of 2.50% per quarter, with the remaining
            balance payable on the maturity date.

                                                                                F-53




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                       156/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 158 of 169. PageID #: 359087




         10 /16 /2 0 1 8                                                              F o rm 10 -K




            Table of Contents

                                                                          ACTAVIS PLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                  The ACT Term Loan Agreement contains covenants that are substantially similar to those in the Company's Amended and Restated
            Revolver (defined below). The ACT Tenn Loan Agreement contains standard events of default (the occurrence of which may trigger an
            acceleration of amounts outstanding under the ACT Tenn Loan Agreement). The ACT Term Loan Agreement became effective in
            accordance with its terms on October I, 2013.
                  The Company is subject to, and, at December 31, 2013, was in compliance with, all financial and operational covenants under the
            terms of the ACT Term Loan Agreement. During the year ended December 31, 2013, the Company made optional prepayments of $220.0
            million of indebtedness under the ACT Tenn Loan Agreement. The outstanding balance of the Term Loan at December 31, 2013 was
            $1,310.0 million. The book value of the outstanding indebtedness approximates fair value as the debt is at variable interest rates and re-
            prices frequently.

                Revolving Credit Facility
                  On the Closing Date and pursuant to that certain Revolver Loan Amendment Agreement (the "Revolver Amendment Agreement"
            and, together with the Tenn Amendment Agreement, the "Amendment Agreements"), by and among Actavis, Inc., as subsidiary guarantor,
            BofA, as administrative agent thereunder, and the lenders party thereto, dated as of August I, 2013, the Company, as parent guarantor, the
            ACT Borrower, as borrower, Actavis, Inc., as a subsidiary guarantor, and BofA, as administrative agent, entered into that certain Amended
            and Restated Actavis Revolving Credit and Guaranty Agreement (the "ACT Revolving Credit Agreement" and, together with the ACT
            Tenn Loan Agreement, the "Amended and Restated Credit Agreements"), dated as of October I, 2013. The ACT Revolving Credit
            Agreement amended and restated Acta vis, Inc. 's $750.0 million senior unsecured revolving credit facility dated as of September 16, 2011,
            as amended by that certain Amendment No. I to the credit agreement andjoinder agreement, dated as of May 21, 2012. At closing, $9.4
            million of letters of credit were outstanding under the ACT Revolving Credit Agreement. At closing, no loans were outstanding under the
            ACT Revolving Credit Agreement.
                 The ACT Revolving Credit Agreement provides that loans thereunder will bear interest, at the Company's choice, of a per annum
           rate equal to either (a) a base rate, plus an applicable margin per annum varying from 0.00% per annum to 0.75% per annum depending on
           the Debt Rating or (b) a Eurodollar rate, plus an applicable margin varying from 0.875% per annum to 1.75% per annum depending on the
           Debt Rating. Additionally, to maintain availability of funds, the Company pays an unused commitment fee, which according to the pricing
           grid is set at 0.15% of the unused portion of the revolver.
                 Subject to certain limitations, borrowings under the ACT Revolving Credit Agreement may be made in alternative currencies,
           including Euros, British Pounds Sterling and other currencies. The ACT Revolving Credit Agreement contains sublimits on letters of
           credit and swingline loans in the amount of $100.0 million and $50.0 million, respectively. The issuance of letters of credit and borrowings
           of swingline loans reduces the amount available to be borrowed under the ACT Revolving Credit Agreement on a dollar-for-dollar basis.
           Amounts borrowed under the ACT Revolving Credit Agreement may be used to finance working capital and other general corporate
           purposes.
                 The ACT Revolving Credit Agreement imposes certain customary restrictions including, but not limited to, limits on the incurrence
           of debt or liens upon the assets of the Company or its subsidiaries, investments and restricted payments. The ACT Revolving Credit
           Agreement includes a consolidated leverage ratio covenant, as defined, whereby the Company is permitted to have a maximum
           consolidated leverage ratio as of the last day of any period of four consecutive fiscal quarters of the Company of up to (i) with respect to
           the four consecutive fiscal quarters from the Acquisition Date through December 31, 2013, 4.25 to 1.00; (ii) with respect to the four
           consecutive fiscal quarters from January l, 2014 through December 31, 2014, 4.00 to 1.00; and (iii) with respect to the period of four
           consecutive fiscal quarters ending from January I, 2015 and thereafter, 3.50 to 1.00.
                The Company is subject to, and, as of December 31, 2013, was in compliance with, all financial and operational covenants under the
           terms of the Revolving Credit Facility. At December 31, 2013, loans and letters

                                                                               F-54




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                     157/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 159 of 169. PageID #: 359088




          10 /16 /2 0 1 B                                                             F o rm 10 -K




            Table of Contents

                                                                          ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

            of credit outstanding were $265.0 million and $9.4 million, respectively. The net availability under the Revolving Credit Facility was
            $475.6 million. As of the date of this report, the Company repaid the full amount of its indebtedness under the Revolving Credit Facility.

            Senior Notes Indebtedness
                 Actavis, I11c. Supplementat I11de11t11re
                  On October I, 2013, the Company, Acta vis, Inc., a wholly owned subsidiary of the Company, and Wells Fargo Bank, National
            Association, as trustee, entered into a fourth supplemental indenture (the "Fourth Supplemental Indenture") to the indenture, dated as of
            August 24, 2009 (the "Base Indenture" and, together with the First Supplemental Indenture, the Second Supplemental Indenture and the
            Third Supplemental Indenture (each as defined below), the "Indenture"), as supplemented by the first supplemental indenture, dated as of
            August 24, 2009 (the "First Supplemental Indenture"), the second supplemental indenture, dated as of May 7, 2010 (the "Second
            Supplemental Indenture"), and the third supplemental indenture, dated as of October 2, 2012 (the "Third Supplemental Indenture").
            Pursuant to the Fourth Supplemental Indenture, the Company has provided a full and unconditional guarantee of Actavis, Inc.'s obligations
            under its $450.0 million 5.000% senior notes due August 15, 2014, (the "2014 Notes"), its $400.0 million 6.125% senior notes due
            August 15, 2019 (the "2019 Notes"), its S 1,200.0 million 1.875% senior notes due October I, 2017 (the "2017 Notes"), its $1,700.0
            million 3.250% senior notes due October 1, 2022 (the "2022 Notes") and its $1,000.0 million 4.625% Senior Notes due 2042 (the "2042
            Notes", and together with the 2014 Notes, the 2019 Notes, the 2017 Notes and the 2022 Notes, the "Notes").
                  On October 18, 2013, Actavis, Inc., a wholly-owned subsidiary of the Company, instructed Wells Fargo Bank, National Association,
            as trustee (the "Trustee"), pursuant to the Indenture governing its 2014 Notes, to issue a notice from Actavis, Inc. to the holders of the
            2014 Notes that Actavis, lnc. has elected to redeem in full the entire aggregate principal amount of the 2014 Notes on November 5, 2013
            (the "Redemption Date"). The 2014 Notes, which had an outstanding principal balance of $450.0 million and which were fully and
            unconditionally guaranteed by the Company, were redeemed on November 5, 2013 at a redemption price equal to $465.6 million, which
            resulted in a cash expense of $15.6 million.

                 WC Supplemental I11de11l11re
                  On October I, 2013, the Company, WCCL, Warner Chilcott Finance LLC (the "Co-Issuer" and together with WC Company, the
            "Issuers") and Wells Fargo Bank, National Association, as trustee (the "WC Trustee"), entered into a third supplemental indenture (the
            "Supplemental Indenture") to the indenture, dated as of August 20, 2010 (the "WC Indenture"), among the Issuers, the guarantors party
            thereto and the WC Trustee, with respect to the Issuers' 7. 75% senior notes due 2018 (the "WC Notes"). Pursuant to the Supplemental
            Indenture, the Company has provided a full and unconditional guarantee of the Issuers' obligations under the WC Notes and the WC
            Indenture.
                 On October I, 2013, the Issuers and the Trustee entered into a release of guarantees of certain guarantors (the "Release of
            Guarantees"), pursuant to which Warner Chilcott's guarantee of the WC Notes was released in accordance with Section I l .05(f) of the WC
            Indenture and the guarantees of certain other guarantors were released in accordance with Section l I .05(c) or l l .05(e) of the WC
            Indenture.
                  The WC Notes are unsecured senior obligations of the Issuers, guaranteed on a senior basis by the Company and are, subject to
            certain exceptions. The WC Notes will mature on September 15, 2018. Interest on the WC Notes is payable on March 15 and
            September 15 of each year.
                  The WC Indenture contains restrictive covenants that limit, among other things, the ability to incur additional indebtedness, pay
            dividends and make distributions on common and preferred stock, repurchase subordinated debt and common and preferred stock, make
            other restricted payments, make investments, sell certain assets, incur liens, consolidate, merge, sell or otherwise dispose of all or
            substantially all of its assets and

                                                                               F-55




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                     158/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 160 of 169. PageID #: 359089




         10 /1 6 /2 0 1 8                                                               F o rm 10 -K




            Table of Contents

                                                                           ACTAVISPLC
                                      NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

            enter into certain transactions with affiliates. Certain of these restrictive covenants will be suspended at any time when the WC Notes are
            rated Investment Grade by each of Moody's Investors Service, Inc. and Standard & Poor's Rating Services and no Default has occurred
            and is continuing, in each case as described and defined in the WC Indenture. The WC Indenture also contains customary events of default
            which would permit the holders of the WC Notes to declare those WC Notes to be immediately due and payable if not cured within
            applicable grace periods, including the failure to make timely payments on the WC Notes or other material indebtedness, the failure to
            comply with covenants, and specified events of bankruptcy and insolvency.
                  The Company may redeem the WC Notes on or after September 15, 2014, in whole at any time or in part from time to time, at the
            Issuer's option, at a redemption price equal to I 03.875% of the principal amount of notes to be redeemed plus accrued and unpaid interest,
            if any. The Company may redeem the WC Notes on or after September 15, 2015, in whole at any time or in part from time to time, at the
            Issuer's option, at a redemption price equal to IO 1.938% of the principal amount of notes to be redeemed plus accrued and unpaid interest,
            if any. The Company may redeem the WC Notes on or after September 15, 2016, in whole at any time or in part from time to time, at the
            Issuer's option, at a redemption price equal to I 00% of the principal amount of notes to be redeemed plus accrued and unpaid interest, if
            any.
                 The fair value of the Company's outstanding WC Notes ($1,250.0 million book value), as determined in accordance with ASC 820
            under Level 2 based upon quoted prices for similar items in active markets, was $1,357.4 million as of December 31, 2013.

                2012 Notes Issuance
                On October 2, 2012, Actavis, Inc., a wholly owned subsidiary of the Company, issued the 2017 Notes, the 2022 Notes, and the 2042
           Notes (collectively the "20 I 2 Senior Notes"). Interest payments are due on the 2012 Senior Notes semi-annually in arrears on April 1 and
           October I beginning April l, 2013.
                  Actavis, Inc. may redeem the 2012 Senior Notes, in whole at any time or in part from time to time, at the Issuer's option, at a
            redemption price equal to the greater of 100% of the principal amount of notes to be redeemed and the SW11 of the present values of the
            remaining scheduled payments of principal and interest in respect of the 2012 Senior Notes being redeemed discounted on a semi-annual
            basis at the treasury rate plus 20 basis points in the case of the 2017 Notes, 25 basis points in the case of the 2022 Notes and 30 basis
            points in the case of the 2042 Notes plus in each case accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                  In addition, Actavis, Inc. may redeem the 2022 Notes on or after July I, 2022 (three months prior to their maturity date), and the
            2042 Notes on or after April 1, 2042 (six months prior to their maturity date) in each case, in whole at any time or in part from time to
            time, at the Issuer's option at a redemption price equal to 100% of the aggregate principal amount of the 2012 Senior Notes being
            redeemed, plus, in each case, accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                 Upon a change of control triggering event and a downgrade of the 2012 Senior Notes below an investment grade rating by each of
            Moody's Investors Service, Inc. and Standard & Poor's Rating Services, the Issuer will be required to make an offer to purchase each of
            the 2012 Senior Notes at a price equal to IO 1 % of the principal amount of the 2012 Senior Notes to be repurchased, plus any accrued and
            unpaid interest, if any, to, but excluding, the date of repurchase.
                 Net proceeds from the offering of the 2012 Senior Notes were used for the Actavis Group Acquisition. The fair value of the
            Company's outstanding 2012 Senior Notes ($3,900.0 million book value), as determined in accordance with ASC 820 under Level 2 based
            upon quoted prices for similar items in active markets, was $3,683.2 million as of December 31, 20 l3.

                                                                                 F-56




         htlps://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok. htm                                                     159/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 161 of 169. PageID #: 359090




          10 /1 6 /2 0 1 8                                                               F o rm 10 -K




             Table of Contents

                                                                             ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                 2009 Notes Issuance
                   On August 24, 2009, Actavis, Inc. issued the 2014 Notes and the 2019 Notes (collectively the "2009 Senior Notes"). Interest
             payments are due on the 2009 Senior Notes semi-annually in arrears on February I 5 and August I 5, respectively, beginning February 15,
             2010.
                   Actavis, Inc. may redeem the 2019 Notes in whole at any time or in part from time to time, at the Issuer's option at a redemption
             price equal to the greater of (i) 100% of the principal amount of the notes to be redeemed and (ii) the sum of the present values of the
             remaining scheduled payments of principal and interest in respect of the notes being redeemed, discounted on a semi-annual basis at the
             treasury rate plus 40 basis points, plus accrued and unpaid interest, if any, to, but excluding, the date of redemption.
                  Upon a change of control triggering event, as defined by the Base Indenture, Actavis, Inc. is required to make an offer to repurchase
             the 2019 Notes for cash at a repurchase price equal to IO I% of the principal amount of the 2019 Notes to be repurchased plus accrued and
             unpaid interest to the date of purchase.
                   Net proceeds from the offering of 2009 Senior Notes were used to repay certain debt with the remaining net proceeds being used to
             fund a portion of the cash consideration for the Arrow Acquisition. The fair value of the Company's outstanding 2009 Senior Notes
             ($400.0 million book value), as determined in accordance with ASC 820 under Level 2 based upon quoted prices for similar items in
             active markets, was $460.9 million as of December 31, 2013.

                 Annual Debt Maturities
                      As of December 31, 2013, annual debt maturities were as follows (in millions):

                                                                                                                                    Total Payments
                      2014                                                                                                                 241.3
                      2015                                                                                                                 241.3
                      2016                                                                                                               1,166.3
                      2017                                                                                                               2,159.3
                      2018                                                                                                               1,784.6
                      2019 and after                                                                                                     3,100.0
                                                                                                                                         8,692.8
                      Capital Leases                                                                                                        22.2
                      Revolving Credit Facility                                                                                            265.0
                      Unamortized Premium                                                                                                  103.9
                      Unamortized Discount                                                                                                 (31.9)
                      Total Indebtedness                                                                                                 9,052.0

                 Amounts represent total anticipated cash payments assuming scheduled repayments under the WC Tenn Loan Agreement, the ACT
            Tenn Loan Agreement and maturities of the Company's existing notes.

                                                                                  F-57




          htlps://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htrn                                                     160/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 162 of 169. PageID #: 359091




         10 /1 6 /2 0 1 8                                                                    F o rm 10 -K




            Table of Contents

                                                                                ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                Lease Commitments
                  The Company has operating leases for certain facilities and equipment. The terms of the operating leases for the Company's facility
            leases require the Company to pay property taxes, normal maintenance expense and maintain minimum insurance coverage. Total rental
            expense for operating leases for December 31, 2013, 2012, and 2011 was $48.1 million, $33.1 million, and $32.4 million, respectively.
            The Company also has capital leases for certain facilities and equipment, as addressed below. The future minimum lease payments under
            both capital and operating leases that have remaining terms in excess of one year are:

                                                                                                                         Copilot         Opcralfo o
                     2014                                                                                                   9.7            50.8
                     2015                                                                                                   3.9            41.1
                     2016                                                                                                   3.6            30.4
                     2017                                                                                                   2.0            22.0
                     2018                                                                                                   1.0            16.4
                     Thereafter                                                                                             3.9            47.9
                     Total minimum lease payments                                                                          24.1         $ 208.6
                     Less: amount representing interest                                                                  ~)
                     Present value of net minimum lease payments                                                         $ 22.2

                     The assets capitalized under capital leases as of December 31, 2013 and 2012 are:

                                                                                                                                   Deccmbcr311
                                                                                                                               2013          2012
                     Machinery & Equipment                                                                                    rn            rn
                     Other                                                                                                      4.5              0.8
                     Building & Improvements                                                                                    6.8              0.5
                     Transportation                                                                                            15.9
                     Land                                                                                                       6.6              6.5
                     Computer software / hardware                                                                               1.0
                     Total                                                                                                    $36.1         $15.7

            NOTE 14- Other Long-Term Liabilities
                     Other long-term liabilities consisted of the following (in millions):

                                                                                                                               Dcccmber31.!
                                                                                                                            2013         2012
                     Acquisition related contingent consideration liabilities                                              $180.9         $11.2
                     Long-term pension liability                                                                             48.5           44.3
                     Long-term severance liabilities                                                                         27.4            5.9
                     Litigation-related reserves                                                                             24.3           65.9
                     Other long-term liabilities                                                                             45.1           35.3
                        Total other long-term liabilities                                                                  $326.2         $162.6

                                                                                     F-58




         https://www.sec.gov/Archives/edgar/dala/1578845/000119312514066242/d648811 d 1 Ok.htm                                                         161/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 163 of 169. PageID #: 359092




          10 /16 /2 0 18                                                                F o rm 10 -K




            Table of Contents

                                                                           ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                   The Company determines the acquisition date fair value of contingent consideration obligations based on a probability-weighted
            income approach derived from revenue estimates and a probability assessment with respect to the likelihood of achieving contingent
            obligations including contingent payments such as milestone obligations, royalty obligations and contract earn-out criteria, where
            applicable. The fair value measurement is based on significant inputs not observable in the market and thus represents a Level 3
            measurement as defined in ASC 820. The resultant probability-weighted cash flows are discounted using an appropriate effective annual
            interest rate to reflect the internal rate of return and incremental commercial uncertainty, major risks and uncertainties associated with the
            successful completion of the projects triggering the contingent obligation. At each reporting date, the Company revalues the contingent
            consideration obligation to estimated fair value and records changes in fair value as income or expense in our consolidated statement of
            operations. Changes in the fair value of the contingent consideration obligations may result from changes in discount periods and rates,
            changes in the timing and amount of revenue estimates and changes in probability assumptions with respect to the likelihood of achieving
            the various contingent consideration obligations. Accretion expense related to the increase in the net present value of the contingent
            liability is included in operating income for the period.

            NOTE 15 - Income Taxes
                  The Company's income before provision for income taxes was generated from the U.S. and non-U.S. operations as follows (in
            millions):

                                                                                                                     Years Ended December 31 1
                                                                                                         ___l!!!l_           ---2!!..!2._        ---2!!.!.!..._
                    Income before income taxes:
                       U.S.                                                                                  637.2            $ 730.6            $ 731.4
                       Non-U.S.                                                                           (1,275.6)            (485.5)             (275.4)
                    Income before income taxes                                                           $ (638.4)            $ 245.1            $ 456.0


                    The Company's provision for income taxes consisted of the following (in millions):

                                                                                                                      Years Ended December 31,
                                                                                                          -1Q!L              ---1.!!.!.L         ---1.!!.!!._
                    Current provision:
                       U.S. federal                                                                       $ 318.1            $ 328.5             $ 301.2
                       U.S. state                                                                             9.0               18.0                10.8
                       Non-U.S.                                                                              60.6               21.3                11.8
                          Total current provision                                                           387.7              367.8               323.8
                    Deferred (benefit) provision:
                       U.S. federal                                                                        (101.7)             (75.5)               (53.2)
                       U.S. state                                                                             1.2                5.6                 (3.9)
                       Non-U.S.                                                                            (174.5)           ~)                  ~)
                          Total deferred (benefit) provision                                               (275.0)            (221.0)             (126.9)
                    Total provision for income taxes                                                      $ 112.7            $ 146.8             $ 196.9

                                                                                 F-59




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.htrn                                                                   162/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 164 of 169. PageID #: 359093




         10 /16 /2 0 1 8                                                                  F o rm 10 -K




            Table of Contents


                                                                             ACTAVIS PLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                  The exercise of certain stock options resulted in a tax benefit and has been reflected as a reduction of income taxes payable and an
            increase to additional paid-in capital. Such benefits recorded were $69.0 million, $13.7 million and $14.6 million for the years ended
            December 31, 2013, 2012, and 201 I, respectively.
                    Reconciliations between the statutory U.S. federal income tax rate and the Company's effective income tax rate were as follows:

                                                                                                                     Years Ended December 31,
                                                                                                             ..l!!.!L        ..l!!..!!..        2011
                    U.S. federal income tax at statutory rates                                                  35.0%            35.0%          35.0%
                    U.S. state income taxes, net of U.S. federal benefit                                         (2.1)%            5.5%           2.4%
                    Non-U.S. rate differential                                                                  10.6%             (3.7)%          1.9%
                    Non-U.S. intangible amortization                                                           (22.0)%           18.7%            6.1%
                    Loss on non-U.S. currency hedge                                                                -%            10.1%             -%
                    Impact of acquisitions and reorganizations                                                    0.8%         (15.0)%             -%
                    Non-U.S. impairments                                                                       (38.0)%             8.4%           0.6%
                    Tax audit outcomes                                                                           (1.1)%          (7.0)%          (1.4)%
                    Non-deductible expenses                                                                      (3.5)%            8.6%           2.7%
                    R&D credits and U.S. manufacturing deduction                                                  5.7%           (4.5)%          (3.7)%
                    Rate changes                                                                                 (0.3)%            2.8%          (1.2)%
                    Valuation allowance                                                                          (0.6)%          (1.6)%           1.4%
                    Other                                                                                    __J3]_)%              2.6%         ~)%
                       Effective income tax rate                                                               (17.7)%           59.9%           43.2%

                    For the year ended December 3 I, 20 I 3, the impact of acquisitions and reorganizations above includes a tax benefit for a capital loss.
                 In December 2009, the Commonwealth of Puerto Rico Department of Economic Development and Commerce granted a tax ruling to
           the Company on behalf of its Puerto Rican subsidiary for industrial development income derived from its manufacturing, servicing and
           licensing activities subject to a reduced 2% income tax rate. Continued qualification for the tax ruling is subject to certain requirements.
           The tax ruling is effective through 2024.

                                                                                   F-60




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                            163/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 165 of 169. PageID #: 359094




          10 /1 6 /2 0 1 8                                                                   F o rm 10 -K




             Table of Contents

                                                                                ACTAVIS PLC
                                             NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

                    Deferred tax assets and liabilities are measured based on the difference between the financial statement and tax basis of assets and
             liabilities at the applicable tax rates. The significant components of the Company's net deferred tax assets (liabilities) consisted of the
             following (in millions):

                                                                                                                                        December St
                                                                                                                                 2013                 2012
                      Benefits from net operating and capital losses and tax credit carryforwards                             $ 1,121.2          $     248.1
                      Differences in financial statement and tax accounting for.
                         Inventories, receivables and accruals                                                                    473.7            397.7
                         Deferred revenue                                                                                          16.7             (0.1)
                         Share-based compensation                                                                                  33.1             24.0
                         Other                                                                                                     47.2             51.2
                      Total deferred tax asset, gross                                                                           1,691.9            720.9
                      Less: Valuation allowance                                                                                  (900.7)         ~)
                      Total deferred tax asset, net                                                                               791.2          $ 617.9
                      Differences in financial statement and tax accounting for.
                         Property, equipment and intangible assets                                                              (961.8)             (923.9)
                         Basis difference in debt                                                                               (281.7)             (265.6)
                         Deferred interest expense                                                                           ~)                  ~)
                      Total deferred tax liabilities                                                                         $(1,312.6)          $(1,265.8)
                      Total deferred taxes                                                                                   $ (521.4)           $ (647.9)

                  The total net deferred tax liability increased by $123.1 million due to current year acquisitions. For the year ended December 3 I,
             2012, the deferred taxes reported on the consolidated balance sheet include $6.4 million related to long-term taxes receivable.
                      The Company had the following carryforward tax attributes at December 31, 2013:
                             $2,162.9 million U.S. capital loss which will expire in 2018
                             $47.8 million U.S. state tax net operating losses ("NOL") which begin to expire in 2014;
                             $940.2 million non-U.S. tax NOLs which begin to expire in 2014; and $474.2 million non-U.S. tax NOLs which are not subject
                             to expiration.
                             $26.0 million of tax credits in non-U.S. jurisdictions which begin to expire in 2014 and $69.4 million of tax credits in non-U.S.
                             jurisdictions which are not subject to expiration.
                  A valuation allowance has been established due to the uncertainty of realizing a capital loss carryforward ($757.0 million), certain
            net operating losses ($106.8 million), some non-U.S. deferred tax assets ($32.3 million) and deferred tax assets relating to some impaired
            investments ($4.6 million).
                  Deferred income taxes have not been provided on the undistributed earnings of certain of the Company's non-Irish subsidiaries of
            approximately $1,258.4 million as of December 31, 20 I 3, as these amounts are intended to be indefinitely reinvested in non-Irish
            operations. It is not practicable to calculate the deferred taxes associated with these earnings because of the variability of multiple factors
            that would need to be assessed at the time of any

                                                                                      F-61




          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.him                                                                164/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 166 of 169. PageID #: 359095




         10 /1 6 /2 0 1 8                                                                F o rm 10 -K




            Table of Contents


                                                                            ACTAVIS PLC
                                         NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - {Continued)

            assumed repatriation. In making this assertion, the Company evaluates, among other factors, the profitability of its Irish and non-Irish
            operations and the need for cash within and outside Ireland, including cash requirements for capital improvement, acquisitions and market
            expansion. Additionally, the Company has accrued withholding taxes of approximately S6.9 million for certain pre-acquisition earnings for
            some acquired subsidiaries. The Company expects that future earnings in these subsidiaries will be indefinitely reinvested.

            Accounting for Uncertainty in Income Taxes
                 At December 3 I, 2013, 20 I 2 and 2011, the liability for income tax associated with uncertain tax positions was $232.8 million,
            $103.7 million and $71.2 million, respectively. As of December 31, 2013, the Company estimates that this liability would be reduced by
            $58.4 million from offsetting tax benefits associated with the correlative effects of state income taxes and net operating losses with
            valuation allowances. The net amount of S 174.4 million, if recognized, would favorably affect the Company's effective tax rate. A
            reconciliation of the beginning and ending amount of unrecognized tax benefits is as follows (in millions):

                                                                                                                             December 31
                                                                                                                 --2!!!.L        2012            2011
                     Balance at the beginning of the year                                                        $ 103.7        $ 71.2         $ 68.0
                     Increases for current year tax positions                                                       54.3             4.3          8.5
                     Increases for prior year tax positions                                                         53.0             6.7         11.0
                     Increases due to acquisitions                                                                  85.9           41.9
                     Decreases for prior year tax positions                                                        (17.8)         (10.4)         (14.9)
                     Settlements                                                                                   (42.7)           (9.3)         (1.2)
                     Lapse of applicable statue of limitations                                                      (5.3)           (1.3)         (0.2)
                     Foreign Exchange                                                                                 1.7            0.6
                     Balance at the end of the year                                                              $232.8         $ 103.7        $ 71.2

                  The Company's continuing practice is to recognize interest and penalties related to uncertain tax positions in tax expense. Owing the
            years ended December 31, 2013, 2012 and 2011, the company recognized approximately S2. l million, $1.3 million and $2.2 million in
            interest and penalties, respectively. At December 31, 2013, 2012 and 2011 the Company had accrued $9.9 million (net of tax benefit of
            $4.3 million), $9.5 million (net of tax benefit ofS4.4 million) and $4.2 million (net of tax benefit of$2.6 million) of interest and penalties
            related to uncertain tax positions, respectively. Although the company cannot determine the impact with certainty, it is reasonably possible
            that the unrecognized tax benefits may change by up to $11.0 million within the next twelve months.
                   The Company conducts business globally and, as a result, it files federal, state and foreign tax returns. The Company strives to
            resolve open matters with each tax authority at the examination level and could reach agreement with a tax authority at any time. While
            the Company has accrued for amounts it believes are the probable outcomes, the final outcome with a tax authority may result in a tax
            liability that is more or less than that reflected in the condensed consolidated financial statements. Furthermore, the Company may later
            decide to challenge any assessments, if made, and may exercise its right to appeal. The uncertain tax positions are reviewed quarterly and
            adjusted as events occur that affect potential liabilities for additional taxes, such as lapsing of applicable statutes of limitations, proposed
            assessments by tax authorities, negotiations between tax authorities, identification of new issues and issuance of new legislation,
            regulations or case law. Management believes that adequate amounts of tax and related penalty and interest have been provided for any
            adjustments that may result from these uncertain tax positions.

                                                                                  F-62




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d1 Ok.him                                                             165/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 167 of 169. PageID #: 359096




          10 /1 6 /2 0 1 8                                                               F or m 10 -K




             Table of Contents

                                                                            ACTAVIS PLC
                                       NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

                   With few exceptions, the Company is no longer subject to U.S. federal, state and local, or non-U.S. income lax examinations for
             years before 2008. In the first quarter of 2013, the Company resolved the 2007-2009 examination for Arrow's U.S. business, resulting in a
             reduction of the uncertain tax positions by $3.9 million with no impact on the effective tax rate. For the Company's 2008-2009 tax years,
             the IRS has agreed on all issues except the timing of the deductibility of certain litigation costs. The IRS is examining the 2009-2011 tax
             returns for Actavis' pre-acquisition U.S. business. Additionally, the IRS has begun the examination of the Company's 2010-201 I tax years
             in the second quarter of 2013.
                   The Company's acquired Warner Chilcott U.S. business is currently under audit by the IRS for the 2008-2009 tax years. Although
             the Company believes that this audit is near completion, the IRS is still assessing whether there may be proposed adjustments. Further, the
             IRS has indicated that it will commence an audit of the 2010-20 l l tax years upon completion of the audit of the 2008-2009 tax years, both
             of which the IRS expects will occur in 2014. While it is often difficult to predict the final outcome or the timing of resolution of any
             particular uncertain tax position, the Company has accrued for amounts it believes are the likely outcomes at this time.
                   The Warner Chilcott U.S. operating entities entered into an Advanced Pricing Agreement ("APA") with the IRS that specifies the
             agreed upon terms under which the Warner Chilcott U.S. entities are compensated for distribution and service transactions between the
             Warner Chilcott U.S. entities and the Warner Chilcott non-U.S. entities, effective for 2011 through 2017. On December 17, 2013, Warner
             Chilcott UK Limited signed an APA with the United Kingdom tax authorities that specifies the agreed upon terms under which Warner
             Chilcott UK Limited is compensated for the purchase of certain finished pharmaceutical products by Warner Chilcott U.K. from various
             Warner Chilcott non-U.K. entities related lo the distribution of these products in the U.K. for calendar years 2013 through 2017 with a
             rollback coveting 2010 through 2012. These APAs provide the Company with greater certainty with respect to the mix of its pretax income
             in certain of the lax jurisdictions in which the Company operates and is applicable lo the Company's Warner Chilcott U.S. and U.K.
             operations. The Company believes that its transfer pricing arrangements comply with existing U.S. and non-U.S. tax rules.

             NOTE 16 - Stockholders' Equity
                 Preferred stock
                   In 1992, the Company authorized 2.5 million shares ofno par preferred shares. The board of directors has the authority to fix the
             rights, preferences, privileges and restrictions, including but not limited to, dividend rates, conversion and voting rights, terms and prices
             of redemptions and liquidation preferences without vote or action by the stockholders. On December 2, 2009 the Company issued
             200,000 shares ofMandalorily Redeemable Preferred Shares in connection with Arrow Acquisition. The Mandatorily Redeemable
             Preferred Stock was redeemed for cash of $200.0 million on December 2, 2012. As of December 31, 2013 there were no outstanding
             preferred shares.

                 Share Repurchases
                  During the years ended December 31, 2013 and 2012, the Company repurchased approximately 1.2 million and 0.3 million of its
             Ordinary Shares surrendered to the Company to satisfy tax withholding obligations in connection with the exercise and sale of stock
             options or vesting of restricted stock issued to employees for total consideration of $170.0 million and $16.1 million, respectively.

                 Accumulated Other Comprehensive Income (Loss)
                    For most of the Company's international operations, the local currency has been delennined to be the functional currency, The results
             of its non-U.S. dollar based operations are translated to U.S. dollars al the average exchange rates during the period. Assets and liabilities
             are translated at the rate of exchange prevailing on the balance sheet date. Equity is translated at the prevailing rate of exchange at the date
             of the equity

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          https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htrn                                                       166/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 168 of 169. PageID #: 359097




         10 /1 6 /2 0 1 8                                                                 F or m 10 -K




            Table of Contents

                                                                          ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS- (Continued)

            transaction. Translation adjustments are reflected in stockholders' equity and are included as a component of other comprehensive income
            / (loss). The effects of converting non-functional currency assets and liabilities into the functional currency are recorded as general and
            administrative expenses in the consolidated statements of operations.
                     The movements in accumulated other comprehensive (loss) were as follows (in millions):

                                                                                                                                         Total
                                                                             Foreign                                                 Accum ulated
                                                                             Currency                                                    Other
                                                                            Translation                  Unrealized gains/(losses)   Comprehensive
                                                                               Ttcms                            net of Lax           (Lo ss)lncoml'
                     Balance as of December 31, 2011                        $    (76.6)                                       0.1    $       (76.5)
                       Other comprehensive (loss)/income
                          before reclassifications into general
                          and administrative                                     113.3                                                       113.3
                       Amounts reclassified from accumulated
                          other comprehensive (loss) into
                          general and administrative
                       Total other comprehensive (loss)/income                   113.3                                                       113.3
                     Balance as of December 31, 2012                              36.7                                        0.1             36.8
                        Other comprehensive (loss)/income
                           before reclassifications into general
                           and administrative                                     48.4                                        5.3                53.7
                       Amounts reclassified from accumulated
                           other comprehensive (loss) into
                           general and administrative
                       Total other comprehensive (loss)/i.ncome                   48.4                                        5.3             53.7
                     Balance as of December 31, 2013                       $      85.l                                        5.4             90.5

            NOTE 17 - Segments
                 The Company operated and managed its business as of December 31, 2013 as three distinct operating segments: Actavis Pharma,
           Actavis Specialty Brands and Anda Distribution. The Actavis Pharma segment includes off-patent pharmaceutical products that are
           therapeutically equivalent to proprietary products. The Actavis Specialty Brands segment includes patent-protected products and certain
           trademarked off-patent products that the Company sells and markets as brand pharmaceutical products. The Anda Distribution segment
           distributes generic and brand pharmaceutical products manufactured by third parties, as well as by the Company, primarily to independent
           pharmacies, pharmacy chains, pharmacy buying groups and physicians' offices. The Anda Distribution segment operating results exclude
           sales of products developed, acquired, or licensed by the Actavis Pharma and Actavis Specialty Brands segments.
                 The accounting policies of the operating segments are the same as those described in "NOTE 3 - Summary of Significant
            Accounting Policies." The Company evaluates segment performance based on segment contribution. Segment contribution represents
            segment net revenues less cost of sales (excluding amortization and impairment of acquired intangibles including product rights), R&D
            expenses and selling and marketing expenses. The Company does not report total assets, capital expenditures, general and administrative
            expenses,

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         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                          167/201
Case: 1:17-md-02804-DAP Doc #: 2279 Filed: 08/13/19 169 of 169. PageID #: 359098




          10 /1 6 /2 0 1 8                                                              F o rm 10 -K




             Table of Contents

                                                                            ACTAVISPLC
                                        NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS - (Continued)

             amortization, gains or (losses) on asset sales or disposals and impairments by segment as not all such information has been accounted for
             at the segment level, nor has such information been used by all segments.
                  Segment net revenues, segment operating expenses and segment contribution information for the Company's Actavis Pharma,
             Actavis Specialty Brands and Anda Distribution segments consisted of the following for the year ended December 31, 2013 (in millions):

                                                                                                               Actavis
                                                                                              Actavis         Specialty       Ando
                                                                                              Pharma           Brands     Distribution       Total
             Product sales                                                                  $6,252.3          $1,042.6    $ 1,196.9        $8,491.8
             Other revenue                                                                     103.6              82.2                        185.8
                Net revenues                                                                 6,355.9           1,124.8        1,196.9       8,677.6
             Operating expenses:
                Cost of salest!'                                                              3,294.0           372.2         1,024.5       4,690.7
                Research and development                                                        425.1           191.8                         616.9
                Selling and marketing                                                           638.3           269.5           112.5       1,020.3
             Contribution                                                                   S 1,998.5         $ 29 l.3    $      59.9      $2,349.7
             Contribution margin                                                                  31.4%           25.9%           5.0%          27.1%
             General and administrative                                                                                                      1,027.5
             Amortization                                                                                                                      842.7
             Goodwill impairments                                                                                                              647.5
             Loss on assets held for sale                                                                                                       42.7
             Loss on asset sales, other impairments and commitment contingencies,
               net                                                                                                                            212.5
               Operating (loss)/ income                                                                                                    $ (423.2)
                   Operating margin                                                                                                             (4.9)%

             (I)     Excludes amortization and impairment of acquired intangibles including product rights.

                                                                                 F-65




         https://www.sec.gov/Archives/edgar/data/1578845/000119312514066242/d648811 d 1 Ok.htm                                                       168/201
